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                                                     Pg 1 of 242
 Deloitte Consulting LLP
 1700 Market Street
 Philadelphia, PA 19103
 Telephone: 215.446.4367
 Facsimile: 215.310.4206
 Louis Librandi

 Consulting Services

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
 --------------------------------------------------------------- |

           FINAL FEE APPLICATION OF DELOITTE CONSULTING LLP FOR
        COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
         EXPENSES INCURRED AS CONSULTING SERVICES PROVIDER TO THE
                          DEBTORS FOR THE PERIOD
               FROM NOVEMBER 28, 2017 THROUGH MARCH 31, 2018
 Name of Applicant:                                                    Deloitte Consulting LLP
 Authorized to Provide Services as:                                    Consulting Services
 Date of Retention:                                                    Nunc Pro Tunc to November 28, 2017
 Period for which Compensation and                                     November 28, 2017 through March 31, 2018
 Reimbursement is Sought:

 Amount of Compensation Sought as                                                                        $1,993,700.00
 Actual, Reasonable, and Necessary:
 Amount of Expense Reimbursement Sought:                                                                   $318,811.86

 Total Amount of Fees and Expense Reimbursement
                                                                                                           $2,312,511.86
 Sought as Actual, Reasonable and Necessary (100%):
 This is (a)n: ___ monthly ___ interim _X__ final application


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any,
 are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC
 (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR
 Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250),
 Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone
 & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc.
 (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services
 Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining,
 LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572), WECTEC LLC (6222), WECTEC
 Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
 Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing Company
 LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                            PRIOR MONTHLY FEE STATEMENTS FILED

                                              Amounts                      Amounts Approved/                   Holdback
                                             Requested                      Pending Approval                   Amounts
Date Filed             Period              Fees    Expenses                 Fees      Expenses                   Fees
Docket No.            Covered                                              (80%)       (100%)                   (20%)

 05/08/2018           11/28/17 –
                                      $1,993,700.00 $304,400.53          $1,594,960.00      $304,400.53          $398,740.00
   #3179              3/31/18

     Totals                           $1,993,700.00 $304,400.53          $1,594,960.00      $304,400.53          $398,740.00


                                  CUMULATIVE TIME SUMMARY2
                      For the Period of November 28, 2017 through March 31, 2018




     Average Hourly Billing Rate: $375.09
 2
  Pursuant to the terms of the terms of the Engagement Agreements (as defined in the Application of Debtors Pursuant to 11
 U.S.C. §§ 327 (a) and 328, Fed. R. Bankr. P. 2014 (a) and 2016, and Local Rules 2014-1 and 2016-1 for Authority to Employ
 and Retain Deloitte Consulting LLP for Consulting Services Nunc Pro Tunc to November 28, 2017) [Dkt. 2809], Deloitte
 Consulting LLP and the Debtors agreed to fixed fee arrangements for the consulting services performed for the Debtors.


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                         CUMULATIVE FEES BY CATEGORY SUMMARY
                       For the Period of November 28, 2017 through March 31, 2018



Categories                                                                          Hours                                  Fees
Assessment Work Order                                                              3,925.2                     $1,323,000.00
Mangiarotti Spa 3                                                                     14.5                        $22,700.00
P2P Assessment                                                                     1,375.5                       $648,000.00
                                                                                  5,315.2                     $1,993,700.00


                      CUMULATIVE EXPENSES BY CATEGORY SUMMARY
                      For the Period of November 28, 2017 through March 31, 2018

      Expense Categories                                                          Total Expenses for the Period

      Car Service                                                                                            $610.80
      Hotel                                                                                                $72,383.88
      Meals                                                                                                $15,231.86
      Taxi                                                                                                 $19,225.21
      Auto Parking                                                                                          $3,148.86
      Auto Rental                                                                                          $14,621.07
      Airfare                                                                                             $157,297.71
      Telephone: Conference Calls                                                                              $13.78
      Auto Rental: Gasoline                                                                                  $298.70
      Auto Tolls                                                                                             $173.60
      Apartment Lodging                                                                                    $10,022.56
      Train, Subway                                                                                          $251.79
      Meeting Facilities                                                                                   $25,532.04
      Expense Category Subtotal :                                                                         $318,811.86




 3
   The Debtors filed a supplemental application with the Court seeking an order authorizing Deloitte Consulting to expand its
 consulting services performed to include work under this fee category [Docket No. 3487]. The supplemental application was
 approved on June 27, 2018 [Docket No. 3490].




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 Deloitte Consulting LLP
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 Philadelphia, PA 19103
 Telephone: 215.446.4367
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 Louis Librandi

 Consulting Services

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
 --------------------------------------------------------------- |

           FINAL FEE APPLICATION BY DELOITTE CONSULTING LLP FOR
        COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
         EXPENSES INCURRED AS CONSULTING SERVICES PROVIDER TO THE
                          DEBTORS FOR THE PERIOD
               FROM NOVEMBER 28, 2017 THROUGH MARCH 31, 2018

           Deloitte Consulting LLP (“Deloitte Consulting” or the “Applicant”), consulting services
 provider to the above-captioned debtors and debtors-in-possession (collectively, the “Debtors”)
 in these chapter 11 cases, hereby seeks final allowance of compensation and reimbursement of
 expenses pursuant to section 330 of title 11 of the United States Code (the “Bankruptcy Code”),
 rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 2016-
 1 of the Local Rules of the United States Bankruptcy Court for the Southern District of New York
 (the “Local Rules”), for the period commencing November 28, 2017 through and including March
 31, 2018 (the “Final Application Period”). In support of this final fee application (the “Final
 Application”), Deloitte Consulting respectfully represents as follows:

 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any,
 are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC
 (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR
 Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250),
 Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone
 & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc.
 (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services
 Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining,
 LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572), WECTEC LLC (6222), WECTEC
 Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
 Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing Company
 LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                                          JURISDICTION

        1.        The Court has subject matter jurisdiction to consider and determine this matter

 pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

 Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        STATUTORY BASIS

        2.        The statutory predicates for the relief requested herein are: (i) section 330 of the

 Bankruptcy Code; (ii) rule 2016 of the Bankruptcy Rules; (iii) rule 2016-1 of the Local Rules;

 and (iv) the Compensation Order (as defined below). This Final Application has been prepared

 in accordance with General Order M-447, Amended Guidelines for Fees and Disbursements for

 Professionals in Southern District of New York Bankruptcy Cases, effective as of February 5,

 2013 (the “Local Guidelines”), and the United States Trustee Guidelines for Reviewing

 Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330,

 effective January 30, 1996 (the “UST Guidelines” and, together with the Local Guidelines, the

 “Guidelines”).     Pursuant to the Guidelines, a certification regarding compliance with the

 Guidelines is attached hereto as Exhibit C.

                                          BACKGROUND

        A. General Background

        3.        On March 29, 2017 (the “Petition Date”), each of the Debtors commenced a voluntary

 case under chapter 11 of the Bankruptcy Code. The Debtors are authorized to operate their

 businesses and manage their properties as debtors in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been

 appointed in these chapter 11 cases.

        4.        The Debtors’ cases are being jointly administered pursuant to Bankruptcy Rule

 1015(b).




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        B. Interim Compensation and Retention of Deloitte Consulting

        5.      On May 24, 2017, the Court entered the Order Pursuant to 11 U.S.C. §§ 105(a),

 330, 331, Fed. R. Bankr. P. 2016, and Local Rule 2016-1 Establishing Procedures for Interim

 Compensation and Reimbursement of Expenses of Professionals [Docket No. 544] (the

 “Compensation Order”). Pursuant to the terms of the Compensation Order, retained professionals

 shall, among other things, file interim and final fee applications for approval of fees and expenses

 in accordance with the relevant provisions of the Bankruptcy Code, the Bankruptcy Rules, and

 the Local Rules.

        6.      On March 12, 2018, the Debtors filed the Application of Debtors Pursuant to 11

 U.S.C. §§ 327(a) and 328, Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and 2016-

 1 for Authority to Employ and Retain Deloitte Consulting LLP for Consulting Services Nunc Pro

 Tunc to November 28, 2017 [Docket No. 2809] (the “Retention Application”).

        7.      On March 27, 2018, the Court approved the Retention Application and Deloitte

 Consulting’s retention as consulting services provider to the Debtors nunc pro tunc to November

 28, 2017 [Docket No. 2972] (the “Retention Order”).

        8.      On June 12, 2018, the Debtors filed the Supplemental Application of the Debtors

 Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules

 2014-1 and 2016-1 for Authority to Expand the Retentions of Deloitte Consulting LLP nunc pro

 tunc to January 19, 2018 and Deloitte Financial Advisory Services LLP nunc pro tunc to February

 9, 2018 [Docket No. 3433] (the “Supplemental Retention Application”).

        9.      On June 27, 2018, the Court approved the Supplemental Retention Application

 and Deloitte FAS’s expanded retention as financial advisory services provider to the Debtors

 nunc pro tunc to February 9, 2018 [Docket No. 3489] (the “Supplemental Retention Order”).

      PRIOR FEE STATEMENTS FILED DURING THE APPLICATION PERIOD

        10.     On May 8, 2018, Deloitte Consulting filed its first combined monthly fee

 statement for interim allowance and payment of compensation in the amount of $1,993,700.00


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 and reimbursement of expenses in the amount of $318,811.86 for the period from November 28,

 2017 through March 31, 2018 [Docket No. 3179] (the “First Combined Monthly Statement

 Period”) pursuant to the Compensation Order, requesting payment for 80% of fees for the First

 Combined Monthly Statement Period.
                                RELIEF REQUESTED

        11.     By this Final Application and pursuant to the terms and conditions set forth in the

 Engagement Letter (as defined in the Retention Application and Supplemental Application,

 respectively), Deloitte Consulting requests allowance on a final basis of compensation of 100%

 of its total fees in the amount of $1,993,700.00 incurred during the Final Application Period.

 Deloitte Consulting also seeks reimbursement of its actual and necessary expenses incurred

 during the Application Period in the amount of $318,811.86. Deloitte Consulting submits this

 Final Application in accordance with the Compensation Order and the Retention Order. All

 services for which Deloitte Consulting requests compensation were performed for, or on behalf

 of, the Debtors.

                                     BASIS FOR RELIEF

        12.     This Final Application is the final fee application submitted by Deloitte

 Consulting in these cases. By this Final Application, Deloitte Consulting requests the approval

 of fees in the amount of $1,993,700.00 incurred during the Final Application Period. The

 Applicant maintains computerized records of the time expended in the rendering of the

 professional services required by the Debtors. These records are maintained in the ordinary

 course of the Applicant’s business. A detailed statement of hours spent rendering professional

 services to the Debtors, in support of Deloitte Consulting’s request of compensation for fees

 incurred during the Application Period, is attached hereto as Exhibit A. Exhibit A (i) identifies

 the professionals and paraprofessionals that rendered services in each project category; and (ii)

 describes each service such professional or paraprofessional performed.

        13.     Deloitte Consulting also maintains computerized records of all expenses incurred

 in connection with the performance of professional services. By this Final Application, Deloitte


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 Consulting also seeks reimbursement of $318,811.86. A summary of actual and necessary

 expenses incurred by Deloitte Consulting is attached hereto as Exhibit B. Deloitte Consulting

 does not charge for photocopying, out-going facsimile transmissions, or long-distance telephone

 calls on faxes. Deloitte Consulting customarily charges for conference call expenses.

        14.      No agreement or understanding exists between Deloitte Consulting and any

 nonaffiliated or unrelated person or persons for the sharing of compensation received or to be

 received for professional services rendered in or in connection with these cases.

                          DESCRIPTION OF SERVICES RENDERED

        15.      Deloitte Consulting served or advised the Debtors in the following areas

 throughout the Final Application Period. Detailed descriptions of these services, the amount of

 fees incurred, and the amount of hours spent providing services throughout the Final Application

 Period are also provided in the attached Exhibit A.

 Assessment Work Order

 Hours 3,925.20; Amount $1,323,000.00

        •     Deloitte Consulting performed an end-to-end analysis of the Debtors’ manufacturing

              sites for fuels and component products to identify potential business processes to

              improve and establish a prioritized roadmap for execution to provide direction on

              identified improvement opportunities.

        •     Deloitte Consulting performed an assessment of the Debtor’s management of export

              control and nuclear export compliance obligations as it relates to deployment of

              Information Technology (“IT”) applications, and provided recommendations related

              to Debtors’ IT application environment strategy.

        •     Deloitte Consulting also provided high level solution recommendations to manage

              compliance requirements in relation to technology deployments, including providing

              recommendations for controlled data tagging and release process for tagged data.

 Mangiarotti Spa

 Hours 14.50; Amount $22,700.00




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           •     Deloitte Consulting assessed processes and systems of the Debtors’ subsidiary in Italy

                 in order to evaluate a potential Systems, Applications and Products (“SAP”) ERP

                 implementation.

 P2P Assessment

 Hours 1,375.50; Amount $648,000.00

           •     During the Final Application Period, Deloitte Consulting assisted the Debtors with

                 assessing the current state of the Debtors’ procure-to-pay practices against procure-to-

                 pay leading practices for indirect and direct materials spend.

           •     Deloitte Consulting assisted the Debtors with evaluating and defining a future state

                 procure-to-pay vision covering workflow, approvals, invoice matching, and controls

                 to support the Debtors’ business, including identifying performance gaps and

                 improvements required to achieve the desired end state for Ariba and SAP networks.
               ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
                       ACTUAL AND NECESSARY EXPENSES
           16.       Because of the benefits realized by the Debtors, the nature of services provided,

 the amount of work done, the time consumed and the skill required, Deloitte Consulting requests

 that it be allowed, on a final basis, compensation for the professional services rendered during

 the Final Application Period in the sum of $1,993,700.00.

           17.       During the Final Application Period, allowance of compensation in the amount

 requested would result in a blended hourly billing rate for Deloitte Consulting professionals of

 approximately $375.09. The fees charged by Deloitte Consulting in these cases are billed in

 accordance with its existing billing structure and procedures in effect during the Final Application

 Period.

           18.       Deloitte Consulting respectfully submits that the professional services rendered

 by Deloitte Consulting on behalf of the Debtors during the Final Application Period were

 reasonable, necessary and appropriate to the administration of these chapter 11 cases and related

 matters.

           19.       As set forth in Exhibit B attached hereto, Deloitte Consulting has disbursed, and

 requests reimbursement for, a total of $318,811.86 in expenses on behalf of the Debtors in



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 providing professional services during the Final Application Period, which represents actual,

 necessary expenses incurred in the rendition of professional services in these cases.

        20.     Deloitte Consulting believes that the actual expenses incurred in providing

 professional services during the Final Application Period were necessary, reasonable, and

 justified under the circumstances to serve the needs of the Debtors in these cases.

    DELOITTE CONSULTING’S REQUESTED FEES AND EXPENSES SHOULD BE
                      ALLOWED BY THIS COURT
        21.     Section 330 provides that a court may award a professional employed under

 section 327 of the Bankruptcy Code “reasonable compensation for actual, necessary services

 rendered . . . and reimbursement for actual, necessary expenses.” 11 U.S.C. § 330(a)(1). Section

 330 sets forth the criteria for the award of compensation and reimbursement:
                In determining the amount of reasonable compensation to be awarded . . . the court
                shall consider the nature, the extent, and the value of such services, taking into
                account all relevant factors, including –



                (a)       the time spent on such services;
                (b)       the rates charged for such services;
                (c)       whether the services were necessary to the administration of, or beneficial
                          at the time at which the service was rendered toward the completion of, a
                          case under this title;
                (d)       whether the services were performed within a reasonable amount of time
                          commensurate with the complexity, importance, and nature of the problem,
                          issue, or task addressed;
                (e)       with respect to a professional person, whether the person is board certified
                          or otherwise has demonstrated skill and experience in the bankruptcy field;
                          and
                (f)       whether the compensation is reasonable based on the customary
                          compensation charged by comparably skilled practitioners in cases other
                          than cases under this title.

 11 U.S.C. § 330(a)(3).

        22.     In the instant case, Deloitte Consulting respectfully submits that the services for

 which it seeks compensation in this Final Application Period were necessary for and beneficial

 to the Debtors and were performed economically, effectively, and efficiently. Deloitte Consulting

 further submits that the compensation requested herein is reasonable in light of the nature, extent,

 and value of such services to the Debtors and all parties-in-interest. Further, in accordance with

 the factors enumerated in section 330 of the Bankruptcy Code, the amount of fees requested is

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 fair and reasonable given: (i) the complexity of these cases; (ii) the time expended; (iii) the nature

 and extent of the services rendered; (iv) the value of such services; and (v) the costs of comparable

 services other than in a case under the Bankruptcy Code. Accordingly, the approval of the

 compensation and expense reimbursement sought herein is warranted.

                     CERTIFICATE OF COMPLIANCE AND WAIVER

         23.    Finally, as set forth in Exhibit C attached hereto, the undersigned representative

 of Deloitte Consulting certifies that Deloitte Consulting has reviewed the requirements of rule

 2016-1 of the Local Rules and that the Final Application substantially complies with that Local

 Rule.   To the extent that the Final Application does not comply in all respects with the

 requirements of Local Rule 2016-1, Deloitte Consulting believes that such deviations are not

 material and respectfully requests that any such requirement be waived.
                WHEREFORE, Deloitte Consulting respectfully requests that the Court enter an

 order: (i) granting the allowance, on a final basis, of compensation for professional services

 rendered by the Applicant to the Debtors during the Final Application Period in the amount of

 $1,993,700.00, which represents 100% of the total compensation for professional services

 rendered by Applicant during the Final Application Period; (ii) granting the reimbursement, on a

 final basis, of $318,811.86 of the actual and necessary costs and expenses incurred by Deloitte

 Consulting in these cases during the Application Period; and (iii) granting such other relief as

 may be just and proper.

 Dated: October 1, 2018
 Pittsburgh, PA                                         Respectfully submitted,

                                                        DELOITTE CONSULTING LLP


                                                        /s/ Louis Librandi
                                                        Louis Librandi
                                                        Principal
                                                        1700 Market Street
                                                        Philadelphia, PA 19103
                                                        Telephone: 215.446.4367
                                                        Facsimile: 215.310.4206




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                          Exhibit A
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                        Westinghouse Electric Company, LLC
                                Deloitte Consulting LLP
                  Fees Sorted by Category for the Fee Period
                                November 28, 2017 - February 28, 2018

Date                         Description                                 Rate    Hours      Fees

Export Compliance Assessment
11/29/2017
   Kao, Suzanne              Attend internal status call with Deloitte   $0.00     4.0      $0.00
                             Consulting team to discuss project set
                             up and internal collaboration plan for
                             Deloitte project teams.
12/04/2017
   Zanette, Christina        Perform project coordination for export     $0.00     2.3      $0.00
                             compliance assessment.
   Zanette, Christina        On-site meeting for export compliance       $0.00     1.0      $0.00
                             assessment.
   Zanette, Christina        Perform assessment planning for             $0.00     1.0      $0.00
                             export assessment.
   Zanette, Christina        On-site meeting for export compliance       $0.00     1.0      $0.00
                             assessment.
12/05/2017
   Zanette, Christina        On-site meeting for export compliance       $0.00     0.6      $0.00
                             assessment.
   Zanette, Christina        Perform assessment planning.                $0.00     1.0      $0.00
   Zanette, Christina        On-site meeting for export compliance       $0.00     0.7      $0.00
                             assessment.
   Zanette, Christina        Perform project coordination for export     $0.00     2.4      $0.00
                             compliance assessment.
12/06/2017
   Zanette, Christina        Perform project coordination for export     $0.00     2.0      $0.00
                             compliance assessment.
   Zanette, Christina        On-site meeting for export compliance       $0.00     1.1      $0.00
                             assessment.
   Zanette, Christina        Perform assessment planning for             $0.00     1.0      $0.00
                             export assessment.
   Zanette, Christina        On-site meeting for export compliance       $0.00     0.9      $0.00
                             assessment.
12/07/2017
   Zanette, Christina        On-site meeting for export compliance       $0.00     1.0      $0.00
                             assessment.
   Zanette, Christina        Perform project coordination for export     $0.00     2.0      $0.00
                             compliance assessment.
   Zanette, Christina        On-site meeting for export compliance       $0.00     0.8      $0.00
                             assessment.

                                                          1
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                        Westinghouse Electric Company, LLC
                                Deloitte Consulting LLP
                  Fees Sorted by Category for the Fee Period
                                November 28, 2017 - February 28, 2018
Date                         Description                                Rate    Hours      Fees

Export Compliance Assessment
12/07/2017
   Zanette, Christina        Perform assessment planning for            $0.00     1.2      $0.00
                             export assessment.
12/08/2017
   Zanette, Christina        On-site meeting for export compliance      $0.00     1.3      $0.00
                             assessment.
   Zanette, Christina        Perform project coordination for export    $0.00     1.7      $0.00
                             compliance assessment.
   Zanette, Christina        On-site meeting for export compliance      $0.00     1.0      $0.00
                             assessment.
   Zanette, Christina        Perform assessment planning for            $0.00     1.0      $0.00
                             export assessment.
12/12/2017
   Lelchuk, Justine          Work with Deloitte Legal Team and          $0.00     4.0      $0.00
                             Project Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
12/18/2017
   Zanette, Christina        Perform Westinghouse assessment            $0.00     0.3      $0.00
                             engagement onboarding material.
   Zanette, Christina        Review of existing documents and           $0.00     1.7      $0.00
                             manufacturing assessment related to
                             export assessment
12/19/2017
   Zanette, Christina        Review Westinghouse existing               $0.00     1.4      $0.00
                             documentation related to export
                             assessment.
   Zanette, Christina        Perform project team coordination and      $0.00     1.6      $0.00
                             information sharing.
12/20/2017
   Zanette, Christina        Review Westinghouse existing               $0.00     1.1      $0.00
                             documentation related to export
                             assessment.
   Zanette, Christina        Perform project team coordination and      $0.00     1.9      $0.00
                             information sharing.




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                        Westinghouse Electric Company, LLC
                                Deloitte Consulting LLP
                  Fees Sorted by Category for the Fee Period
                                 November 28, 2017 - February 28, 2018
Date                         Description                                 Rate    Hours      Fees

Export Compliance Assessment
12/21/2017
   Zanette, Christina        Perform export assessment review of         $0.00     2.2      $0.00
                             emails and related correspondence.
01/01/2018
   Zanette, Christina        Perform export assessment review of         $0.00     1.0      $0.00
                             emails and related correspondence.
01/02/2018
   Kao, Suzanne              Prepare on-site assessment and              $0.00     1.0      $0.00
                             project management tools.
   McKibben, Caitlin         Create project planner for use by           $0.00     0.8      $0.00
                             internal Deloitte project team.
   Zanette, Christina        Perform export assessment review of         $0.00     1.8      $0.00
                             emails and related correspondence.
01/03/2018
   Kao, Suzanne              Prepare on-site assessment and              $0.00     1.0      $0.00
                             project management tools,
   McKibben, Caitlin         Create project planner for use by           $0.00     2.5      $0.00
                             internal Deloitte project team.
   Zanette, Christina        Perform export assessment review of         $0.00     2.0      $0.00
                             emails and related correspondence.
01/04/2018
   Kao, Suzanne              Prepare on-site assessment and              $0.00     1.5      $0.00
                             project management tools.
   McKibben, Caitlin         Create project schedule for upcoming        $0.00     1.2      $0.00
                             site visits by the Deloitte project team.
   Zanette, Christina        Perform export assessment review of         $0.00     1.9      $0.00
                             emails and related correspondence.
01/05/2018
   Kao, Suzanne              Review PowerPoint deck with nuclear         $0.00     0.5      $0.00
                             regulatory references for use by
                             internal Deloitte project team.
   McKibben, Caitlin         Preparation of PowerPoint deck with         $0.00     1.1      $0.00
                             nuclear regulatory references for use
                             by internal Deloitte project team.
   Zanette, Christina        Perform export assessment review of         $0.00     1.1      $0.00
                             emails and related correspondence.



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                        Westinghouse Electric Company, LLC
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                  Fees Sorted by Category for the Fee Period
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Date                         Description                                Rate    Hours      Fees

Export Compliance Assessment
01/08/2018
   Kao, Suzanne              Prepare on-site assessment and             $0.00     0.5      $0.00
                             project management tools.
   McKibben, Caitlin         Preparation of PowerPoint deck with        $0.00     1.8      $0.00
                             nuclear regulatory references for use
                             by internal Deloitte project team.
   McKibben, Caitlin         Update project planner for use by          $0.00     1.8      $0.00
                             internal Deloitte project team.
   McKibben, Caitlin         Updated project planner for use by the     $0.00     1.8      $0.00
                             internal Deloitte project team.
   McKibben, Caitlin         Review of relevant regulations to          $0.00     1.8      $0.00
                             prepare for onsite client assessments.
   McKibben, Caitlin         Review of relevant regulations to          $0.00     1.8      $0.00
                             prepare for onsite client assessments.
   Zanette, Christina        Review Westinghouse internal               $0.00     2.0      $0.00
                             SharePoint.
01/09/2018
   Kao, Suzanne              Review relevant regulations to prep for    $0.00     0.5      $0.00
                             onsite client assessments.
   Kao, Suzanne              Meeting with C. McKibben to discuss        $0.00     1.0      $0.00
                             modified statement of work.
   Kao, Suzanne              Review agenda for on-site visit in         $0.00     0.5      $0.00
                             Cranberry, PA.
   McKibben, Caitlin         Continue to modify project fee             $0.00     4.0      $0.00
                             estimation and statement of work.
   McKibben, Caitlin         Perform additional modifications to        $0.00     1.0      $0.00
                             project fee estimation and statement of
                             work per changes with S. Kao
                             (Deloitte).
   McKibben, Caitlin         Review additional modifications to         $0.00     0.9      $0.00
                             project fee estimation.
   McKibben, Caitlin         Set up file sharing site for document      $0.00     0.5      $0.00
                             sharing.
   McKibben, Caitlin         Update project timeline.                   $0.00     0.5      $0.00
   McKibben, Caitlin         Complete project management tasks.         $0.00     0.5      $0.00
   McKibben, Caitlin         Review of relevant regulations to          $0.00     4.0      $0.00
                             prepare for onsite client assessments.



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                        Westinghouse Electric Company, LLC
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                  Fees Sorted by Category for the Fee Period
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Date                         Description                                Rate    Hours      Fees

Export Compliance Assessment
01/09/2018
   McKibben, Caitlin         Continue review of relevant regulations    $0.00     1.7      $0.00
                             to prepare for onsite client
                             assessments.
   McKibben, Caitlin         Modify project fee estimation and          $0.00     4.0      $0.00
                             statement of work.
   Zanette, Christina        Analyze overall export assessment          $0.00     0.5      $0.00
                             project through reviewing of
                             documents and materials.
01/10/2018
   Kao, Suzanne              Review updated Statement of Work           $0.00     0.5      $0.00
                             and fee matrix for WEC engagement
                             team.
   McKibben, Caitlin         Update fee matrix for WEC                  $0.00     1.5      $0.00
                             engagement teams.
   McKibben, Caitlin         Create agenda for Cranberry on-site        $0.00     1.0      $0.00
                             visit.
   McKibben, Caitlin         Update Statement of Work for export        $0.00     1.0      $0.00
                             compliance.
   McKibben, Caitlin         Review of relevant regulations to          $0.00     4.0      $0.00
                             prepare for onsite client assessments.
   McKibben, Caitlin         Continue to review relevant regulations    $0.00     0.9      $0.00
                             to prepare for onsite client
                             assessments.
   McKibben, Caitlin         Update fee matrix for WEC                  $0.00     1.5      $0.00
                             engagement teams.
   McKibben, Caitlin         Update Statement of Work to finalize.      $0.00     1.0      $0.00
   McKibben, Caitlin         Create agenda for Cranberry on-site        $0.00     1.0      $0.00
                             visit.
01/11/2018
   Kao, Suzanne              Review relevant regulations to prep for    $0.00     1.0      $0.00
                             onsite client assessments with Deloitte
                             U.S. engagement team.
   Kao, Suzanne              Review WEC project plan, agenda,           $0.00     1.5      $0.00
                             and coordination between Deloitte
                             teams.
   Kao, Suzanne              Call with C. McKibben to discuss WEC       $0.00     1.0      $0.00
                             project plan, agenda, and coordination
                             between Deloitte teams.

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                        Westinghouse Electric Company, LLC
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                  Fees Sorted by Category for the Fee Period
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Date                         Description                                Rate    Hours      Fees

Export Compliance Assessment
01/11/2018
   McKibben, Caitlin         Call with S. Kao to discuss WEC            $0.00     4.0      $0.00
                             project plan, agenda, and coordination
                             between Deloitte teams.
   McKibben, Caitlin         Review of relevant regulations to          $0.00     3.5      $0.00
                             prepare for onsite client assessments.
   McKibben, Caitlin         Upload documents provided by WEC           $0.00     4.2      $0.00
                             team and project planner to the internal
                             Deloitte team site.
   Zanette, Christina        Review documents from Westinghouse         $0.00     1.5      $0.00
                             in support of assessment.
   Zanette, Christina        Prepare project plan for Westinghouse      $0.00     0.8      $0.00
                             Export assessment.
01/12/2018
   Gehlot, Ranjeet           Prepare IWRF (Inter-Firm Work              $0.00     2.5      $0.00
                             Referral Forms) for China and
                             Belgium.
   Kao, Suzanne              Review information pertaining to inter-    $0.00     2.0      $0.00
                             firm agreements for WEC China
                             assessment, scope and approach for
                             China site assessment.
   Lelchuk, Justine          Work with Legal Team and Project           $0.00     4.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   McKibben, Caitlin         Upload documents provided by WEC           $0.00     2.7      $0.00
                             team and project planner to the internal
                             Deloitte team site.
   Zanette, Christina        Review documents from information          $0.00     3.8      $0.00
                             request.
01/15/2018
   Zanette, Christina        Preparation for Westinghouse onsite        $0.00     1.0      $0.00
                             visit in Cranberry, PA.
01/16/2018
   Kao, Suzanne              Meeting with C. McKibben and Deloitte      $0.00     2.5      $0.00
                             China teams to plan on-site visits.




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                        Westinghouse Electric Company, LLC
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Export Compliance Assessment
01/16/2018
   McKibben, Caitlin         Meeting with S. Kao (Deloitte) and         $0.00     2.5      $0.00
                             Deloitte China teams to plan on-site
                             visits.
   Zanette, Christina        Onsite assessment for Westinghouse         $0.00     4.0      $0.00
                             in Cranberry, PA.
01/17/2018
   Kao, Suzanne              On-site visit to WEC Cranberry             $0.00     9.0      $0.00
                             location.
   McKibben, Caitlin         Call with Deloitte China engagement        $0.00     7.6      $0.00
                             team to review change in scope.
   McKibben, Caitlin         On-site visit to WEC Cranberry location    $0.00     4.0      $0.00
                             with certain WEC and Deloitte team
                             members.
   McKibben, Caitlin         Continue on-site visit to WEC              $0.00     3.6      $0.00
                             Cranberry location with certain WEC
                             and Deloitte team members.
   Zanette, Christina        Onsite assessment for Westinghouse         $0.00     4.4      $0.00
                             in Cranberry, PA.
   Zanette, Christina        Continuation of onsite assessment for      $0.00     3.6      $0.00
                             Westinghouse in Cranberry PA
                             conducting interviews with WEC
                             personnel.
01/18/2018
   Jones, Louverture         Review applicable Westinghouse             $0.00     8.0      $0.00
                             provided documents and background
                             in preparation for trip to Cranberry,
                             PA.
   Kao, Suzanne              Meeting with China Deloitte team to        $0.00     1.0      $0.00
                             review new Chinese Cyber law and
                             possible impacts to Deloitte
                             engagement.
   Lelchuk, Justine          Work with Legal Team and Project           $0.00     4.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   McKibben, Caitlin         Review current status of Deloitte          $0.00     3.0      $0.00
                             Manufacturing work stream and final
                             report.

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                        Westinghouse Electric Company, LLC
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Export Compliance Assessment
01/18/2018
   McKibben, Caitlin         Call with internal Deloitte team           $0.00     0.4      $0.00
                             regarding OFAC General License H
                             and applicability to WEC Italy site.
   McKibben, Caitlin         Meeting with China Deloitte team to        $0.00     0.7      $0.00
                             review new Chinese Cyber law and
                             possible impacts to Deloitte
                             engagement.
   McKibben, Caitlin         On-site visit at WEC Cranberry location    $0.00     4.0      $0.00
                             with certain WEC and Deloitte
                             stakeholders.
   McKibben, Caitlin         Continue on-site visit at WEC              $0.00     3.0      $0.00
                             Cranberry location with certain WEC
                             and Deloitte stakeholders.
   McKibben, Caitlin         Prepare weekly status deck to report       $0.00     2.2      $0.00
                             progress of export control assessment
                             to WEC stakeholders.
   Zanette, Christina        Onsite assessment for Westinghouse         $0.00     4.1      $0.00
                             in Cranberry, PA.
   Zanette, Christina        Continuation of onsite assessment for      $0.00     3.9      $0.00
                             Westinghouse in Cranberry PA
                             conducting interviews with WEC
                             personnel.
01/19/2018
   Jones, Louverture         Examination of Westinghouse IT             $0.00     8.0      $0.00
                             infrastructure for assessing current
                             capabilities for guarding data privacy.
   Kao, Suzanne              Email to international Deloitte teams in   $0.00     1.0      $0.00
                             China and Belgium regarding site
                             visits.
   McKibben, Caitlin         Conduct scheduling for pre-on-site         $0.00     1.0      $0.00
                             preparations for Belgium and China
                             site visits.
   McKibben, Caitlin         Internal meeting with L. Jones, C.         $0.00     0.3      $0.00
                             Zanette, and Z. Chen to review the
                             executive report.
   McKibben, Caitlin         Create agenda for Sweden and               $0.00     2.0      $0.00
                             Belgium on-site visits.
   McKibben, Caitlin         Email to international Deloitte teams in   $0.00     1.0      $0.00
                             China and Belgium regarding site
                             visits.

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Export Compliance Assessment
01/19/2018
   Zanette, Christina        Onsite assessment for Westinghouse         $0.00     4.0      $0.00
                             in Cranberry, PA.
01/23/2018
   Jones, Louverture         Examination of Westinghouse IT             $0.00     1.2      $0.00
                             infrastructure for assessing current
                             capabilities for guarding data privacy.
   Jones, Louverture         Document process export control data,      $0.00     1.8      $0.00
                             comparing applications and
                             capabilities for the in scope countries
                             and locales.
   Kao, Suzanne              Final WEC report template review and       $0.00     0.5      $0.00
                             review of email exchanges between
                             Deloitte team.
   McKibben, Caitlin         Final WEC report template review.          $0.00     0.4      $0.00
   McKibben, Caitlin         Sent emails coordinating meetings with     $0.00     0.3      $0.00
                             the Deloitte China team.
   McKibben, Caitlin         Conference call with C. Zanette            $0.00     1.0      $0.00
                             (Deloitte) regarding China trip and next
                             steps.
   McKibben, Caitlin         Schedule Sweden and Belgium on-site        $0.00     0.5      $0.00
                             assessment.
   McKibben, Caitlin         Prepare questions for Cranberry            $0.00     0.2      $0.00
                             Supply Chain conference call.
   McKibben, Caitlin         Prepare questions for call with WEC        $0.00     0.4      $0.00
                             Cranberry supply chain team for
                             assessment.
   Zanette, Christina        Onsite Export Control Assessment at        $0.00     4.0      $0.00
                             WEC Shanghai office including
                             interviews with Westinghouse
                             personnel.
01/24/2018
   Jones, Louverture         Conduct assessment activities and          $0.00     2.6      $0.00
                             actions related to assessing export
                             control and IT implications of the
                             Chinese Cybersecurity Law.
   Jones, Louverture         Document findings and construction of      $0.00     1.4      $0.00
                             IT infrastructure report.



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                        Westinghouse Electric Company, LLC
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Export Compliance Assessment
01/24/2018
   Lelchuk, Justine          Work with Legal Team and Project             $0.00     4.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   McKibben, Caitlin         Compile sample questions for Sweden          $0.00     1.8      $0.00
                             site visit for site kick off call with WEC
                             and Deloitte stakeholders.
   McKibben, Caitlin         Draft export control regulatory mapping      $0.00     0.8      $0.00
                             questions to C. Zanette (Deloitte).
   Zanette, Christina        Onsite Export Control Assessment at          $0.00     4.0      $0.00
                             WEC Shanghai office including
                             interviews with Westinghouse
                             personnel.
   Zanette, Christina        Preparation of site report for Export        $0.00     3.0      $0.00
                             Control Assessment at Shanghai.
01/25/2018
   Jones, Louverture         Create initial reporting data for            $0.00     1.2      $0.00
                             applications and security capability that
                             were examined, adding applicable
                             detail regarding the 2000+ applications
                             that were identified as being in use
                             within Westinghouse.
   Jones, Louverture         Develop Export Control Report                $0.00     6.8      $0.00
                             providing details on application impact
                             on Export Control and applicable
                             country specific laws and provisions.
   Kao, Suzanne              Update Sweden onsite agenda.                 $0.00     1.0      $0.00
   Lelchuk, Justine          Work with Legal Team and Project             $0.00     4.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   McKibben, Caitlin         Final WEC report template review and         $0.00     2.0      $0.00
                             update.
   McKibben, Caitlin         Update Sweden on-site assessment             $0.00     0.1      $0.00
                             agenda.
   McKibben, Caitlin         Draft discussion topics for Sweden on-       $0.00     2.0      $0.00
                             site assessment.


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Export Compliance Assessment
01/25/2018
   McKibben, Caitlin         Draft discussion topics for Sweden on-      $0.00     1.8      $0.00
                             site assessment for interviews.
   McKibben, Caitlin         Meeting with Deloitte team to review        $0.00     1.0      $0.00
                             WEC report template.
   Zanette, Christina        Onsite Export Control Assessment at         $0.00     4.0      $0.00
                             WEC Shanghai office.
   Zanette, Christina        Onsite Export Control Assessment at         $0.00     4.0      $0.00
                             WEC Shanghai office.
   Zanette, Christina        Preparation of site report for Export       $0.00     3.0      $0.00
                             Control Assessment at Shanghai.
01/26/2018
   Jones, Louverture         Create reporting slides for                 $0.00     1.7      $0.00
                             recommendations related to
                             addressing export compliance program
                             as it relates to IT infrastructure in the
                             Data Governance and protections.
   Jones, Louverture         Examine Export Control Compliance           $0.00     3.8      $0.00
                             program.
   Jones, Louverture         Write recommendations related to            $0.00     2.5      $0.00
                             export compliance program.
   McKibben, Caitlin         Perform Deloitte document retention         $0.00     2.9      $0.00
                             processes for WEC project.
   Zanette, Christina        Onsite Export Control Assessment at         $0.00     4.2      $0.00
                             WEC Shanghai office.
   Zanette, Christina        Preparation of site report for Export       $0.00     1.8      $0.00
                             Control Assessment at Shanghai.
01/29/2018
   Gehlot, Ranjeet           Perform regroup and task assignment.        $0.00     0.5      $0.00
   McKibben, Caitlin         Create regulatory mapping matrix for        $0.00     3.5      $0.00
                             Deloitte team call.
   Zanette, Christina        Perform document review for                 $0.00     1.5      $0.00
                             Westinghouse assessment.
   Zanette, Christina        Provide support for Westinghouse            $0.00     2.5      $0.00
                             assessment.
01/30/2018
   Gehlot, Ranjeet           Perform regulatory mapping exercise.        $0.00     0.5      $0.00
   Gehlot, Ranjeet           Review report template.                     $0.00     1.0      $0.00

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Export Compliance Assessment
01/30/2018
   Kao, Suzanne              Final WEC report template review.            $0.00     1.0      $0.00
   McKibben, Caitlin         Continue working sessions with               $0.00     2.5      $0.00
                             Deloitte Consulting teams in
                             Cranberry, PA to finalize reports and
                             plan for final Export Controls report.
   McKibben, Caitlin         Finalize WEC report template review          $0.00     4.3      $0.00
                             with C. Zanette.
   McKibben, Caitlin         Working sessions with Deloitte               $0.00     4.0      $0.00
                             Consulting teams in Cranberry, PA to
                             finalize reports and plan for final Export
                             Controls report.
   Zanette, Christina        Provide support for Westinghouse             $0.00     2.7      $0.00
                             assessment.
   Zanette, Christina        Perform document review for                  $0.00     1.3      $0.00
                             Westinghouse assessment.
01/31/2018
   McKibben, Caitlin         Regroup with Deloitte team regarding         $0.00     1.5      $0.00
                             onsite meeting.
   McKibben, Caitlin         On-site visit in Cranberry with Y. Liu       $0.00     5.0      $0.00
                             (Westinghouse) in all day meetings
                             and post-meeting follow ups with
                             Deloitte internal assessment team.
   McKibben, Caitlin         Continue on-site visit in Cranberry with     $0.00     4.3      $0.00
                             Y. Liu (Westinghouse) in all day
                             meetings and post-meeting follow ups
                             with Deloitte internal assessment team.
   Zanette, Christina        Provide support for Westinghouse             $0.00     2.6      $0.00
                             assessment.
   Zanette, Christina        Perform document review for                  $0.00     1.4      $0.00
                             Westinghouse assessment.
02/01/2018
   Kao, Suzanne              Review emails with internal Deloitte         $0.00     0.5      $0.00
                             team to schedule upcoming site
                             assessments and preparation
                             meetings.




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Export Compliance Assessment
02/01/2018
   Lelchuk, Justine          Work with Legal Team and Project           $0.00     4.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   McKibben, Caitlin         Create internal Deloitte resources for     $0.00     1.0      $0.00
                             Manufacturing-Export Controls team to
                             leverage.
   McKibben, Caitlin         Emails to internal Deloitte team to        $0.00     3.2      $0.00
                             schedule upcoming site assessments
                             and preparation meetings.
   McKibben, Caitlin         Internal coordination with Deloitte team   $0.00     2.0      $0.00
                             members regarding Sweden and
                             Belgium site plan review.
   McKibben, Caitlin         Meeting with C. Zanette (Deloitte) to      $0.00     1.0      $0.00
                             review project budget with project
                             controller.
   McKibben, Caitlin         Call with N. Harsch to discuss Sweden      $0.00     3.0      $0.00
                             on-site assessment.
   Zanette, Christina        Perform document review for                $0.00     1.5      $0.00
                             Westinghouse assessment.
   Zanette, Christina        Provide support for Westinghouse           $0.00     2.5      $0.00
                             assessment.
02/02/2018
   Kao, Suzanne              Review export-controls awareness           $0.00     1.0      $0.00
                             presentation for internal Deloitte team.
   McKibben, Caitlin         Review export-controls awareness           $0.00     4.0      $0.00
                             presentation.
   McKibben, Caitlin         Continue to review export-controls         $0.00     3.2      $0.00
                             awareness presentation.
   Zanette, Christina        Provide support for Westinghouse           $0.00     2.5      $0.00
                             assessment.
   Zanette, Christina        Perform document review for                $0.00     1.5      $0.00
                             Westinghouse assessment.
02/04/2018
   McKibben, Caitlin         Email to Deloitte team to schedule         $0.00     0.1      $0.00
                             upcoming site assessments and
                             preparation meetings.


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Export Compliance Assessment
02/05/2018
   Gehlot, Ranjeet           Update mapping edits.                      $0.00     0.5      $0.00
   Gehlot, Ranjeet           Update mapping edits.                      $0.00     0.5      $0.00
   Gehlot, Ranjeet           Participate in internal touch base         $0.00     1.0      $0.00
                             meeting.
   Kao, Suzanne              Email to internal Deloitte team to         $0.00     0.5      $0.00
                             schedule upcoming site assessments
                             and preparation meetings.
   McKibben, Caitlin         Follow-up emails to internal Deloitte      $0.00     1.2      $0.00
                             team to schedule upcoming site
                             assessments and preparation
                             meetings.
   Zanette, Christina        Preparation for export control onsite      $0.00     2.0      $0.00
                             assessment in Vasteras, Sweden,
                             including review of report template and
                             project scope.
02/06/2018
   Gehlot, Ranjeet           Follow up and changes to some              $0.00     1.0      $0.00
                             contents of Inter-Firm Work Referral
                             Forms.
   Gehlot, Ranjeet           Prepare Information on International       $0.00     1.0      $0.00
                             Atomic Energy Agency with respect to
                             Indian regulations.
   Gehlot, Ranjeet           Re-export controls of India.               $0.00     2.0      $0.00
   Kao, Suzanne              Conference call with WEC Italian team.     $0.00     1.5      $0.00
   McKibben, Caitlin         Onsite assessment visit to Sweden          $0.00     5.0      $0.00
                             location with certain WEC and Deloitte
                             team members.
   McKibben, Caitlin         Continue to on-site assessment visit to    $0.00     4.0      $0.00
                             Sweden location with certain WEC and
                             Deloitte team members.
   McKibben, Caitlin         Conference call with WEC Italian team      $0.00     1.0      $0.00
                             to discuss Iran sanctions.
   McKibben, Caitlin         Update export control report template.     $0.00     0.5      $0.00
   Zanette, Christina        Onsite assessment at WEC in                $0.00     6.0      $0.00
                             Vasteras, Sweden for Export control.
   Zanette, Christina        Continue onsite assessment at WEC in       $0.00     5.0      $0.00
                             Vasteras, Sweden for Export control.


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Export Compliance Assessment
02/07/2018
   Gehlot, Ranjeet           Update Regulatory mapping based on         $0.00     4.5      $0.00
                             the comments and changes to the U.S.
                             control citations.
   Kao, Suzanne              Provide feedback for updating and          $0.00     1.5      $0.00
                             reviewing final WEC report.
   McKibben, Caitlin         Review final WEC report.                   $0.00     4.0      $0.00
   McKibben, Caitlin         Review final WEC report.                   $0.00     4.0      $0.00
   McKibben, Caitlin         Continue to review final WEC report.       $0.00     2.5      $0.00
   Zanette, Christina        Onsite assessment at WEC in                $0.00     5.0      $0.00
                             Vasteras, Sweden for Export control.
   Zanette, Christina        Onsite assessment at WEC in                $0.00     4.0      $0.00
                             Vasteras, Sweden for Export control.
02/08/2018
   Gehlot, Ranjeet           Participate in follow-up WEC meeting.      $0.00     0.5      $0.00
   Kao, Suzanne              Review report structure.                   $0.00     0.5      $0.00
   McKibben, Caitlin         All day on-site visit to Swedish WEC       $0.00     4.0      $0.00
                             location for assessment with Deloitte
                             internal assessment team and WEC
                             stakeholders for the export controls
                             assessment portion of the
                             engagement.
   McKibben, Caitlin         Continue all day on-site visit to          $0.00     3.5      $0.00
                             Swedish WEC location for assessment
                             with Deloitte internal assessment team
                             and WEC stakeholders for the export
                             controls assessment portion of the
                             engagement.
   Zanette, Christina        Continue onsite assessment at WEC in       $0.00     4.0      $0.00
                             Vasteras, Sweden for Export control.
   Zanette, Christina        Onsite assessment at WEC in                $0.00     5.0      $0.00
                             Vasteras, Sweden for Export control.
02/09/2018
   Lelchuk, Justine          Work with Legal Team and Project           $0.00     4.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.


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Export Compliance Assessment
02/09/2018
   McKibben, Caitlin         Email to Deloitte internal assessment      $0.00     2.3      $0.00
                             team to support WEC engagement.
   Zanette, Christina        Review of report and deliverables for      $0.00     3.4      $0.00
                             export control assessment.
   Zanette, Christina        Continue to review report and              $0.00     2.6      $0.00
                             deliverables for export control
                             assessment.
02/12/2018
   Gehlot, Ranjeet           Participate in internal touch base         $0.00     0.5      $0.00
                             meeting.
   Jones, Louverture         Analysis of applicable findings to         $0.00     1.8      $0.00
                             where Westinghouse aligns.
   Jones, Louverture         Create reporting slides for industry       $0.00     0.2      $0.00
                             benchmarking for controls in place for
                             complying with Export Controls,
                             Constructing Graphics.
   Kao, Suzanne              Report out preparation for onsite client   $0.00     1.0      $0.00
                             meeting.
   McKibben, Caitlin         Call with C. Zanette (Deloitte) to         $0.00     0.7      $0.00
                             discuss plans for on-site meetings in
                             Cranberry.
   McKibben, Caitlin         Coordinate logistics and travel            $0.00     0.5      $0.00
                             planning for Belgium site visit.
   Zanette, Christina        Onsite assessment at WEC in                $0.00     4.0      $0.00
                             Pittsburgh, PA.
   Zanette, Christina        Call with C. McKibben (Deloitte) to        $0.00     4.0      $0.00
                             discuss plans for on-site meetings in
                             Cranberry.
02/13/2018
   Kao, Suzanne              Review updates to final WEC report.        $0.00     2.5      $0.00
   McKibben, Caitlin         Final deliverable preparation with         $0.00     4.1      $0.00
                             Deloitte team.
   McKibben, Caitlin         Draft final WEC report.                    $0.00     2.5      $0.00
   McKibben, Caitlin         Meeting with Y. Lui (Westinghouse) to      $0.00     4.0      $0.00
                             review final Deloitte Consulting report
                             out in Cranberry, PA.
   Zanette, Christina        Onsite assessment at WEC in                $0.00     5.0      $0.00
                             Pittsburgh, PA.

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Export Compliance Assessment
02/13/2018
   Zanette, Christina        Onsite assessment at WEC in                $0.00     3.0      $0.00
                             Pittsburgh, PA.
02/14/2018
   Jones, Louverture         Create diagram and content for             $0.00     3.3      $0.00
                             recommendations report.
   Jones, Louverture         Create and write reference model           $0.00     5.7      $0.00
                             recommendation.
   McKibben, Caitlin         Continue to update final WEC report.       $0.00     2.0      $0.00
   McKibben, Caitlin         Further update final WEC report.           $0.00     4.7      $0.00
   McKibben, Caitlin         Additional updates to final WEC report.    $0.00     4.0      $0.00
   McKibben, Caitlin         Update final WEC report.                   $0.00     4.8      $0.00
   Zanette, Christina        Onsite assessment at WEC in                $0.00     4.1      $0.00
                             Pittsburgh, PA.
   Zanette, Christina        Onsite assessment at WEC in                $0.00     3.9      $0.00
                             Pittsburgh, PA.
02/15/2018
   Gehlot, Ranjeet           Participate in internal touch base         $0.00     0.5      $0.00
                             meeting.
   Jones, Louverture         Write identity management to data          $0.00     3.0      $0.00
                             protection reference model
                             recommendation.
   Jones, Louverture         Create slide content and graphics for      $0.00     2.3      $0.00
                             SAP IAM.
   Jones, Louverture         Create IAM reference model.                $0.00     2.7      $0.00
   Kao, Suzanne              Meeting with Deloitte team and WEC         $0.00     1.5      $0.00
                             stakeholders for final report drafting.
   Lelchuk, Justine          Work with Legal Team and Project           $0.00     4.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   McKibben, Caitlin         Update final WEC report.                   $0.00     4.0      $0.00
   McKibben, Caitlin         Continue to update final WEC report.       $0.00     4.0      $0.00
   Zanette, Christina        Onsite assessment at WEC in                $0.00     4.0      $0.00
                             Pittsburgh, PA.


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Export Compliance Assessment
02/15/2018
   Zanette, Christina        Onsite assessment at WEC in                $0.00     2.0      $0.00
                             Pittsburgh, PA.
02/19/2018
   Gehlot, Ranjeet           Prepare WEC reference guide - on           $0.00     2.0      $0.00
                             Additional Protocol (AP), Nuclear
                             Export Controls of India.
   McKibben, Caitlin         Update site visit report with certain      $0.00     1.5      $0.00
                             WEC and Deloitte stakeholders.
   McKibben, Caitlin         Update final report and site visits with   $0.00     4.0      $0.00
                             certain WEC and Deloitte
                             stakeholders.
   Zanette, Christina        Onsite assessment at WEC in                $0.00     5.0      $0.00
                             Pittsburgh, PA.
02/20/2018
   Gehlot, Ranjeet           Participate in internal touch base         $0.00     0.5      $0.00
                             meeting.
   Jones, Louverture         Create data discovery assessment           $0.00     2.3      $0.00
                             slide.
   Jones, Louverture         Create graphics for data discovery.        $0.00     3.1      $0.00
   Jones, Louverture         Research applicable SGI protections        $0.00     2.1      $0.00
                             for Sweden.
   McKibben, Caitlin         On-site assessment and meetings with       $0.00     4.2      $0.00
                             WEC stakeholders in Belgium.
   McKibben, Caitlin         Continue on-site assessment and            $0.00     4.0      $0.00
                             meetings with WEC stakeholders in
                             Belgium for the export controls
                             assessment portion of the
                             engagement.
   Zanette, Christina        Research Export controls.                  $0.00     4.0      $0.00
02/21/2018
   Gehlot, Ranjeet           Gather the work orders and                 $0.00     1.0      $0.00
                             amendments.
   Jones, Louverture         Create IT Architecture slides.             $0.00     4.8      $0.00
   Jones, Louverture         Review applied regulatory based            $0.00     3.2      $0.00
                             recommendations on how to do global
                             deployment of SAP.



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Export Compliance Assessment
02/21/2018
   McKibben, Caitlin         On-site assessment and meetings with       $0.00     4.1      $0.00
                             WEC stakeholders in Belgium for the
                             export controls assessment portion of
                             the engagement.
   McKibben, Caitlin         Continue on-site assessment and            $0.00     4.1      $0.00
                             meetings with WEC stakeholders in
                             Belgium for the export controls
                             assessment portion of the
                             engagement.
   Zanette, Christina        Update export control report.              $0.00     3.2      $0.00
   Zanette, Christina        Continue to update export control          $0.00     2.8      $0.00
                             report.
02/22/2018
   Gehlot, Ranjeet           Analyze WEC feedback and general           $0.00     1.0      $0.00
                             comments.
   Jones, Louverture         Create graphics for IT Architecture.       $0.00     5.6      $0.00
   Jones, Louverture         Create O365 slides.                        $0.00     0.7      $0.00
   Jones, Louverture         Develop benchmark.                         $0.00     2.7      $0.00
   Lelchuk, Justine          Work with Deloitte Legal Team and          $0.00     4.0      $0.00
                             Project Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   McKibben, Caitlin         Continue on-site assessment and            $0.00     3.2      $0.00
                             meetings with WEC stakeholders in
                             Belgium for the export controls
                             assessment portion of the
                             engagement.
   McKibben, Caitlin         On-site assessment and meetings with       $0.00     4.0      $0.00
                             WEC stakeholders in Belgium for the
                             export controls assessment portion of
                             the engagement.
02/23/2018
   Gehlot, Ranjeet           Update missing information in Master       $0.00     3.0      $0.00
                             WEC Regulatory mapping file.
   Kao, Suzanne              Review draft report in connection with     $0.00     1.0      $0.00
                             Belgium on site assessment.



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Export Compliance Assessment
02/23/2018
   McKibben, Caitlin         Draft final report-out summarizing the     $0.00     0.3      $0.00
                             Belgium site visit following the on-site
                             assessment with WEC stakeholders.
02/24/2018
   Jones, Louverture         Write data discovery                       $0.00     3.8      $0.00
                             recommendations.
   Jones, Louverture         Develop tagging and discovery              $0.00     2.5      $0.00
                             roadmap.
   Jones, Louverture         Create protection roadmap.                 $0.00     1.7      $0.00
02/26/2018
   Kao, Suzanne              Revise WEC report.                         $0.00     1.0      $0.00
   Kao, Suzanne              Status conference call with internal       $0.00     0.5      $0.00
                             Deloitte WEC team to discuss final
                             report and project close out.
   Kao, Suzanne              Status conference call with internal       $0.00     0.5      $0.00
                             Deloitte WEC team to discuss final
                             report and project close out.
   McKibben, Caitlin         Call with internal Deloitte WEC team to    $0.00     0.5      $0.00
                             discuss final report and project close
                             out.
   McKibben, Caitlin         Prepare WEC report.                        $0.00     1.0      $0.00
   Zanette, Christina        Draft final Westinghouse export            $0.00     4.1      $0.00
                             assessment report.
   Zanette, Christina        Continue to draft final Westinghouse       $0.00     3.9      $0.00
                             export assessment report.
02/27/2018
   Kao, Suzanne              Review final WEC report with revisions     $0.00     0.5      $0.00
                             made based on provided feedback.
   McKibben, Caitlin         Review final WEC report.                   $0.00     4.0      $0.00
   McKibben, Caitlin         Continue to review final WEC report.       $0.00     1.8      $0.00
   Zanette, Christina        Draft final Westinghouse export            $0.00     4.0      $0.00
                             assessment report.
   Zanette, Christina        Continue to draft final Westinghouse       $0.00     4.0      $0.00
                             export assessment report.




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Export Compliance Assessment
02/28/2018
   Kao, Suzanne              Review final WEC report with revisions     $0.00     2.0      $0.00
                             made based on provided feedback.
   McKibben, Caitlin         Review final WEC report.                   $0.00     3.0      $0.00
   McKibben, Caitlin         Update final WEC report.                   $0.00     4.0      $0.00
   McKibben, Caitlin         Continue to update final WEC report.       $0.00     1.0      $0.00
   Zanette, Christina        Continue to draft final Westinghouse       $0.00     3.5      $0.00
                             export assessment report.
   Zanette, Christina        Draft final Westinghouse export            $0.00     4.5      $0.00
                             assessment report.
01/23/2019
   Zanette, Christina        Continuation of onsite assessment at       $0.00     4.0      $0.00
                             WEC Shanghai office including
                             interviews with Westinghouse
                             personnel
01/24/2019
   Zanette, Christina        Continuation of onsite assessment at       $0.00     2.0      $0.00
                             WEC Shanghai office including
                             interviews with Westinghouse
                             personnel.
   Subtotal for Export Compliance Assessment:                                   698.7      $0.00

Mangiarotti Spa
02/14/2018
   Kao, Suzanne              Conference calls with WEC Mangiarotti      $0.00     3.0      $0.00
                             to discuss project update.
02/16/2018
   Zanette, Christina        Onsite assessment at WEC in                $0.00     2.0      $0.00
                             Pittsburgh, PA.
02/20/2018
   Kao, Suzanne              Review draft reports for WEC.              $0.00     2.0      $0.00
02/21/2018
   Zanette, Christina        Draft Mangiarotte export assessment        $0.00     2.0      $0.00
                             report.




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Mangiarotti Spa
02/22/2018
   Zanette, Christina          Continue to draft Mangiarotte export        $0.00     3.0      $0.00
                               assessment report.
02/23/2018
   Kao, Suzanne                Call with C. Zanette regarding              $0.00     0.5      $0.00
                               Mangiarotte.
   Zanette, Christina          Draft Mangiarotte export assessment         $0.00     2.0      $0.00
                               report.
   Subtotal for Mangiarotti Spa:                                                    14.5      $0.00

Manufacturing Assessment
11/28/2017
   Bondarenko, Ilya            Develop contract materials and              $0.00     1.2      $0.00
                               timeline to drive project activities.
11/29/2017
   Bondarenko, Ilya            Develop contract materials and              $0.00     2.8      $0.00
                               timeline to drive project activities.
11/30/2017
   Bondarenko, Ilya            Develop contract materials and              $0.00     3.2      $0.00
                               timeline to drive project activities.
12/01/2017
   Bondarenko, Ilya            Review contract materials and project       $0.00     2.8      $0.00
                               timeline.
12/08/2017
   Bondarenko, Ilya            Develop preparation materials for           $0.00     2.1      $0.00
                               Blairsville site visit kickoff.
   Bondarenko, Ilya            Develop draft assessment maturity           $0.00     3.9      $0.00
                               model to be used for plant visits.
   Bondarenko, Ilya            Continue to develop draft assessment        $0.00     3.0      $0.00
                               maturity model to be used for plant
                               visits.
12/11/2017
   Bondarenko, Ilya            Develop draft assessment maturity           $0.00     3.2      $0.00
                               model to be used for plant visits.
   Bondarenko, Ilya            Continue to develop draft assessment        $0.00     3.9      $0.00
                               maturity model to be used for plant
                               visits.

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Manufacturing Assessment
12/11/2017
   Bondarenko, Ilya         Review draft assessment maturity           $0.00     1.9      $0.00
                            model.
   Collins, Robert          Develop detailed manufacturing             $0.00     5.0      $0.00
                            assessment maturity model to be
                            leveraged during site visits.
   Collins, Robert          Develop digital plant assessment           $0.00     4.0      $0.00
                            maturity model to be leveraged during
                            site visits.
   Das Chowdhury, Prajata   Wireframe the design changes               $0.00     3.7      $0.00
                            required in existing maturity model.
   Das Chowdhury, Prajata   Prepare kick off material for plant        $0.00     4.0      $0.00
                            visits.
   Das Chowdhury, Prajata   Prepare data request template for          $0.00     1.3      $0.00
                            performing data analysis.
   Khurana, Sneha           Review project background materials.       $0.00     5.0      $0.00
   Khurana, Sneha           Evaluate available tools and solutions     $0.00     4.0      $0.00
                            to identify suitable KPIs.
12/12/2017
   Bondarenko, Ilya         Review draft assessment maturity           $0.00     3.9      $0.00
                            model.
   Bondarenko, Ilya         Revise assessment maturity model to        $0.00     3.1      $0.00
                            be used for plant visits.
   Bondarenko, Ilya         Continue to revise assessment              $0.00     0.0      $0.00
                            maturity model to be used for plant
                            visits.
   Das Chowdhury, Prajata   Wireframe the design changes               $0.00     2.0      $0.00
                            required in existing maturity model.
   Das Chowdhury, Prajata   Prepare maturity model based on            $0.00     4.0      $0.00
                            Westinghouse requirement.
   Das Chowdhury, Prajata   Review data request template for           $0.00     3.0      $0.00
                            performing data analysis.
   Khurana, Sneha           Evaluate suitability of integrated         $0.00     4.8      $0.00
                            capability map.
   Khurana, Sneha           Continue to evaluate suitability of        $0.00     4.2      $0.00
                            integrated capability map.




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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
12/13/2017
   Bondarenko, Ilya         Revise assessment maturity model to        $0.00     3.7      $0.00
                            be used for plant visits.
   Bondarenko, Ilya         Continue to revise assessment              $0.00     1.0      $0.00
                            maturity model to be used for plant
                            visits.
   Bondarenko, Ilya         Review draft assessment maturity           $0.00     3.2      $0.00
                            model.
   Bondarenko, Ilya         Continue to review draft assessment        $0.00     1.0      $0.00
                            maturity model.
   Das Chowdhury, Prajata   Wireframe the design changes               $0.00     2.4      $0.00
                            required in existing maturity model.
   Das Chowdhury, Prajata   Prepare maturity model based on            $0.00     4.0      $0.00
                            Westinghouse requirement.
   Das Chowdhury, Prajata   Review data request template for           $0.00     2.6      $0.00
                            performing data analysis.
   Khurana, Sneha           Prepare the integrated capability map.     $0.00     4.7      $0.00
   Khurana, Sneha           Continue to prepare the integrated         $0.00     4.3      $0.00
                            capability map.
12/14/2017
   Bondarenko, Ilya         Revise assessment maturity model to        $0.00     3.0      $0.00
                            be used for plant visits.
   Das Chowdhury, Prajata   Review plant material flow diagrams.       $0.00     3.0      $0.00
   Das Chowdhury, Prajata   Create first draft value stream map        $0.00     2.0      $0.00
                            (VSM).
   Das Chowdhury, Prajata   Prepare maturity model based on            $0.00     4.0      $0.00
                            Westinghouse requirement.
12/15/2017
   Bondarenko, Ilya         Revise assessment maturity model to        $0.00     2.0      $0.00
                            be used for plant visits.
   Das Chowdhury, Prajata   Review and edit VSM.                       $0.00     4.0      $0.00
   Das Chowdhury, Prajata   Wireframe the design changes               $0.00     5.0      $0.00
                            required in existing maturity model.
12/18/2017
   Bondarenko, Ilya         Develop assessment maturity model          $0.00     3.9      $0.00
                            for Blairsville site visit.



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Date                        Description                                  Rate    Hours      Fees

Manufacturing Assessment
12/18/2017
   Bondarenko, Ilya         Continue to develop assessment               $0.00     2.0      $0.00
                            maturity model for Blairsville site visit.
   Bondarenko, Ilya         Develop preparation materials for            $0.00     3.1      $0.00
                            Blairsville site visit kickoff.
   Collins, Robert          Develop assessment maturity model            $0.00     4.5      $0.00
                            for Blairsville site visit.
   Collins, Robert          Develop preparation materials for            $0.00     0.6      $0.00
                            Blairsville site visit kickoff.
   Collins, Robert          Review assessment maturity model for         $0.00     3.9      $0.00
                            Blairsville site visit.
   Das Chowdhury, Prajata   Review data request template for             $0.00     4.0      $0.00
                            performing data analysis and
                            incorporated changes.
   Das Chowdhury, Prajata   Wireframe the design changes                 $0.00     5.0      $0.00
                            required in existing maturity model.
   Diehl, David             Preparation sessions for Blairsville site    $0.00     2.6      $0.00
                            walk through and workshop.
   Diehl, David             Continue preparation sessions for            $0.00     1.4      $0.00
                            Blairsville site walk through and
                            workshop.
   Groves, Rick             Develop assessment maturity model            $0.00     3.4      $0.00
                            for Blairsville site visit.
   Groves, Rick             Develop preparation materials for            $0.00     3.1      $0.00
                            Blairsville site visit kickoff.
   Groves, Rick             Review assessment maturity model for         $0.00     3.3      $0.00
                            Blairsville site visit with Deloitte
                            Manufacturing Team.
   Kiefer, Brian            Review Blairsville site visit materials.     $0.00     4.0      $0.00
   Kiefer, Brian            Continue to review Blairsville site visit    $0.00     4.0      $0.00
                            materials.
   Kiefer, Brian            Further review of Blairsville site visit     $0.00     0.9      $0.00
                            materials.
   Kiefer, Brian            Conduct Blairsville site visit.              $0.00     4.0      $0.00
   Kiefer, Brian            Continue to conduct Blairsville site         $0.00     4.0      $0.00
                            visit.
   Petrini, Bobby           Develop assessment maturity model            $0.00     3.4      $0.00
                            for Blairsville site visit.


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Date                        Description                                   Rate    Hours      Fees

Manufacturing Assessment
12/18/2017
   Petrini, Bobby           Reviewed assessment maturity model            $0.00     3.3      $0.00
                            for Blairsville site visit with Deloitte
                            Manufacturing Team
   Petrini, Bobby           Develop preparation materials for             $0.00     3.1      $0.00
                            Blairsville site visit kickoff.
12/19/2017
   Bondarenko, Ilya         Continue to conduct Blairsville site visit    $0.00     0.1      $0.00
                            with Deloitte Manufacturing Team,
                            Blairsville plant team, and K. Sass
                            (WEC).
   Bondarenko, Ilya         Review Blairsville site visit with Deloitte   $0.00     0.9      $0.00
                            team.
   Bondarenko, Ilya         Continue to conduct Blairsville site visit    $0.00     4.0      $0.00
                            with Deloitte Manufacturing Team,
                            Blairsville plant team, and K. Sass
                            (WEC).
   Bondarenko, Ilya         Conduct Blairsville site visit with           $0.00     4.0      $0.00
                            Deloitte Manufacturing Team,
                            Blairsville plant team, and K. Sass
                            (WEC).
   Collins, Robert          Conduct Blairsville site visit interviews     $0.00     3.9      $0.00
                            with Deloitte Manufacturing Team,
                            Blairsville plant operators, and K. Sass
                            (Westinghouse).
   Collins, Robert          Review Blairsville site visit maturity        $0.00     0.3      $0.00
                            model.
   Collins, Robert          Conduct Blairsville site visit plant tour     $0.00     3.8      $0.00
                            with Deloitte Manufacturing Team and
                            K. Sass (Westinghouse).
   Das Chowdhury, Prajata   Review data request template for              $0.00     1.9      $0.00
                            performing data analysis and
                            incorporated changes.
   Das Chowdhury, Prajata   Prepare maturity model based on               $0.00     3.8      $0.00
                            Westinghouse requirement.
   Das Chowdhury, Prajata   Wireframe the design changes                  $0.00     3.3      $0.00
                            required in existing maturity model.
   Diehl, David             Review documented details on the              $0.00     3.0      $0.00
                            operations at Blairsville in preparation
                            of walk through.


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Manufacturing Assessment
12/19/2017
   Diehl, David             Prepare initial slide content and             $0.00     4.0      $0.00
                            framework.
   Diehl, David             Prepare questions and agenda for              $0.00     3.6      $0.00
                            workshop discussion.
   Diehl, David             Continue to prepare questions and             $0.00     3.4      $0.00
                            agenda for workshop discussion.
   Groves, Rick             Conduct Blairsville site visit interviews     $0.00     3.9      $0.00
                            with Deloitte Manufacturing Team,
                            Blairsville plant operators, and K. Sass
                            (WEC).
   Groves, Rick             Conduct Blairsville site visit plant tour     $0.00     3.3      $0.00
                            with Deloitte Manufacturing Team and
                            K. Sass (WEC).
   Groves, Rick             Review Blairsville site visit with Deloitte   $0.00     2.9      $0.00
                            Manufacturing Team.
   Kiefer, Brian            Conduct Blairsville site visit.               $0.00     4.0      $0.00
   Kiefer, Brian            Continue to conduct Blairsville site          $0.00     4.0      $0.00
                            visit.
   Kiefer, Brian            Review Blairsville site visit materials.      $0.00     0.7      $0.00
   Librandi, Louis          Conduct Blairsville site visit.               $0.00     1.7      $0.00
   Petrini, Bobby           Conduct Blairsville site visit interviews     $0.00     3.9      $0.00
                            with Deloitte Manufacturing Team,
                            Blairsville plant operators, and K. Sass
   Petrini, Bobby           Conduct Blairsville site visit plant tour     $0.00     3.3      $0.00
                            with Deloitte Manufacturing Team and
                            K. Sass
   Petrini, Bobby           Discuss and review Blairsville site visit     $0.00     3.9      $0.00
                            with Deloitte Manufacturing Team
12/20/2017
   Bondarenko, Ilya         Conduct Blairsville site visit with           $0.00     4.0      $0.00
                            Deloitte Manufacturing Team,
                            Blairsville plant team, and K. Sass.
   Bondarenko, Ilya         Continue to conduct Blairsville site visit    $0.00     4.0      $0.00
                            with Deloitte Manufacturing Team,
                            Blairsville plant team, and K. Sass.
   Bondarenko, Ilya         Continue to conduct Blairsville site visit    $0.00     0.3      $0.00
                            with Deloitte Manufacturing Team,
                            Blairsville plant team, and K. Sass.

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Manufacturing Assessment
12/20/2017
   Bondarenko, Ilya         Review Blairsville site visit with Deloitte   $0.00     0.7      $0.00
                            team.
   Collins, Robert          Conduct Blairsville site visit interviews     $0.00     3.6      $0.00
                            with Deloitte Manufacturing Team,
                            Blairsville plant operators, and K. Sass
                            (Westinghouse).
   Collins, Robert          Prepare Blairsville site visit readout.       $0.00     2.9      $0.00
   Collins, Robert          Review Blairsville site visit                 $0.00     2.5      $0.00
                            observations materials.
   Das Chowdhury, Prajata   Review data request template for              $0.00     4.0      $0.00
                            performing data analysis and
                            incorporated changes.
   Das Chowdhury, Prajata   Wireframe the design changes                  $0.00     2.7      $0.00
                            required in existing maturity model.
   Das Chowdhury, Prajata   Review and edit VSM.                          $0.00     2.3      $0.00
   Diehl, David             Participate in evening review session.        $0.00     2.0      $0.00
   Diehl, David             Attend Supplier Management                    $0.00     0.6      $0.00
                            workshop.
   Diehl, David             Perform planning and scheduling               $0.00     2.0      $0.00
                            management workshop.
   Diehl, David             Prepare planning for Plant Engineering        $0.00     1.0      $0.00
                            workshop.
   Diehl, David             Perform detailed Plant walkthrough.           $0.00     3.1      $0.00
   Diehl, David             Perform workshop review session.              $0.00     2.4      $0.00
   Diehl, David             Prepare planning materials for                $0.00     0.9      $0.00
                            Management workshop.
   Groves, Rick             Conduct Blairsville site visit interviews     $0.00     3.6      $0.00
                            with Deloitte Manufacturing Team,
                            Blairsville plant operators, and K. Sass.
   Groves, Rick             Prepare and present Blairsville site          $0.00     2.9      $0.00
                            visit readout with Deloitte
                            Manufacturing Team, Blairsville plant
                            operators, and K. Sass.
   Groves, Rick             Review Blairsville site visit with Deloitte   $0.00     1.7      $0.00
                            team.
   Kiefer, Brian            Conduct debrief on Blairsville site visit     $0.00     3.3      $0.00
                            with J. Cook (Plant Manager).


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Date                        Description                                 Rate    Hours      Fees

Manufacturing Assessment
12/20/2017
   Librandi, Louis          Conduct Blairsville site visit.             $0.00     3.8      $0.00
   Petrini, Bobby           Conduct Blairsville site visit interviews   $0.00     3.6      $0.00
                            with Deloitte Manufacturing Team,
                            Blairsville plant operators, and K. Sass
   Petrini, Bobby           Prepare and present Blairsville site        $0.00     3.9      $0.00
                            visit readout with Deloitte
                            Manufacturing Team, Blairsville plant
                            operators, and K. Sass
   Petrini, Bobby           Discuss and review Blairville site visit    $0.00     3.7      $0.00
                            with Deloitte team.
12/21/2017
   Bondarenko, Ilya         Consolidate notes on Blairsville site       $0.00     4.0      $0.00
                            visit with Deloitte team.
   Bondarenko, Ilya         Populate Blairsville site assessment        $0.00     2.0      $0.00
                            maturity model.
   Collins, Robert          Consolidate notes on Blairsville site.      $0.00     2.7      $0.00
   Collins, Robert          Conduct debrief on Blairsville site visit   $0.00     3.3      $0.00
                            with J. Cook (Plant Manager).
   Collins, Robert          Populate Blairsville site assessment        $0.00     3.0      $0.00
                            maturity model.
   Das Chowdhury, Prajata   Review data request template for            $0.00     5.0      $0.00
                            performing data analysis and
                            incorporated changes.
   Das Chowdhury, Prajata   Review and edit VSM.                        $0.00     2.5      $0.00
   Das Chowdhury, Prajata   Wireframe the design changes                $0.00     1.5      $0.00
                            required in existing maturity model.
   Diehl, David             Review session with Blairsville             $0.00     4.0      $0.00
                            operations and management.
   Diehl, David             Continue review session with                $0.00     2.0      $0.00
                            Blairsville operations and
                            management.
   Groves, Rick             Consolidate notes on Blairsville site       $0.00     4.0      $0.00
                            visit with Deloitte team.
   Groves, Rick             Conduct debrief on Blairsville site visit   $0.00     3.3      $0.00
                            with J. Cook (Plant Manager).
   Groves, Rick             Populate Blairsville site assessment        $0.00     3.0      $0.00
                            maturity model.


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Manufacturing Assessment
12/21/2017
   Petrini, Bobby           Consolidate notes on Blairsville site       $0.00     4.0      $0.00
                            visit with Deloitte team.
   Petrini, Bobby           Conduct debrief on Blairsville site visit   $0.00     3.3      $0.00
                            with J. Cook (Plant Manager).
   Petrini, Bobby           Populate Blairsville site assessment        $0.00     3.0      $0.00
                            maturity model.
12/22/2017
   Bondarenko, Ilya         Create summary output materials from        $0.00     3.0      $0.00
                            Blairsville site visit.
   Collins, Robert          Create summary output materials from        $0.00     2.0      $0.00
                            Blairsville site visit.
   Collins, Robert          Review Blairsville summary output.          $0.00     3.9      $0.00
   Collins, Robert          Continue creation of summary output         $0.00     3.1      $0.00
                            materials from Blairsville site visit.
   Das Chowdhury, Prajata   Prepare maturity model based on             $0.00     4.0      $0.00
                            Westinghouse requirement.
   Das Chowdhury, Prajata   Review wireframe design changes for         $0.00     5.0      $0.00
                            future state maturity model.
   Groves, Rick             Create summary output materials from        $0.00     4.0      $0.00
                            Blairsville site visit.
   Groves, Rick             Review Blairsville summary output with      $0.00     1.0      $0.00
                            Deloitte team.
   Petrini, Bobby           Create summary output materials from        $0.00     4.0      $0.00
                            Blairsville site visit.
   Petrini, Bobby           Review Blairsville summary output with      $0.00     1.6      $0.00
                            Deloitte team.
01/02/2018
   Bondarenko, Ilya         Refine and update Blairsville plant visit   $0.00     3.8      $0.00
                            observations and maturity model.
   Bondarenko, Ilya         Review Blairsville plant visit outputs.     $0.00     3.4      $0.00
   Bondarenko, Ilya         Prepare assessment materials to be          $0.00     1.8      $0.00
                            used during New Stanton Site visit.
   Collins, Robert          Review Blairsville plant visit outputs.     $0.00     3.0      $0.00
   Collins, Robert          Prepare assessment materials to be          $0.00     3.0      $0.00
                            used during New Stanton Site visit.



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Manufacturing Assessment
01/02/2018
   Collins, Robert          Update Blairsville plant visit              $0.00     3.0      $0.00
                            observations and maturity model.
   Das Chowdhury, Prajata   Prepare assessment materials to be          $0.00     1.8      $0.00
                            used during New Stanton site visit.
   Das Chowdhury, Prajata   Review Blairsville plant visit outputs.     $0.00     3.4      $0.00
   Das Chowdhury, Prajata   Update Blairsville plant visit              $0.00     3.8      $0.00
                            observations and maturity model.
   Groves, Rick             Update Blairsville plant visit              $0.00     3.9      $0.00
                            observations and maturity model.
   Groves, Rick             Review Blairsville plant visit outputs      $0.00     3.6      $0.00
                            with Deloitte Team.
   Groves, Rick             Prepare assessment materials to be          $0.00     2.5      $0.00
                            used during New Stanton Site visit.
   Khurana, Sneha           Review Blairsville plant visit outputs.     $0.00     4.0      $0.00
   Khurana, Sneha           Built the maturity model in Tableau         $0.00     5.0      $0.00
                            with the Blairsville plant visit
                            observations.
   Kiefer, Brian            Consolidate notes on Blairsville site       $0.00     4.0      $0.00
                            visit.
   Kiefer, Brian            Review Blairsville plant visit outputs.     $0.00     3.4      $0.00
   Kiefer, Brian            Populate Blairsville site assessment        $0.00     2.1      $0.00
                            maturity model.
   Librandi, Louis          Review Blairsville deliverables with        $0.00     2.2      $0.00
                            Westinghouse client leadership.
   Petrini, Bobby           Refine and update Blairsville plant visit   $0.00     3.9      $0.00
                            observations and maturity model.
   Petrini, Bobby           Review Blairsville plant visit outputs      $0.00     3.6      $0.00
                            with Deloitte Team.
   Petrini, Bobby           Prepare assessment materials to be          $0.00     3.5      $0.00
                            used during New Stanton Site visit.
   Simha, Namita            Discuss technology requirements with        $0.00     2.6      $0.00
                            I. Bondarenko and B. Petrini (both
                            Deloitte).
   Yochim, Nicki            Develop templates for upcoming site         $0.00     3.9      $0.00
                            visits.
   Yochim, Nicki            Prepare for upcoming site visits.           $0.00     0.6      $0.00



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Manufacturing Assessment
01/02/2018
   Yochim, Nicki            Continue to prepare for upcoming site      $0.00     3.2      $0.00
                            visits.
   Yochim, Nicki            Update materials for upcoming site         $0.00     1.3      $0.00
                            visits.
01/03/2018
   Bondarenko, Ilya         Attend New Stanton plant tour.             $0.00     2.3      $0.00
   Bondarenko, Ilya         Analyze current and future                 $0.00     2.0      $0.00
                            improvement activities occurring at
                            New Stanton site.
   Bondarenko, Ilya         Conduct New Stanton Planning and           $0.00     1.3      $0.00
                            Scheduling group interview sessions
                            with Deloitte Manufacturing Team and
                            the Westinghouse plant operators at
                            New Stanton.
   Bondarenko, Ilya         Conduct New Stanton Cost                   $0.00     1.3      $0.00
                            Management group interview sessions
                            with Deloitte Manufacturing Team and
                            the Westinghouse plant operators at
                            New Stanton.
   Bondarenko, Ilya         Review and discuss New Stanton plant       $0.00     1.2      $0.00
                            overview presentation with K. Harsche.
   Collins, Robert          Attend New Stanton plant tour.             $0.00     3.0      $0.00
   Collins, Robert          Conduct New Stanton planning and           $0.00     3.0      $0.00
                            scheduling group interview sessions
                            with Deloitte Manufacturing Team and
                            New Stanton plant operators.
   Collins, Robert          Conduct New Stanton quality group          $0.00     3.0      $0.00
                            interview sessions with Deloitte
                            Manufacturing Team and New Stanton
                            plant operators.
   Das Chowdhury, Prajata   Conduct New Stanton Planning and           $0.00     1.3      $0.00
                            Scheduling group interview sessions.
   Das Chowdhury, Prajata   Conduct New Stanton Cost                   $0.00     1.3      $0.00
                            Management group interview sessions.
   Das Chowdhury, Prajata   Review current and future                  $0.00     2.0      $0.00
                            improvement activities occurring at
                            New Stanton site.
   Das Chowdhury, Prajata   Consolidate plant observation notes on     $0.00     0.9      $0.00
                            New Stanton initial observations.

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Manufacturing Assessment
01/03/2018
   Das Chowdhury, Prajata   Discuss New Stanton plant overview          $0.00     1.2      $0.00
                            presentation with K. Harsche.
   Das Chowdhury, Prajata   Attend New Stanton plant tour.              $0.00     2.3      $0.00
   Groves, Rick             Conduct New Stanton Planning and            $0.00     2.3      $0.00
                            Scheduling group interview sessions
                            with Deloitte Manufacturing Team and
                            New Stanton plant operators.
   Groves, Rick             Conduct New Stanton Quality group           $0.00     2.3      $0.00
                            interview sessions with Deloitte
                            Manufacturing Team and New Stanton
                            plant operators.
   Groves, Rick             Discuss New Stanton plant overview          $0.00     2.2      $0.00
                            presentation with K. Harsche.
   Groves, Rick             Attend New Stanton plant tour.              $0.00     3.3      $0.00
   Khurana, Sneha           Refine the data structure for the           $0.00     5.0      $0.00
                            maturity model in tableau.
   Khurana, Sneha           Continue to refine the data structure for   $0.00     4.0      $0.00
                            the maturity model in tableau.
   Kiefer, Brian            Update Blairsville plant visit              $0.00     3.8      $0.00
                            observations and maturity model.
   Kiefer, Brian            Attend New Stanton plant tour.              $0.00     2.3      $0.00
   Kiefer, Brian            Prepare assessment materials to be          $0.00     1.8      $0.00
                            used during New Stanton Site visit.
   Kiefer, Brian            Conduct New Stanton Planning and            $0.00     1.3      $0.00
                            Scheduling group interview sessions
                            with Deloitte Manufacturing Team and
                            Westinghouse plant operators at New
                            Stanton
   Kiefer, Brian            Conduct New Stanton Cost                    $0.00     1.3      $0.00
                            Management.
   Kiefer, Brian            Discuss New Stanton plant overview          $0.00     1.2      $0.00
                            presentation with K. Harsche.
   Librandi, Louis          Review deliverables with                    $0.00     3.1      $0.00
                            Westinghouse client leadership.
   Librandi, Louis          Continue to review deliverables with        $0.00     1.0      $0.00
                            Westinghouse client leadership.
   Petrini, Bobby           Attend New Stanton plant tour.              $0.00     3.3      $0.00


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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
01/03/2018
   Petrini, Bobby           Conduct New Stanton Planning and           $0.00     3.3      $0.00
                            Scheduling group interview sessions
                            with Deloitte Manufacturing Team and
                            New Stanton plant operators
   Petrini, Bobby           Conduct New Stanton Quality group          $0.00     3.3      $0.00
                            interview sessions with Deloitte
                            Manufacturing Team and New Stanton
                            plant operators
   Petrini, Bobby           Review and discuss New Stanton plant       $0.00     3.2      $0.00
                            overview presentation with K. Harsche.
   Simha, Namita            Research summary meeting with I.           $0.00     3.4      $0.00
                            Bondarenko, B. Petrini, and P.
                            Chowdhury (Deloitte).
   Yochim, Nicki            Perform New Stanton ongoing                $0.00     2.4      $0.00
                            improvement interviews.
   Yochim, Nicki            Attend New Stanton plant tour.             $0.00     2.1      $0.00
   Yochim, Nicki            Perform New Stanton observations           $0.00     1.5      $0.00
                            consolidation.
   Yochim, Nicki            New Stanton cost management                $0.00     0.9      $0.00
                            interview.
   Yochim, Nicki            Perform New Stanton planning and           $0.00     1.1      $0.00
                            scheduling.
   Yochim, Nicki            Prepare New Stanton plant overview.        $0.00     1.0      $0.00
01/04/2018
   Bondarenko, Ilya         Consolidate plant observation notes on     $0.00     2.9      $0.00
                            New Stanton initial observations.
   Collins, Robert          Conduct New Stanton supplier               $0.00     3.0      $0.00
                            management interviews with Deloitte
                            Manufacturing Team and New Stanton
                            operators.
   Collins, Robert          Conduct New Stanton materials              $0.00     3.0      $0.00
                            management group interview sessions
                            with Deloitte Manufacturing Team and
                            New Stanton plant operators.
   Collins, Robert          Discuss New Stanton plant overview         $0.00     3.0      $0.00
                            presentation with K. Harsche
                            (Westinghouse).



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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
01/04/2018
   Das Chowdhury, Prajata   Conduct New Stanton Materials              $0.00     1.3      $0.00
                            Management group interview sessions.
   Das Chowdhury, Prajata   Conduct New Stanton Engineering            $0.00     1.2      $0.00
                            group interview sessions.
   Das Chowdhury, Prajata   Conduct New Stanton Supplier               $0.00     1.5      $0.00
                            Management group interview sessions.
   Das Chowdhury, Prajata   Consolidate plant observation notes.       $0.00     2.6      $0.00
   Das Chowdhury, Prajata   Discuss Deloitte's initial New Stanton     $0.00     0.9      $0.00
                            observations with K. Harsche.
   Das Chowdhury, Prajata   Consolidate plant observation notes on     $0.00     0.3      $0.00
                            New Stanton initial observations.
   Das Chowdhury, Prajata   Conduct New Stanton Quality group          $0.00     1.2      $0.00
                            interview sessions.
   Diehl, David             Multiple workshop day for the Waltz        $0.00    14.0      $0.00
                            Mill location as well as evening
                            preparation with team on report out.
   Groves, Rick             Conduct New Stanton Engineering            $0.00     2.2      $0.00
                            group interview sessions with Deloitte
                            Manufacturing Team and New Stanton
                            engineering team.
   Groves, Rick             Conduct New Stanton Supplier               $0.00     2.5      $0.00
                            Management interviews with Deloitte
                            Manufacturing Team and New Stanton
                            operators.
   Groves, Rick             Conduct New Stanton Materials              $0.00     2.3      $0.00
                            Management group interview sessions
                            with Deloitte Manufacturing Team and
                            New Stanton plant operators.
   Groves, Rick             Conduct New Stanton Quality group          $0.00     2.2      $0.00
                            interview sessions with Deloitte
                            Manufacturing Team and New Stanton
                            plant operators.
   Khurana, Sneha           Review and analysis the data for           $0.00     5.5      $0.00
                            Manufacturing Operations in maturity
                            model.
   Khurana, Sneha           Review and analysis the data for           $0.00     3.5      $0.00
                            Quality in maturity model.
   Kiefer, Brian            Conduct New Stanton Supplier               $0.00     1.5      $0.00
                            Management.

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Manufacturing Assessment
01/04/2018
   Kiefer, Brian            Conduct New Stanton Materials              $0.00     1.3      $0.00
                            Management group interview sessions
                            with Deloitte Manufacturing Team and
                            Westinghouse plant operators at New
                            Stanton.
   Kiefer, Brian            Conduct New Stanton Quality group          $0.00     1.2      $0.00
                            interview sessions with Deloitte
                            Manufacturing Team and
                            Westinghouse plant operators at New
                            Stanton.
   Kiefer, Brian            Conduct New Stanton Engineering            $0.00     1.2      $0.00
                            group interview sessions with Deloitte
                            Manufacturing Team and
                            Westinghouse plant operators at New
                            Stanton.
   Librandi, Louis          Review deliverables with                   $0.00     3.3      $0.00
                            Westinghouse client leadership.
   Librandi, Louis          Continue to review deliverables with       $0.00     1.0      $0.00
                            Westinghouse client leadership.
   Petrini, Bobby           Conduct New Stanton Supplier               $0.00     3.5      $0.00
                            Management interviews with Deloitte
                            Manufacturing Team and New Stanton
                            operators
   Petrini, Bobby           Conduct New Stanton Materials              $0.00     3.3      $0.00
                            Management group interview sessions
                            with Deloitte Manufacturing Team and
                            New Stanton plant operators
   Petrini, Bobby           Conduct New Stanton Quality group          $0.00     3.2      $0.00
                            interview sessions with Deloitte
                            Manufacturing Team and New Stanton
                            plant operators
   Petrini, Bobby           Conduct New Stanton Engineering            $0.00     3.2      $0.00
                            group interview sessions with Deloitte
                            Manufacturing Team and New Stanton
                            engineering team
   Simha, Namita            Technology research discussion with        $0.00     2.9      $0.00
                            A. Parrott, R. Burke, E. Deuel, and I.
                            Bondarenko.
   Yochim, Nicki            Perform New Stanton quality                $0.00     1.2      $0.00
                            interviews.


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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
01/04/2018
   Yochim, Nicki            Prepare New Stanton report out of          $0.00     0.8      $0.00
                            observations.
   Yochim, Nicki            Perform New Stanton supplier               $0.00     0.9      $0.00
                            management interviews.
   Yochim, Nicki            Perform New Stanton engineering            $0.00     1.1      $0.00
                            interviews.
   Yochim, Nicki            Perform New Stanton materials              $0.00     1.0      $0.00
                            management interviews.
   Yochim, Nicki            Create report out deck.                    $0.00     2.4      $0.00
   Yochim, Nicki            Prepare report out material.               $0.00     1.6      $0.00
01/05/2018
   Bondarenko, Ilya         Develop New Stanton plant visit            $0.00     3.8      $0.00
                            detailed observations and maturity
                            model.
   Bondarenko, Ilya         Continue to develop New Stanton plant      $0.00     2.8      $0.00
                            visit detailed observations and maturity
                            model.
   Bondarenko, Ilya         Review New Stanton plant visit             $0.00     2.4      $0.00
                            observations and maturity model with
                            R. Groves (Deloitte).
   Collins, Robert          Develop New Stanton plant visit            $0.00     3.0      $0.00
                            detailed observations and maturity
                            model.
   Collins, Robert          Review New Stanton plant visit             $0.00     3.0      $0.00
                            observations and maturity model with I.
                            Bondarenko (Deloitte).
   Collins, Robert          Continue to develop New Stanton plant      $0.00     3.0      $0.00
                            visit detailed observations and maturity
                            model.
   Das Chowdhury, Prajata   Develop New Stanton plant visit            $0.00     6.6      $0.00
                            detailed observations and maturity
                            model.
   Das Chowdhury, Prajata   Review New Stanton plant visit             $0.00     2.4      $0.00
                            observations and maturity model with
                            R. Groves.
   Diehl, David             Review session with Waltz Mill             $0.00     3.8      $0.00
                            operations and management.



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Date                       Description                                Rate    Hours      Fees

Manufacturing Assessment
01/05/2018
   Diehl, David            Review session with Waltz Mill             $0.00     2.2      $0.00
                           operations and management.
   Groves, Rick            Develop New Stanton plant visit            $0.00     3.6      $0.00
                           detailed observations and maturity
                           model.
   Groves, Rick            Review New Stanton plant visit             $0.00     2.9      $0.00
                           observations and maturity model with I.
                           Bondarenko (Deloitte).
   Khurana, Sneha          Analyze the data for Supplier              $0.00     4.5      $0.00
                           Management and incorporated in tool.
   Khurana, Sneha          Analyze the data for Planning &            $0.00     4.5      $0.00
                           Scheduling, Metrics and incorporated
                           in tool.
   Petrini, Bobby          Develop New Stanton plant visit            $0.00     3.6      $0.00
                           detailed observations and maturity
                           model.
   Petrini, Bobby          Continue to develop New Stanton plant      $0.00     3.4      $0.00
                           visit detailed observations and maturity
                           model.
   Petrini, Bobby          Review New Stanton plant visit             $0.00     3.9      $0.00
                           observations and maturity model with I.
                           Bondarenko.
   Simha, Namita           Planning and scheduling technical          $0.00     3.1      $0.00
                           alignment meetings for the week of
                           01/08 with I. Bondarenko (Deloitte).
   Yochim, Nicki           Update final deliverable for New           $0.00     2.4      $0.00
                           Stanton.
   Yochim, Nicki           Continue to create report out              $0.00     3.7      $0.00
                           deliverable.
   Yochim, Nicki           Continue work on final deliverable for     $0.00     0.8      $0.00
                           New Stanton.
   Yochim, Nicki           Create report out deliverable.             $0.00     2.1      $0.00
01/08/2018
   Bondarenko, Ilya        Conduct Newington plant interviews         $0.00     1.6      $0.00
                           regarding Manufacturing Operations
                           with Deloitte Manufacturing Team and
                           the Westinghouse plant operators at
                           Newington.


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Manufacturing Assessment
01/08/2018
   Bondarenko, Ilya         Prepare assessment materials to be         $0.00     3.9      $0.00
                            used during Newington site visit.
   Bondarenko, Ilya         Continue to prepare assessment             $0.00     1.0      $0.00
                            materials to be used during Newington
                            site visit.
   Bondarenko, Ilya         Review Newington plant overview            $0.00     2.5      $0.00
                            presentation.
   Collins, Robert          Conduct Newington plant interviews         $0.00     3.1      $0.00
                            regarding manufacturing operations
                            with Deloitte Manufacturing Team and
                            Newington plant operators.
   Collins, Robert          Review Newington plant overview            $0.00     2.0      $0.00
                            presentation and attended plant tour.
   Collins, Robert          Attend Newington site visit plant tour.    $0.00     2.3      $0.00
   Collins, Robert          Continue to conduct Newington plant        $0.00     1.7      $0.00
                            interviews regarding manufacturing
                            operations with Deloitte Manufacturing
                            Team and Newington plant operators.
   Collins, Robert          Participate in Newington site visit        $0.00     3.3      $0.00
                            interview session.
   Collins, Robert          Review Newington plant overview            $0.00     1.7      $0.00
                            presentation.
   Collins, Robert          Prepare assessment materials to be         $0.00     3.9      $0.00
                            used during Newington site visit.
   Das Chowdhury, Prajata   Prepare assessment materials to be         $0.00     4.9      $0.00
                            used during Newington site visit.
   Das Chowdhury, Prajata   Review Newington plant overview            $0.00     2.5      $0.00
                            presentation.
   Das Chowdhury, Prajata   Conduct Newington plant interviews         $0.00     1.6      $0.00
                            regarding Manufacturing Operations.
   Diehl, David             Work on IT Maturity deliverable details.   $0.00     2.0      $0.00
   Groves, Rick             Prepare assessment materials to be         $0.00     3.9      $0.00
                            used during Newington site visit.
   Groves, Rick             Conduct Newington plant interviews         $0.00     3.1      $0.00
                            regarding Manufacturing Operations
                            with Deloitte Manufacturing Team and
                            Newington plant operators.



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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
01/08/2018
   Groves, Rick             Review Newington plant overview            $0.00     3.5      $0.00
                            presentation and attended plant tour.
   Khurana, Sneha           Review and analyze the data for            $0.00     4.8      $0.00
                            technology in tableau maturity model.
   Khurana, Sneha           Continue to analyze the data for           $0.00     4.2      $0.00
                            technology in tableau maturity model.
   Librandi, Louis          Review Newington plant overview            $0.00     1.6      $0.00
                            presentation and attended plant tour.
   Petrini, Bobby           Prepare assessment materials to be         $0.00     3.9      $0.00
                            used during Newington site visit.
   Petrini, Bobby           Review Newington plant overview            $0.00     3.5      $0.00
                            presentation and attended plant tour.
   Petrini, Bobby           Conduct Newington plant interviews         $0.00     3.1      $0.00
                            regarding Manufacturing Operations
                            with Deloitte Manufacturing Team and
                            Newington plant operators
   Simha, Namita            Meeting at Westinghouse's Newington        $0.00     2.0      $0.00
                            site.
   Simha, Namita            Review Newington plant overview            $0.00     2.5      $0.00
                            presentation and attended plant tour.
   Simha, Namita            Prepare assessment materials to be         $0.00     2.9      $0.00
                            used during Newington site visit.
   Simha, Namita            Participate in Newington site visit.       $0.00     1.6      $0.00
   Yochim, Nicki            Create New Stanton maturity model.         $0.00     2.7      $0.00
   Yochim, Nicki            Refine New Stanton maturity model.         $0.00     2.3      $0.00
   Yochim, Nicki            Continue to create New Stanton             $0.00     4.0      $0.00
                            maturity model.
   Zawahir, Tariq           Meeting at Westinghouse's Newington        $0.00     2.0      $0.00
                            site.
   Zawahir, Tariq           Review Newington plant overview            $0.00     2.5      $0.00
                            presentation and attended plant tour.
   Zawahir, Tariq           Prepare assessment materials to be         $0.00     2.9      $0.00
                            used during Newington site visit.
   Zawahir, Tariq           Participate in Newington site visit.       $0.00     1.6      $0.00




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Manufacturing Assessment
01/09/2018
   Bondarenko, Ilya         Conduct Newington plant interviews         $0.00     1.0      $0.00
                            regarding Quality Operations with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Newington.
   Bondarenko, Ilya         Conduct Newington plant interviews         $0.00     1.0      $0.00
                            regarding Cost Management with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Newington.
   Bondarenko, Ilya         Conduct Newington plant interviews         $0.00     2.3      $0.00
                            regarding Planning and Scheduling
                            with Deloitte Manufacturing Team and
                            the Westinghouse plant operators at
                            Newington.
   Bondarenko, Ilya         Conduct Newington plant interviews         $0.00     1.4      $0.00
                            regarding Engineering with Deloitte
                            Manufacturing Team and the
                            Westinghouse plant operators at
                            Newington.
   Bondarenko, Ilya         Conduct Newington plant interviews         $0.00     1.2      $0.00
                            regarding Supplier Management with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Newington.
   Bondarenko, Ilya         Conduct Newington plant interviews         $0.00     1.1      $0.00
                            regarding Materials Management with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Newington.
   Bondarenko, Ilya         Refine and update Newington plant          $0.00     1.0      $0.00
                            visit observations.
   Collins, Robert          Conduct Newington plant tour.              $0.00     3.3      $0.00
   Collins, Robert          Continue to conduct Newington plant        $0.00     3.1      $0.00
                            tour.
   Collins, Robert          Conduct Newington plant interviews         $0.00     2.6      $0.00
                            regarding cost management with
                            Deloitte Manufacturing Team and
                            Newington plant operators.



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Manufacturing Assessment
01/09/2018
   Collins, Robert          Conduct Newington plant interviews         $0.00     3.0      $0.00
                            regarding quality operations with
                            Deloitte Manufacturing Team and
                            Newington plant operators.
   Collins, Robert          Conduct Newington plant interviews         $0.00     3.0      $0.00
                            regarding materials management with
                            Deloitte Manufacturing Team and
                            Newington plant operators.
   Collins, Robert          Perform Newington site visit               $0.00     3.0      $0.00
                            preparation for digital analysis.
   Das Chowdhury, Prajata   Conduct Newington plant interviews         $0.00     2.3      $0.00
                            regarding Planning and Scheduling.
   Das Chowdhury, Prajata   Conduct Newington plant interviews         $0.00     1.2      $0.00
                            regarding Supplier Management.
   Das Chowdhury, Prajata   Conduct Newington plant interviews         $0.00     1.4      $0.00
                            regarding Engineering.
   Das Chowdhury, Prajata   Update Newington plant visit               $0.00     1.0      $0.00
                            observations and maturity model.
   Das Chowdhury, Prajata   Conduct Newington plant interviews         $0.00     1.1      $0.00
                            regarding Materials Management.
   Das Chowdhury, Prajata   Conduct Newington plant interviews         $0.00     1.0      $0.00
                            regarding Cost Management.
   Diehl, David             Work on IT Maturity deliverable details.   $0.00     3.0      $0.00
   Groves, Rick             Conduct Newington plant tour.              $0.00     3.3      $0.00
   Groves, Rick             Conduct Newington plant interviews         $0.00     3.1      $0.00
                            regarding Cost Management with
                            Deloitte Manufacturing Team and
                            Newington plant operators.
   Groves, Rick             Conduct Newington plant interviews         $0.00     3.0      $0.00
                            regarding Quality Operations with
                            Deloitte Manufacturing Team and
                            Newington plant operators.
   Groves, Rick             Conduct Newington plant interviews         $0.00     2.1      $0.00
                            regarding Materials Management with
                            Deloitte Manufacturing Team and
                            Newington plant operators.
   Khurana, Sneha           Update views for maturity model to         $0.00     5.0      $0.00
                            incorporate parameters.


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Manufacturing Assessment
01/09/2018
   Khurana, Sneha           Continue to update views for maturity      $0.00     4.0      $0.00
                            model to incorporate parameters.
   Kiefer, Brian            Conduct Newington plant interviews         $0.00     1.2      $0.00
                            regarding Supplier Management with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Newington.
   Kiefer, Brian            Conduct Newington plant interviews         $0.00     1.1      $0.00
                            regarding Materials Management with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Newington.
   Kiefer, Brian            Update Newington plant visit               $0.00     1.0      $0.00
                            observations and maturity model.
   Kiefer, Brian            Conduct Newington plant interviews         $0.00     1.0      $0.00
                            regarding Quality Operations with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Bewington.
   Kiefer, Brian            Conduct Newington plant interviews         $0.00     1.0      $0.00
                            regarding Cost Management with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Newington.
   Kiefer, Brian            Conduct Newington plant interviews         $0.00     2.3      $0.00
                            regarding Planning and Scheduling
                            with Deloitte Manufacturing Team and
                            Westinghouse operators on-site at
                            Newington.
   Kiefer, Brian            Conduct Newington plant interviews         $0.00     1.4      $0.00
                            regarding Engineering with Deloitte
                            Manufacturing Team and
                            Westinghouse plant operators at
                            Newington.
   Librandi, Louis          Conduct Newington plant interviews         $0.00     3.3      $0.00
                            regarding Planning and Scheduling
                            with Deloitte Manufacturing Team and
                            Westinghouse operators on-site at
                            Newington.
   Petrini, Bobby           Conduct Newington plant tour               $0.00     3.3      $0.00


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Manufacturing Assessment
01/09/2018
   Petrini, Bobby          Conduct Newington plant interviews         $0.00     3.1      $0.00
                           regarding Cost Management with
                           Deloitte Manufacturing Team and
                           Newington plant operators
   Petrini, Bobby          Conduct Newington plant interviews         $0.00     3.0      $0.00
                           regarding Quality Operations with
                           Deloitte Manufacturing Team and
                           Newington plant operators
   Petrini, Bobby          Conduct Newington plant interviews         $0.00     3.1      $0.00
                           regarding Materials Management with
                           Deloitte Manufacturing Team and
                           Newington plant operators
   Simha, Namita           Conduct interviews with                    $0.00     3.5      $0.00
                           Westinghouse's Quality and
                           Procurement teams.
   Simha, Namita           Conduct Newington plant interviews         $0.00     2.1      $0.00
                           regarding materials management with
                           Deloitte Manufacturing Team and
                           Newington plant operators.
   Simha, Namita           Conduct interviews with                    $0.00     2.4      $0.00
                           Westinghouse's Maintenance team.
   Yochim, Nicki           Create New Stanton maturity model.         $0.00     1.2      $0.00
   Yochim, Nicki           Review New Stanton maturity model.         $0.00     3.3      $0.00
   Yochim, Nicki           Continue to create New Stanton             $0.00     1.9      $0.00
                           maturity model.
   Yochim, Nicki           Continue to refine New Stanton             $0.00     2.6      $0.00
                           maturity model.
   Zawahir, Tariq          Conduct interviews with                    $0.00     2.4      $0.00
                           Westinghouse's Maintenance team.
   Zawahir, Tariq          Develop assessment deliverables.           $0.00     1.0      $0.00
   Zawahir, Tariq          Conduct interviews with                    $0.00     3.5      $0.00
                           Westinghouse's Quality and
                           Procurement teams.
   Zawahir, Tariq          Conduct Newington plant interviews         $0.00     2.1      $0.00
                           regarding materials management with
                           Deloitte Manufacturing Team and
                           Newington plant operators.




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                       Westinghouse Electric Company, LLC
                               Deloitte Consulting LLP
                     Fees Sorted by Category for the Fee Period
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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
01/10/2018
   Bondarenko, Ilya         Update Newington plant visit               $0.00     2.8      $0.00
                            observations and maturity model.
   Bondarenko, Ilya         Continue to refine and update              $0.00     2.0      $0.00
                            Newington plant visit observations and
                            maturity model.
   Bondarenko, Ilya         Attend Newington detailed plant tour.      $0.00     3.2      $0.00
   Bondarenko, Ilya         Prepare assessment materials to be         $0.00     1.0      $0.00
                            used during Warrendale site visit.
   Collins, Robert          Perform Newington site visit               $0.00     3.0      $0.00
                            preparation for digital analysis.
   Collins, Robert          Update Newington plant visit               $0.00     3.8      $0.00
                            observations and maturity model.
   Collins, Robert          Attend Newington detailed plant tour.      $0.00     3.2      $0.00
   Collins, Robert          Prepare assessment materials to be         $0.00     3.0      $0.00
                            used during Warrendale site visit.
   Collins, Robert          Update Newington plant visit               $0.00     3.0      $0.00
                            observations and maturity model.
   Collins, Robert          Attend Newington detailed plant tour.      $0.00     3.0      $0.00
   Das Chowdhury, Prajata   Attend Newington detailed plant tour.      $0.00     3.2      $0.00
   Das Chowdhury, Prajata   Update Newington plant visit               $0.00     4.8      $0.00
                            observations and maturity model.
   Das Chowdhury, Prajata   Prepare assessment materials to be         $0.00     1.0      $0.00
                            used during Warrendale site visit.
   Groves, Rick             Prepare assessment materials to be         $0.00     3.0      $0.00
                            used during Warrendale site visit.
   Groves, Rick             Update Newington plant visit               $0.00     3.8      $0.00
                            observations and maturity model.
   Groves, Rick             Attend Newington detailed plant tour.      $0.00     3.2      $0.00
   Khurana, Sneha           Develop tableau views based on             $0.00     4.7      $0.00
                            available data.
   Khurana, Sneha           Continue to develop tableau views          $0.00     4.3      $0.00
                            based on available data.
   Kiefer, Brian            Continue to update Newington plant         $0.00     1.0      $0.00
                            visit observations and maturity model.
   Kiefer, Brian            Attend Newington detailed plant tour.      $0.00     3.2      $0.00



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                      Westinghouse Electric Company, LLC
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                    Fees Sorted by Category for the Fee Period
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Date                       Description                                Rate    Hours      Fees

Manufacturing Assessment
01/10/2018
   Kiefer, Brian           Prepare assessment materials to be         $0.00     1.0      $0.00
                           used during Warrendale site visit.
   Kiefer, Brian           Update Newington plant visit               $0.00     3.8      $0.00
                           observations and maturity model.
   Petrini, Bobby          Refine and update Newington plant          $0.00     3.8      $0.00
                           visit observations and maturity model.
   Petrini, Bobby          Attend Newington detailed plant tour.      $0.00     3.2      $0.00
   Petrini, Bobby          Prepare assessment materials to be         $0.00     3.0      $0.00
                           used during Warrendale site visit.
   Simha, Namita           Meeting with Westinghouse's team at        $0.00     1.5      $0.00
                           Newington, NH.
   Simha, Namita           Prepare assessment materials to be         $0.00     3.0      $0.00
                           used during Warrendale site visit.
   Simha, Namita           Attend Newington detailed plant tour.      $0.00     3.2      $0.00
   Simha, Namita           Conduct meeting with Westinghouse's        $0.00     1.3      $0.00
                           leadership team.
   Yochim, Nicki           Continue to update New Stanton             $0.00     3.9      $0.00
                           maturity model.
   Yochim, Nicki           Update New Stanton maturity model.         $0.00     2.9      $0.00
   Yochim, Nicki           Work on New Stanton maturity model.        $0.00     2.2      $0.00
   Zawahir, Tariq          Final working sessions with the plant      $0.00     3.8      $0.00
                           staff.
   Zawahir, Tariq          Continue final working sessions with       $0.00     5.2      $0.00
                           the plant staff.
01/11/2018
   Bondarenko, Ilya        Update Newington plant visit               $0.00     2.6      $0.00
                           observations and maturity model.
   Bondarenko, Ilya        Continue to refine and update              $0.00     2.0      $0.00
                           Newington plant visit observations and
                           maturity model.
   Bondarenko, Ilya        Review Newington plant visit               $0.00     2.4      $0.00
                           observations and maturity model with
                           R. Groves (Deloitte).
   Bondarenko, Ilya        Continue to review Newington plant         $0.00     2.0      $0.00
                           visit observations and maturity model
                           with R. Groves (Deloitte).


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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
01/11/2018
   Collins, Robert          Participate in Warrendale site visit       $0.00     3.1      $0.00
                            secondary interview session.
   Collins, Robert          Prepare deliverable for Newington site     $0.00     2.0      $0.00
                            visit.
   Collins, Robert          Update Newington plant visit               $0.00     3.6      $0.00
                            observations and maturity model.
   Collins, Robert          Review Newington plant visit               $0.00     3.4      $0.00
                            observations and maturity model with I.
                            Bondarenko (Deloitte).
   Collins, Robert          Attend Warrendale site visit plant tour.   $0.00     1.8      $0.00
   Collins, Robert          Update Warrendale site visit               $0.00     2.2      $0.00
                            observations.
   Collins, Robert          Participate in Warrendale site visit       $0.00     1.9      $0.00
                            initial interview session.
   Das Chowdhury, Prajata   Update Newington plant visit               $0.00     4.6      $0.00
                            observations and maturity model.
   Das Chowdhury, Prajata   Review Newington plant visit               $0.00     4.4      $0.00
                            observations and maturity model.
   Groves, Rick             Update Newington plant visit               $0.00     3.6      $0.00
                            observations and maturity model.
   Groves, Rick             Review Newington plant visit               $0.00     3.4      $0.00
                            observations and maturity model with I.
                            Bondarenko (Deloitte).
   Khurana, Sneha           Incorporate feedback into the tableau      $0.00     5.0      $0.00
                            views.
   Khurana, Sneha           Incorporate feedback into the tableau      $0.00     4.0      $0.00
                            views.
   Kiefer, Brian            Review Newington plant visit               $0.00     3.4      $0.00
                            observations and maturity model with
                            R. Groves (Deloitte).
   Kiefer, Brian            Continue to review Newington plant         $0.00     1.0      $0.00
                            visit observations and maturity model
                            with R. Groves (Deloitte).
   Kiefer, Brian            Update Newington plant visit               $0.00     3.6      $0.00
                            observations and maturity model.
   Kiefer, Brian            Continue to update Newington plant         $0.00     1.0      $0.00
                            visit observations and maturity model.



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                      Westinghouse Electric Company, LLC
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                    Fees Sorted by Category for the Fee Period
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Date                       Description                                Rate    Hours      Fees

Manufacturing Assessment
01/11/2018
   Petrini, Bobby          Refine and update Newington plant          $0.00     3.6      $0.00
                           visit observations and maturity model.
   Petrini, Bobby          Review Newington plant visit               $0.00     3.4      $0.00
                           observations and maturity model with I.
                           Bondarenko.
   Simha, Namita           Update Newington plant visit               $0.00     3.1      $0.00
                           observations and maturity model.
   Simha, Namita           Visit to Westinghouse's Warrendale,        $0.00     1.4      $0.00
                           PA site.
   Simha, Namita           Conduct meeting with Westinghouse's        $0.00     3.3      $0.00
                           Warrendale, PA team.
   Simha, Namita           Create summary output materials from       $0.00     1.2      $0.00
                           Warrendale site visit.
   Yochim, Nicki           Perform Warrendale materials               $0.00     0.8      $0.00
                           management overview.
   Yochim, Nicki           Review Warrendale project with plant       $0.00     0.6      $0.00
                           staff.
   Yochim, Nicki           Review Warrendale current                  $0.00     0.4      $0.00
                           improvement opportunities.
   Yochim, Nicki           Perform Warrendale planning and            $0.00     1.9      $0.00
                           scheduling interviews.
   Yochim, Nicki           Prepare Warrendale internal team           $0.00     1.6      $0.00
                           observations regroup.
   Yochim, Nicki           Prepare Warrendale plant overview          $0.00     1.4      $0.00
                           and presentation.
   Yochim, Nicki           Analyze Warrendale supplier                $0.00     1.1      $0.00
                           management.
   Yochim, Nicki           Perform Warrendale manufacturing           $0.00     1.2      $0.00
                           operations/plant management
                           interviews.
01/12/2018
   Bondarenko, Ilya        Review assessment materials to be          $0.00     1.9      $0.00
                           used during Springfields site visit with
                           B. Petrini (Deloitte).
   Bondarenko, Ilya        Prepare assessment materials to be         $0.00     3.8      $0.00
                           used during Springfields site visit.




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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
01/12/2018
   Bondarenko, Ilya         Continue to prepare assessment             $0.00     3.3      $0.00
                            materials to be used during
                            Springfields site visit.
   Collins, Robert          Prepare manufacturing analysis for         $0.00     3.0      $0.00
                            Warrendale site visit.
   Collins, Robert          Attend Warrendale site visit tour.         $0.00     3.0      $0.00
   Collins, Robert          Review assessment materials to be          $0.00     3.0      $0.00
                            used during Springfields site visit with
                            B. Petrini (Deloitte).
   Collins, Robert          Prepare assessment materials to be         $0.00     3.1      $0.00
                            used during Springfields site visit.
   Collins, Robert          Prepare assessment materials to be         $0.00     3.1      $0.00
                            used during Springfields site visit.
   Collins, Robert          Continue development and review of         $0.00     2.8      $0.00
                            Warrendale site visit observations.
   Das Chowdhury, Prajata   Prepare project deliverables and final     $0.00     5.5      $0.00
                            recommendations with the information
                            and data collected.
   Das Chowdhury, Prajata   Prepare data request templates for         $0.00     2.5      $0.00
                            visited plants.
   Groves, Rick             Review assessment materials to be          $0.00     3.9      $0.00
                            used during Springfields site visit with
                            B. Petrini (Deloitte).
   Groves, Rick             Prepare assessment materials to be         $0.00     3.1      $0.00
                            used during Springfields site visit.
   Khurana, Sneha           Perform quality control review of          $0.00     4.4      $0.00
                            prepared material to hand off.
   Khurana, Sneha           Continue to perform quality control        $0.00     4.6      $0.00
                            review of prepared material to hand off.
   Petrini, Bobby           Review assessment materials to be          $0.00     3.9      $0.00
                            used during Springfields site visit with
                            B. Petrini.
   Petrini, Bobby           Prepare assessment materials to be         $0.00     3.1      $0.00
                            used during Springfields site visit.
   Simha, Namita            Conduct meeting with Westinghouse's        $0.00     1.6      $0.00
                            Warrendale team to provide them a
                            summary of our observations.



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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                  Rate    Hours      Fees

Manufacturing Assessment
01/12/2018
   Simha, Namita            Conduct Newington plant interviews           $0.00     1.9      $0.00
                            regarding Quality operations with
                            Deloitte Manufacturing Team and
                            Newington plant operators
   Simha, Namita            Conduct Newington plant interviews           $0.00     2.6      $0.00
                            regarding Maintenance with Deloitte
                            Manufacturing Team and Newington
                            plant operators
   Yochim, Nicki            Prepare Warrendale confirmation of           $0.00     0.8      $0.00
                            site observations.
   Yochim, Nicki            Perform Warrendale cost management           $0.00     1.3      $0.00
                            interview.
   Yochim, Nicki            Perform Warrendale information flow          $0.00     0.8      $0.00
                            walk through.
   Yochim, Nicki            Perform Warrendale maintenance               $0.00     0.9      $0.00
                            interview.
   Yochim, Nicki            Perform Warrendale internal team             $0.00     2.9      $0.00
                            regroup and observation reconciliation.
   Yochim, Nicki            Perform Warrendale plant engineering         $0.00     1.1      $0.00
                            interview.
   Yochim, Nicki            Perform Warrendale quality interview.        $0.00     1.2      $0.00
01/15/2018
   Bondarenko, Ilya         Prepare assessment materials to be           $0.00     3.4      $0.00
                            used during Springfields site visit.
   Bondarenko, Ilya         Continue to prepare assessment               $0.00     3.0      $0.00
                            materials to be used during
                            Springfields site visit.
   Bondarenko, Ilya         Review assessment materials to be            $0.00     2.6      $0.00
                            used during Springfields site visit with
                            B. Petrini (Deloitte).
   Collins, Robert          Attend Springfields site visit plant tour.   $0.00     0.4      $0.00
   Collins, Robert          Review assessment materials to be            $0.00     3.6      $0.00
                            used during Springfields site visit with
                            B. Petrini (Deloitte).
   Collins, Robert          Participate in Springfields site visit       $0.00     2.0      $0.00
                            initial interview session.
   Collins, Robert          Participate in Springfields site visit       $0.00     3.0      $0.00
                            secondary interview session.

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                    Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours      Fees

Manufacturing Assessment
01/15/2018
   Das Chowdhury, Prajata   Prepare project deliverables and final      $0.00     5.5      $0.00
                            recommendations with the information
                            and data collected.
   Das Chowdhury, Prajata   Prepare end state data analysis to          $0.00     2.5      $0.00
                            drive improvement opportunities.
   Groves, Rick             Review assessment materials to be           $0.00     3.6      $0.00
                            used during Springfields site visit with
                            B. Petrini (Deloitte).
   Groves, Rick             Prepare assessment materials to be          $0.00     3.4      $0.00
                            used during Springfields site visit.
   Petrini, Bobby           Review assessment materials to be           $0.00     3.6      $0.00
                            used during Springfields site visit with
                            B. Petrini.
   Petrini, Bobby           Prepare assessment materials to be          $0.00     3.4      $0.00
                            used during Springfields site visit.
   Simha, Namita            Next action plan discussion with P.         $0.00     2.0      $0.00
                            Chowdhury (Deloitte).
   Simha, Namita            Research and data gathering for             $0.00     2.0      $0.00
                            deliverable creation with P. Chowdhury
                            (Deloitte).
   Simha, Namita            Deliverable creation for Westinghouse       $0.00     2.5      $0.00
                            with T. Zawahir, B. Petrini, P.
                            Chowdhury and R. Groves.
   Simha, Namita            Status update meeting with B. Petrini       $0.00     2.5      $0.00
                            and P. Chowdhury.
   Yochim, Nicki            Analyze Springfields known issues.          $0.00     0.8      $0.00
   Yochim, Nicki            Review Springfields quality interview.      $0.00     1.1      $0.00
   Yochim, Nicki            Attend opening presentation with plant      $0.00     1.3      $0.00
                            leadership.
   Yochim, Nicki            Perform Springfields cost interviews.       $0.00     0.7      $0.00
   Yochim, Nicki            Participate in security briefing for        $0.00     0.5      $0.00
                            Springfields plant.
   Yochim, Nicki            Attend Springfields plant tour.             $0.00     2.7      $0.00
   Yochim, Nicki            Prepare content compilation.                $0.00     1.9      $0.00
01/16/2018
   Bondarenko, Ilya         Update Springfields plant visit             $0.00     1.5      $0.00
                            observations and maturity model.

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Manufacturing Assessment
01/16/2018
   Bondarenko, Ilya         Conduct Springfields plant interviews      $0.00     1.3      $0.00
                            regarding cost management with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Springfields.
   Bondarenko, Ilya         Conduct Springfields plant interviews      $0.00     1.2      $0.00
                            regarding quality with Deloitte
                            Manufacturing Team and the
                            Westinghouse plant operators at
                            Springfields.
   Bondarenko, Ilya         Conduct opening meeting and plant          $0.00     3.8      $0.00
                            tour at Springfields.
   Bondarenko, Ilya         Conduct Springfields plant interviews      $0.00     1.5      $0.00
                            regarding known issues and concerns
                            with Deloitte Manufacturing Team and
                            the Westinghouse plant operators at
                            Springfields.
   Collins, Robert          Conduct Springfields plant interviews      $0.00     2.5      $0.00
                            regarding known issues and concerns
                            with Deloitte Manufacturing Team and
                            Springfields plant operators.
   Collins, Robert          Conduct Springfields plant tour with       $0.00     2.3      $0.00
                            Deloitte Manufacturing Team and
                            Springfields plant operators.
   Collins, Robert          Conduct Springfields plant interviews      $0.00     3.2      $0.00
                            regarding quality with Deloitte
                            Manufacturing Team and Springfields
                            plant operators.
   Das Chowdhury, Prajata   Prepare project deliverables and final     $0.00     5.5      $0.00
                            recommendations with the information
                            and data collected.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.5      $0.00
                            drive improvement opportunities.
   Groves, Rick             Conduct Springfields plant interviews      $0.00     3.2      $0.00
                            regarding quality with Deloitte
                            Manufacturing Team and Springfields
                            plant operators.
   Groves, Rick             Conduct Springfields plant interviews      $0.00     2.5      $0.00
                            regarding known issues and concerns
                            with Deloitte Manufacturing Team and
                            Springfields plant operators.

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Manufacturing Assessment
01/16/2018
   Groves, Rick            Conduct Springfields plant tour with       $0.00     2.3      $0.00
                           Deloitte Manufacturing Team and
                           Springfields plant operators.
   Groves, Rick            Conduct opening meeting and plant          $0.00     3.5      $0.00
                           tour at Springfields.
   Kiefer, Brian           Conduct opening meeting and plant          $0.00     3.5      $0.00
                           tour at Springfields.
   Kiefer, Brian           Conduct Springfields plant interviews      $0.00     1.5      $0.00
                           regarding known issues and concerns
                           with Deloitte Manufacturing Team and
                           Westinghouse plant operators at
                           Springfields.
   Kiefer, Brian           Update Springfields plant visit            $0.00     1.5      $0.00
                           observations and maturity model.
   Kiefer, Brian           Conduct Springfields plant interviews      $0.00     1.3      $0.00
                           regarding cost management with
                           Deloitte Manufacturing Team and
                           Westinghouse plant operators at
                           Springfields.
   Kiefer, Brian           Conduct Springfields plant interviews      $0.00     1.2      $0.00
                           regarding quality with Deloitte
                           Manufacturing Team and
                           Westinghouse plant operators at
                           Springfields.
   Petrini, Bobby          Conduct opening meeting and plant          $0.00     3.5      $0.00
                           tour at Springfields.
   Petrini, Bobby          Conduct Springfields plant interviews      $0.00     3.2      $0.00
                           regarding quality with Deloitte
                           Manufacturing Team and Springfields
                           plant operators
   Petrini, Bobby          Conduct Springfields plant interviews      $0.00     3.5      $0.00
                           regarding known issues and concerns
                           with Deloitte Manufacturing Team and
                           Springfields plant operators
   Petrini, Bobby          Conduct Springfields plant tour with       $0.00     3.3      $0.00
                           Deloitte Manufacturing Team and
                           Springfields plant operators




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Manufacturing Assessment
01/16/2018
   Simha, Namita           Deliverable creation for Westinghouse      $0.00     3.5      $0.00
                           along with T. Zawahir, B. Petrini, P.
                           Chowdhury and R. Groves (all
                           Deloitte).
   Simha, Namita           Status update meeting with B. Petrini      $0.00     1.5      $0.00
                           and P. Chowdhury (Deloitte).
   Simha, Namita           Next action plan discussion with P.        $0.00     2.0      $0.00
                           Chowdhury (Deloitte).
   Simha, Namita           Research and data gathering for            $0.00     2.0      $0.00
                           deliverable creation with P. Chowdhury
                           (Deloitte).
   Yochim, Nicki           Create Springfields working session        $0.00     2.5      $0.00
                           content.
   Yochim, Nicki           Perform Springfields                       $0.00     2.3      $0.00
                           engineering/maintenance interviews.
   Yochim, Nicki           Review Springfields EHSQ materials.        $0.00     1.0      $0.00
   Yochim, Nicki           Perform Springfields Operations/Plant      $0.00     3.2      $0.00
                           management interview.
   Zawahir, Tariq          Update Newington site visit                $0.00     2.2      $0.00
                           deliverables.
   Zawahir, Tariq          Meeting with P. Chowdhury (Deloitte)       $0.00     1.2      $0.00
                           to review CFO review presentation.
   Zawahir, Tariq          Meeting with D. Diehl, B Petrini and N.    $0.00     1.2      $0.00
                           Simha (all Deloitte) to review findings
                           and develop initial recommendations.
   Zawahir, Tariq          Research MES systems and                   $0.00     1.8      $0.00
                           technology updates that may be
                           relevant to project.
   Zawahir, Tariq          Create IT operating model and support      $0.00     1.6      $0.00
                           model options for Deloitte team to
                           review and utilize for developing
                           detailed recommendations.
01/17/2018
   Bondarenko, Ilya        Conduct Springfields plant interviews      $0.00     1.5      $0.00
                           regarding operations with Deloitte
                           Manufacturing Team and the
                           Westinghouse plant operators at
                           Springfields.


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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
01/17/2018
   Bondarenko, Ilya         Conduct Springfields plant interviews      $0.00     1.2      $0.00
                            regarding ESHQ with Deloitte
                            Manufacturing Team and the
                            Westinghouse plant operators at
                            Springfields.
   Bondarenko, Ilya         Update Springfields plant visit            $0.00     3.0      $0.00
                            observations and maturity model.
   Bondarenko, Ilya         Conduct Springfields plant interviews      $0.00     1.7      $0.00
                            regarding engineering with Deloitte
                            Manufacturing Team and the
                            Westinghouse plant operators at
                            Springfields.
   Bondarenko, Ilya         Conduct Springfields plant interviews      $0.00     1.6      $0.00
                            regarding planning and scheduling with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Springfields.
   Collins, Robert          Conduct Springfields plant tour with       $0.00     2.7      $0.00
                            Deloitte Manufacturing Team and
                            Springfields plant operators.
   Collins, Robert          Conduct Springfields plant interviews      $0.00     2.6      $0.00
                            regarding planning and scheduling with
                            Deloitte Manufacturing Team and
                            Springfields plant operators.
   Collins, Robert          Conduct Springfields plant interviews      $0.00     3.7      $0.00
                            regarding operations with Deloitte
                            Manufacturing Team and Springfields
                            plant operators.
   Das Chowdhury, Prajata   Prepare project deliverables and final     $0.00     5.5      $0.00
                            recommendations with the information
                            and data collected.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.5      $0.00
                            drive improvement opportunities.
   Groves, Rick             Conduct Springfields plant tour with       $0.00     2.7      $0.00
                            Deloitte Manufacturing Team and
                            Springfields plant operators.
   Groves, Rick             Conduct Springfields plant interviews      $0.00     2.6      $0.00
                            regarding planning and scheduling with
                            Deloitte Manufacturing Team and
                            Springfields plant operators.


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Manufacturing Assessment
01/17/2018
   Groves, Rick            Conduct Springfields plant interviews       $0.00     2.5      $0.00
                           regarding operations with Deloitte
                           Manufacturing Team and Springfields
                           plant operators.
   Groves, Rick            Conduct Springfields plant interviews       $0.00     2.2      $0.00
                           regarding ESHQ with Deloitte
                           Manufacturing Team and Springfields
                           plant operators.
   Hartigan, Martin        Attend Springfields site visit workshops    $0.00     2.0      $0.00
                           with the Deloitte Manufacturing Team
                           and plant operators at Springfields.
   Hartigan, Martin        Participate post site visit findings        $0.00     1.1      $0.00
                           discussion with the Deloitte
                           Manufacturing Team.
   Hartigan, Martin        Update deliverable hypotheses with L.       $0.00     0.9      $0.00
                           Librandi (Deloitte).
   Kiefer, Brian           Update Springfields plant visit             $0.00     3.0      $0.00
                           observations and maturity model.
   Kiefer, Brian           Conduct Springfields plant interviews       $0.00     1.7      $0.00
                           regarding engineering with Deloitte
                           Manufacturing Team and
                           Westinghouse operators on-site at
                           Springfields.
   Kiefer, Brian           Conduct Springfields plant interviews       $0.00     1.6      $0.00
                           regarding planning and scheduling with
                           Deloitte Manufacturing Team and
                           Westinghouse operators on-site at
                           Springfields.
   Kiefer, Brian           Conduct Springfields plant interviews       $0.00     1.5      $0.00
                           regarding operations with Deloitte
                           Manufacturing Team and
                           Westinghouse plant operators at
                           Springfields.
   Kiefer, Brian           Conduct Springfields plant interviews       $0.00     1.2      $0.00
                           regarding ESHQ with Deloitte
                           Manufacturing Team and
                           Westinghouse plant operators at
                           Springfields.
   Petrini, Bobby          Conduct Springfields plant tour with        $0.00     3.7      $0.00
                           Deloitte Manufacturing Team and
                           Springfields plant operators

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Manufacturing Assessment
01/17/2018
   Petrini, Bobby          Conduct Springfields plant interviews      $0.00     3.6      $0.00
                           regarding planning and scheduling with
                           Deloitte Manufacturing Team and
                           Springfields plant operators
   Petrini, Bobby          Conduct Springfields plant interviews      $0.00     3.5      $0.00
                           regarding operations with Deloitte
                           Manufacturing Team and Springfields
                           plant operators
   Petrini, Bobby          Conduct Springfields plant interviews      $0.00     3.2      $0.00
                           regarding ESHQ with Deloitte
                           Manufacturing Team and Springfields
                           plant operators
   Simha, Namita           Next action plan discussion with P.        $0.00     1.8      $0.00
                           Chowdhury (Deloitte).
   Simha, Namita           Research and data gathering for            $0.00     2.2      $0.00
                           deliverable creation with P. Chowdhury
                           (Deloitte).
   Simha, Namita           Deliverable creation for Westinghouse      $0.00     2.5      $0.00
                           with T. Zawahir, B. Petrini, P.
                           Chowdhury and R. Groves.
   Simha, Namita           Status update meeting with B. Petrini      $0.00     2.5      $0.00
                           and P. Chowdhury.
   Yochim, Nicki           Attend Springfields Component              $0.00     1.5      $0.00
                           Manufacturing Plant detailed tour.
   Yochim, Nicki           Create Springfields working session        $0.00     3.4      $0.00
                           content.
   Yochim, Nicki           Continue to create Springfields working    $0.00     2.1      $0.00
                           session content.
   Yochim, Nicki           Perform Springfields Material              $0.00     2.0      $0.00
                           Management and Supplier
                           Management interviews.
01/18/2018
   Bondarenko, Ilya        Review Springfields plant visit            $0.00     3.4      $0.00
                           observations and maturity model with
                           R. Collins (Deloitte).
   Bondarenko, Ilya        Continue to review Springfields plant      $0.00     1.0      $0.00
                           visit observations and maturity model
                           with R. Collins (Deloitte).



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Manufacturing Assessment
01/18/2018
   Bondarenko, Ilya         Conduct Springfields plant interviews       $0.00     2.4      $0.00
                            regarding materials/supplier
                            management with Deloitte
                            Manufacturing Team, Springfields
                            plant team.
   Bondarenko, Ilya         Update Springfields plant visit             $0.00     2.2      $0.00
                            observations and maturity model.
   Collins, Robert          Prepare manufacturing analysis for          $0.00     3.0      $0.00
                            Springfields site visit.
   Collins, Robert          Prepare IT analysis for Springfields site   $0.00     3.0      $0.00
                            visit.
   Collins, Robert          Review Springfields plant visit             $0.00     3.0      $0.00
                            observations and maturity model with
                            B. Kiefer (Deloitte).
   Das Chowdhury, Prajata   Prepare project deliverables and final      $0.00     5.5      $0.00
                            recommendations with the information
                            and data collected.
   Das Chowdhury, Prajata   Prepare end state data analysis to          $0.00     2.5      $0.00
                            drive improvement opportunities.
   Groves, Rick             Review Springfields plant visit             $0.00     3.4      $0.00
                            observations and maturity model.
   Groves, Rick             Update Springfields plant visit             $0.00     3.4      $0.00
                            observations and maturity model.
   Groves, Rick             Conduct Springfields plant interviews       $0.00     3.2      $0.00
                            regarding materials/supplier
                            management with Deloitte
                            Manufacturing Team and Springfields
                            plant operators.
   Kiefer, Brian            Continue to review Springfields plant       $0.00     1.0      $0.00
                            visit observations and maturity model
                            with R. Collins (Deloitte).
   Kiefer, Brian            Update Springfields plant visit             $0.00     2.4      $0.00
                            observations and maturity model.
   Kiefer, Brian            Conduct Springfields plant interviews       $0.00     2.2      $0.00
                            regarding materials/supplier
                            management with Deloitte
                            Manufacturing Team and
                            Westinghouse operators on-site at
                            Springfields.


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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
01/18/2018
   Kiefer, Brian            Prepare for and review Springfields        $0.00     3.4      $0.00
                            plant visit observations and maturity
                            model with R. Collins (Deloitte).
   Librandi, Louis          Review Springfields plant visit            $0.00     3.4      $0.00
                            observations and maturity model with
                            R. Collins (Deloitte).
   Librandi, Louis          Continue to review Springfields plant      $0.00     3.0      $0.00
                            visit observations and maturity model.
   Petrini, Bobby           Review Springfields plant visit            $0.00     3.4      $0.00
                            observations and maturity model.
   Petrini, Bobby           Refine and update Springfields plant       $0.00     3.4      $0.00
                            visit observations and maturity model.
   Petrini, Bobby           Conduct Springfields plant interviews      $0.00     3.2      $0.00
                            regarding materials / supplier
                            management with Deloitte
                            Manufacturing Team and Springfields
                            plant operators
   Simha, Namita            Next action plan discussion with P.        $0.00     1.5      $0.00
                            Chowdhury (Deloitte).
   Simha, Namita            Research and data gathering for            $0.00     2.5      $0.00
                            deliverable creation with P. Chowdhury
                            (Deloitte).
   Simha, Namita            Deliverable creation for Westinghouse      $0.00     3.1      $0.00
                            along with T. Zawahir, B. Petrini, P.
                            Chowdhury and R. Groves (all
                            Deloitte).
   Simha, Namita            Status update meeting with B. Petrini      $0.00     1.9      $0.00
                            and P. Chowdhury (Deloitte).
   Yochim, Nicki            Create Springfields final report out       $0.00     3.9      $0.00
                            content.
   Yochim, Nicki            Refine Springfields final report out       $0.00     1.1      $0.00
                            content.
   Yochim, Nicki            Prepare Springfields report out with       $0.00     2.0      $0.00
                            plant management.
   Yochim, Nicki            Perform Springfields UK shipping           $0.00     1.0      $0.00
                            department interviews.
   Yochim, Nicki            Attend Springfields control room tour.     $0.00     1.0      $0.00




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Manufacturing Assessment
01/19/2018
   Collins, Robert          Prepare assessment materials to be         $0.00     3.9      $0.00
                            used during Columbia site visit.
   Collins, Robert          Review Springfields plant visit            $0.00     3.1      $0.00
                            observations and maturity model with
                            B. Kiefer (Deloitte).
   Collins, Robert          Continue review of Springfields plant      $0.00     2.0      $0.00
                            visit observations and maturity model.
   Das Chowdhury, Prajata   Prepare project deliverables and final     $0.00     5.5      $0.00
                            recommendations with the information
                            and data collected.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.5      $0.00
                            drive improvement opportunities.
   Groves, Rick             Prepare assessment materials to be         $0.00     3.9      $0.00
                            used during Columbia site visit.
   Groves, Rick             Review Springfields plant visit            $0.00     3.1      $0.00
                            observations and maturity model with
                            B. Kiefer (Deloitte).
   Petrini, Bobby           Prepare assessment materials to be         $0.00     3.9      $0.00
                            used during Columbia site visit.
   Petrini, Bobby           Review Springfields plant visit            $0.00     3.1      $0.00
                            observations and maturity model with
                            B. Kiefer.
   Simha, Namita            Deliverable creation for Westinghouse      $0.00     1.9      $0.00
                            along with T. Zawahir, B. Petrini, P.
                            Chowdhury and R. Groves (all
                            Deloitte).
   Simha, Namita            Status update meeting with B. Petrini      $0.00     2.4      $0.00
                            and P. Chowdhury (both Deloitte).
   Simha, Namita            Next action plan discussion with P.        $0.00     2.1      $0.00
                            Chowdhury (Deloitte).
   Simha, Namita            Perform data gathering for deliverable     $0.00     2.0      $0.00
                            creation with P. Chowdhury (Deloitte).
   Yochim, Nicki            Develop Springfields debrief material      $0.00     2.3      $0.00
   Yochim, Nicki            Create Springfields maturity model         $0.00     3.8      $0.00
                            content.
   Yochim, Nicki            Review Springfields plant visit            $0.00     2.9      $0.00
                            observations and maturity model with
                            B. Kiefer (Deloitte).


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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
01/22/2018
   Bondarenko, Ilya         Update Columbia plant visit                $0.00     3.0      $0.00
                            observations and maturity model.
   Bondarenko, Ilya         Discuss Columbia plant overview and        $0.00     2.6      $0.00
                            received introductory presentation.
   Bondarenko, Ilya         Conduct detailed Columbia plant tour.      $0.00     2.4      $0.00
   Bondarenko, Ilya         Clear security at Columbia plant visit.    $0.00     1.0      $0.00
   Collins, Robert          Review Columbia plant overview.            $0.00     1.9      $0.00
   Collins, Robert          Update Columbia plant visit                $0.00     3.1      $0.00
                            observation.
   Collins, Robert          Review Columbia plant overview.            $0.00     2.9      $0.00
   Collins, Robert          Update Columbia plant visit                $0.00     2.1      $0.00
                            observation.
   Das Chowdhury, Prajata   Clear security at Columbia plant visit.    $0.00     1.0      $0.00
   Das Chowdhury, Prajata   Analyze Columbia plant overview and        $0.00     2.6      $0.00
                            received introductory presentation.
   Das Chowdhury, Prajata   Conduct detailed Columbia plant tour.      $0.00     2.4      $0.00
   Das Chowdhury, Prajata   Update Columbia plant visit                $0.00     3.0      $0.00
                            observations and maturity model.
   Groves, Rick             Update Columbia plant visit                $0.00     3.0      $0.00
                            observation.
   Groves, Rick             Analyze Columbia plant overview.           $0.00     3.6      $0.00
   Groves, Rick             Conduct detailed Columbia plant tour.      $0.00     3.4      $0.00
   Groves, Rick             Sign in and cleared security at            $0.00     1.0      $0.00
                            Columbia plant visit.
   Petrini, Bobby           Discuss Columbia plant overview and        $0.00     3.6      $0.00
                            received introductory presentation.
   Petrini, Bobby           Conduct detailed Columbia plant tour.      $0.00     3.4      $0.00
   Petrini, Bobby           Refine and update Columbia plant visit     $0.00     3.0      $0.00
                            observation.
   Petrini, Bobby           Sign in and cleared security at            $0.00     1.5      $0.00
                            Columbia plant visit.
   Simha, Namita            Meeting with L. Librandi, B. Petrini, K.   $0.00     2.3      $0.00
                            Sass, M. Annacone, and S. Armstrong
                            at Westinghouse's Columbia site.



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Manufacturing Assessment
01/22/2018
   Simha, Namita           Conduct site visit and held meeting        $0.00     2.7      $0.00
                           with Westinghouse team at Columbia
                           site with L. Librandi, B. Petrini, P.
                           Chowdhury, N. Yochim, and R. Groves
                           (all Deloitte).
   Simha, Namita           Internal debriefing with I. Bondarenko,    $0.00     4.0      $0.00
                           B. Petrini, P. Chowdhury, and N.
                           Yochim (all Deloitte).
   Yochim, Nicki           Attend Columbia plant arrival and          $0.00     0.9      $0.00
                           safety session.
   Yochim, Nicki           Prepare Columbia plant travel and          $0.00     3.7      $0.00
                           material.
   Yochim, Nicki           Attend Columbia plant chemical area        $0.00     2.8      $0.00
                           tour.
   Yochim, Nicki           Attend Columbia plant overview and         $0.00     1.6      $0.00
                           presentation.
01/23/2018
   Bondarenko, Ilya        Conduct Columbia plant interviews          $0.00     1.0      $0.00
                           regarding sales and operations
                           planning with Deloitte Manufacturing
                           Team and the Westinghouse plant
                           operators at Columbia.
   Bondarenko, Ilya        Conduct Columbia plant interviews          $0.00     1.0      $0.00
                           regarding materials management with
                           Deloitte Manufacturing Team and the
                           Westinghouse plant operators at
                           Columbia.
   Bondarenko, Ilya        Conduct Columbia plant interviews          $0.00     1.0      $0.00
                           regarding inventory management with
                           Deloitte Manufacturing Team and the
                           Westinghouse plant operators at
                           Columbia.
   Bondarenko, Ilya        Conduct Columbia plant interviews          $0.00     1.0      $0.00
                           regarding product engineering with
                           Deloitte Manufacturing Team and the
                           Westinghouse plant operators at
                           Columbia.
   Bondarenko, Ilya        Update Columbia plant visit                $0.00     3.0      $0.00
                           observations and maturity model.
   Bondarenko, Ilya        Conduct detailed Columbia plant tour.      $0.00     2.0      $0.00

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Manufacturing Assessment
01/23/2018
   Collins, Robert          Conduct Columbia plant interviews          $0.00     2.9      $0.00
                            with Deloitte Manufacturing Team and
                            Columbia plant operators.
   Collins, Robert          Conduct Columbia plant interviews          $0.00     3.1      $0.00
                            regarding product engineering with
                            Deloitte Manufacturing Team and
                            Columbia plant operators.
   Collins, Robert          Conduct Columbia plant interviews          $0.00     3.0      $0.00
                            regarding sales and operations
                            planning with Deloitte Manufacturing
                            Team and Columbia plant operators.
   Das Chowdhury, Prajata   Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding sales and operations
                            planning.
   Das Chowdhury, Prajata   Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding materials management.
   Das Chowdhury, Prajata   Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding inventory management.
   Das Chowdhury, Prajata   Update Columbia plant visit                $0.00     3.0      $0.00
                            observations and maturity model.
   Das Chowdhury, Prajata   Conduct detailed Columbia plant tour.      $0.00     2.0      $0.00
   Das Chowdhury, Prajata   Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding product engineering.
   Groves, Rick             Conduct detailed Columbia plant tour.      $0.00     3.0      $0.00
   Groves, Rick             Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            with Deloitte Manufacturing Team and
                            Columbia plant operators.
   Groves, Rick             Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding product engineering with
                            Deloitte Manufacturing Team and
                            Columbia plant operators.
   Groves, Rick             Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding sales and operations
                            planning with Deloitte Manufacturing
                            Team and Columbia plant operators.
   Hartigan, Martin         Attend Columbia site visit workshops       $0.00     2.2      $0.00
                            with the Deloitte Manufacturing Team
                            and plant operators at Columbia.



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Manufacturing Assessment
01/23/2018
   Hartigan, Martin         Participate post site visit findings        $0.00     0.8      $0.00
                            discussion with the Deloitte
                            Manufacturing Team.
   Hartigan, Martin         Update deliverable hypotheses with L.       $0.00     1.0      $0.00
                            Librandi and I. Bondarenko (both
                            Deloitte).
   Kiefer, Brian            Conduct Columbia plant interviews           $0.00     1.0      $0.00
                            regarding sales and operations
                            planning with Deloitte Manufacturing
                            Team and Westinghouse plant
                            operators at Columbia.
   Kiefer, Brian            Update Columbia plant visit                 $0.00     3.0      $0.00
                            observations and maturity model.
   Kiefer, Brian            Conduct detailed Columbia plant tour.       $0.00     2.0      $0.00
   Kiefer, Brian            Conduct Columbia plant interviews           $0.00     1.0      $0.00
                            regarding product engineering with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Columbia.
   Kiefer, Brian            Conduct Columbia plant interviews           $0.00     1.0      $0.00
                            regarding materials management with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Columbia.
   Kiefer, Brian            Conduct Columbia plant interviews           $0.00     1.0      $0.00
                            regarding inventory management with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Columbia.
   Librandi, Louis          Conduct Columbia plant interviews           $0.00     3.9      $0.00
                            regarding materials management with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Columbia.
   Librandi, Louis          Conduct Columbia plant interviews           $0.00     1.0      $0.00
                            regarding product engineering with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Columbia.
   Petrini, Bobby           Conduct detailed Columbia plant tour.       $0.00     3.0      $0.00


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Date                       Description                                Rate    Hours      Fees

Manufacturing Assessment
01/23/2018
   Petrini, Bobby          Conduct Columbia plant interviews          $0.00     1.4      $0.00
                           with Deloitte Manufacturing Team and
                           Columbia plant operators
   Petrini, Bobby          Conduct Columbia plant interviews          $0.00     1.7      $0.00
                           regarding product engineering with
                           Deloitte Manufacturing Team and
                           Columbia plant operators
   Petrini, Bobby          Conduct Columbia plant interviews          $0.00     1.5      $0.00
                           regarding sales and operations
                           planning with Deloitte Manufacturing
                           Team and Columbia plant operators
   Simha, Namita           Research and data gathering for            $0.00     2.0      $0.00
                           deliverable creation.
   Simha, Namita           Internal debriefing with B. Petrini and    $0.00     2.0      $0.00
                           P. Chowdhury (both Deloitte).
   Simha, Namita           Deliverable creation for Westinghouse      $0.00     2.5      $0.00
                           with B. Petrini (Deloitte).
   Simha, Namita           Next action plan discussion with P.        $0.00     2.5      $0.00
                           Chowdhury and B. Petrini (both
                           Deloitte).
   Yochim, Nicki           Perform Columbia plant product             $0.00     1.0      $0.00
                           engineering interviews.
   Yochim, Nicki           Attend Columbia plant arrival and          $0.00     0.5      $0.00
                           safety session.
   Yochim, Nicki           Attend Columbia plant tour                 $0.00     2.7      $0.00
                           (mechanical, final assembly, and
                           tooling).
   Yochim, Nicki           Attend Columbia plant site visit.          $0.00     1.7      $0.00
   Yochim, Nicki           Perform Columbia production                $0.00     1.1      $0.00
                           scheduling and planning.
   Yochim, Nicki           Perform Columbia inventory                 $0.00     0.8      $0.00
                           management interview.
   Yochim, Nicki           Perform Columbia plant material            $0.00     1.2      $0.00
                           management interview.
01/24/2018
   Bondarenko, Ilya        Conduct Columbia plant interviews          $0.00     2.0      $0.00
                           regarding plant engineering.



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Manufacturing Assessment
01/24/2018
   Bondarenko, Ilya         Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding finance with Deloitte
                            Manufacturing Team and the
                            Westinghouse plant operators at
                            Columbia.
   Bondarenko, Ilya         Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding accounting with Deloitte
                            Manufacturing Team and the
                            Westinghouse plant operators at
                            Columbia.
   Bondarenko, Ilya         Conduct Columbia plant interviews          $0.00     2.0      $0.00
                            regarding quality with Deloitte
                            Manufacturing Team and the
                            Westinghouse plant operators at
                            Columbia.
   Bondarenko, Ilya         Update Columbia plant visit                $0.00     2.0      $0.00
                            observations and maturity model.
   Bondarenko, Ilya         Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding restructuring efforts with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Columbia.
   Collins, Robert          Conduct Columbia plant interviews          $0.00     3.1      $0.00
                            regarding plant engineering with
                            Deloitte Manufacturing Team and
                            Columbia plant operators.
   Collins, Robert          Conduct Columbia plant interviews          $0.00     3.1      $0.00
                            regarding quality with Deloitte
                            Manufacturing Team and Columbia
                            plant operators.
   Collins, Robert          Conduct Columbia plant interviews          $0.00     2.8      $0.00
                            regarding accounting with Deloitte
                            Manufacturing Team and Columbia
                            plant operators.
   Das Chowdhury, Prajata   Conduct Columbia plant interviews          $0.00     2.0      $0.00
                            regarding quality.
   Das Chowdhury, Prajata   Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding finance.
   Das Chowdhury, Prajata   Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding restructuring efforts.


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Manufacturing Assessment
01/24/2018
   Das Chowdhury, Prajata   Update Columbia plant visit                $0.00     2.0      $0.00
                            observations and maturity model.
   Das Chowdhury, Prajata   Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding accounting.
   Das Chowdhury, Prajata   Conduct Columbia plant interviews          $0.00     2.0      $0.00
                            regarding plant engineering.
   Groves, Rick             Conduct Columbia plant interviews          $0.00     3.0      $0.00
                            regarding plant engineering with
                            Deloitte Manufacturing Team and
                            Columbia plant operators.
   Groves, Rick             Conduct Columbia plant interviews          $0.00     3.0      $0.00
                            regarding quality with Deloitte
                            Manufacturing Team and Columbia
                            plant operators.
   Groves, Rick             Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding accounting with Deloitte
                            Manufacturing Team and Columbia
                            plant operators.
   Groves, Rick             Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            with Deloitte Manufacturing Team and
                            Columbia plant operators.
   Kiefer, Brian            Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding accounting with Deloitte
                            Manufacturing Team and
                            Westinghouse plant operators at
                            Columbia.
   Kiefer, Brian            Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding finance with Deloitte
                            Manufacturing Team and
                            Westinghouse plant operators at
                            Columbia.
   Kiefer, Brian            Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding restructuring efforts with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Columbia.
   Kiefer, Brian            Update Columbia plant visit                $0.00     2.0      $0.00
                            observations and maturity model.




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Date                       Description                                 Rate    Hours      Fees

Manufacturing Assessment
01/24/2018
   Kiefer, Brian           Conduct Columbia plant interviews           $0.00     2.0      $0.00
                           regarding plant engineering with
                           Deloitte Manufacturing Team and
                           Westinghouse operators on-site at
                           Columbia.
   Kiefer, Brian           Conduct Columbia plant interviews           $0.00     2.0      $0.00
                           regarding quality with Deloitte
                           Manufacturing Team and
                           Westinghouse operators on-site at
                           Columbia.
   Petrini, Bobby          Conduct Columbia plant interviews           $0.00     3.0      $0.00
                           regarding plant engineering with
                           Deloitte Manufacturing Team and
                           Columbia plant operators
   Petrini, Bobby          Conduct Columbia plant interviews           $0.00     3.0      $0.00
                           regarding quality with Deloitte
                           Manufacturing Team and Columbia
                           plant operators
   Petrini, Bobby          Conduct Columbia plant interviews           $0.00     1.8      $0.00
                           regarding accounting with Deloitte
                           Manufacturing Team and Columbia
                           plant operators
   Petrini, Bobby          Conduct Columbia plant interviews           $0.00     1.8      $0.00
                           with Deloitte Manufacturing Team and
                           Columbia plant operators
   Simha, Namita           Deliverable creation for Westinghouse       $0.00     3.1      $0.00
                           with B. Petrini (Deloitte).
   Simha, Namita           Research and data gathering for             $0.00     3.5      $0.00
                           deliverable creation.
   Simha, Namita           Prepare summary report of work              $0.00     1.0      $0.00
                           carried out for the duration of the
                           project with B. Petrini (Deloitte).
   Simha, Namita           Project roll off discussion with B.         $0.00     2.0      $0.00
                           Petrini (Deloitte).
   Yochim, Nicki           Perform Columbia plant quality (inter-      $0.00     1.2      $0.00
                           plant and global) interviews.
   Yochim, Nicki           Attend Columbia plant arrival and           $0.00     0.5      $0.00
                           safety session.
   Yochim, Nicki           Analyze Columbia plant system               $0.00     1.7      $0.00
                           architecture design.

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Manufacturing Assessment
01/24/2018
   Yochim, Nicki            Perform Columbia Plant                     $0.00     2.2      $0.00
                            engineering/configuration control
                            interviews.
   Yochim, Nicki            Perform Columbia Quality (local)           $0.00     1.1      $0.00
                            interview.
   Yochim, Nicki            Perform Columbia plant finance             $0.00     0.8      $0.00
                            interview.
01/25/2018
   Bondarenko, Ilya         Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding plant maintenance with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Columbia.
   Bondarenko, Ilya         Review Columbia plant visit                $0.00     3.8      $0.00
                            observations and maturity model with
                            R. Collins (Deloitte).
   Bondarenko, Ilya         Update Columbia plant visit                $0.00     2.2      $0.00
                            observations and maturity model.
   Bondarenko, Ilya         Conduct Columbia plant interviews          $0.00     2.0      $0.00
                            regarding plant supplier management
                            with Deloitte Manufacturing Team and
                            the Westinghouse plant operators at
                            Columbia.
   Bondarenko, Ilya         Conduct debrief on Columbia site visit     $0.00     1.0      $0.00
                            with plant team.
   Collins, Robert          Perform Columbia site visit and plant      $0.00     3.0      $0.00
                            book build out.
   Collins, Robert          Prepare IT analysis for Columbia site      $0.00     3.0      $0.00
                            visit and plant book build out.
   Collins, Robert          Prepare digital analysis for Columbia      $0.00     3.0      $0.00
                            site visit and plant book build out.
   Das Chowdhury, Prajata   Update Columbia plant visit                $0.00     3.0      $0.00
                            observations and maturity model.
   Das Chowdhury, Prajata   Conduct debrief on Columbia site visit.    $0.00     1.0      $0.00
   Das Chowdhury, Prajata   Review Columbia plant visit                $0.00     2.0      $0.00
                            observations and maturity model.
   Das Chowdhury, Prajata   Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding plant maintenance.


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Manufacturing Assessment
01/25/2018
   Das Chowdhury, Prajata   Conduct Columbia plant interviews          $0.00     2.0      $0.00
                            regarding plant supplier management.
   Groves, Rick             Update Columbia plant visit                $0.00     3.2      $0.00
                            observations and maturity model.
   Groves, Rick             Conduct Columbia plant interviews          $0.00     3.0      $0.00
                            regarding plant supplier management
                            with Deloitte Manufacturing Team and
                            Columbia plant operators.
   Groves, Rick             Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            with Deloitte Manufacturing Team and
                            Columbia plant operators.
   Groves, Rick             Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding plant maintenance with
                            Deloitte Manufacturing Team and
                            Columbia plant operators.
   Kiefer, Brian            Conduct Columbia plant interviews          $0.00     1.0      $0.00
                            regarding plant maintenance with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Columbia.
   Kiefer, Brian            Conduct debrief on Columbia site visit     $0.00     1.0      $0.00
                            with plant team.
   Kiefer, Brian            Review Columbia plant visit                $0.00     3.8      $0.00
                            observations and maturity model with
                            R. Collins (Deloitte).
   Kiefer, Brian            Update Columbia plant visit                $0.00     2.2      $0.00
                            observations and maturity model.
   Kiefer, Brian            Conduct Columbia plant interviews          $0.00     2.0      $0.00
                            regarding plant supplier management
                            with Deloitte Manufacturing Team and
                            Westinghouse operators on-site at
                            Columbia.
   Petrini, Bobby           Refine and update Columbia plant visit     $0.00     3.2      $0.00
                            observations and maturity model.
   Petrini, Bobby           Conduct Columbia plant interviews          $0.00     3.0      $0.00
                            regarding plant supplier management
                            with Deloitte Manufacturing Team and
                            Columbia plant operators




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                     Fees Sorted by Category for the Fee Period
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Manufacturing Assessment
01/25/2018
   Petrini, Bobby           Conduct Columbia plant interviews          $0.00     1.6      $0.00
                            with Deloitte Manufacturing Team and
                            Columbia plant operators
   Petrini, Bobby           Conduct Columbia plant interviews          $0.00     1.7      $0.00
                            regarding plant maintenance with
                            Deloitte Manufacturing Team and
                            Columbia plant operators
   Yochim, Nicki            Create Columbia plant report out.          $0.00     1.0      $0.00
   Yochim, Nicki            Perform Columbia supplier                  $0.00     1.3      $0.00
                            management interviews.
   Yochim, Nicki            Update Columbia report out material.       $0.00     3.7      $0.00
   Yochim, Nicki            Continue refinement of Columbia            $0.00     0.8      $0.00
                            report out material.
   Yochim, Nicki            Attend Columbia plant arrival and          $0.00     2.0      $0.00
                            safety session.
   Yochim, Nicki            Columbia plant maintenance                 $0.00     1.7      $0.00
                            discussion with B. Macecevic, M.
                            Trayers, and J. Speers.
01/26/2018
   Collins, Robert          Create deliverable for Columbia site       $0.00     2.0      $0.00
                            visit and plant book build out.
   Collins, Robert          Review Columbia plant visit                $0.00     3.6      $0.00
                            observations and maturity model with
                            B. Kiefer (Deloitte).
   Collins, Robert          Reconcile Columbia plant visit             $0.00     3.4      $0.00
                            observations with previous plant visit
                            materials.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.5      $0.00
                            drive improvement opportunities.
   Das Chowdhury, Prajata   Prepare project deliverables and final     $0.00     5.5      $0.00
                            recommendations with the information
                            and data collected.
   Groves, Rick             Review Columbia plant visit                $0.00     3.6      $0.00
                            observations and maturity model with
                            B. Kiefer (Deloitte).
   Groves, Rick             Reconcile Columbia plant visit             $0.00     3.4      $0.00
                            observations with previous plant visit
                            materials.


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Manufacturing Assessment
01/26/2018
   Petrini, Bobby           Review Columbia plant visit                $0.00     3.6      $0.00
                            observations and maturity model with
                            B. Kiefer.
   Petrini, Bobby           Reconcile Columbia plant visit             $0.00     3.4      $0.00
                            observations with previous plant visit
                            materials.
   Yochim, Nicki            Create Columbia team maturity model.       $0.00     2.2      $0.00
   Yochim, Nicki            Review Columbia team maturity model.       $0.00     2.3      $0.00
   Yochim, Nicki            Continue to create Columbia team           $0.00     3.1      $0.00
                            maturity model.
   Yochim, Nicki            Continue to review Columbia team           $0.00     1.4      $0.00
                            maturity model.
01/29/2018
   Bondarenko, Ilya         Refine and finalize Columbia plant visit   $0.00     3.6      $0.00
                            observations and maturity model.
   Bondarenko, Ilya         Continue to refine and finalize            $0.00     2.0      $0.00
                            Columbia plant visit observations and
                            maturity model.
   Bondarenko, Ilya         Standardize and consolidate plant          $0.00     3.4      $0.00
                            observation materials.
   Collins, Robert          Internal team meetings and leadership      $0.00     2.0      $0.00
                            report out: internal workshop.
   Collins, Robert          Refine and finalize Columbia plant visit   $0.00     3.6      $0.00
                            observations and maturity model.
   Collins, Robert          Standardize and consolidate Columbia       $0.00     3.4      $0.00
                            plant observation materials.
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     4.9      $0.00
                            recommendations and materials.
   Das Chowdhury, Prajata   Standardize and consolidate Columbia       $0.00     4.1      $0.00
                            plant observation materials.
   Groves, Rick             Refine and finalize Columbia plant visit   $0.00     3.6      $0.00
                            observations and maturity model.
   Groves, Rick             Standardize and consolidate plant          $0.00     3.4      $0.00
                            observation materials.
   Petrini, Bobby           Refine and finalize Columbia plant visit   $0.00     3.6      $0.00
                            observations and maturity model.



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Manufacturing Assessment
01/29/2018
   Petrini, Bobby           Standarize and consolidate plant           $0.00     3.4      $0.00
                            observation materials.
   Yochim, Nicki            Create final deliverable material.         $0.00     2.8      $0.00
   Yochim, Nicki            Continue creation of final deliverable     $0.00     2.2      $0.00
                            material.
   Yochim, Nicki            Continue to create final deliverable       $0.00     4.0      $0.00
                            material.
01/30/2018
   Bondarenko, Ilya         Standardize and consolidate plant          $0.00     2.0      $0.00
                            observation materials.
   Bondarenko, Ilya         Continue to standardize and                $0.00     2.8      $0.00
                            consolidate plant observation
                            materials.
   Bondarenko, Ilya         Develop network-wide                       $0.00     3.0      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Continue to develop network-wide           $0.00     1.2      $0.00
                            recommendations and materials.
   Collins, Robert          Create manufacturing deliverable for       $0.00     2.0      $0.00
                            leadership report out.
   Collins, Robert          Standardize and consolidate plant          $0.00     3.8      $0.00
                            observation materials.
   Collins, Robert          Develop network-wide                       $0.00     3.2      $0.00
                            recommendations and materials.
   Das Chowdhury, Prajata   Prepare project deliverables and final     $0.00     5.5      $0.00
                            recommendations with the information
                            and data collected.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.5      $0.00
                            drive improvement opportunities.
   Groves, Rick             Standardize and consolidate plant          $0.00     3.8      $0.00
                            observation materials.
   Groves, Rick             Develop network-wide                       $0.00     3.2      $0.00
                            recommendations and materials.
   Kiefer, Brian            Standardize and consolidate plant          $0.00     3.8      $0.00
                            observation materials.
   Kiefer, Brian            Continue to standardize and                $0.00     1.0      $0.00
                            consolidate plant observation
                            materials.


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Manufacturing Assessment
01/30/2018
   Kiefer, Brian            Develop network-wide                       $0.00     3.2      $0.00
                            recommendations and materials.
   Kiefer, Brian            Continue to develop network-wide           $0.00     1.0      $0.00
                            recommendations and materials.
   Librandi, Louis          Review draft project deliverables with     $0.00     2.5      $0.00
                            Westinghouse client leadership.
   Petrini, Bobby           Standarize and consolidate plant           $0.00     3.8      $0.00
                            observation materials.
   Petrini, Bobby           Brainstorm and develop network-wide        $0.00     3.2      $0.00
                            recommendations and materials.
   Willis, Rob              Discuss Aging Software with L.             $0.00     4.0      $0.00
                            Librandi, A. Gerhard, and T. Downs.
   Yochim, Nicki            Continue work on final deliverable.        $0.00     1.8      $0.00
   Yochim, Nicki            Create final deliverable material.         $0.00     1.3      $0.00
   Yochim, Nicki            Continue work on final deliverable.        $0.00     3.2      $0.00
   Yochim, Nicki            Update final deliverable material.         $0.00     2.7      $0.00
01/31/2018
   Bondarenko, Ilya         Standardize and consolidate plant          $0.00     3.0      $0.00
                            observation materials.
   Bondarenko, Ilya         Continue to standardize and                $0.00     1.4      $0.00
                            consolidate plant observation
                            materials.
   Bondarenko, Ilya         Develop network-wide                       $0.00     3.6      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Continue to develop network-wide           $0.00     1.0      $0.00
                            recommendations and materials.
   Collins, Robert          Internal team meetings and leadership      $0.00     2.0      $0.00
                            report out: IT deliverable creation.
   Collins, Robert          Develop network-wide                       $0.00     3.6      $0.00
                            recommendations and materials.
   Collins, Robert          Standardize and consolidate plant          $0.00     3.4      $0.00
                            observation materials.
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     3.0      $0.00
                            recommendations and materials.
   Das Chowdhury, Prajata   Build final state recommendations.         $0.00     6.0      $0.00



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Manufacturing Assessment
01/31/2018
   Groves, Rick             Develop network-wide                       $0.00     3.6      $0.00
                            recommendations and materials.
   Groves, Rick             Standardize and consolidate plant          $0.00     3.4      $0.00
                            observation materials.
   Kiefer, Brian            Develop network-wide                       $0.00     3.6      $0.00
                            recommendations and materials.
   Kiefer, Brian            Continue to develop network-wide           $0.00     1.0      $0.00
                            recommendations and materials.
   Kiefer, Brian            Standardize and consolidate plant          $0.00     3.4      $0.00
                            observation materials.
   Kiefer, Brian            Continue to standardize and                $0.00     1.0      $0.00
                            consolidate plant observation
                            materials.
   Librandi, Louis          Review draft project deliverables with     $0.00     3.1      $0.00
                            Westinghouse client leadership.
   Librandi, Louis          Continue to review deliverables with       $0.00     1.0      $0.00
                            client leadership.
   Petrini, Bobby           Brainstorm and develop network-wide        $0.00     3.6      $0.00
                            recommendations and materials.
   Petrini, Bobby           Standarize and consolidate plant           $0.00     3.4      $0.00
                            observation materials.
   Willis, Rob              Meeting with S. Batson, S. Chand, M.       $0.00     4.0      $0.00
                            Hartigan, L. Berckman, B. Petrini, and
                            P. Chowdhury to discuss high level
                            NRC constraints.
   Yochim, Nicki            Create final deliverable material.         $0.00     2.1      $0.00
   Yochim, Nicki            Continue creation of final deliverable     $0.00     2.9      $0.00
                            material.
   Yochim, Nicki            Revise final deliverable material.         $0.00     4.0      $0.00
02/01/2018
   Bondarenko, Ilya         Develop network-wide                       $0.00     3.9      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Continue to develop network-wide           $0.00     1.0      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Standardize and consolidate plant          $0.00     4.0      $0.00
                            observation materials.



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Date                        Description                                 Rate    Hours      Fees

Manufacturing Assessment
02/01/2018
   Collins, Robert          Internal team meetings and leadership       $0.00     3.0      $0.00
                            report out: digital deliverable creation.
   Collins, Robert          Develop network-wide                        $0.00     3.9      $0.00
                            recommendations and materials.
   Collins, Robert          Standardize and consolidate plant           $0.00     3.1      $0.00
                            observation materials.
   Das Chowdhury, Prajata   Prepare end state data analysis to          $0.00     1.9      $0.00
                            drive improvement opportunities.
   Das Chowdhury, Prajata   Create final deliverable materials.         $0.00     3.0      $0.00
   Das Chowdhury, Prajata   Develop network-wide                        $0.00     4.1      $0.00
                            recommendations and materials.
   Groves, Rick             Develop network-wide                        $0.00     3.9      $0.00
                            recommendations and materials.
   Groves, Rick             Standardize and consolidate plant           $0.00     3.1      $0.00
                            observation materials.
   Kiefer, Brian            Standardize and consolidate plant           $0.00     3.1      $0.00
                            observation materials.
   Kiefer, Brian            Continue to standardize and                 $0.00     1.0      $0.00
                            consolidate plant observation
                            materials.
   Kiefer, Brian            Develop network-wide                        $0.00     3.9      $0.00
                            recommendations and materials.
   Kiefer, Brian            Continue to develop network-wide            $0.00     1.0      $0.00
                            recommendations and materials.
   Petrini, Bobby           Develop network-wide                        $0.00     3.9      $0.00
                            recommendations and materials.
   Petrini, Bobby           Standardize and consolidate plant           $0.00     3.1      $0.00
                            observation materials.
   Willis, Rob              Review agenda for Westinghouse              $0.00     2.0      $0.00
                            Team Alignment Touchpoint meeting
                            and on-site visit in Ogden, UT.
   Yochim, Nicki            Revise final deliverable material.          $0.00     4.0      $0.00
   Yochim, Nicki            Create final deliverable material.          $0.00     1.7      $0.00
   Yochim, Nicki            Continue creation of final deliverable      $0.00     3.3      $0.00
                            material.




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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
02/02/2018
   Collins, Robert          Internal team meetings and leadership      $0.00     2.0      $0.00
                            report out: leadership review and
                            report out.
   Collins, Robert          Develop network-wide                       $0.00     3.5      $0.00
                            recommendations and materials.
   Collins, Robert          Prepare assessment materials to be         $0.00     3.5      $0.00
                            used during Vasteras site visits.
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     3.5      $0.00
                            recommendations and materials.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.5      $0.00
                            drive improvement opportunities.
   Das Chowdhury, Prajata   Create final deliverable materials.        $0.00     3.0      $0.00
   Groves, Rick             Develop network-wide                       $0.00     3.5      $0.00
                            recommendations and materials.
   Groves, Rick             Prepare assessment materials to be         $0.00     3.5      $0.00
                            used during Ogden and Vasteras site
                            visits.
   Librandi, Louis          Review and circulate draft project         $0.00     2.2      $0.00
                            deliverables with Westinghouse client
                            leadership.
   Petrini, Bobby           Develop network-wide                       $0.00     3.5      $0.00
                            recommendations and materials.
   Petrini, Bobby           Prepare assessment materials to be         $0.00     3.5      $0.00
                            used during Ogden and Vasteras site
                            visits.
   Willis, Rob              Participate in Westinghouse Team           $0.00     2.0      $0.00
                            Alignment Touchpoint meeting with R.
                            Groves (Deloitte).
   Yochim, Nicki            Create final deliverable material.         $0.00     2.6      $0.00
   Yochim, Nicki            Continue creation of final deliverable     $0.00     2.4      $0.00
                            material.
   Yochim, Nicki            Update final deliverable material.         $0.00     4.0      $0.00
02/05/2018
   Berckman, Lindsey        Review prior site findings report out      $0.00     3.1      $0.00
                            packages.
   Berckman, Lindsey        Prepare input for SAP proposal.            $0.00     2.0      $0.00



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Manufacturing Assessment
02/05/2018
   Berckman, Lindsey        Review and understand import/export        $0.00     2.9      $0.00
                            findings.
   Berckman, Lindsey        Develop site visit IT questions.           $0.00     1.0      $0.00
   Bondarenko, Ilya         Develop network-wide                       $0.00     3.0      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Continue to develop network-wide           $0.00     1.5      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Prepare assessment materials to be         $0.00     1.5      $0.00
                            used during Ogden and Vasteras site
                            visits.
   Bondarenko, Ilya         Continue to prepare assessment             $0.00     3.0      $0.00
                            materials to be used during Ogden and
                            Vasteras site visits.
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     4.0      $0.00
                            recommendations and materials.
   Das Chowdhury, Prajata   Continue to develop network-wide           $0.00     2.0      $0.00
                            recommendations and materials.
   Das Chowdhury, Prajata   Create final deliverable materials.        $0.00     3.0      $0.00
   Fleming, Sean            Review Warrendale plant observations       $0.00     3.4      $0.00
                            and maturity model with B. Petrini
                            (Deloitte).
   Fleming, Sean            Revise Warrendale plant observations       $0.00     2.2      $0.00
                            and maturity model per review session
                            with B. Petrini (Deloitte).
   Fleming, Sean            Finalize Warrendale plant observations     $0.00     3.4      $0.00
                            with B. Petrini (Deloitte).
   Khurana, Sneha           Review plant visit observations and        $0.00     4.7      $0.00
                            maturity model - Springfields.
   Khurana, Sneha           Review plant visit observations and        $0.00     4.3      $0.00
                            maturity model - Newington.
   Willis, Rob              Final deliverable working session with     $0.00     2.0      $0.00
                            R. Groves, L. Librandi, B. Kiefer, M.
                            Hartigan, L. Berckman, B. Petrini, D.
                            Flemming, and P. Chowdhury.
   Yochim, Nicki            Create final deliverable material.         $0.00     4.0      $0.00
   Yochim, Nicki            Create final deliverable material.         $0.00     3.4      $0.00
   Yochim, Nicki            Continue creation of final deliverable     $0.00     1.6      $0.00
                            material.

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Manufacturing Assessment
02/06/2018
   Berckman, Lindsey        Review thread scope structure cutting      $0.00     3.3      $0.00
                            across all site visits.
   Berckman, Lindsey        Input SAP proposal, including mapping      $0.00     1.7      $0.00
                            active modules by site.
   Berckman, Lindsey        Develop network wide                       $0.00     3.0      $0.00
                            recommendations.
   Bondarenko, Ilya         Conduct detailed Ogden plant tour.         $0.00     3.5      $0.00
   Bondarenko, Ilya         Update Ogden plant visit observations      $0.00     2.0      $0.00
                            and maturity model.
   Bondarenko, Ilya         Conduct Ogden plant interviews             $0.00     1.5      $0.00
                            regarding manufacturing operations
                            with Deloitte Manufacturing Team and
                            the Westinghouse plant operators at
                            Ogden.
   Bondarenko, Ilya         Review Ogden plant overview                $0.00     1.0      $0.00
                            presentation.
   Bondarenko, Ilya         Conduct Ogden plant interviews             $0.00     1.0      $0.00
                            regarding ongoing improvement
                            initiatives with Deloitte Manufacturing
                            Team and the Westinghouse plant
                            operators at Ogden.
   Collins, Robert          Conduct detailed Vasteras interviews       $0.00     3.5      $0.00
                            Deloitte Manufacturing Team, Vasteras
                            plant operators, and K. Sass
                            (Westinghouse).
   Collins, Robert          Conduct Vasteras plant interviews          $0.00     2.5      $0.00
                            regarding manufacturing operations
                            with Deloitte Manufacturing Team and
                            Vastaras plant operators.
   Collins, Robert          Review Vasteras plant overview             $0.00     3.0      $0.00
                            presentation.
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     3.8      $0.00
                            recommendations and materials.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.1      $0.00
                            drive improvement opportunities.
   Das Chowdhury, Prajata   Create final deliverable materials.        $0.00     3.1      $0.00
   Fleming, Sean            Analyze plant data provided by             $0.00     3.6      $0.00
                            Columbia plant manager.


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Manufacturing Assessment
02/06/2018
   Fleming, Sean          Develop charts for presentation based      $0.00     3.8      $0.00
                          off Columbia plant data.
   Fleming, Sean          Review plant data from Columbia with       $0.00     3.6      $0.00
                          B. Petrini and P. Chowdhury (both
                          Deloitte).
   Groves, Rick           Conduct detailed Vasteras interviews       $0.00     3.5      $0.00
                          Deloitte Manufacturing Team, Vasteras
                          plant operators, and K. Sass.
   Groves, Rick           Conduct Vasteras plant interviews          $0.00     2.5      $0.00
                          regarding manufacturing operations
                          with Deloitte Manufacturing Team and
                          Vastaras plant operators.
   Groves, Rick           Review Vasteras plant overview             $0.00     1.0      $0.00
                          presentation with Deloitte
                          Manufacturing Team.
   Groves, Rick           Conduct Vasteras plant interviews          $0.00     1.0      $0.00
                          regarding ongoing improvement
                          initiatives with Deloitte Manufacturing
                          Team and Vasteras plant operators.
   Khurana, Sneha         Continue to review data in tableau         $0.00     4.0      $0.00
                          maturity model.
   Khurana, Sneha         Review data in tableau maturity model.     $0.00     5.0      $0.00
   Kiefer, Brian          Conduct Vasteras plant interviews          $0.00     1.0      $0.00
                          regarding ongoing improvement
                          initiatives with Deloitte Manufacturing
                          Team and Westinghouse plant
                          operators at Vasteras.
   Kiefer, Brian          Conduct detailed Vasteras plant tour.      $0.00     3.5      $0.00
   Kiefer, Brian          Update Vasteras plant visit                $0.00     2.0      $0.00
                          observations and maturity model.
   Kiefer, Brian          Conduct Vasteras plant interviews          $0.00     1.5      $0.00
                          regarding manufacturing operations
                          with Deloitte Manufacturing Team and
                          Westinghouse plant operators at
                          Vasteras.
   Kiefer, Brian          Review Vasteras plant overview             $0.00     1.0      $0.00
                          presentation.




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Manufacturing Assessment
02/06/2018
   Librandi, Louis          Review and circulate draft project         $0.00     3.7      $0.00
                            deliverables with Westinghouse client
                            leadership.
   Petrini, Bobby           Conduct detailed Vasteras interviews       $0.00     3.5      $0.00
                            Deloitte Manufacturing Team, Vasteras
                            plant operators, and K. Sass
   Petrini, Bobby           Conduct Vasteras plant interviews          $0.00     3.5      $0.00
                            regarding manufacturing operations
                            with Deloitte Manufacturing Team and
                            Vastaras plant operators
   Petrini, Bobby           Review Vasteras plant overview             $0.00     1.5      $0.00
                            presentation with Deloitte
                            Manufacturing Team
   Petrini, Bobby           Conduct Vasteras plant interviews          $0.00     1.9      $0.00
                            regarding ongoing improvement
                            initiatives with Deloitte Manufacturing
                            Team and Vasteras plant operators
   Willis, Rob              IT workshop and roadmap meeting            $0.00     4.0      $0.00
                            with J. Soscia, Y. Liu, T. Downs, C.
                            Newara, R. Butera, E. Stridinger, L.
                            Librandi, B. Petrini, L. Berckman and
                            K. Sass.
   Yochim, Nicki            Vasteras plant security and arrival with   $0.00     0.1      $0.00
                            M. Boberg.
   Yochim, Nicki            Perform Vasteras Day 1 review.             $0.00     0.5      $0.00
   Yochim, Nicki            Attend Vasteras detailed plant tour.       $0.00     3.5      $0.00
   Yochim, Nicki            Vasteras manufacturing operations          $0.00     1.5      $0.00
                            and plant management discussion with
                            A. Karlsson, J. Hasselberg, P. Kross,
                            and E. Elvhage.
   Yochim, Nicki            Attend Vasteras ongoing improvement        $0.00     0.7      $0.00
                            activities discussion with C. Dunne, M.
                            Boberg, and J. Lundberg.
   Yochim, Nicki            Create Vasteras plant book.                $0.00     1.4      $0.00
   Yochim, Nicki            Participate in Vasteras plant overview     $0.00     1.3      $0.00
                            discussion with J. Lundberg.
02/07/2018
   Berckman, Lindsey        Review draft SAP proposal.                 $0.00     2.9      $0.00


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Manufacturing Assessment
02/07/2018
   Berckman, Lindsey        Review Enterprise Maintenance draft        $0.00     2.0      $0.00
                            proposal.
   Berckman, Lindsey        Develop network wide                       $0.00     3.1      $0.00
                            recommendations.
   Bondarenko, Ilya         Conduct Ogden plant interviews             $0.00     1.5      $0.00
                            regarding quality with Deloitte
                            Manufacturing Team and the
                            Westinghouse plant operators at
                            Ogden.
   Bondarenko, Ilya         Conduct Ogden plant interviews             $0.00     1.0      $0.00
                            regarding supplier management with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Ogden.
   Bondarenko, Ilya         Update Ogden plant visit observations      $0.00     2.0      $0.00
                            and maturity model.
   Bondarenko, Ilya         Conduct Ogden plant interviews             $0.00     1.5      $0.00
                            regarding plant maintenance with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Ogden.
   Bondarenko, Ilya         Conduct Ogden plant interviews             $0.00     1.5      $0.00
                            regarding planning and scheduling with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Ogden.
   Bondarenko, Ilya         Conduct Ogden plant interviews             $0.00     1.5      $0.00
                            regarding materials management with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Ogden.
   Collins, Robert          Conduct Vasteras plant interviews          $0.00     2.5      $0.00
                            regarding plant maintenance with
                            Deloitte Manufacturing Team and
                            Vasteras plant operators.
   Collins, Robert          Conduct Vasteras plant interviews          $0.00     2.5      $0.00
                            regarding planning and scheduling with
                            Deloitte Manufacturing Team and
                            Vasteras plant operators.



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Manufacturing Assessment
02/07/2018
   Collins, Robert          Conduct Vasteras plant interviews          $0.00     4.0      $0.00
                            regarding materials management with
                            Deloitte Manufacturing Team and
                            Vasteras plant operators.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.0      $0.00
                            drive improvement opportunities.
   Das Chowdhury, Prajata   Create final deliverable materials.        $0.00     3.0      $0.00
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     4.0      $0.00
                            recommendations and materials.
   Fleming, Sean            Revise plant data analysis post-review     $0.00     3.4      $0.00
                            with B. Petrini and P. Chowdhury (both
                            Deloitte).
   Fleming, Sean            Finalize Columbia data analysis for        $0.00     1.8      $0.00
                            OEE.
   Fleming, Sean            Standardize chart formats for data         $0.00     3.8      $0.00
                            analysis across all plants where data
                            was given.
   Groves, Rick             Conduct Vasteras plant interviews          $0.00     2.5      $0.00
                            regarding materials management with
                            Deloitte Manufacturing Team and
                            Vasteras plant operators.
   Groves, Rick             Conduct Vasteras plant interviews with     $0.00     2.5      $0.00
                            Deloitte Manufacturing Team and
                            Vasteras plant operators.
   Groves, Rick             Conduct Vasteras plant interviews          $0.00     2.5      $0.00
                            regarding plant maintenance with
                            Deloitte Manufacturing Team and
                            Vasteras plant operators.
   Groves, Rick             Conduct Vasteras plant interviews          $0.00     2.5      $0.00
                            regarding planning and scheduling with
                            Deloitte Manufacturing Team and
                            Vasteras plant operators.
   Khurana, Sneha           Incorporate feedback comments on           $0.00     3.4      $0.00
                            charts.
   Khurana, Sneha           Complete formatting of the maturity        $0.00     5.6      $0.00
                            model views.




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Manufacturing Assessment
02/07/2018
   Kiefer, Brian            Conduct Vasteras plant interviews          $0.00     1.0      $0.00
                            regarding supplier management with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Vasteras.
   Kiefer, Brian            Update Vasteras plant visit                $0.00     2.0      $0.00
                            observations and maturity model.
   Kiefer, Brian            Conduct Vasteras plant interviews          $0.00     1.5      $0.00
                            regarding planning and scheduling with
                            Deloitte Manufacturing Team and
                            Westinghouse operators on-site at
                            Vasteras.
   Kiefer, Brian            Conduct Vasteras plant interviews          $0.00     1.5      $0.00
                            regarding materials management with
                            Deloitte Manufacturing Team and
                            Westinghouse operators on-site at
                            Vasteras.
   Kiefer, Brian            Conduct Vasteras plant interviews          $0.00     1.5      $0.00
                            regarding quality with Deloitte
                            Manufacturing Team and
                            Westinghouse operators on-site at
                            Vasteras.
   Kiefer, Brian            Conduct Vasteras plant interviews          $0.00     1.5      $0.00
                            regarding plant maintenance with
                            Deloitte Manufacturing Team and
                            Westinghouse plant operators at
                            Vasteras.
   Librandi, Louis          Review and circulate draft project         $0.00     2.3      $0.00
                            deliverables with Westinghouse client
                            leadership.
   Petrini, Bobby           Conduct Vasteras plant interviews          $0.00     3.5      $0.00
                            regarding plant maintenance with
                            Deloitte Manufacturing Team and
                            Vasteras plant operators
   Petrini, Bobby           Conduct Vasteras plant interviews          $0.00     3.5      $0.00
                            regarding planning and scheduling with
                            Deloitte Manufacturing Team and
                            Vasteras plant operators




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Manufacturing Assessment
02/07/2018
   Petrini, Bobby           Conduct Vasteras plant interviews          $0.00     3.5      $0.00
                            regarding materials management with
                            Deloitte Manufacturing Team and
                            Vasteras plant operators
   Petrini, Bobby           Conduct Vasteras plant interviews with     $0.00     3.5      $0.00
                            Deloitte Manufacturing Team and
                            Vasteras plant operators
   Willis, Rob              Final deliverable working session with     $0.00     4.0      $0.00
                            R. Groves, L. Librandi, B. Kiefer, M.
                            Hartigan, L. Berckman, B. Petrini, D.
                            Flemming, and P. Chowdhury.
   Yochim, Nicki            Create Vasteras plant book.                $0.00     0.8      $0.00
   Yochim, Nicki            Vasteras direct supply and supply          $0.00     1.2      $0.00
                            chain management discussion with A.
                            Kelvenius, M. Stigenberg, and M.
                            Andersen.
   Yochim, Nicki            Vasteras plant security and arrival with   $0.00     0.6      $0.00
                            M. Boberg.
   Yochim, Nicki            Vasteras plant day 2 debrief with M.       $0.00     0.4      $0.00
                            Boberg.
   Yochim, Nicki            Vasteras material management               $0.00     1.3      $0.00
                            discussion with M. Stigenberg, M.
                            Andersen, J. Brangefält, T. Meyer, Y.
                            Helmersson, and P. Kross.
   Yochim, Nicki            Vasteras planning and scheduling           $0.00     1.7      $0.00
                            discussion with M. Andersen, C.
                            Munsgård, F. Eriksson, Y. Helmersson,
                            P. Kross, and M. Stigenberg.
   Yochim, Nicki            Vasteras plant maintenance discussion      $0.00     1.4      $0.00
                            with J. Andersson, M. Sohlman, and M.
                            Strömkvist.
   Yochim, Nicki            Vasteras quality discussion with P.        $0.00     1.6      $0.00
                            Sergel, C. Hellberg, and M.
                            Gunnarsson.
02/08/2018
   Berckman, Lindsey        Consolidate plant observation              $0.00     3.0      $0.00
                            materials.
   Berckman, Lindsey        Draft turnkey IT proposal.                 $0.00     5.0      $0.00



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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
02/08/2018
   Bondarenko, Ilya         Conduct Ogden plant interviews             $0.00     1.0      $0.00
                            regarding export controls with Deloitte
                            Manufacturing Team and the
                            Westinghouse plant operators at
                            Ogden.
   Bondarenko, Ilya         Conduct debrief on Ogden site visit.       $0.00     1.0      $0.00
   Bondarenko, Ilya         Update Ogden plant visit observations      $0.00     3.0      $0.00
                            and maturity model.
   Bondarenko, Ilya         Conduct Ogden plant interviews             $0.00     1.5      $0.00
                            regarding IT systems with Deloitte
                            Manufacturing Team and the
                            Westinghouse plant operators at
                            Ogden.
   Bondarenko, Ilya         Review Ogden plant visit observations      $0.00     1.5      $0.00
                            and maturity model with R. Collins
                            (Deloitte).
   Bondarenko, Ilya         Conduct Ogden plant interviews             $0.00     1.0      $0.00
                            regarding cost management with
                            Deloitte Manufacturing Team and the
                            Westinghouse plant operators at
                            Ogden.
   Collins, Robert          Prepare Ogden site visit report for        $0.00     3.0      $0.00
                            digital analysis.
   Collins, Robert          Prepare manufacturing analysis for         $0.00     3.0      $0.00
                            Ogden site visit.
   Collins, Robert          Prepare IT analysis for Ogden site         $0.00     3.0      $0.00
                            visit.
   Das Chowdhury, Prajata   Create final deliverable materials.        $0.00     2.9      $0.00
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     3.1      $0.00
                            recommendations and materials.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     3.0      $0.00
                            drive improvement opportunities.
   Fleming, Sean            Prepare final deliverable materials to     $0.00     3.4      $0.00
                            highlight outstanding items, including
                            additional requirements.
   Fleming, Sean            Review existing materials with I.          $0.00     2.2      $0.00
                            Bondarenko (Deloitte).
   Fleming, Sean            Begin to finalize final deliverable        $0.00     3.4      $0.00
                            template with completed materials.

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Manufacturing Assessment
02/08/2018
   Groves, Rick            Update Vasteras plant visit reports.       $0.00     3.0      $0.00
   Groves, Rick            Conduct Vasteras plant interviews          $0.00     2.5      $0.00
                           regarding IT systems with Deloitte
                           Manufacturing Team and Vasteras
                           plant operators.
   Groves, Rick            Conduct Vasteras plant interviews          $0.00     1.9      $0.00
                           regarding export controls with Deloitte
                           Manufacturing Team and Vasteras
                           plant operators.
   Groves, Rick            Conduct Vasteras plant interviews          $0.00     2.0      $0.00
                           regarding cost management with
                           Deloitte Manufacturing Team and
                           Vasteras plant operators.
   Kiefer, Brian           Conduct Vasteras plant interviews          $0.00     1.0      $0.00
                           regarding cost management with
                           Deloitte Manufacturing Team and
                           Westinghouse plant operators at
                           Vasteras.
   Kiefer, Brian           Update Vasteras plant visit                $0.00     3.0      $0.00
                           observations and maturity model.
   Kiefer, Brian           Conduct Vasteras plant interviews          $0.00     1.5      $0.00
                           regarding IT systems with Deloitte
                           Manufacturing Team and
                           Westinghouse operators on-site at
                           Vasteras.
   Kiefer, Brian           Review Vasteras plant visit                $0.00     1.5      $0.00
                           observations and maturity model with
                           R. Groves (Deloitte).
   Kiefer, Brian           Conduct Vasteras plant interviews          $0.00     1.0      $0.00
                           regarding export controls with Deloitte
                           Manufacturing Team and
                           Westinghouse plant operators at
                           Vasteras.
   Kiefer, Brian           Conduct debrief on Vasteras site visit.    $0.00     1.0      $0.00
   Petrini, Bobby          Refine and update Vasteras plant visit     $0.00     3.0      $0.00
                           reports.
   Petrini, Bobby          Conduct Vasteras plant interviews          $0.00     3.5      $0.00
                           regarding IT systems with Deloitte
                           Manufacturing Team and Vasteras
                           plant operators

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                    Fees Sorted by Category for the Fee Period
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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
02/08/2018
   Petrini, Bobby           Conduct Vasteras plant interviews          $0.00     3.0      $0.00
                            regarding cost management with
                            Deloitte Manufacturing Team and
                            Vasteras plant operators
   Petrini, Bobby           Conduct Vasteras plant interviews          $0.00     3.9      $0.00
                            regarding export controls with Deloitte
                            Manufacturing Team and Vasteras
                            plant operators
   Willis, Rob              Working session with Y. Liu, M.            $0.00     4.0      $0.00
                            Hartigan, B. Petrini, I. Bonderenko, L.
                            Librandi, and G. Yauch.
   Yochim, Nicki            Vasteras cost management discussion        $0.00     1.1      $0.00
                            with A. Halling, S. Engström, E.
                            Ljunggren, C. Lindblom, and H.
                            Holmen.
   Yochim, Nicki            Vasteras nuclear data and export           $0.00     1.1      $0.00
                            control with M. Gunnarson, M. Boberg,
                            M. Veho, and M. Pellfolk.
   Yochim, Nicki            Vasteras security and arrival with M.      $0.00     0.6      $0.00
                            Boberg.
   Yochim, Nicki            Create Vasteras plant material.            $0.00     0.5      $0.00
   Yochim, Nicki            Perform Vasteras observation               $0.00     3.6      $0.00
                            compilation.
   Yochim, Nicki            Vasteras IT system architecture with E.    $0.00     2.1      $0.00
                            Elvhage, A. Lindstedt, and M. Boberg.
02/09/2018
   Berckman, Lindsey        Internal proposal structure review call.   $0.00     1.0      $0.00
   Berckman, Lindsey        Update SAP proposal content.               $0.00     2.2      $0.00
   Berckman, Lindsey        Prepare internal scope alignment and       $0.00     0.8      $0.00
                            rationalization for team structuring.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.8      $0.00
                            drive improvement opportunities.
   Das Chowdhury, Prajata   Create final deliverable materials.        $0.00     2.8      $0.00
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     3.4      $0.00
                            recommendations and materials.
   Fleming, Sean            Identify owners for remaining working      $0.00     2.8      $0.00
                            points and assigned to team members.


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                     Fees Sorted by Category for the Fee Period
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Manufacturing Assessment
02/09/2018
   Fleming, Sean            Begin to finalize final deliverable        $0.00     3.2      $0.00
                            template with completed materials.
   Fleming, Sean            Review materials and identify              $0.00     3.0      $0.00
                            remaining working points.
   Yochim, Nicki            Continue to finalize Vasteras plant        $0.00     4.0      $0.00
                            book.
   Yochim, Nicki            Prepare Vasteras plant book                $0.00     2.7      $0.00
   Yochim, Nicki            Finalize Vasteras plant book.              $0.00     2.3      $0.00
02/12/2018
   Berckman, Lindsey        Finalize Ogden plant visit                 $0.00     3.4      $0.00
                            observations.
   Berckman, Lindsey        Consolidate plant observation              $0.00     3.0      $0.00
                            materials.
   Berckman, Lindsey        Draft turnkey IT proposal.                 $0.00     2.6      $0.00
   Bondarenko, Ilya         Refine and finalize Vasteras plant visit   $0.00     4.0      $0.00
                            observations and maturity model.
   Bondarenko, Ilya         Finalize Ogden plant visit observations    $0.00     3.0      $0.00
                            and maturity model.
   Bondarenko, Ilya         Standardize and consolidate plant          $0.00     2.9      $0.00
                            observation materials.
   Collins, Robert          Refine and finalize Vasteras plant visit   $0.00     3.1      $0.00
                            observations and maturity model.
   Collins, Robert          Refine and finalize Ogden plant visit      $0.00     3.0      $0.00
                            observations and maturity model.
   Collins, Robert          Standardize and consolidate plant          $0.00     2.9      $0.00
                            observation materials.
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     4.0      $0.00
                            recommendations and materials.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.0      $0.00
                            drive improvement opportunities.
   Das Chowdhury, Prajata   Create final deliverable materials.        $0.00     3.0      $0.00
   Fleming, Sean            Refine and finalize Vasteras plant visit   $0.00     3.6      $0.00
                            observations and maturity model with
                            R. Groves (Deloitte).
   Fleming, Sean            Refine and finalize Ogden plant visit      $0.00     3.0      $0.00
                            observations and maturity model with
                            R. Groves (Deloitte).

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Date                        Description                                 Rate    Hours      Fees

Manufacturing Assessment
02/12/2018
   Fleming, Sean            Standardize and consolidate plant           $0.00     3.4      $0.00
                            observation materials.
   Groves, Rick             Finalize Vasteras plant visit               $0.00     3.1      $0.00
                            observations and maturity model.
   Groves, Rick             Finalize Ogden plant visit observations     $0.00     3.0      $0.00
                            and maturity model.
   Groves, Rick             Standardize and consolidate plant           $0.00     3.9      $0.00
                            observation materials.
   Kiefer, Brian            Finalize Vasteras plant visit               $0.00     3.1      $0.00
                            observations and maturity model.
   Kiefer, Brian            Continue to finalize Vasteras plant visit   $0.00     1.0      $0.00
                            observations and maturity model.
   Kiefer, Brian            Finalize Ogden plant visit observations     $0.00     3.0      $0.00
                            and maturity model.
   Kiefer, Brian            Standardize and consolidate plant           $0.00     2.9      $0.00
                            observation materials.
   Petrini, Bobby           Standarize and consolidate plant            $0.00     3.9      $0.00
                            observation materials.
   Petrini, Bobby           Refine and finalize Vasteras plant visit    $0.00     3.1      $0.00
                            observations and maturity model.
   Petrini, Bobby           Refine and finalize Ogden plant visit       $0.00     3.0      $0.00
                            observations and maturity model.
   Simha, Namita            Standardize and consolidate plant           $0.00     3.9      $0.00
                            observation materials.
   Yochim, Nicki            Create final deliverable.                   $0.00     1.8      $0.00
   Yochim, Nicki            Continue work on final deliverable.         $0.00     2.7      $0.00
   Yochim, Nicki            Update final deliverable.                   $0.00     3.6      $0.00
   Yochim, Nicki            Continue work on final deliverable.         $0.00     0.9      $0.00
02/13/2018
   Berckman, Lindsey        Develop network-wide materials.             $0.00     4.9      $0.00
   Berckman, Lindsey        Conduct recommendations and                 $0.00     4.1      $0.00
                            materials review with Y. Liu.
   Bondarenko, Ilya         Continue to develop network-wide            $0.00     1.0      $0.00
                            recommendations and materials.




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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
02/13/2018
   Bondarenko, Ilya         Conduct recommendations and                $0.00     4.0      $0.00
                            materials review with Y. Liu
                            (Westinghouse).
   Bondarenko, Ilya         Develop network-wide                       $0.00     3.9      $0.00
                            recommendations and materials.
   Collins, Robert          Perform further deliverable                $0.00     2.9      $0.00
                            development for manufacturing and
                            recommendation refinement.
   Collins, Robert          Develop network-wide                       $0.00     2.7      $0.00
                            recommendations and materials.
   Collins, Robert          Conduct recommendations and                $0.00     3.4      $0.00
                            materials review with Y. Liu
                            (Westinghouse).
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     3.3      $0.00
                            recommendations and materials.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.7      $0.00
                            drive improvement opportunities.
   Das Chowdhury, Prajata   Create final deliverable materials.        $0.00     3.0      $0.00
   Fleming, Sean            Develop network-wide                       $0.00     2.9      $0.00
                            recommendations and materials with
                            Deloitte Manufacturing team
   Fleming, Sean            Conduct recommendations and                $0.00     4.0      $0.00
                            materials review with Y. Liu (CIO of
                            Westinghouse).
   Fleming, Sean            Revise network-wide materials per          $0.00     2.1      $0.00
                            meeting with Y. Liu (CIO of
                            Westinghouse) with Deloitte
                            Manufacturing team.
   Groves, Rick             Develop network-wide                       $0.00     3.9      $0.00
                            recommendations and materials.
   Groves, Rick             Conduct recommendations and                $0.00     3.1      $0.00
                            materials review with Y. Liu
                            (Westinghouse).
   Hartigan, Martin         Preparation for deliverable review with    $0.00     2.0      $0.00
                            Y. Liu (Westinghouse).
   Hartigan, Martin         Participate in IT Roadmap workshop         $0.00     2.0      $0.00
                            and roadmap meeting with Y. Liu
                            (Westinghouse).


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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
02/13/2018
   Kiefer, Brian            Continue to develop network-wide           $0.00     1.9      $0.00
                            recommendations and materials.
   Kiefer, Brian            Conduct recommendations and                $0.00     3.1      $0.00
                            materials review with Y. Liu
                            (Westinghouse).
   Kiefer, Brian            Continue to conduct recommendations        $0.00     1.0      $0.00
                            and materials review with Y. Liu
                            (Westinghouse).
   Kiefer, Brian            Develop network-wide                       $0.00     3.0      $0.00
                            recommendations and materials.
   Librandi, Louis          Conduct recommendations and                $0.00     3.9      $0.00
                            materials review with Y. Liu
                            (Westinghouse).
   Librandi, Louis          Continue to conduct recommendations        $0.00     1.0      $0.00
                            and materials review with Y. Liu
                            (Westinghouse).
   Petrini, Bobby           Develop network-wide                       $0.00     3.9      $0.00
                            recommendations and materials.
   Petrini, Bobby           Conduct recommendations and                $0.00     3.1      $0.00
                            materials review with Y. Liu.
   Willis, Rob              Work on Westinghouse Manufacturing         $0.00     4.0      $0.00
                            & Quality Enhancement Project in
                            Pittsburg, PA.
   Yochim, Nicki            Vasteras manufacturing operations          $0.00     1.6      $0.00
                            and plant management discussion with
                            A. Karlsson, J. Hasselberg, P. Kross,
                            and E. Elvhage.
   Yochim, Nicki            Vasteras ongoing improvement               $0.00     1.4      $0.00
                            activities discussion with C. Dunne, M.
                            Boberg, and J. Lundberg.
   Yochim, Nicki            Prepare Vasteras plant book.               $0.00     0.3      $0.00
   Yochim, Nicki            Vasteras plant overview discussion         $0.00     0.9      $0.00
                            with J. Lundberg.
   Yochim, Nicki            Vasteras plant security and arrival with   $0.00     0.6      $0.00
                            M. Boberg.
   Yochim, Nicki            Vasteras Day 1 review with M. Boberg.      $0.00     0.5      $0.00
   Yochim, Nicki            Vasteras detailed plant tour with P.       $0.00     3.7      $0.00
                            Sergel.


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Manufacturing Assessment
02/14/2018
   Berckman, Lindsey        Develop network-wide                       $0.00     4.2      $0.00
                            recommendations.
   Berckman, Lindsey        Review turnkey IT proposal baseline        $0.00     4.8      $0.00
                            metrics.
   Bondarenko, Ilya         Develop network-wide                       $0.00     3.6      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Continue to develop network-wide           $0.00     1.0      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Standardize and consolidate plant          $0.00     3.4      $0.00
                            observation materials.
   Bondarenko, Ilya         Continue to standardize and                $0.00     1.0      $0.00
                            consolidate plant observation
                            materials.
   Collins, Robert          Perform further deliverable                $0.00     3.2      $0.00
                            development for manufacturing and
                            recommendation refinement.
   Collins, Robert          Develop network-wide                       $0.00     2.3      $0.00
                            recommendations and materials.
   Collins, Robert          Standardize and consolidate plant          $0.00     3.5      $0.00
                            observation materials.
   Das Chowdhury, Prajata   Create final deliverable materials.        $0.00     2.9      $0.00
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     2.6      $0.00
                            drive improvement opportunities.
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     3.5      $0.00
                            recommendations and materials.
   Fleming, Sean            Standardize and consolidate plant          $0.00     3.4      $0.00
                            observation materials.
   Fleming, Sean            Incorporate additional materials into      $0.00     3.0      $0.00
                            final deliverable per input of members
                            of Deloitte Manufacturing team.
   Fleming, Sean            Develop network-wide                       $0.00     2.6      $0.00
                            recommendations and materials.
   Groves, Rick             Standardize and consolidate plant          $0.00     3.4      $0.00
                            observation materials.
   Groves, Rick             Develop network-wide                       $0.00     3.6      $0.00
                            recommendations and materials.
   Hartigan, Martin         Perform OEE analytics review with P.       $0.00     1.0      $0.00
                            Chowdhury (Deloitte).

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Manufacturing Assessment
02/14/2018
   Hartigan, Martin         Participate in Westinghouse final          $0.00     2.0      $0.00
                            deliverable working session with the
                            Deloitte Manufacturing Team.
   Hartigan, Martin         Prepare Executive report out alignment     $0.00     1.0      $0.00
                            with L. Librandi (Deloitte).
   Kiefer, Brian            Continue to standardize and                $0.00     1.4      $0.00
                            consolidate plant observation
                            materials.
   Kiefer, Brian            Standardize and consolidate plant          $0.00     3.0      $0.00
                            observation materials.
   Kiefer, Brian            Develop network-wide                       $0.00     3.0      $0.00
                            recommendations and materials.
   Kiefer, Brian            Continue to develop network-wide           $0.00     1.6      $0.00
                            recommendations and materials.
   Librandi, Louis          Continue to develop network wide           $0.00     1.0      $0.00
                            recommendations and materials.
   Librandi, Louis          Develop network wide                       $0.00     3.4      $0.00
                            recommendations and materials.
   Petrini, Bobby           Develop network-wide                       $0.00     3.6      $0.00
                            recommendations and materials.
   Petrini, Bobby           Standarize and consolidate plant           $0.00     3.4      $0.00
                            observation materials.
   Willis, Rob              Review approach for Westinghouse           $0.00     4.0      $0.00
                            work breakdown & 10 day game-plan.
   Yochim, Nicki            Vasteras direct supply and supply          $0.00     1.1      $0.00
                            chain management discussion with A.
                            Kelvenius, M. Stigenberg, and M.
                            Andersen.
   Yochim, Nicki            Create Vasteras plant book.                $0.00     1.0      $0.00
   Yochim, Nicki            Attend Vasteras security and arrival       $0.00     0.5      $0.00
                            with M. Boberg.
   Yochim, Nicki            Participate in Vasteras day 2 debrief      $0.00     0.5      $0.00
                            with M. Boberg.
   Yochim, Nicki            Vasteras material management               $0.00     1.6      $0.00
                            discussion with M. Stigenberg, M.
                            Andersen, J. Brangefält, T. Meyer, Y.
                            Helmersson, and P. Kross.



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Manufacturing Assessment
02/14/2018
   Yochim, Nicki            Vasteras planning and scheduling             $0.00     1.4      $0.00
                            discussion with M. Andersen, C.
                            Munsgård, F. Eriksson, Y. Helmersson,
                            P. Kross, and M. Stigenberg.
   Yochim, Nicki            Vasteras plant maintenance discussion        $0.00     1.7      $0.00
                            with J. Andersson, M. Sohlman, and M.
                            Strömkvist.
   Yochim, Nicki            Vasteras quality discussion with P.          $0.00     1.2      $0.00
                            Sergel, C. Hellberg, and M.
                            Gunnarsson.
02/15/2018
   Bondarenko, Ilya         Develop network-wide                         $0.00     3.9      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Continue to develop network-wide             $0.00     2.0      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Create and refine final deliverable          $0.00     3.1      $0.00
                            materials.
   Collins, Robert          Perform further deliverable                  $0.00     2.6      $0.00
                            development for IT and
                            recommendation refinement.
   Collins, Robert          Develop network-wide                         $0.00     2.5      $0.00
                            recommendations and materials.
   Collins, Robert          Continue to standardize and                  $0.00     3.9      $0.00
                            consolidate plant observation
                            materials.
   Das Chowdhury, Prajata   Develop network-wide                         $0.00     4.0      $0.00
                            recommendations and materials.
   Das Chowdhury, Prajata   Prepare end state data analysis to           $0.00     2.0      $0.00
                            drive improvement opportunities.
   Das Chowdhury, Prajata   Create final deliverable materials.          $0.00     3.0      $0.00
   Fleming, Sean            Develop network wide                         $0.00     3.4      $0.00
                            recommendations and materials for
                            digital pilot portion of presentation with
                            L. Berckman (Deloitte).
   Fleming, Sean            Review and finalize network wide             $0.00     2.6      $0.00
                            recommendations and materials for
                            digital pilot portion of presentation with
                            Deloitte Manufacturing team.


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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
02/15/2018
   Fleming, Sean            Consolidate materials into final           $0.00     3.0      $0.00
                            deliverable with R. Groves (Deloitte)
   Groves, Rick             Develop network-wide                       $0.00     4.0      $0.00
                            recommendations and materials with
                            Deloitte Manufacturing Team.
   Librandi, Louis          Develop network wide                       $0.00     2.1      $0.00
                            recommendations and materials.
   Petrini, Bobby           Develop network-wide                       $0.00     4.0      $0.00
                            recommendations and materials with
                            Deloitte Manufacturing Team
   Petrini, Bobby           Continue to develop network-wide           $0.00     4.0      $0.00
                            recommendations and materials with
                            Deloitte Manufacturing Team
   Petrini, Bobby           Continue to develop network-wide           $0.00     4.0      $0.00
                            recommendations and materials with
                            Deloitte Manufacturing Team
   Petrini, Bobby           Continue to develop network-wide           $0.00     4.0      $0.00
                            recommendations and materials with
                            Deloitte Manufacturing Team
   Willis, Rob              Meeting with J. Ferraiolo to discuss       $0.00     4.0      $0.00
                            MDG Strategy discussion.
   Yochim, Nicki            Participate in Vasteras nuclear data       $0.00     1.0      $0.00
                            and export control with M. Gunnarson,
                            M. Boberg, M. Veho, and M. Pellfolk.
   Yochim, Nicki            Create Vasteras plant material.            $0.00     0.5      $0.00
   Yochim, Nicki            Attend Vasteras arrival and security       $0.00     0.5      $0.00
                            with M. Boberg.
   Yochim, Nicki            Analyze Vasteras observation               $0.00     3.0      $0.00
                            compilation.
   Yochim, Nicki            Discuss Vasteras IT system                 $0.00     2.0      $0.00
                            architecture with E. Elvhage, A.
                            Lindstedt, and M. Boberg.
   Yochim, Nicki            Review Vasteras report out.                $0.00     1.0      $0.00
   Yochim, Nicki            Vasteras cost management discussion        $0.00     1.0      $0.00
                            with A. Halling, S. Engström, E.
                            Ljunggren, C. Lindblom, and H.
                            Holmen.



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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
02/16/2018
   Bondarenko, Ilya         Develop network-wide                       $0.00     3.9      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Continue to develop network-wide           $0.00     3.3      $0.00
                            recommendations and materials.
   Bondarenko, Ilya         Create and refine final deliverable        $0.00     1.8      $0.00
                            materials.
   Collins, Robert          Perform further deliverable                $0.00     2.9      $0.00
                            development for IT and
                            recommendation refinement.
   Collins, Robert          Develop network-wide                       $0.00     2.9      $0.00
                            recommendations.
   Collins, Robert          Create and refine final deliverable        $0.00     3.2      $0.00
                            materials.
   Das Chowdhury, Prajata   Prepare end state data analysis to         $0.00     1.2      $0.00
                            drive improvement opportunities.
   Das Chowdhury, Prajata   Create final deliverable materials.        $0.00     3.0      $0.00
   Das Chowdhury, Prajata   Develop network-wide                       $0.00     4.8      $0.00
                            recommendations and materials.
   Fleming, Sean            Develop network-wide                       $0.00     2.9      $0.00
                            recommendations and materials.
   Fleming, Sean            Review final network-wide                  $0.00     3.0      $0.00
                            recommendations and materials with
                            Deloitte Manufacturing team.
   Fleming, Sean            Create and refine final deliverable        $0.00     3.1      $0.00
                            materials.
   Groves, Rick             Develop network-wide                       $0.00     4.0      $0.00
                            recommendations and materials with
                            Deloitte Manufacturing Team.
   Groves, Rick             Create and refine final deliverable        $0.00     3.1      $0.00
                            materials.
   Petrini, Bobby           Continue to develop network-wide           $0.00     4.0      $0.00
                            recommendations and materials with
                            Deloitte Manufacturing Team
   Petrini, Bobby           Create and refine final deliverable        $0.00     3.1      $0.00
                            materials alongside Deloitte
                            Manufacturing Team
   Petrini, Bobby           Continue to create and refine final        $0.00     3.9      $0.00
                            deliverable materials alongside
                            Deloitte Manufacturing Team

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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
02/16/2018
   Willis, Rob              Meeting with P. Chowdhury and B.           $0.00     2.0      $0.00
                            Petrini (both Deloitte) to discuss
                            Manufacturing & Quality Enhancement.
   Yochim, Nicki            Create final deliverable.                  $0.00     3.4      $0.00
   Yochim, Nicki            Refine final deliverable                   $0.00     1.6      $0.00
   Yochim, Nicki            Continue to create final deliverable.      $0.00     4.0      $0.00
02/17/2018
   Petrini, Bobby           Continue to create and refine final        $0.00     3.9      $0.00
                            deliverable materials alongside
                            Deloitte Manufacturing Team
   Petrini, Bobby           Continue to create and refine final        $0.00     3.9      $0.00
                            deliverable materials alongside
                            Deloitte Manufacturing Team
02/19/2018
   Bondarenko, Ilya         Consolidate final project deliverable      $0.00     3.2      $0.00
                            slides.
   Bondarenko, Ilya         Continue to consolidate final project      $0.00     3.0      $0.00
                            deliverable slides.
   Bondarenko, Ilya         Refine final deliverable slides for        $0.00     2.8      $0.00
                            Newington Warrendale plant visits.
   Das Chowdhury, Prajata   Complete long term deliverables.           $0.00     4.9      $0.00
   Das Chowdhury, Prajata   Build detailed project proposal for next   $0.00     4.1      $0.00
                            steps.
   Kiefer, Brian            Develop network-wide                       $0.00     3.3      $0.00
                            recommendations and materials.
   Kiefer, Brian            Continue to develop network-wide           $0.00     2.0      $0.00
                            recommendations and materials.
   Kiefer, Brian            Create final deliverable materials.        $0.00     3.7      $0.00
   Librandi, Louis          Refine final deliverable slides for        $0.00     2.8      $0.00
                            Blairsville plant visit.
02/20/2018
   Bondarenko, Ilya         Consolidate final project deliverable      $0.00     3.1      $0.00
                            slides.
   Bondarenko, Ilya         Continue to consolidate final project      $0.00     2.0      $0.00
                            deliverable slides.


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Date                        Description                                 Rate    Hours      Fees

Manufacturing Assessment
02/20/2018
   Bondarenko, Ilya         Refine final deliverable slides for         $0.00     3.9      $0.00
                            Blairsville and New Stanton plant visits.
   Collins, Robert          Perform further deliverable                 $0.00     4.0      $0.00
                            development for IT and
                            recommendation refinement.
   Collins, Robert          Consolidate final project deliverable       $0.00     4.0      $0.00
                            slides.
   Collins, Robert          Refine final deliverable slides for         $0.00     1.0      $0.00
                            Blairsville plan visit.
   Das Chowdhury, Prajata   Complete long term deliverables.            $0.00     5.2      $0.00
   Das Chowdhury, Prajata   Build detailed project proposal for next    $0.00     3.8      $0.00
                            steps.
   Groves, Rick             Consolidate final project deliverable       $0.00     3.9      $0.00
                            slides with Deloitte Manufacturing
                            Team.
   Groves, Rick             Refine final deliverable slides for         $0.00     3.1      $0.00
                            Blairsville and New Stanton plant visits.
   Kiefer, Brian            Refine final deliverable slides for         $0.00     2.8      $0.00
                            Newington plant visit.
   Kiefer, Brian            Continue to consolidate final project       $0.00     2.0      $0.00
                            deliverable slides.
   Kiefer, Brian            Consolidate final project deliverable       $0.00     3.2      $0.00
                            slides.
   Kiefer, Brian            Continue to consolidate final project       $0.00     1.0      $0.00
                            deliverable slides.
   Librandi, Louis          Refine final deliverable slides for         $0.00     2.2      $0.00
                            Blairsville and New Stanton plant visit.
   Petrini, Bobby           Consolidate final project deliverable       $0.00     3.9      $0.00
                            slides with Deloitte Manufacturing
                            Team
   Petrini, Bobby           Refine final deliverable slides for         $0.00     3.1      $0.00
                            Blairsville and New Stanton plant visits.
02/21/2018
   Bondarenko, Ilya         Consolidate final project deliverable       $0.00     3.7      $0.00
                            slides.
   Bondarenko, Ilya         Continue to consolidate final project       $0.00     1.0      $0.00
                            deliverable slides.


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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours      Fees

Manufacturing Assessment
02/21/2018
   Bondarenko, Ilya         Refine final deliverable slides for         $0.00     3.3      $0.00
                            Ogden plant visits.
   Bondarenko, Ilya         Continue to refine final deliverable        $0.00     1.0      $0.00
                            slides for Ogden plant visits.
   Collins, Robert          Perform further deliverable                 $0.00     2.7      $0.00
                            development for digital and
                            recommendation refinement.
   Collins, Robert          Consolidate final project deliverable       $0.00     2.7      $0.00
                            slides.
   Collins, Robert          Refine final deliverable slides for         $0.00     3.6      $0.00
                            Warrendale plant visits.
   Das Chowdhury, Prajata   Complete long term deliverables.            $0.00     5.0      $0.00
   Das Chowdhury, Prajata   Complete detailed project observations      $0.00     4.0      $0.00
                            to opportunities deck with focused
                            deep dive on key improvement
                            opportunities.
   Groves, Rick             Consolidate final project deliverable       $0.00     3.9      $0.00
                            slides with Deloitte Manufacturing
                            Team.
   Groves, Rick             Refine final deliverable slides for Waltz   $0.00     3.8      $0.00
                            Mill plant visits.
   Librandi, Louis          Refine final deliverable slides for         $0.00     1.9      $0.00
                            Newington, Waltz Mill and Warrendale
                            plant.
   Petrini, Bobby           Consolidate final project deliverable       $0.00     3.9      $0.00
                            slides with Deloitte Manufacturing
                            Team
   Petrini, Bobby           Refine final deliverable slides for         $0.00     3.8      $0.00
                            Newington, Waltz Mill, and Warrendale
                            plant visits.
02/22/2018
   Collins, Robert          Perform further deliverable                 $0.00     1.1      $0.00
                            development for digital and
                            recommendation refinement.
   Collins, Robert          Refine final deliverable slides for         $0.00     3.9      $0.00
                            Ogden plant visits.
   Collins, Robert          Consolidate final project deliverable       $0.00     4.0      $0.00
                            slides.


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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
02/22/2018
   Das Chowdhury, Prajata   Complete detailed project observations     $0.00     4.7      $0.00
                            to opportunities deck with focused
                            deep dive on improvement
                            opportunities.
   Das Chowdhury, Prajata   Build detailed project proposal for next   $0.00     4.3      $0.00
                            steps.
   Groves, Rick             Refine final deliverable slides for        $0.00     3.9      $0.00
                            Columbia plant visits.
   Groves, Rick             Consolidate final project deliverable      $0.00     3.8      $0.00
                            slides.
   Kiefer, Brian            Continue to consolidate final project      $0.00     3.5      $0.00
                            deliverable slides.
   Kiefer, Brian            Consolidate final project deliverable      $0.00     3.0      $0.00
                            slides.
   Kiefer, Brian            Refine final deliverable slides for        $0.00     2.5      $0.00
                            Vasteras plant visit.
   Librandi, Louis          Refine final deliverable slides for        $0.00     2.6      $0.00
                            Columbia and Ogden plant visit.
   Petrini, Bobby           Refine final deliverable slides for        $0.00     3.9      $0.00
                            Columbia and Ogden plant visits.
   Petrini, Bobby           Consolidate final project deliverable      $0.00     3.8      $0.00
                            slides.
02/23/2018
   Collins, Robert          Refine final deliverable slides for        $0.00     2.2      $0.00
                            Vasteras plant visits.
   Collins, Robert          Consolidate final project deliverable      $0.00     3.8      $0.00
                            slides.
   Collins, Robert          Refine final deliverable slides for        $0.00     3.6      $0.00
                            Vasteras and Springfields plant visits.
   Collins, Robert          Consolidate final project deliverable      $0.00     2.4      $0.00
                            slides.
   Collins, Robert          Perform further deliverable                $0.00     3.0      $0.00
                            development for digital and
                            recommendation refinement.
   Das Chowdhury, Prajata   Complete detailed project observations     $0.00     4.0      $0.00
                            to opportunities deck with focused
                            deep dive on key improvement
                            opportunities.


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Date                        Description                                Rate    Hours      Fees

Manufacturing Assessment
02/23/2018
   Das Chowdhury, Prajata   Complete long term deliverables.           $0.00     5.0      $0.00
   Groves, Rick             Refine final deliverable slides for        $0.00     3.6      $0.00
                            Springfields plant visits.
   Groves, Rick             Consolidate final project deliverable      $0.00     3.5      $0.00
                            slides.
   Petrini, Bobby           Refine final deliverable slides for        $0.00     3.6      $0.00
                            Vasteras and Springfields plant visits.
   Petrini, Bobby           Consolidate final project deliverable      $0.00     3.5      $0.00
                            slides.
02/26/2018
   Bondarenko, Ilya         Continue to consolidate final project      $0.00     3.0      $0.00
                            deliverable slides.
   Bondarenko, Ilya         Refine final deliverable slides for        $0.00     2.8      $0.00
                            Vasteras and Springfields plant visits.
   Bondarenko, Ilya         Consolidate final project deliverable      $0.00     3.2      $0.00
                            slides.
   Collins, Robert          Review deliverable recommendation          $0.00     3.0      $0.00
                            build out and workshop.
   Librandi, Louis          Review and circulate final project         $0.00     2.5      $0.00
                            deliverables with Westinghouse client
                            leadership.
02/27/2018
   Bondarenko, Ilya         Consolidate final project deliverable      $0.00     4.0      $0.00
                            slides with Deloitte Manufacturing
                            Team.
   Bondarenko, Ilya         Continue to consolidate final project      $0.00     4.0      $0.00
                            deliverable slides with Deloitte
                            Manufacturing Team.
   Bondarenko, Ilya         Continue to consolidate final project      $0.00     0.2      $0.00
                            deliverable slides with Deloitte
                            Manufacturing Team.
   Bondarenko, Ilya         Develop follow-up contract materials to    $0.00     0.8      $0.00
                            be provided alongside project
                            deliverables.
   Collins, Robert          Review deliverable recommendation          $0.00     3.0      $0.00
                            build out and workshop.
   Collins, Robert          Refine final deliverable slides for        $0.00     2.9      $0.00
                            Columbia and Ogden plant visits.

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Manufacturing Assessment
02/27/2018
   Collins, Robert           Continue to consolidate final project       $0.00       3.1      $0.00
                             deliverable slides.
   Librandi, Louis           Review and circulate final project          $0.00       2.2      $0.00
                             deliverables with Westinghouse client
                             leadership.
02/28/2018
   Bondarenko, Ilya          Continue to develop follow-up contract      $0.00       2.9      $0.00
                             materials to be provided alongside
                             project deliverables.
   Bondarenko, Ilya          Consolidate final project deliverable       $0.00       2.1      $0.00
                             slides.
   Bondarenko, Ilya          Develop follow-up contract materials to     $0.00       4.0      $0.00
                             be provided alongside project
                             deliverables.
   Collins, Robert           Review deliverable recommendation           $0.00       3.0      $0.00
                             build out and workshop.
   Collins, Robert           Continue to finalize deliverable and        $0.00       3.2      $0.00
                             recommendation.
   Collins, Robert           Continue to refine final deliverable        $0.00       2.8      $0.00
                             slides for Vasteras and Springfields
                             plant visits.
   Librandi, Louis           Review and circulate final project          $0.00       2.7      $0.00
                             deliverables with Westinghouse client
                             leadership.
   Subtotal for Manufacturing Assessment:                                        3,226.5      $0.00

P2P Assessment
01/22/2018
   Librandi, Louis           Continue to update Columbia plant visit     $0.00       1.0      $0.00
                             observations and maturity model.
   Librandi, Louis           Update Columbia plant visit                 $0.00       3.7      $0.00
                             observations and maturity model.
01/29/2018
   Berkowitz, Craig          Prepare kick-off document for Supply        $0.00       3.1      $0.00
                             Chain meeting.
   Berkowitz, Craig          Project team review of kick-off             $0.00       1.2      $0.00
                             document.


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P2P Assessment
01/29/2018
   Berkowitz, Craig          Review project expectations with J.         $0.00     0.9      $0.00
                             Dudiak.
   Berkowitz, Craig          Schedule interviews with Supply Chain       $0.00     1.6      $0.00
                             group.
   Berkowitz, Craig          Review procure-to-pay (P2P0 process         $0.00     2.2      $0.00
                             flows with C. New.
   Brennan, Ted              Review and work on kick off deck.           $0.00     2.0      $0.00
   Gupati, Raj               Review existing policies and                $0.00     3.4      $0.00
                             procedures for P2P process.
   Gupati, Raj               Prepare project plan.                       $0.00     3.6      $0.00
   Gupati, Raj               Review and work on kick off deck.           $0.00     2.0      $0.00
   Horton, Terry             Develop detailed project plan for P2P       $0.00     1.5      $0.00
                             assessment with Deloitte project team.
   Horton, Terry             Develop kick-off materials and              $0.00     4.0      $0.00
                             facilitated project preparation planning.
   Horton, Terry             Continue developing kick-off materials      $0.00     3.5      $0.00
                             and facilitated project preparation
                             planning.
   Lafontant, Anthony        Review on-boarding documents.               $0.00     3.3      $0.00
   Lafontant, Anthony        Review project work plan.                   $0.00     1.5      $0.00
   Lafontant, Anthony        Review the project kick-off deck.           $0.00     2.5      $0.00
   Lafontant, Anthony        Modify kick-off deck and work plan          $0.00     2.7      $0.00
                             based on team discussion.
   Marashi, Seema            Develop notes template.                     $0.00     0.8      $0.00
   Marashi, Seema            Review SOW regarding scope of               $0.00     1.6      $0.00
                             services.
   Marashi, Seema            Read through policy and procedures.         $0.00     3.3      $0.00
   Marashi, Seema            Read through position / band                $0.00     0.6      $0.00
                             information.
   Marashi, Seema            Review project plan.                        $0.00     0.7      $0.00
   Marashi, Seema            Review kick-off deck.                       $0.00     1.1      $0.00
   Marashi, Seema            Update kick-off deck.                       $0.00     1.1      $0.00
   Mendon, Neha              Prepare assessment materials to be          $0.00     5.4      $0.00
                             used during Westinghouse
                             Stakeholder Interviews.

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P2P Assessment
01/29/2018
   Mendon, Neha            Review assessment materials to be          $0.00     3.6      $0.00
                           used during Westinghouse
                           Stakeholder interviews.
   Zamy, Vanessa           Prepare Kick-Off presentation to be        $0.00     4.7      $0.00
                           used during Kick-Off meeting.
   Zamy, Vanessa           Prepare workplan to be used for            $0.00     2.2      $0.00
                           project workflow.
   Zamy, Vanessa           Review workplan materials.                 $0.00     2.1      $0.00
01/30/2018
   Berkowitz, Craig        Project kick-off with Supply Chain.        $0.00     1.4      $0.00
   Berkowitz, Craig        Project review with T. Henderson.          $0.00     0.8      $0.00
   Berkowitz, Craig        Supplier approval meeting with B.          $0.00     1.2      $0.00
                           Solich and K. Nestlerode.
   Berkowitz, Craig        Review Fr. DUS project with T.             $0.00     0.6      $0.00
                           Connor.
   Berkowitz, Craig        Procurement systems review with D.         $0.00     2.2      $0.00
                           DeRoche.
   Berkowitz, Craig        Develop project reporting templates.       $0.00     2.8      $0.00
   Brennan, Ted            Review and provide comment on              $0.00     3.0      $0.00
                           project reporting remplates.
   Gupati, Raj             Conduct Sourcing interview.                $0.00     2.0      $0.00
   Gupati, Raj             Execute interviews for P2P                 $0.00     2.2      $0.00
                           Assessment.
   Gupati, Raj             Conduct P2P Direct Material Interview.     $0.00     3.0      $0.00
   Gupati, Raj             Conduct P2P Indirect Material              $0.00     1.8      $0.00
                           interview.
   Horton, Terry           Prepare Interview guide for P2P            $0.00     4.0      $0.00
                           assessment.
   Horton, Terry           Participate in kick-off meeting with       $0.00     1.0      $0.00
                           WEC personnel.
   Horton, Terry           Conduct two interviews with WEC            $0.00     2.0      $0.00
                           Personnel to include Systems and
                           supplier team.
   Horton, Terry           Prepare for two interviews with WEC        $0.00     2.0      $0.00
                           personnel to include systems and
                           supplier team.


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                  Fees Sorted by Category for the Fee Period
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Date                         Description                                Rate    Hours      Fees

P2P Assessment
01/30/2018
   Lafontant, Anthony        Draft preliminary data request based       $0.00     1.6      $0.00
                             on analysis of client documents.
   Lafontant, Anthony        Review findings/debrief from previous      $0.00     2.9      $0.00
                             meetings.
   Lafontant, Anthony        Create inventory of client documents.      $0.00     2.4      $0.00
   Lafontant, Anthony        Collect external documents to compare      $0.00     2.1      $0.00
                             client P2P performance to industry.
   Marashi, Seema            Analyze spend / PO data.                   $0.00     2.1      $0.00
   Marashi, Seema            Develop KPIs for deliverable.              $0.00     2.2      $0.00
   Marashi, Seema            Research benchmarks specific to            $0.00     1.5      $0.00
                             Ariba.
   Marashi, Seema            Calculate benchmarks with existing         $0.00     1.0      $0.00
                             spend data.
   Marashi, Seema            Develop data request tracker.              $0.00     1.1      $0.00
   Mendon, Neha              Conduct kick off meeting for Supplier      $0.00     3.5      $0.00
                             Website interviews.
   Mendon, Neha              Conduct Website interviews regarding       $0.00     1.6      $0.00
                             known issues.
   Mendon, Neha              Document Supplier Management notes         $0.00     1.7      $0.00
                             for analysis.
   Mendon, Neha              Conduct System interviews regarding        $0.00     2.2      $0.00
                             technology.
   Zamy, Vanessa             Outline procure to pay process.            $0.00     0.7      $0.00
   Zamy, Vanessa             Develop template foundation for            $0.00     3.4      $0.00
                             project deliverables.
   Zamy, Vanessa             Review given client spend data and         $0.00     1.0      $0.00
                             procedural documents.
01/31/2018
   Berkowitz, Craig          Discuss vendor management process          $0.00     2.1      $0.00
                             with M. Baldock.
   Berkowitz, Craig          Procure-to-pay discussion with D.          $0.00     0.8      $0.00
                             Evankovich.
   Berkowitz, Craig          Discuss vendor record metrics with M.      $0.00     1.1      $0.00
                             Baldock.
   Berkowitz, Craig          Discuss Europe project invoicing with      $0.00     2.1      $0.00
                             F. Sesumaga.

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Date                         Description                                Rate    Hours      Fees

P2P Assessment
01/31/2018
   Berkowitz, Craig          Direct procurement meeting with M.         $0.00     1.7      $0.00
                             Valore.
   Berkowitz, Craig          Discuss UK Direct procurement with P.      $0.00     1.2      $0.00
                             Madill.
   Gupati, Raj               Conduct in depth systems and tools         $0.00     3.2      $0.00
                             assessments.
   Gupati, Raj               Conduct Master data process                $0.00     2.8      $0.00
                             interviews.
   Gupati, Raj               Review Master Data and transactional       $0.00     3.0      $0.00
                             data landscape.
   Horton, Terry             Conduct interviews with WEC                $0.00     4.0      $0.00
                             personnel to discuss supply chain,
                             vendor maintenance, EMEA business
                             processes and sourcing.
   Horton, Terry             Continue to conduct interviews with        $0.00     2.0      $0.00
                             WEC personnel to discuss supply
                             chain, vendor maintenance, EMEA
                             business processes and sourcing.
   Horton, Terry             Develop WEC final deliverable              $0.00     3.0      $0.00
                             templates for indirect and direct P2P
                             workstreams.
   Lafontant, Anthony        Outline as-is assessment.                  $0.00     1.2      $0.00
   Lafontant, Anthony        Review existing procedures                 $0.00     3.1      $0.00
                             surrounding inventory management.
   Lafontant, Anthony        Review documents received from C.          $0.00     0.9      $0.00
                             Newara.
   Lafontant, Anthony        Create diagrams outlining current          $0.00     3.8      $0.00
                             process as part of as-is assessment.
   Marashi, Seema            Review vendor data and began               $0.00     1.1      $0.00
                             calculating metrics.
   Mendon, Neha              Conduct Direct Materials interviews for    $0.00     3.2      $0.00
                             Manufacturing known issues.
   Mendon, Neha              Conduct Direct Materials Sourcing          $0.00     3.3      $0.00
                             interviews for Fuels known issues.
   Mendon, Neha              Conduct Finance interviews for             $0.00     2.5      $0.00
                             Controller known issues.
   Zamy, Vanessa             Develop understanding of client’s          $0.00     2.2      $0.00
                             system landscape and identified known
                             pain points.

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Date                         Description                                Rate    Hours      Fees

P2P Assessment
01/31/2018
   Zamy, Vanessa             Review incoming vendor master data.        $0.00     1.1      $0.00
   Zamy, Vanessa             Develop template for presentation.         $0.00     5.7      $0.00
02/01/2018
   Berkowitz, Craig          Prepare weekly status report.              $0.00     2.4      $0.00
   Berkowitz, Craig          Capture interview notes from todays        $0.00     1.1      $0.00
                             meetings.
   Berkowitz, Craig          Indirect procurement discussion with T.    $0.00     2.3      $0.00
                             Henderson, F. Gao, P. Madill, and J.
                             Calinger.
   Berkowitz, Craig          Confirm follow-up interviews with C.       $0.00     1.2      $0.00
                             Newara.
   Gupati, Raj               Complete project plan with milestones.     $0.00     2.9      $0.00
   Gupati, Raj               Conduct interviews for EMEA, U.S.          $0.00     3.0      $0.00
                             and China processes.
   Gupati, Raj               Synthesize key process pain points.        $0.00     3.1      $0.00
   Horton, Terry             Conduct interviews with WEC                $0.00     4.0      $0.00
                             personnel on indirect sourcing, APAC
                             processes, solutions architecture, and
                             vendor maintenance.
   Horton, Terry             Prepare WEC's weekly status report.        $0.00     4.0      $0.00
   Lafontant, Anthony        Create framework for as-is assessment      $0.00     1.0      $0.00
                             deliverable.
   Lafontant, Anthony        Team meeting to debrief on today's         $0.00     1.0      $0.00
                             meetings with client stakeholders.
   Lafontant, Anthony        Schedule meetings and attach               $0.00     3.3      $0.00
                             interview guides for client meetings.
   Lafontant, Anthony        Review additional client documents.        $0.00     2.7      $0.00
   Marashi, Seema            Develop weekly status report template.     $0.00     2.6      $0.00
   Marashi, Seema            Review notes from stakeholder              $0.00     2.3      $0.00
                             meetings.
   Marashi, Seema            Prepare content for as-is assessment.      $0.00     3.3      $0.00
   Marashi, Seema            Update opportunity tracker.                $0.00     0.8      $0.00
   Mendon, Neha              Conduct Indirect Materials interviews      $0.00     2.2      $0.00
                             for Americas region.



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Date                         Description                                Rate    Hours      Fees

P2P Assessment
02/01/2018
   Mendon, Neha              Conduct Indirect Materials interviews      $0.00     2.4      $0.00
                             for EMEA region.
   Mendon, Neha              Conduct Indirect Materials interviews      $0.00     4.4      $0.00
                             for APAC region.
   Zamy, Vanessa             Complete weekly team calendar              $0.00     5.8      $0.00
                             update via communication with team
                             members for confirmation and
                             approval.
   Zamy, Vanessa             Review received pain point responses       $0.00     3.2      $0.00
                             from clients employed in Sweden and
                             UK.
02/02/2018
   Berkowitz, Craig          Review weekly status report with J.        $0.00     0.6      $0.00
                             Dudiak, R. Depos, and C. Newara.
   Berkowitz, Craig          Review weekly progress with T.             $0.00     1.4      $0.00
                             Brennan, R. Gupati, and T. Horton.
   Gupati, Raj               Create deliverable templates such as       $0.00     3.9      $0.00
                             maturity analysis.
   Gupati, Raj               Review existing systems architecture       $0.00     3.0      $0.00
                             of Westinghouse.
   Gupati, Raj               Discuss key details of objectives from     $0.00     2.0      $0.00
                             WEC leadership and management of
                             key resources.
   Horton, Terry             Consolidate lessons learned from first     $0.00     2.0      $0.00
                             week of WEC interviews.
   Horton, Terry             Prepare indirect P2P "As Is" current       $0.00     4.0      $0.00
                             state assessment.
   Horton, Terry             Continue to prepare indirect WEC P2P       $0.00     3.0      $0.00
                             "As Is" current state assessment.
   Lafontant, Anthony        Respond to client scheduling conflicts     $0.00     2.5      $0.00
                             and rescheduling.
   Lafontant, Anthony        Create additional flow diagrams for the    $0.00     2.5      $0.00
                             current state.
   Lafontant, Anthony        Organize client documents into             $0.00     1.1      $0.00
                             organized structure based on meetings
                             with J. Hobi.
   Lafontant, Anthony        Organize client documents into             $0.00     2.9      $0.00
                             organized structure based on meetings
                             with M. Beckmen.

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P2P Assessment
02/02/2018
   Marashi, Seema          Document opportunities from meeting        $0.00     3.4      $0.00
                           notes.
   Marashi, Seema          Internal team meeting.                     $0.00     0.6      $0.00
   Mendon, Neha            Document Westinghouse Stakeholder          $0.00     4.2      $0.00
                           interview notes.
   Mendon, Neha            Develop Technical Landscape for            $0.00     4.8      $0.00
                           Westinghouse that encompasses
                           processes and systems.
   Zamy, Vanessa           Assess proper uploading of materials       $0.00     1.9      $0.00
                           onto Share File for team visibility into
                           project materials including interview
                           notes and templates.
   Zamy, Vanessa           Prepare specific note-taking template      $0.00     3.2      $0.00
                           for each scheduled client meeting the
                           following week.
02/05/2018
   Berkowitz, Craig        Prepare for the week’s Procure-to-Pay      $0.00     3.2      $0.00
                           interviews.
   Berkowitz, Craig        Follow-up Procure-to-Pay interview         $0.00     3.6      $0.00
                           with T. Henderson and S. McDermott.
   Berkowitz, Craig        Prepare project status report with J.      $0.00     1.2      $0.00
                           Dudiak.
   Brennan, Ted            Prepare logistics meeting materials.       $0.00     6.0      $0.00
   Gupati, Raj             Discuss Buying Center with J. Hobi.        $0.00     2.0      $0.00
   Gupati, Raj             Synthesize information for current         $0.00     3.0      $0.00
                           state assessment.
   Gupati, Raj             Perform detailed Stakeholder               $0.00     2.4      $0.00
                           interviews.
   Gupati, Raj             Perform logistics interview with S.        $0.00     1.6      $0.00
                           McDermott.
   Horton, Terry           Conduct interviews with WEC                $0.00     3.0      $0.00
                           personnel to discuss procurement and
                           contracts.
   Horton, Terry           Prepare WEC "As Is" P2P assessment         $0.00     4.0      $0.00
                           deliverable.
   Horton, Terry           Continue to prepare WEC "As Is"            $0.00     2.0      $0.00
                           assessment deliverable.


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P2P Assessment
02/05/2018
   Lafontant, Anthony        Meeting and follow ups with T.             $0.00     2.6      $0.00
                             Henderson.
   Lafontant, Anthony        Schedule in-person client meetings         $0.00     1.3      $0.00
                             with T. Henderson, J. Hobi, M.
                             Beckmen, and B. Bauer.
   Lafontant, Anthony        Collaborate with Deloitte P2P team to      $0.00     0.7      $0.00
                             match interview schedules.
   Lafontant, Anthony        Aggregate notes from previous week.        $0.00     1.2      $0.00
   Lafontant, Anthony        Prepare notes during meetings with J.      $0.00     3.2      $0.00
                             Hobi.
   Marashi, Seema            Conduct Stakeholder interview with J.      $0.00     0.9      $0.00
                             Hobi.
   Marashi, Seema            Conduct Stakeholder interview with T.      $0.00     1.1      $0.00
                             Henderson.
   Marashi, Seema            Review notes from Week 1 and               $0.00     6.4      $0.00
                             documented opportunities.
   Mendon, Neha              Prepare assessment materials to be         $0.00     3.7      $0.00
                             used during Logistics interviews.
   Mendon, Neha              Review assessment materials to be          $0.00     5.3      $0.00
                             used during LOA Interviews.
   Zamy, Vanessa             Upload interview notes to Sharefile.       $0.00     0.8      $0.00
   Zamy, Vanessa             Review client data highlighting gaps       $0.00     0.5      $0.00
                             and recommendations about SAP APO
                             and project development.
   Zamy, Vanessa             Perform note-taking during client          $0.00     0.6      $0.00
                             interview with J. Hobi to discuss
                             contracting and approval processes.
   Zamy, Vanessa             Review meeting notes regarding status      $0.00     1.6      $0.00
                             and priorities for the week, including
                             current state assessment.
   Zamy, Vanessa             Create summary status update for           $0.00     0.7      $0.00
                             client to understand interviews
                             scheduled and completed.
   Zamy, Vanessa             Complete meeting note templates with       $0.00     1.3      $0.00
                             specified names, times, and meeting
                             descriptions for all interviews during
                             week two.



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P2P Assessment
02/05/2018
   Zamy, Vanessa           Perform project management activities      $0.00     0.4      $0.00
                           to coordinate schedules and align the
                           team goals.
   Zamy, Vanessa           Summarize notes from client interviews     $0.00     3.1      $0.00
                           with K. Kilmer and T. Henderson.
02/06/2018
   Berkowitz, Craig        Discuss China sourcing with F. Gao.        $0.00     1.8      $0.00
   Berkowitz, Craig        Discuss Ariba configuration with B.        $0.00     1.1      $0.00
                           Bauer.
   Berkowitz, Craig        Discuss Europe/UK sourcing with G.         $0.00     2.3      $0.00
                           Laughlin.
   Berkowitz, Craig        Perform Ariba system walkthrough with      $0.00     2.8      $0.00
                           A. Vincent.
   Gupati, Raj             Perform detailed interviews on indirect    $0.00     2.8      $0.00
                           purchasing and understanding of
                           current state pain points.
   Gupati, Raj             Perform detailed interviews on direct      $0.00     2.1      $0.00
                           purchasing and understanding of
                           current state pain points.
   Gupati, Raj             Perform detailed interviews on invoice     $0.00     1.0      $0.00
                           pay process and understanding of
                           current state pain points.
   Gupati, Raj             Perform detailed interviews on             $0.00     2.2      $0.00
                           category management and
                           understanding of current state pain
                           points.
   Gupati, Raj             Perform detailed interviews on             $0.00     2.0      $0.00
                           sourcing process and understanding of
                           current state pain points.
   Horton, Terry           Interview WEC personnel on WEC             $0.00     4.0      $0.00
                           Systems landscape to include indirect
                           eProcurement platform Ariba.
   Horton, Terry           Continue interviews WEC personnel on       $0.00     3.0      $0.00
                           WEC Systems landscape to include
                           indirect eProcurement platform Ariba.
   Horton, Terry           Develop "AS is" Assessment                 $0.00     2.0      $0.00
                           deliverable based on conduct of WEC
                           personnel interviews and data.


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P2P Assessment
02/06/2018
   Lafontant, Anthony        Deloitte P2P team discussion on            $0.00     1.3      $0.00
                             strategy for assessment.
   Lafontant, Anthony        Design pain point report.                  $0.00     2.6      $0.00
   Lafontant, Anthony        Meeting with G. Laughlin to discuss        $0.00     2.6      $0.00
                             requisitions, supplier management,
                             and identified pain points.
   Lafontant, Anthony        Review notes and collecting findings       $0.00     2.5      $0.00
                             into organized format.
   Marashi, Seema            Conduct interview with R. Rabo.            $0.00     0.8      $0.00
   Marashi, Seema            Consolidate meeting notes.                 $0.00     1.1      $0.00
   Marashi, Seema            Prepare current state assessment.          $0.00     3.9      $0.00
   Marashi, Seema            Review opportunities.                      $0.00     1.0      $0.00
   Marashi, Seema            Conduct interview with B. Bower.           $0.00     0.8      $0.00
   Marashi, Seema            Conduct interview with A. Vincent.         $0.00     0.6      $0.00
   Marashi, Seema            Conduct interview with G. Laughlin.        $0.00     0.8      $0.00
   Mendon, Neha              Conduct kick off meeting for               $0.00     1.7      $0.00
                             EMEA/VAT interviews.
   Mendon, Neha              Conduct Supplier Management                $0.00     3.4      $0.00
                             interviews regarding Ariba
                             Administration.
   Mendon, Neha              Document Spend Management Data             $0.00     2.1      $0.00
                             for Current State Analysis.
   Mendon, Neha              Conduct Systems Landscape                  $0.00     1.8      $0.00
                             interviews.
   Zamy, Vanessa             Perform note-taking on client              $0.00     1.5      $0.00
                             interviews with A. Vincent, R. Rabo,
                             and G. Laughlin.
   Zamy, Vanessa             Perform daily touchpoint with              $0.00     0.3      $0.00
                             workstream team with N. Mendon.
   Zamy, Vanessa             Perform note-taking on client              $0.00     1.5      $0.00
                             interviews with A. Vincent, R. Rabo,
                             and G. Laughlin.
   Zamy, Vanessa             Consolidate and upload notes from the      $0.00     2.5      $0.00
                             afore-mentioned client interviews.
   Zamy, Vanessa             Review meeting interview notes.            $0.00     1.3      $0.00


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P2P Assessment
02/06/2018
   Zamy, Vanessa             Review data received from Deloitte’s       $0.00     1.9      $0.00
                             Manufacturing Team’s assessment of
                             the client’s global plants/campus
                             facilities.
02/07/2018
   Berkowitz, Craig          Review UK controller and process.          $0.00     5.6      $0.00
   Berkowitz, Craig          Planning meeting with C. Newara.           $0.00     1.3      $0.00
   Berkowitz, Craig          Follow-up discussions on requested         $0.00     2.1      $0.00
                             data with J. Dudiak.
   Gupati, Raj               Interviews with stakeholders from          $0.00     2.4      $0.00
                             Sweden- Financial Controllers.
   Gupati, Raj               Interviews with stakeholders from          $0.00     3.0      $0.00
                             Didier from France and Belgium- P2P
                             process.
   Gupati, Raj               Interviews with stakeholders from I2P      $0.00     2.7      $0.00
                             process for UK stake holders.
   Gupati, Raj               Interviews with stakeholders from data     $0.00     1.0      $0.00
                             gathering for maturity analysis.
   Horton, Terry             Working session with WEC personnel         $0.00     0.5      $0.00
                             to discuss WEC Systems architecture.
   Horton, Terry             Prepare WEC's current state                $0.00     2.5      $0.00
                             assessment deliverable.
   Horton, Terry             Conduct interviews with WEC                $0.00     4.0      $0.00
                             personnel to include discussions on
                             EMEA AP functions and EMEA
                             financial controller processes.
   Horton, Terry             Continue to conduct interviews with        $0.00     2.0      $0.00
                             WEC personnel to include discussions
                             on EMEA AP functions and EMEA
                             financial controller processes.
   Lafontant, Anthony        Team discussion over structure and         $0.00     1.1      $0.00
                             format of assessment.
   Lafontant, Anthony        Design slides organizing pain points       $0.00     3.8      $0.00
                             and recommended findings.
   Lafontant, Anthony        Team discussion with                       $0.00     0.6      $0.00
                             comments/feedback.
   Lafontant, Anthony        Meeting with EMEA S&P stakeholders.        $0.00     3.5      $0.00


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P2P Assessment
02/07/2018
   Mendon, Neha              Conduct Finance Controller interviews      $0.00     4.2      $0.00
                             for EMEA known issues and concerns.
   Mendon, Neha              Conduct Direct Materials Sourcing          $0.00     2.3      $0.00
                             interviews for UK known issues and
                             concerns.
   Mendon, Neha              Conduct Buying Center interviews for       $0.00     2.5      $0.00
                             Project Controller known issues and
                             concern.
   Zamy, Vanessa             Consolidate and upload notes from          $0.00     0.6      $0.00
                             afore-mentioned client interviews.
   Zamy, Vanessa             Develop slides for current state/As-is     $0.00     5.4      $0.00
                             assessment.
   Zamy, Vanessa             Participate in client interviews with B.   $0.00     2.5      $0.00
                             Malstrom, H. Jansson, M. Lindgren, D.
                             Labye, J. Malenky, S. Warburton, and
                             P. Sutton.
   Zamy, Vanessa             Review As-Is Assessment progress           $0.00     0.5      $0.00
                             and changes.
02/08/2018
   Berkowitz, Craig          Discuss Europe Indirect procurement        $0.00     2.2      $0.00
                             with F. Sesumaga.
   Berkowitz, Craig          Discuss Spain controller and process       $0.00     1.1      $0.00
                             with S. Bueno.
   Berkowitz, Craig          Discuss approved and qualified             $0.00     2.7      $0.00
                             supplier process with K. Kranz.
   Gupati, Raj               Review Maturity analysis.                  $0.00     1.3      $0.00
   Gupati, Raj               Detailed interview with F. Sesumaga        $0.00     4.0      $0.00
                             for EMEA process perspective.
   Gupati, Raj               Interview with Santiago for Spain          $0.00     3.6      $0.00
                             processes and procedures.
   Horton, Terry             Review WEC's spend data                    $0.00     3.0      $0.00
                             documentation.
   Lafontant, Anthony        Revise current state findings and visual   $0.00     2.4      $0.00
                             format.
   Lafontant, Anthony        Review emailed procedures document         $0.00     3.9      $0.00
                             (LOA, T&Cs, Requisition Approval
                             Forms).



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Date                         Description                                 Rate    Hours      Fees

P2P Assessment
02/08/2018
   Lafontant, Anthony        Formalize as-is assessment to reflect       $0.00     2.7      $0.00
                             findings.
   Mendon, Neha              Conduct Indirect Materials interviews       $0.00     3.4      $0.00
                             for APAC region.
   Mendon, Neha              Conduct Direct and Indirect Materials       $0.00     2.2      $0.00
                             interviews for Americas region.
   Mendon, Neha              Conduct Indirect Materials interviews       $0.00     3.4      $0.00
                             for EMEA region.
   Zamy, Vanessa             Edit slides for leading practices           $0.00     2.3      $0.00
                             comparison with the client’s current
                             state.
   Zamy, Vanessa             Complete first round draft of slides for    $0.00     3.4      $0.00
                             Current State/As-is assessment.
   Zamy, Vanessa             Edit summary status update for client       $0.00     0.4      $0.00
                             meeting next week to understand
                             interviews scheduled and completed
                             thus far.
   Zamy, Vanessa             Consolidate and upload notes from           $0.00     0.5      $0.00
                             client interviews.
   Zamy, Vanessa             Review received client data pertaining      $0.00     0.9      $0.00
                             to contracts, approvals, and invoice
                             summary.
   Zamy, Vanessa             Participate in client interviews with S.    $0.00     1.5      $0.00
                             Bueno and F. Sesumaga.
02/09/2018
   Berkowitz, Craig          Review weekly status report with J.         $0.00     0.6      $0.00
                             Dudiak, R. Depos, and C. Newara.
   Berkowitz, Craig          Review weekly progress with T.              $0.00     1.4      $0.00
                             Brennan, R. Gupati, and T. Horton.
   Gupati, Raj               Drive commonality for deliverable           $0.00     4.0      $0.00
                             format.
   Gupati, Raj               Prepare and present status report.          $0.00     2.0      $0.00
   Gupati, Raj               Create Process Map for Maturity             $0.00     3.0      $0.00
                             Analysis.
   Horton, Terry             Conduct review of WEC deliverables.         $0.00     4.0      $0.00
   Horton, Terry             Continue to review WEC deliverables.        $0.00     0.5      $0.00



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Date                         Description                                Rate    Hours      Fees

P2P Assessment
02/09/2018
   Horton, Terry             Prepare weekly status report and           $0.00     4.0      $0.00
                             benchmarking.
   Horton, Terry             Continue to prepare weekly status          $0.00     0.5      $0.00
                             report and WEC benchmarking
                             analysis.
   Lafontant, Anthony        Implement changes to the as-is             $0.00     2.3      $0.00
                             assessment.
   Lafontant, Anthony        Continue to review of client documents     $0.00     3.4      $0.00
                             (LOA, requisition forms, etc.) and
                             document findings.
   Lafontant, Anthony        Collaborate on recommendations and         $0.00     3.3      $0.00
                             maturity assessment.
   Lelchuk, Justine          Work with Legal Team and Project           $0.00     4.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   Mendon, Neha              Develop Ariba SLP Business Case and        $0.00     4.8      $0.00
                             Implementation Plan.
   Mendon, Neha              Develop Technical Landscape for            $0.00     4.2      $0.00
                             Westinghouse that encompasses
                             processes and systems.
   Zamy, Vanessa             Review tasks completed and open            $0.00     0.5      $0.00
                             items.
   Zamy, Vanessa             Analyze ideas for the Change               $0.00     3.4      $0.00
                             Readiness assessment through
                             research and prior data analysis.
   Zamy, Vanessa             Edit Current State Assessment.             $0.00     5.1      $0.00
02/12/2018
   Berkowitz, Craig          Discus project status report with T.       $0.00     1.2      $0.00
                             Henderson.
   Berkowitz, Craig          Review Supply Chain data request.          $0.00     1.6      $0.00
   Berkowitz, Craig          Prepare for sourcing technology            $0.00     1.4      $0.00
                             discussion.
   Berkowitz, Craig          Prepare current state assessment           $0.00     3.8      $0.00
                             documentation.
   Gupati, Raj               Review Supplier Onboarding Proposal.       $0.00     2.1      $0.00


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P2P Assessment
02/12/2018
   Gupati, Raj               Perform interviews of Sourcing             $0.00     3.1      $0.00
                             Managers.
   Gupati, Raj               Perform interviews of Sourcing             $0.00     2.9      $0.00
                             Managers.
   Gupati, Raj               Prepare and present status report.         $0.00     0.9      $0.00
   Horton, Terry             Perform benchmarking and data              $0.00     4.0      $0.00
                             analysis of WEC's P2P business
                             processes
   Horton, Terry             Continue to conduct benchmarking and       $0.00     3.5      $0.00
                             data analysis of WEC's P2P business
                             processes.
   Horton, Terry             Interview with WEC personnel on            $0.00     1.0      $0.00
                             supply chain and data requirements.
   Horton, Terry             Interview with WEC personnel on WEC        $0.00     0.5      $0.00
                             supply chain contracts.
   Lafontant, Anthony        Meeting with V. McDonnel to complete       $0.00     2.0      $0.00
                             as-is assessment.
   Lafontant, Anthony        Refine current state findings.             $0.00     3.1      $0.00
   Lafontant, Anthony        Provide comments on slide design and       $0.00     3.9      $0.00
                             content.
   Marashi, Seema            Update stakeholder meeting tracker to      $0.00     2.2      $0.00
                             align with correct positions / titles.
   Marashi, Seema            Review data and identified questions       $0.00     1.2      $0.00
                             relating to data.
   Marashi, Seema            Team discussion on priorities for the      $0.00     0.3      $0.00
                             week.
   Marashi, Seema            Review current state assessment pain       $0.00     4.3      $0.00
                             points.
   Mendon, Neha              Prepare assessment materials to be         $0.00     5.3      $0.00
                             used during Contracts interviews.
   Mendon, Neha              Review assessment materials to be          $0.00     3.7      $0.00
                             used during Buying Center interviews.
   Zamy, Vanessa             Create change management slides for        $0.00     3.9      $0.00
                             final deliverable.
   Zamy, Vanessa             Create materials summarizing client's      $0.00     3.3      $0.00
                             supply chain process and
                             recommended tools.


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Date                         Description                                Rate    Hours      Fees

P2P Assessment
02/12/2018
   Zamy, Vanessa             Update interview notes.                    $0.00     0.1      $0.00
   Zamy, Vanessa             Client interview with V. McDonnell.        $0.00     0.5      $0.00
   Zamy, Vanessa             Prepare summary of next steps.             $0.00     0.5      $0.00
   Zamy, Vanessa             Perform data review of new client data     $0.00     0.7      $0.00
                             received.
02/13/2018
   Berkowitz, Craig          Review sourcing manager technology.        $0.00     4.2      $0.00
   Berkowitz, Craig          Review current state assessment            $0.00     4.1      $0.00
                             detail.
   Berkowitz, Craig          Review Ariba SLP recommendation            $0.00     0.7      $0.00
                             request.
   Gupati, Raj               Interview with sourcing managers from      $0.00     3.0      $0.00
                             Columbia.
   Gupati, Raj               Interviews with Requistioners.             $0.00     4.0      $0.00
   Gupati, Raj               Create SLP Future State Process            $0.00     2.0      $0.00
                             definition.
   Horton, Terry             Conduct interviews with WEC                $0.00     1.5      $0.00
                             personnel on the topic of supply chain.
   Horton, Terry             Prepare for WEC interviews on the          $0.00     1.0      $0.00
                             topic of WEC's supply chain.
   Horton, Terry             Consolidate post meeting notes of          $0.00     0.5      $0.00
                             WEC personnel interviews.
   Horton, Terry             Internal review of WEC's P2P current       $0.00     4.0      $0.00
                             state assessment.
   Horton, Terry             Continue internal review of WEC's P2P      $0.00     2.0      $0.00
                             current state assessment
   Lafontant, Anthony        Meeting D. Free to discuss client          $0.00     3.4      $0.00
                             documentation.
   Lafontant, Anthony        Internal team review on full current       $0.00     3.5      $0.00
                             state findings and plans for maturity
                             assessment.
   Lafontant, Anthony        Edits to current state findings            $0.00     2.1      $0.00
                             incorporating client feedback.
   Marashi, Seema            Design framework for current state         $0.00     2.4      $0.00
                             assessment scoring.
   Marashi, Seema            Prepare current state assessment.          $0.00     1.1      $0.00

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Date                       Description                                Rate    Hours      Fees

P2P Assessment
02/13/2018
   Marashi, Seema          Review current state assessment.           $0.00     5.5      $0.00
   Mendon, Neha            Conduct kick off meeting for China         $0.00     3.4      $0.00
                           interviews.
   Mendon, Neha            Conduct Supplier Optimization              $0.00     1.8      $0.00
                           interviews regarding Ariba.
   Mendon, Neha            Document Supplier Lifecycle POV for        $0.00     2.1      $0.00
                           Current State Analysis.
   Mendon, Neha            Conduct Maturity Assessment Map            $0.00     1.7      $0.00
                           regarding technology.
   Zamy, Vanessa           Edit change management slides for the      $0.00     2.7      $0.00
                           final deliverable.
   Zamy, Vanessa           Complete first draft of materials          $0.00     1.6      $0.00
                           documenting industry tools that may be
                           of assistance.
   Zamy, Vanessa           Create interview notes for sharing with    $0.00     0.7      $0.00
                           team.
   Zamy, Vanessa           Prepare project management activities      $0.00     0.8      $0.00
                           fostering team culture.
   Zamy, Vanessa           Perform client interviews with D. Free     $0.00     1.0      $0.00
                           and V. Denny.
   Zamy, Vanessa           Perform deliverable review of content.     $0.00     2.2      $0.00
02/14/2018
   Berkowitz, Craig        Review Sourcing manager technology         $0.00     2.4      $0.00
                           follow-up.
   Berkowitz, Craig        Perform ATOMS / Logistics technology       $0.00     2.1      $0.00
                           walk-through.
   Berkowitz, Craig        Prepare meeting notes, including           $0.00     2.8      $0.00
                           discussion output.
   Berkowitz, Craig        Develop Ariba SLP point of view            $0.00     1.7      $0.00
                           document.
   Gupati, Raj             Analyze Invoice to Pay RPA                 $0.00     4.0      $0.00
                           assessment.
   Gupati, Raj             Review Current State Assessment.           $0.00     2.0      $0.00
   Gupati, Raj             Interviews with Sourcing Managers          $0.00     3.0      $0.00
                           and Requsitioners.
   Horton, Terry           Conduct interview with WEC personnel       $0.00     1.5      $0.00
                           on the topic of buyers/sourcing teams.

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Date                         Description                                Rate    Hours      Fees

P2P Assessment
02/14/2018
   Horton, Terry             Prepare WEC's "As Is" Assessment for       $0.00     4.0      $0.00
                             WEC deliverables.
   Horton, Terry             Continue preparation of WEC's "As Is"      $0.00     3.5      $0.00
                             Assessment for WEC deliverables.
   Lafontant, Anthony        Edit current state findings following      $0.00     2.5      $0.00
                             team review.
   Lafontant, Anthony        Review received client documentation       $0.00     2.0      $0.00
                             and incorporate into deck.
   Lafontant, Anthony        Collect industry data using DISC           $0.00     2.3      $0.00
                             framework.
   Lafontant, Anthony        Draft initial maturity assessment based    $0.00     2.2      $0.00
                             on verified DISC framework industry
                             metrics.
   Marashi, Seema            Review newly provided data regarding       $0.00     1.5      $0.00
                             KPIs.
   Marashi, Seema            Prepare current state assessment           $0.00     3.8      $0.00
                             scoring and definitions.
   Marashi, Seema            Define future-state for maturity           $0.00     6.7      $0.00
                             assessment.
   Mendon, Neha              Conduct Direct Materials Sourcing          $0.00     4.2      $0.00
                             interviews for EMEA known issues and
                             concerns.
   Mendon, Neha              Conduct Buying Center interviews for       $0.00     2.5      $0.00
                             Project Controller known issues.
   Mendon, Neha              Conduct Finance Controller interviews      $0.00     2.3      $0.00
                             for UK known issues and concerns.
   Zamy, Vanessa             Create current state process diagram       $0.00     1.5      $0.00
                             describing invoice at client.
   Zamy, Vanessa             Complete creating change                   $0.00     2.3      $0.00
                             management first draft materials.
   Zamy, Vanessa             Develop point of view on maturity of       $0.00     5.2      $0.00
                             the client in supply chain processes.
02/15/2018
   Berkowitz, Craig          Review Ariba SLP point of view             $0.00     3.1      $0.00
                             document.
   Berkowitz, Craig          Prepare Robotics Process Automation        $0.00     1.6      $0.00
                             recommendation.
   Berkowitz, Craig          Review initial opportunity hypotheses.     $0.00     1.3      $0.00

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Date                         Description                                Rate    Hours      Fees

P2P Assessment
02/15/2018
   Gupati, Raj               Attend Leadership meeting.                 $0.00     3.4      $0.00
   Gupati, Raj               Prepare and present status report.         $0.00     3.0      $0.00
   Gupati, Raj               Review current state assessment.           $0.00     2.6      $0.00
   Horton, Terry             Prepare weekly status report.              $0.00     2.5      $0.00
   Horton, Terry             Review Maturity Model deliverable.         $0.00     4.0      $0.00
   Horton, Terry             Continue review of WEC maturity            $0.00     0.5      $0.00
                             model deliverable
   Horton, Terry             Review and edit WEC's current state        $0.00     2.0      $0.00
                             assessment.
   Lafontant, Anthony        Internal discussion maturity               $0.00     2.7      $0.00
                             assessment.
   Lafontant, Anthony        Edit WEC scoring against industry          $0.00     2.3      $0.00
                             standards.
   Lafontant, Anthony        Deloitte P2P team discussion on            $0.00     2.4      $0.00
                             potential proposals (RPA, SLP, etc.).
   Lafontant, Anthony        Review detailed scoring accounting for     $0.00     1.6      $0.00
                             procedures and invoicing data.
   Lelchuk, Justine          Work with Legal Team and Project           $0.00     2.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   Marashi, Seema            Prepare weekly status report.              $0.00     3.7      $0.00
   Marashi, Seema            Finalize definitions and continued         $0.00     2.3      $0.00
                             scoring.
   Mendon, Neha              Conduct Direct and Indirect Materials      $0.00     3.4      $0.00
                             interviews for Americas region.
   Mendon, Neha              Conduct Maturity Assessment reviews.       $0.00     2.2      $0.00
   Mendon, Neha              Conduct Maturity Assessment plotting.      $0.00     3.4      $0.00
   Zamy, Vanessa             Perform project management activities.     $0.00     0.9      $0.00
   Zamy, Vanessa             Complete current state invoice process     $0.00     3.2      $0.00
                             diagram.
   Zamy, Vanessa             Finalize preliminary executive             $0.00     1.7      $0.00
                             summary slide of the client's situation
                             and recommendations for improvement
                             on supplier management.

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P2P Assessment
02/15/2018
   Zamy, Vanessa             Review listing all data received from      $0.00     3.2      $0.00
                             client and relevance.
02/16/2018
   Berkowitz, Craig          Review weekly status report with J.        $0.00     0.6      $0.00
                             Dudiak, R. Depos, and C. Newara.
   Berkowitz, Craig          Review weekly progress with T.             $0.00     1.4      $0.00
                             Brennan, R. Gupati, and T. Horton.
   Gupati, Raj               Review current state assessment for        $0.00     2.3      $0.00
                             Requisitioning.
   Gupati, Raj               Review current state assessment for        $0.00     2.0      $0.00
                             Purchase Orders.
   Gupati, Raj               Review current state assessment for        $0.00     0.7      $0.00
                             Goods Receipt.
   Gupati, Raj               Review current state assessment for        $0.00     1.0      $0.00
                             Invoices.
   Gupati, Raj               Review current state assessment            $0.00     1.0      $0.00
                             review Maturity Model Analysis for
                             existing S2P processes.
   Gupati, Raj               Review current state assessment for        $0.00     2.0      $0.00
                             Sourcing.
   Horton, Terry             Prepare weekly status review.              $0.00     3.0      $0.00
   Horton, Terry             Create spend data analysis.                $0.00     1.0      $0.00
   Lafontant, Anthony        Continue to perform data review to add     $0.00     2.7      $0.00
                             metrics to pain points.
   Lafontant, Anthony        Perform maturity assessment review.        $0.00     3.6      $0.00
   Lafontant, Anthony        Perform data review to add quantitative    $0.00     2.7      $0.00
                             element to current state pain points.
   Marashi, Seema            Analyze spend data.                        $0.00     5.1      $0.00
   Marashi, Seema            Finalize scoring and maturity              $0.00     4.9      $0.00
                             assessment.
   Mendon, Neha              Develop Ariba SLP Business Case and        $0.00     4.2      $0.00
                             Implementation Plan.
   Mendon, Neha              Develop Technical Landscape for            $0.00     4.8      $0.00
                             Westinghouse that encompasses
                             processes and systems.



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P2P Assessment
02/16/2018
   Zamy, Vanessa             Complete first draft of executive          $0.00     1.3      $0.00
                             summary template with preliminary
                             content.
   Zamy, Vanessa             Create spreadsheet of data received        $0.00     2.0      $0.00
                             by client during first half of project.
   Zamy, Vanessa             Review materials for deliverable.          $0.00     5.2      $0.00
02/19/2018
   Berkowitz, Craig          Prepare for Ariba SLP POV review           $0.00     1.4      $0.00
                             meting.
   Berkowitz, Craig          Attend Ariba SLP POV review meeting.       $0.00     1.3      $0.00
   Berkowitz, Craig          Create weekly project status update.       $0.00     1.6      $0.00
   Berkowitz, Craig          Review current state assessment            $0.00     3.7      $0.00
                             deliverable.
   Brennan, Ted              Project update and deliverable review,     $0.00     3.0      $0.00
                             including ASL/QSL feedback.
   Gupati, Raj               Presentation of PRO's and CON's.           $0.00     2.0      $0.00
   Gupati, Raj               Analyze best options for SLP.              $0.00     4.9      $0.00
   Gupati, Raj               Edit SLP presentation deck.                $0.00     2.0      $0.00
   Horton, Terry             Prepare and finalize WEC                   $0.00     2.5      $0.00
                             benchmarking data analysis against
                             industry standards.
   Horton, Terry             Review maturity model development.         $0.00     4.0      $0.00
   Horton, Terry             Continue review of WEC maturity            $0.00     0.5      $0.00
                             model.
   Horton, Terry             Review of progress of WEC final            $0.00     2.0      $0.00
                             deliverables.
   Lafontant, Anthony        Refinement to the maturity                 $0.00     3.4      $0.00
                             assessment, team alignment on
                             updates.
   Lafontant, Anthony        Draft benchmarks file, isolating the       $0.00     1.6      $0.00
                             areas of comparison.
   Lafontant, Anthony        Analysis of spend data and Ariba PO        $0.00     1.9      $0.00
                             data.
   Lafontant, Anthony        Address open questions on analysis of      $0.00     2.1      $0.00
                             spend data and Ariba PO data,
                             including PO process duration.

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P2P Assessment
02/19/2018
   Marashi, Seema            Add sliders to maturity assessment.        $0.00     3.1      $0.00
   Marashi, Seema            Review maturity assessment and             $0.00     2.2      $0.00
                             change readiness assessment.
   Marashi, Seema            Review activities for the week and         $0.00     1.3      $0.00
                             assigned tasks.
   Marashi, Seema            Finalize future-state recommendations.     $0.00     1.4      $0.00
   Mendon, Neha              Review assessment materials to be          $0.00     5.4      $0.00
                             used during Westinghouse Interim
                             discussions.
   Mendon, Neha              Review process flows to be used            $0.00     3.6      $0.00
                             during Westinghouse Stakeholder
                             interviews.
02/20/2018
   Berkowitz, Craig          Align on project next steps.               $0.00     1.3      $0.00
   Berkowitz, Craig          Prepare preliminary business cases for     $0.00     5.5      $0.00
                             two opportunities.
   Berkowitz, Craig          Review feedback on ASL/QSL                 $0.00     2.2      $0.00
                             recommendation.
   Brennan, Ted              Project update and deliverable review,     $0.00     3.0      $0.00
                             including ASL/QSL feedback.
   Gupati, Raj               Present SLP options to group.              $0.00     4.1      $0.00
   Gupati, Raj               Analyze SLP opportunities.                 $0.00     2.0      $0.00
   Gupati, Raj               Draft opportunities architecture for I2P   $0.00     3.0      $0.00
                             platform.
   Horton, Terry             Preparation for WEC I2P, SLP and           $0.00     4.5      $0.00
                             Process Robotics deliverables.
   Horton, Terry             Continue preparation for WEC I2P,          $0.00     0.5      $0.00
                             SLP and Process Robotics
                             deliverables.
   Horton, Terry             Review of WEC benchmarking                 $0.00     4.0      $0.00
                             materials.
   Horton, Terry             Continue review of WEC                     $0.00     0.5      $0.00
                             benchmarking materials
   Lafontant, Anthony        Refinement of Ariba PO data analysis       $0.00     3.3      $0.00
                             compared against benchmarks.
   Lafontant, Anthony        Draft data request and required            $0.00     0.7      $0.00
                             information.

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Date                         Description                                Rate    Hours      Fees

P2P Assessment
02/20/2018
   Lafontant, Anthony        Respond to questions about data            $0.00     3.4      $0.00
                             request and required information.
   Lafontant, Anthony        Review new opportunities (SLP, RPA).       $0.00     0.3      $0.00
   Lafontant, Anthony        Identify data to support business case.    $0.00     1.3      $0.00
   Marashi, Seema            Calculate WEC metrics across P2P           $0.00     6.9      $0.00
                             elements.
   Marashi, Seema            Research industry benchmarks.              $0.00     1.3      $0.00
   Marashi, Seema            Create a list of benchmarks to include     $0.00     0.3      $0.00
                             in report.
   Marashi, Seema            Develop template to calculate WEC          $0.00     0.5      $0.00
                             metrics.
   Mendon, Neha              Conduct Supplier Diversity meeting for     $0.00     3.5      $0.00
                             Supplier Management interviews.
   Mendon, Neha              Analyze Westinghouse Data regarding        $0.00     1.6      $0.00
                             known issues and concerns.
   Mendon, Neha              Review Document Supplier notes for         $0.00     1.7      $0.00
                             Maturity Gap.
   Mendon, Neha              Conduct Systems Landscape                  $0.00     2.2      $0.00
                             interviews.
   Zamy, Vanessa             Review completed actions and next          $0.00     0.5      $0.00
                             steps.
   Zamy, Vanessa             Develop current and proposed system        $0.00     1.2      $0.00
                             landscape at client.
   Zamy, Vanessa             Design deliverable highlighting various    $0.00     3.1      $0.00
                             technology landscape during process.
   Zamy, Vanessa             Finalize slides scoring future state       $0.00     4.2      $0.00
                             maturity for client.
02/21/2018
   Berkowitz, Craig          Review business case for Supply            $0.00     2.4      $0.00
                             Chain presentation.
   Berkowitz, Craig          Review of business cases and quantify      $0.00     2.3      $0.00
                             benefits.
   Berkowitz, Craig          Review project deliverables.               $0.00     4.3      $0.00
   Gupati, Raj               Review project prioritization and          $0.00     4.5      $0.00
                             recommendations.



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P2P Assessment
02/21/2018
   Gupati, Raj               Continue to review project prioritization   $0.00     4.5      $0.00
                             and recommendations.
   Horton, Terry             Prepare benchmarking data.                  $0.00     2.5      $0.00
   Horton, Terry             Develop WEC deliverables and                $0.00     4.0      $0.00
                             materials for WEC SLP, invoice
                             automation.
   Horton, Terry             Continue to develop WEC deliverables        $0.00     2.5      $0.00
                             and materials for WEC SLP, invoice
                             automation.
   Lafontant, Anthony        Prepare synthesis of business case          $0.00     3.1      $0.00
                             with existing data.
   Lafontant, Anthony        Create detailed slides of WEC               $0.00     3.3      $0.00
                             procurement performance against
                             industry benchmarks.
   Lafontant, Anthony        Review new data on p-cards.                 $0.00     2.6      $0.00
   Marashi, Seema            Review SLP and I2P business cases.          $0.00     1.9      $0.00
   Marashi, Seema            Analyze category to process path            $0.00     2.2      $0.00
                             mapping.
   Marashi, Seema            Review benchmark / KPI slides.              $0.00     0.3      $0.00
   Marashi, Seema            Identify gaps in data and created new       $0.00     1.8      $0.00
                             data request tracker.
   Marashi, Seema            Identify and calculate key P2P metrics.     $0.00     3.8      $0.00
   Mendon, Neha              Develop the Maturity Assessment for         $0.00     3.2      $0.00
                             P2P process.
   Mendon, Neha              Develop the Maturity Mapping against        $0.00     3.3      $0.00
                             industry best practices for P2P
                             process.
   Mendon, Neha              Conduct Finance interviews for Project      $0.00     2.5      $0.00
                             Controller known issues and concerns.
   Zamy, Vanessa             Review of slides developed.                 $0.00     1.2      $0.00
   Zamy, Vanessa             Review of client state for next week        $0.00     3.5      $0.00
                             preliminary presentation.
   Zamy, Vanessa             Consolidate deck with all Deloitte P2P      $0.00     1.5      $0.00
                             team member's edits.
   Zamy, Vanessa             Begin incorporating discussed changes       $0.00     2.3      $0.00
                             into presentation deck.


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Date                         Description                                Rate    Hours      Fees

P2P Assessment
02/22/2018
   Berkowitz, Craig          Attend Supplier diversity requirements     $0.00     0.9      $0.00
                             meeting.
   Berkowitz, Craig          Prepare draft weekly status report.        $0.00     1.2      $0.00
   Berkowitz, Craig          Develop global supply chain vision and     $0.00     1.3      $0.00
                             future state.
   Berkowitz, Craig          Finalize business cases and circulate      $0.00     2.6      $0.00
                             for review.
   Gupati, Raj               Review current state maturity              $0.00     4.0      $0.00
                             assessment presentation to leadership
                             for sourcing, requisitioning, PO's and
                             Invoices.
   Gupati, Raj               Analyze business case development          $0.00     2.0      $0.00
                             for Invoice to pay automation business
                             case.
   Gupati, Raj               Analyze supplier life cycle planning       $0.00     3.0      $0.00
                             business case development.
   Horton, Terry             Continue to review WEC                     $0.00     2.5      $0.00
                             benchmarking against industry
                             standards.
   Horton, Terry             Conduct interview of WEC personnel         $0.00     0.5      $0.00
                             on the subject of supplier diversity.
   Horton, Terry             Review WEC benchmarking against            $0.00     4.0      $0.00
                             industry standards.
   Horton, Terry             Prepare WEC weekly status report.          $0.00     2.0      $0.00
   Lafontant, Anthony        Edits to data for business case.           $0.00     1.3      $0.00
   Lafontant, Anthony        Review maturity assessment,                $0.00     3.4      $0.00
                             benchmarks and process path.
   Lafontant, Anthony        Review of new data, rejected invoices,     $0.00     2.1      $0.00
                             including reconciling in Ariba.
   Lafontant, Anthony        Document data analysis.                    $0.00     2.7      $0.00
   Lelchuk, Justine          Work with Legal Team and Project           $0.00     2.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   Marashi, Seema            Calculate key P2P metrics.                 $0.00     1.2      $0.00



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Date                       Description                                Rate    Hours      Fees

P2P Assessment
02/22/2018
   Marashi, Seema          Work on category to process path           $0.00     2.4      $0.00
                           mapping.
   Marashi, Seema          Prepare weekly status report.              $0.00     2.1      $0.00
   Marashi, Seema          Review executive summary and               $0.00     3.3      $0.00
                           maturity assessment deliverables.
   Mendon, Neha            Develop recommendations for Change         $0.00     2.2      $0.00
                           Readiness Assessment.
   Mendon, Neha            Analyze Key Industry Benchmarks for        $0.00     2.4      $0.00
                           WEC metrics.
   Mendon, Neha            Develop Category to Process path           $0.00     4.4      $0.00
                           mapping.
   Zamy, Vanessa           Consolidate deck with slides               $0.00     5.5      $0.00
                           developed by team.
   Zamy, Vanessa           Review presentation deck.                  $0.00     3.5      $0.00
02/23/2018
   Berkowitz, Craig        Review weekly status report with J.        $0.00     0.6      $0.00
                           Dudiak, R. Depos, and C. Newara.
   Berkowitz, Craig        Review weekly progress with T.             $0.00     1.1      $0.00
                           Brennan, R. Gupati, and T. Horton.
   Berkowitz, Craig        Finalize interim project deliverable.      $0.00     1.3      $0.00
   Gupati, Raj             Review Project Prioritization              $0.00     1.0      $0.00
                           Management.
   Gupati, Raj             Review Project Prioritization I2P          $0.00     0.8      $0.00
                           Automation.
   Gupati, Raj             Review Project Prioritization SLP          $0.00     3.2      $0.00
                           Automation.
   Gupati, Raj             Review Project Prioritization Req to       $0.00     2.0      $0.00
                           Pay global process design.
   Gupati, Raj             Review Project Prioritization Buying       $0.00     2.0      $0.00
                           Center Optimization.
   Horton, Terry           Conduct mid-project review of WEC          $0.00     4.0      $0.00
                           final deliverables.
   Horton, Terry           Conduct mid-project review of WEC          $0.00     3.5      $0.00
                           final deliverables.
   Horton, Terry           Participate in internal Deloitte weekly    $0.00     1.5      $0.00
                           review of project status and
                           deliverables.

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Date                         Description                                Rate    Hours      Fees

P2P Assessment
02/23/2018
   Lafontant, Anthony        Review new data, including                 $0.00     2.7      $0.00
                             incorporation into broader story.
   Lafontant, Anthony        Perform subsequent data refinement.        $0.00     1.6      $0.00
   Lafontant, Anthony        Document current state data analysis       $0.00     3.8      $0.00
                             methodology and sources.
   Lafontant, Anthony        Further documentation of current state     $0.00     0.6      $0.00
                             data analysis.
   Lafontant, Anthony        Edit process path/buying channel           $0.00     1.3      $0.00
                             slides.
   Marashi, Seema            Calculate additional metrics.              $0.00     2.0      $0.00
   Marashi, Seema            Analyze data in weekly status report.      $0.00     1.5      $0.00
   Marashi, Seema            Update the end-to-end deliverables         $0.00     5.5      $0.00
                             deck to tie in metrics.
   Mendon, Neha              Develop recommendations for People         $0.00     4.2      $0.00
                             and Organization.
   Mendon, Neha              Develop Technical Landscape for            $0.00     4.8      $0.00
                             Westinghouse that encompasses
                             processes and systems.
   Zamy, Vanessa             Analyze workstreams of the project.        $0.00     0.5      $0.00
   Zamy, Vanessa             Complete implementing deliverable          $0.00     3.7      $0.00
                             updates.
   Zamy, Vanessa             Edit deliverable following team's data     $0.00     4.8      $0.00
                             additions.
02/26/2018
   Berkowitz, Craig          Revise business case based on              $0.00     2.2      $0.00
                             feedback.
   Berkowitz, Craig          Review of project deliverables.            $0.00     3.8      $0.00
   Berkowitz, Craig          Review business case for AP                $0.00     3.0      $0.00
                             Automation with Supply Chain.
   Brennan, Ted              Perform Midpoint review of                 $0.00     3.0      $0.00
                             deliverables.
   Gupati, Raj               Analyze recommendation of projects         $0.00     1.7      $0.00
                             based on data analysis - Process
                             standardization.
   Gupati, Raj               Analyze recommendation of projects         $0.00     3.3      $0.00
                             based on data analysis - I2P
                             Automation.

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Date                         Description                                Rate    Hours      Fees

P2P Assessment
02/26/2018
   Gupati, Raj               Analyze recommendation of projects         $0.00     4.0      $0.00
                             based on data analysis - Buying
                             Center Excellence.
   Horton, Terry             Review and build final WEC                 $0.00     4.0      $0.00
                             opportunities.
   Horton, Terry             Continue to review and build final WEC     $0.00     4.0      $0.00
                             opportunities.
   Lafontant, Anthony        Prepare actions items following team       $0.00     3.2      $0.00
                             meeting.
   Lafontant, Anthony        Update Benchmarks and KPIs to              $0.00     2.4      $0.00
                             include Ariba best in class metrics.
   Lafontant, Anthony        Continue to update Benchmarks and          $0.00     2.4      $0.00
                             KPIs.
   Lafontant, Anthony        Analyze current state findings.            $0.00     1.1      $0.00
   Lelchuk, Justine          Work with Legal Team and Project           $0.00     1.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   Marashi, Seema            Review metrics appendix slides.            $0.00     1.4      $0.00
   Marashi, Seema            Develop a slide to summarize / identify    $0.00     2.8      $0.00
                             key metrics.
   Marashi, Seema            Review metrics slides.                     $0.00     2.8      $0.00
   Mendon, Neha              Review assessment materials to be          $0.00     3.7      $0.00
                             used during Westinghouse Interim
                             discussion.
   Mendon, Neha              Develop Opportunities Matrix for           $0.00     5.3      $0.00
                             Westinghouse Assessment.
   Zamy, Vanessa             Review workstream priorities for the       $0.00     0.6      $0.00
                             day.
   Zamy, Vanessa             Review of the progress on materials        $0.00     2.1      $0.00
                             promised to client.
   Zamy, Vanessa             Update all deliverables in preparation     $0.00     6.3      $0.00
                             for team review.
02/27/2018
   Berkowitz, Craig          Research Ariba SLP product limitations     $0.00     2.1      $0.00
                             and fit with QSL.


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Date                         Description                                Rate    Hours      Fees

P2P Assessment
02/27/2018
   Berkowitz, Craig          Update business case review.               $0.00     1.2      $0.00
   Berkowitz, Craig          Prepare for business case review with      $0.00     3.3      $0.00
                             D. Sumner.
   Berkowitz, Craig          Perform Midpoint project review.           $0.00     2.4      $0.00
   Brennan, Ted              Perform Midpoint review of                 $0.00     3.0      $0.00
                             deliverables.
   Gupati, Raj               Review project prioritization and          $0.00     3.0      $0.00
                             recommendation presentation for SLP
                             No Go Decision.
   Gupati, Raj               Review project prioritization and          $0.00     2.0      $0.00
                             recommendation presentation for
                             Buying Center Excellence.
   Gupati, Raj               Analyze project prioritization and         $0.00     4.0      $0.00
                             recommendation presentation - I2P
                             Automation using Open Text.
   Horton, Terry             Review and build final WEC                 $0.00     1.0      $0.00
                             opportunities.
   Horton, Terry             Mid-point review presentation with         $0.00     2.5      $0.00
                             WEC personnel.
   Horton, Terry             Preparation of midpoint review             $0.00     4.0      $0.00
                             materials.
   Horton, Terry             Continue preparation of midpoint           $0.00     2.5      $0.00
                             review materials
   Lafontant, Anthony        Update grammar and sizing throughout       $0.00     2.6      $0.00
                             slides.
   Lafontant, Anthony        Perform external research on industry      $0.00     2.1      $0.00
                             metrics.
   Lafontant, Anthony        Research industry metrics based on         $0.00     3.2      $0.00
                             team feedback and required
                             benchmarks.
   Lafontant, Anthony        Update Benchmark and KPI                   $0.00     1.1      $0.00
                             documentation.
   Lelchuk, Justine          Work with Legal Team and Project           $0.00     1.0      $0.00
                             Controller team to work through
                             invoices and billings while also setting
                             up the necessary member firm
                             agreements.
   Marashi, Seema            Research missing benchmarks.               $0.00     3.5      $0.00

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Date                       Description                                Rate    Hours      Fees

P2P Assessment
02/27/2018
   Marashi, Seema          Work on KPI / benchmarks deliverable.      $0.00     1.1      $0.00
   Marashi, Seema          Work on benchmarks excel                   $0.00     2.4      $0.00
                           spreadsheet.
   Marashi, Seema          Review metrics slides.                     $0.00     2.4      $0.00
   Mendon, Neha            Develop Opportunity Matrix on AP           $0.00     1.7      $0.00
                           Automation proposal.
   Mendon, Neha            Develop Opportunity Matrix on SLP          $0.00     3.4      $0.00
                           Automation proposal.
   Mendon, Neha            Develop Opportunity Matrix on Buying       $0.00     2.1      $0.00
                           Center and Operating Model proposal.
   Mendon, Neha            Conduct Current & Future State             $0.00     1.8      $0.00
                           Assessment.
   Zamy, Vanessa           Update slides defining identified          $0.00     4.5      $0.00
                           opportunities for client improvement.
   Zamy, Vanessa           Continue to update slides defining         $0.00     4.0      $0.00
                           identified opportunities for client
                           improvement.
   Zamy, Vanessa           Discussion with N. Mendon on               $0.00     0.5      $0.00
                           priorities for the day and actions
                           completed from day prior.
02/28/2018
   Berkowitz, Craig        Review FY17 third party spend and          $0.00     2.7      $0.00
                           develop savings hypotheses.
   Berkowitz, Craig        Review current Supply Chain plans to       $0.00     3.2      $0.00
                           hit savings target.
   Berkowitz, Craig        Update sourcing opportunities.             $0.00     3.1      $0.00
   Gupati, Raj             Review project prioritization and          $0.00     4.7      $0.00
                           recommendation.
   Gupati, Raj             Incorporate feedback into final            $0.00     4.3      $0.00
                           presentation, including updates to
                           business case pertinent to I2P
                           automation and buying center
                           excellence.
   Horton, Terry           Meeting with WEC personnel (CPO) to        $0.00     1.5      $0.00
                           discussing savings cost saving
                           opportunities.
   Horton, Terry           Review final deliverable for WEC           $0.00     4.0      $0.00
                           personnel.

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Date                          Description                                  Rate     Hours       Fees

P2P Assessment
02/28/2018
   Horton, Terry              Continue to review final deliverable for     $0.00       2.5      $0.00
                              WEC personnel.
   Horton, Terry              Build strategic sourcing opportunity.        $0.00       1.5      $0.00
   Lafontant, Anthony         Review edits to main deliverable,            $0.00       1.2      $0.00
                              opportunities framing, and
                              prioritization.
   Lafontant, Anthony         Edit main deliverable, opportunity           $0.00       1.7      $0.00
                              prioritization, KPIs and metrics.
   Lafontant, Anthony         Further edits to main deliverable,           $0.00       2.4      $0.00
                              opportunity prioritization, KPIs and
                              metrics.
   Lafontant, Anthony         Finalize benchmarks and KPIs file.           $0.00       3.7      $0.00
   Marashi, Seema             Review master deck.                          $0.00       2.6      $0.00
   Marashi, Seema             Revise metrics / benchmarks.                 $0.00       1.1      $0.00
   Marashi, Seema             Prepare slides for process and policy        $0.00       5.3      $0.00
                              standardization opportunity.
   Mendon, Neha               Develop Business Case and                    $0.00       4.2      $0.00
                              Opportunity Cost Analysis for AP
                              Automation.
   Mendon, Neha               Develop the Maturity Mapping against         $0.00       2.3      $0.00
                              industry best practices for P2P
                              process.
   Mendon, Neha               Develop Business Case and                    $0.00       2.5      $0.00
                              Opportunity Cost Analysis for SLP
                              Automation.
   Zamy, Vanessa              Review assigned incomplete materials.        $0.00       0.6      $0.00
   Zamy, Vanessa              Prepare materials detailing                  $0.00       4.4      $0.00
                              observations and future state
                              recommendations for the client.
   Zamy, Vanessa              Continue to prepare materials detailing      $0.00       4.0      $0.00
                              observations and future state
                              recommendations for the client.
    Subtotal for P2P Assessment:                                                   1,375.5      $0.00
Total                                                                              5,315.2      $0.00




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                                 Recapitulation
Name                                                Rate           Hours      Fees
Berckman, Lindsey                                   $0.00           64.0     $0.00
Berkowitz, Craig                                    $0.00          165.0     $0.00
Bondarenko, Ilya                                    $0.00          403.9     $0.00
Brennan, Ted                                        $0.00           23.0     $0.00
Collins, Robert                                     $0.00          451.0     $0.00
Das Chowdhury, Prajata                              $0.00          432.0     $0.00
Diehl, David                                        $0.00           61.0     $0.00
Fleming, Sean                                       $0.00           93.0     $0.00
Gehlot, Ranjeet                                     $0.00           24.0     $0.00
Groves, Rick                                        $0.00          337.9     $0.00
Gupati, Raj                                         $0.00          208.0     $0.00
Hartigan, Martin                                    $0.00           16.0     $0.00
Horton, Terry                                       $0.00          196.0     $0.00
Jones, Louverture                                   $0.00           90.5     $0.00
Kao, Suzanne                                        $0.00           54.0     $0.00
Khurana, Sneha                                      $0.00          135.0     $0.00
Kiefer, Brian                                       $0.00          246.3     $0.00
Lafontant, Anthony                                  $0.00          208.6     $0.00
Lelchuk, Justine                                    $0.00           46.0     $0.00
Librandi, Louis                                     $0.00           80.1     $0.00
Marashi, Seema                                      $0.00          164.0     $0.00
McKibben, Caitlin                                   $0.00          263.1     $0.00
Mendon, Neha                                        $0.00          207.0     $0.00
Petrini, Bobby                                      $0.00          401.0     $0.00
Simha, Namita                                       $0.00          129.0     $0.00
Willis, Rob                                         $0.00           40.0     $0.00
Yochim, Nicki                                       $0.00          306.0     $0.00
Zamy, Vanessa                                       $0.00          189.2     $0.00
Zanette, Christina                                  $0.00          245.6     $0.00


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                               Recapitulation
Name                                              Rate           Hours      Fees
Zawahir, Tariq                                    $0.00           35.0     $0.00




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                           EXHIBIT B




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                      Westinghouse Electric Company, LLC
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           Expenses Sorted by Category for the Fee Period
                                November 28, 2017 - March 31, 2018




Category                 Date            Description                                             Amount



Airfare
                                         Roundtrip coach airfare from Washington, DC to
 Zanette, Christina      11/30/2017                                                              $458.19
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Petrini, Bobby          12/08/2017                                                              $683.12
                                         Philadelphia, PA.
                                         One way coach airfare from Philadelphia, PA to
 Bondarenko, Ilya        12/11/2017                                                              $397.36
                                         Pittsburgh, PA.
                                         One way coach airfare from Pittsburgh, PA to
 Bondarenko, Ilya        12/12/2017                                                              $259.19
                                         Windsor Locks, CT
                                         One way coach airfare from Pittsburgh, PA to
 Groves, Rick            12/13/2017                                                              $477.02
                                         Philadelphia, PA.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Petrini, Bobby          12/14/2017                                                              $692.43
                                         Philadelphia, PA.
                                         Airfare change fee from Windsor Locks, CT to
 Bondarenko, Ilya        12/15/2017                                                              $200.00
                                         Pittsburgh, PA.
                                         One way coach airfare from Windsor Locks, CT to
 Bondarenko, Ilya        12/15/2017                                                              $394.58
                                         Pittsburgh, PA
                                         Roundtrip coach airfare from Milwaukee, WI to
 Diehl, David            12/17/2017                                                              $786.64
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Dusseldorf, Germany
 Hartigan, Martin        12/17/2017                                                               $66.59
                                         to Manchester, UK.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Bondarenko, Ilya        12/18/2017                                                              $683.12
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Groves, Rick            12/18/2017                                                              $683.12
                                         Philadelphia, PA.
                                         Roundtrip coach airfare from Philadephia, PA to
 Collins, Robert         12/31/2017                                                              $204.66
                                         Greensburg, PA
                                         Rountrip coach airfare from Dallas, TX to
 Diehl, David            12/31/2017                                                              $288.76
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from New York, NY to
 Simha, Namita           12/31/2017                                                              $469.57
                                         Boston, MA.
                                         Roundtrip coach airfare from New York, NY to
 Simha, Namita           12/31/2017                                                              $651.30
                                         Pittsburgh, PA.
                                         One way coach airfare from Philadelphia, PA to
 Bondarenko, Ilya        01/02/2018                                                              $427.47
                                         Pittsburgh, PA.

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                    Westinghouse Electric Company, LLC
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           Expenses Sorted by Category for the Fee Period
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Category               Date            Description                                               Amount



Airfare
                                       One way coach airfare from Philadelphia, PA to
 Groves, Rick          01/02/2018                                                               $351.88
                                       Manchester, NH
                                       One way coach airfare from Philadelphia, PA to
 Kiefer, Brian         01/02/2018                                                               $427.37
                                       Pittsburgh, PA.
                                       One way coach airfare from Philadelphia, PA to
 Yochim, Nicki         01/02/2018                                                               $427.37
                                       Pittsburgh, PA.
                                       One way coach airfare from Philadelphia, PA to
 Groves, Rick          01/04/2018                                                               $502.47
                                       Pittsburgh, PA.
                                       One way coach airfare from Pittsburgh, PA to
 Bondarenko, Ilya      01/05/2018                                                               $397.46
                                       Philadelphia, PA.
                                       One way coach airfare from New Stanton, PA to
 Groves, Rick          01/05/2018                                                               $397.46
                                       Pittsburgh, PA.
                                       One way coach airfare from Pittsburgh, PA to
 Kiefer, Brian         01/05/2018                                                               $397.46
                                       Philadelphia, PA.
                                       Roundtrip coach airfare from Pittsburgh, PA to
 Yochim, Nicki         01/05/2018                                                               $397.46
                                       Phildelphia, PA.
                                       Roundtrip coach airfare from Philadephia, PA to
 Collins, Robert       01/07/2018                                                               $397.36
                                       Pittsburgh, PA.
                                       Roundtrip coach airfare from Dusseldorf, Germany
 Hartigan, Martin      01/07/2018                                                               $289.95
                                       to Manchester, UK.
                                       Roundtrip coach airfare to Chicago, IL to Boston,
 Zawahir, Tariq        01/07/2018                                                               $201.40
                                       MA.
                                       Roundtrip coach airfare from Philadephia, PA to
 Collins, Robert       01/08/2018                                                               $351.88
                                       Portsmouth, PA.
                                       Roundtrip coach airfare from Boston, MA to
 Hartigan, Martin      01/08/2018                                                              $2,000.00
                                       London.
                                       Roundtrip coach airfare from Philadelphia, PA to
 Kiefer, Brian         01/08/2018                                                               $869.77
                                       Boston, MA.
                                       Roundtrip coach airfare from Pittsburgh, PA to
 Librandi, Louis       01/08/2018                                                               $444.89
                                       Manchester, NH.
                                       Roundtrip coach airfare from Pittsburgh, PA to
 Petrini, Bobby        01/08/2018                                                               $281.44
                                       Boston, MA.
                                       One way coach airfare from Philadelphia, PA to
 Yochim, Nicki         01/08/2018                                                               $351.88
                                       Manchester, NH.



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Category               Date            Description                                              Amount



Airfare
                                       Roundtrip coach airfare from Philadephia, PA to
 Collins, Robert       01/10/2018                                                              $397.46
                                       Pittsburgh, PA.
                                       One way coach airfare from Manchester, NH to
 Librandi, Louis       01/10/2018                                                              $848.39
                                       Philadelphia, PA.
                                       One way coach airfare Boston, MA to Pittsburgh,
 Petrini, Bobby        01/10/2018                                                              $201.98
                                       PA.
                                       Roundtrip coach airfare from Boston, MA to
 Yochim, Nicki         01/10/2018                                                              $126.02
                                       Pittsburgh, PA.
                                       One-way coach airfare from London– Pittsburgh –
 Chin, Ziyu            01/11/2018                                                             $3,780.78
                                       Shanghai – Taipei
                                       Roundtrip coach airfare from Santa Ana, CA to
 Hartigan, Martin      01/11/2018                                                              $813.52
                                       Dusseldorf, Germany.
                                       One way coach airfare from Pittsburgh, PA to
 Librandi, Louis       01/11/2018                                                              $266.53
                                       Philadelphia, PA.
                                       One way coach airfare from Pittsburgh, PA to
 Groves, Rick          01/12/2018                                                              $397.46
                                       Philadelphia, PA.
                                       One way coach airfare from Pittsburgh, PA to
 Yochim, Nicki         01/12/2018                                                              $397.46
                                       Philadelphia, PA.
                                       Roundtrip coach airfare from Philadelphia, PA to
 Bondarenko, Ilya      01/13/2018                                                             $2,364.61
                                       United Kingdom
                                       Roundtrip coach airfare to Philadelphia, PA
 Kiefer, Brian         01/13/2018                                                             $2,365.11
                                       Manchester, England.
                                       Roundtrip coach airfare from Pittsburgh, PA to
 Petrini, Bobby        01/13/2018                                                             $2,602.51
                                       Manchester, NH.
                                       Roundtrip coach airfare from Philadelphia, PA to
 Yochim, Nicki         01/13/2018                                                             $1,616.91
                                       Manchester, NH.
                                       Roundtrip coach airfare from Philadelphia, PA to
 Collins, Robert       01/14/2018                                                              $531.39
                                       Columbia, PA.
                                       Roundtrip coach airfare from Philadephia, PA to
 Collins, Robert       01/14/2018                                                              $106.32
                                       Pittsburgh, PA.
                                       Roundtrip coach airfare from Philadephia, PA to
 Collins, Robert       01/14/2018                                                             $3,432.71
                                       United Kingdom.
 Das Chowdhury,                        Roundtrip coach airfare from Columbia, SC to
                       01/14/2018                                                              $711.15
Prajata                                Denver, CO.



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Category                 Date            Description                                              Amount



Airfare
                                         Roundtrip coach airfare from Boston, MA to
 Hartigan, Martin        01/14/2018                                                              $288.30
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Simha, Namita           01/14/2018                                                              $279.60
                                         New York, NY.
                                         One way coach airfare to Pittsburgh, PA to Los
 Groves, Rick            01/15/2018                                                              $357.30
                                         Angeles, CA.
                                         Roundtrip coach airfare from Washington, DC to
 Zanette, Christina      01/15/2018                                                              $339.19
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Atlanta, GA to
 McKibben, Caitlin       01/16/2018                                                              $672.10
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Washington, DC to
 Zanette, Christina      01/16/2018                                                              $200.00
                                         Pittsburgh, PA.
                                         One way coach airfare to Pittsburgh, PA to
 Kao, Suzanne            01/17/2018                                                              $229.19
                                         Washington, DC
                                         Roundtrip coach airfare from Philadelphia, PA to
 Collins, Robert         01/18/2018                                                              $397.46
                                         Pittsburgh, PA.
                                         One way coach airfare from Orlando, FL to
 Jones, Louverture       01/18/2018                                                              $337.25
                                         Pittsburgh, PA.
                                         One way coach airfare from Pittsburgh, PA to
 Jones, Louverture       01/19/2018                                                              $230.17
                                         Orlando, FL.
                                         Roundtrip coach flight to Brussels, Belgium from
 Lakova, Eva             01/19/2018                                                              $513.36
                                         Trieste, Italy
                                         One way coach airfare from Chicago, IL to
 Berkowitz, Craig        01/21/2018                                                              $257.50
                                         Cranberry Township, PA.
                                         Roundtrip coach airfare from Chicago, IL to
 Brennan, Ted            01/21/2018                                                              $555.01
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Philadephia, PA to
 Collins, Robert         01/21/2018                                                              $492.20
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Groves, Rick            01/21/2018                                                              $126.02
                                         Philadelphia, PA.
                                         Roundtrip coach airfare from Minneapolis, MN to
 Hartigan, Martin        01/21/2018                                                              $788.70
                                         Salt Lake City, UT.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Kiefer, Brian           01/21/2018                                                             $2,850.95
                                         Stockholms, Sweden.



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Category                 Date            Description                                              Amount



Airfare
                                         Roundtrip coach airfare from New York, NY to
 Simha, Namita           01/21/2018                                                              $667.05
                                         Columbia, SC.
                                         Roundtrip coach airfare from New York, NY to
 Zanette, Christina      01/21/2018                                                             $7,545.21
                                         Shanghai, China.
                                         Roundtrip coach airfare to Washington, DC to New
 Zanette, Christina      01/21/2018                                                              $211.86
                                         York, NY.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Bondarenko, Ilya        01/22/2018                                                             $1,124.13
                                         Chicago, IL to Windsor Locks, CT
                                         Roundtrip coach airfare from Philadelphia, PA to
 Collins, Robert         01/22/2018                                                              $454.46
                                         Columbia, SC.
                                         One way coach airfare from Burlington, VT to
 Groves, Rick            01/22/2018                                                              $387.21
                                         Columbia, SC
                                         One way coach airfare from New York, NY to
 Gupati, Raj             01/22/2018                                                              $698.84
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Santa Ana, CA to
 Hartigan, Martin        01/22/2018                                                             $2,187.96
                                         Columbia, SC to Phildelphia, PA to Chicago, IL
                                         Roundtrip coach airfare from Baltimore, MD to
 Horton, Terry           01/22/2018                                                              $209.00
                                         Pittsburgh, VA.
                                         Roundtrip coach airfare Philadelphia, PA to
 Kiefer, Brian           01/22/2018                                                              $480.60
                                         Columbia, SC.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Librandi, Louis         01/22/2018                                                              $448.84
                                         Columbia, SC.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Petrini, Bobby          01/22/2018                                                              $471.04
                                         Columbia, SC.
                                         One way coach airfare from Philadelphia, PA to
 Yochim, Nicki           01/22/2018                                                              $531.39
                                         Columbia, SC.
 Zhao, Raymond           01/22/2018      Roundtrip coach flight from Dalian to Shanghai          $153.57
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Petrini, Bobby          01/24/2018                                                              $386.65
                                         Philadelphia, PA.
                                         One way coach airfare from Columbia, SC to
 Groves, Rick            01/25/2018                                                              $531.39
                                         Philadelphia, PA.
                                         One way coach airfare from Columbia, SC to
 Yochim, Nicki           01/25/2018                                                              $531.39
                                         Philadelphia, PA.
 Zhao, Raymond           01/25/2018      Roundtrip coach flight from Dalian to Shanghai          $160.80


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Category                 Date            Description                                              Amount



Airfare
                                         Roundtrip coach airfare from Chicago, IL to
 Berkowitz, Craig        01/28/2018                                                              $415.00
                                         Cranberry Township, PA.
                                         Roundtrip coach airfare from Chicago, IL to
 Brennan, Ted            01/28/2018                                                              $462.39
                                         Pittsburgh, PA.
 Das Chowdhury,                          Roundtrip coach airfare from Pittsburg, PA to Salt
                         01/28/2018                                                              $253.23
Prajata                                  Lake City, UT.
                                         One way coach airfare from Pittsburgh, PA to
 Groves, Rick            01/28/2018                                                              $397.46
                                         Philadelphia, PA.
                                         One way coach airfare from New York, NY to
 Gupati, Raj             01/28/2018                                                              $806.10
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Baltimore, MD to
 Horton, Terry           01/28/2018                                                              $227.30
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Atlanta, GA to
 McKibben, Caitlin       01/28/2018                                                              $583.60
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from San Francisco, CA to
 Mendon, Neha            01/28/2018                                                              $879.15
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Columbia, SC to
 Simha, Namita           01/28/2018                                                              $743.95
                                         New York, NY.
                                         Roundtrip coach airfare from Phoenix, AZ to
 Willis, Rob             01/28/2018                                                             $1,916.23
                                         Charlotte, NC to Pittsburgh, PA.
                                         Roundtrip coach airfare from Oakland, CA to
 Zamy, Vanessa           01/28/2018                                                              $750.19
                                         Pittsburgh, PA.
                                         One way coach airfare from Shanghai, China to
 Zanette, Christina      01/28/2018                                                             $4,825.61
                                         Washington, DC.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Bondarenko, Ilya        01/29/2018                                                             $1,264.21
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Collins, Robert         01/29/2018                                                              $397.46
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Santa Ana, CA to
 Hartigan, Martin        01/29/2018                                                             $1,315.11
                                         Boston, MA.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Kiefer, Brian           01/29/2018                                                              $533.60
                                         Pittsburgh, PA.
                                         One way coach airfare from Boston, MA to
 Lafontant, Anthony      01/29/2018                                                              $201.98
                                         Pittsburgh, PA.



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Category               Date            Description                                              Amount



Airfare
                                       Roundtrip coach airfare from Philadelphia, PA to
 Librandi, Louis       01/29/2018                                                              $733.15
                                       Pittsburgh, PA.
                                       Roundtrip coach airfare from Arlington, VA to
 Marashi, Seema        01/29/2018                                                              $366.99
                                       Cranberry Township, PA.
                                       One way coach airfare from Chicago, IL to
 Yochim, Nicki         01/29/2018                                                              $207.50
                                       Pittsburgh, PA.
                                       Roundtrip coach airfare from London, United
 Hickey, Thomas        01/31/2018                                                              $276.79
                                       Kingdom to Stockholm, Sweden
                                       One way coach airfare from Pittsburgh, PA to
 Groves, Rick          02/01/2018                                                              $397.46
                                       Philadelphia, PA.
                                       Roundtrip coach airfare from Pittsburgh, PA to
 Horton, Terry         02/01/2018                                                              $262.25
                                       Baltimore, MD.
                                       One way coach airfare from Pittsburgh, PA to
 Lafontant, Anthony    02/01/2018                                                              $201.98
                                       Boston, MA.
                                       One way coach airfare from Pittsburgh, PA to
 Yochim, Nicki         02/01/2018                                                              $397.46
                                       Philadelphia, PA.
                                       Roundtrip coach airfare from Philadelphia, PA to
 Collins, Robert       02/02/2018                                                              $400.49
                                       Ogden, UT.
                                       Roundtrip coach airfare from Philadelphia, PA to
 Collins, Robert       02/04/2018                                                              $274.10
                                       Ogden, UT.
                                       One way coach airfare from Philadelphia, PA to
 Fleming, Sean         02/04/2018                                                              $445.80
                                       Salt Lake City, UT
                                       One way coach airfare from Philadelphia, PA to
 Groves, Rick          02/04/2018                                                             $2,537.10
                                       Sweden
                                       Roundtrip coach airfare from Pittsburgh, PA to
 Gupati, Raj           02/04/2018                                                              $709.70
                                       Philadelphia, PA.
                                       Roundtrip coach airfare from Pittsburgh, PA to
 Gupati, Raj           02/04/2018                                                              $783.42
                                       Philadelphia, PA.
                                       Roundtrip coach airfare from Santa Ana, CA to
 Hartigan, Martin      02/04/2018                                                             $1,730.54
                                       Dallas, TX to Pittsburgh, PA.
                                       Roundtrip coach airfare from Philadelphia, PA to
 Kiefer, Brian         02/04/2018                                                             $2,543.61
                                       Stockholms, Sweden.
                                       Roundtrip coach airfare from Washington, DC to
 Marashi, Seema        02/04/2018                                                              $189.17
                                       Cranberry Township, PA.



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Category                 Date            Description                                              Amount



Airfare
                                         Roundtrip coach airfare from Atlanta, GA to
 McKibben, Caitlin       02/04/2018                                                             $1,699.51
                                         Stockholm, Sweden.
                                         Roundtrip coach airfare from San Francisco, CA to
 Mendon, Neha            02/04/2018                                                              $446.31
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from San Francisco, CA to
 Mendon, Neha            02/04/2018                                                              $246.64
                                         Pittsburgh, PA.
                                         One way coach airfare from Philadelphia, PA to
 Yochim, Nicki           02/04/2018                                                             $2,564.20
                                         Stockholms, Sweden.
                                         Roundtrip coach airfare from San Francisco, CA to
 Zamy, Vanessa           02/04/2018                                                              $418.91
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Washington, DC to
 Zanette, Christina      02/04/2018                                                             $8,984.72
                                         Vasteras, Sweden.
                                         One way coach airfare from Philadelphia, PA to
 Berckman, Lindsey       02/05/2018                                                              $714.74
                                         Washington, DC
                                         Roundtrip coach airfare from Chicago, IL to
 Berkowitz, Craig        02/05/2018                                                              $380.20
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Bondarenko, Ilya        02/05/2018                                                              $274.10
                                         Ogden, UT.
                                         One way coach airfare from New York, NY to
 Gupati, Raj             02/05/2018                                                              $357.30
                                         Pittsburgh, PA.
                                         One way coach airfare from Baltimore, MD to
 Horton, Terry           02/05/2018                                                              $227.30
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Boston, MA to
 Lafontant, Anthony      02/05/2018                                                              $328.01
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Newark, NJ to
 Librandi, Louis         02/05/2018                                                             $2,280.95
                                         Skockholms, Sweden.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Petrini, Bobby          02/05/2018                                                              $757.48
                                         Ogden, UT.
                                         Roundtrip coach airfare from Phoenix, AZ to
 Willis, Rob             02/05/2018                                                              $621.44
                                         Ogden, UT.
                                         One way coach airfare from Philadelphia, PA to
 Groves, Rick            02/06/2018                                                              $246.46
                                         Newark, NJ.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Marashi, Seema          02/06/2018                                                              $204.49
                                         Arlington, VA.



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Category                 Date            Description                                              Amount



Airfare
                                         Roundtrip coach airfare from Salt Lake City, UT to
 Hartigan, Martin        02/07/2018                                                              $348.04
                                         Santa Ana, CA.
                                         One-way coach airfare from Stockholm, Sweden
 Hickey, Thomas          02/07/2018                                                              $204.20
                                         to London, United Kingdom
                                         One way coach airfare from Pittsburgh, PA to
 Horton, Terry           02/07/2018                                                              $390.50
                                         Richmond, VA.
 Das Chowdhury,                          One way coach airfare from Salt Lake City, UT to
                         02/08/2018                                                              $321.80
Prajata                                  Pittsburgh, PA.
                                         One way coach airfare from Salt Lake City, UT to
 Fleming, Sean           02/08/2018                                                              $354.10
                                         Philadelphia, PA
                                         One way coach airfare from Pittsburgh, PA to New
 Gupati, Raj             02/08/2018                                                              $372.00
                                         York, NY.
                                         One way coach airfare from Stockholms, Sweden
 McKibben, Caitlin       02/08/2018                                                              $412.90
                                         to London, UK.
                                         One way coach airfare from Stockholm, Sweden
 Zanette, Christina      02/08/2018                                                              $470.50
                                         to London Heathrow.
                                         One way coach airfare from Stockholms, Sweden
 Yochim, Nicki           02/09/2018                                                             $1,426.61
                                         to Ogden, UT.
                                         One way coach airfare from London Heathrow to
 Zanette, Christina      02/09/2018                                                              $876.30
                                         Washington, DC.
                                         One way airfare from Vasteras, Sweden to
 Zanette, Christina      02/09/2018                                                              $124.80
                                         Stockholm, Sweden.
                                         One way coach airfare from London Heathrow to
 McKibben, Caitlin       02/10/2018                                                             $1,275.60
                                         Altanta, GA.
                                         One way coach airfare from Chicago, IL to
 Brennan, Ted            02/11/2018                                                              $496.75
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Collins, Robert         02/11/2018                                                              $627.61
                                         Salt Lake City, UT.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Fleming, Sean           02/11/2018                                                              $289.80
                                         Philadelphia, PA.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Groves, Rick            02/11/2018                                                              $397.46
                                         Philadelphia, PA.
                                         One way coach airfare from Pittsburgh, PA to
 Horton, Terry           02/11/2018                                                              $227.30
                                         Baltimore, MD.



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Category                 Date            Description                                              Amount



Airfare
                                         Roundtrip coach airfare from Arlington, VA to
 Marashi, Seema          02/11/2018                                                              $305.99
                                         Pittsburgh, PA.
                                         One way coach airfare from Atlanta, GA to
 McKibben, Caitlin       02/11/2018                                                              $291.80
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from San Francisco, CA to
 Mendon, Neha            02/11/2018                                                              $530.27
                                         Pittsburgh, PA.
                                         One way coach airfare from Salt Lake City, UT to
 Yochim, Nicki           02/11/2018                                                              $315.50
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from San Francisco, CA to
 Zamy, Vanessa           02/11/2018                                                              $739.03
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Washington, DC to
 Zanette, Christina      02/11/2018                                                             $3,188.11
                                         Brussels, Belgium.
                                         Roundtrip coach airfare from Chicago, IL to
 Berkowitz, Craig        02/12/2018                                                              $585.79
                                         Cranberry Township, PA.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Bondarenko, Ilya        02/12/2018                                                              $683.32
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Fleming, Sean           02/12/2018                                                              $832.12
                                         Philadelphia, PA.
                                         Roundtrip coach airfare from Baltimore, MD to
 Horton, Terry           02/12/2018                                                              $227.30
                                         Pittsburgh, PA.
                                         One way coach airfare from Philadelphia, PA to
 Kiefer, Brian           02/12/2018                                                              $501.36
                                         Pittsburgh, PA.
                                         One way coach airfare from Boston, MA to
 Lafontant, Anthony      02/12/2018                                                              $130.30
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare to Philadelphia, PA to
 Librandi, Louis         02/12/2018                                                              $721.60
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Phoenix, AZ to
 Willis, Rob             02/12/2018                                                             $1,750.24
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Phoenix, AZ to
 Willis, Rob             02/13/2018                                                              $322.34
                                         Pittsburgh, PA.
                                         One way coach airfare from Pittsburgh, PA to
 Kiefer, Brian           02/15/2018                                                              $397.46
                                         Philadelphia, PA.
                                         One way coach airfare from Pittsburgh, PA to
 Lafontant, Anthony      02/15/2018                                                              $171.10
                                         Boston, MA.



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Airfare
                                        One way coach airfare from Pittsburgh, PA to New
 Yochim, Nicki          02/15/2018                                                              $357.30
                                        York, NY.
 Das Chowdhury,                         One way coach airfare from Pittsburgh, PA to
                        02/16/2018                                                              $397.46
Prajata                                 Philadelphia, PA.
                                        Roundtrip coach airfare from Atlanta, GA to
 McKibben, Caitlin      02/17/2018                                                             $1,935.31
                                        Brussels, Belgium.
                                        Roundtrip coach airfare from Chicago, IL to
 Berkowitz, Craig       02/18/2018                                                              $482.21
                                        Cranberry Township, PA.
                                        Roundtrip coach airfare from Philadelphia, PA to
 Bondarenko, Ilya       02/18/2018                                                              $483.87
                                        Ogden, UT.
                                        Roundtrip coach airfare from Chicago, IL to
 Brennan, Ted           02/18/2018                                                              $277.51
                                        Pittsburgh, PA.
                                        Roundtrip coach airfare from Philadelphia, PA to
 Collins, Robert        02/18/2018                                                              $354.10
                                        Ogden, UT.
                                        Rountrip coach airfare from Washington, DC to
 Marashi, Seema         02/18/2018                                                              $367.75
                                        Cranberry Township, PA.
                                        Roundtrip coach airfare from Atlanta, GA to
 McKibben, Caitlin      02/18/2018                                                              $351.80
                                        Cranberry Township, PA.
                                        Roundtrip coach airfare from San Francisco, CA to
 Zamy, Vanessa          02/18/2018                                                              $726.82
                                        Pittsburgh, PA.
                                        One way coach airfare from New York, NY to
 Gupati, Raj            02/19/2018                                                              $357.30
                                        Pittsburgh, PA.
                                        One way coach airfare from Baltimore, MD to
 Horton, Terry          02/19/2018                                                              $227.30
                                        Pittsburgh, PA.
                                        One way coach airfare from Boston, MA to
 Lafontant, Anthony     02/19/2018                                                              $201.98
                                        Pittsburgh, PA.
                                        Roundtrip coach airfare from Pittsburgh, PA to
 Horton, Terry          02/20/2018                                                              $131.17
                                        Baltimore, MD.
                                        Roundtrip coach airfare from Pittsburgh, PA to
 Petrini, Bobby         02/20/2018                                                              $683.32
                                        Philadelphia, PA.
                                        Roundtrip coach airfare from Philadelphia, PA to
 Bondarenko, Ilya       02/21/2018                                                              $416.53
                                        Ogden, UT.
                                        One way coach airfare from Pittsburgh, PA to New
 Gupati, Raj            02/22/2018                                                              $495.90
                                        York, NY.



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Category                 Date            Description                                             Amount



Airfare
                                         One way coach airfare from Pittsburgh, PA to
 Lafontant, Anthony      02/22/2018                                                              $169.78
                                         Boston, MA.
                                         One way coach airfare from Philadelphia, PA to
 Petrini, Bobby          02/22/2018                                                              $200.00
                                         Pittsburgh, PA.
 Das Chowdhury,                          One way coach airfare from Philadelphia, PA to
                         02/23/2018                                                              $259.30
Prajata                                  Chicago, IL
                                         Roundtrip coach airfare from Chicago, IL to
 Berkowitz, Craig        02/25/2018                                                              $415.00
                                         Cranberry Township, PA.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Bondarenko, Ilya        02/25/2018                                                              $683.32
                                         Ogden, UT.
                                         Roundtrip coach airfare from Chicago, IL to
 Brennan, Ted            02/25/2018                                                              $277.51
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Collins, Robert         02/25/2018                                                              $217.04
                                         Ogden, UT.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Collins, Robert         02/25/2018                                                              $397.46
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Groves, Rick            02/25/2018                                                              $802.86
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Pittsburgh, PA to
 Horton, Terry           02/25/2018                                                              $227.30
                                         Philadelphia, PA.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Librandi, Louis         02/25/2018                                                              $434.66
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Washington, DC to
 Marashi, Seema          02/25/2018                                                              $205.25
                                         Cranberrry Township, PA.
                                         Roundtrip coach airfare from Oakland, CA to
 Zamy, Vanessa           02/25/2018                                                              $683.11
                                         Pittsburgh, PA.
                                         Roundtrip coach airfare from Philadelphia, PA to
 Zanette, Christina      02/25/2018                                                              $379.21
                                         Pittsburgh, PA.
                                         One way coach airfare from Philadelphia, PA to
 Berckman, Lindsey       02/26/2018                                                              $465.35
                                         Pittsburgh, PA
                                         Roundtrip coach airfare from Baltimore, MD to
 Horton, Terry           02/26/2018                                                              $227.30
                                         Pittsburgh, PA.
                                         One way coach airfare from Boston, MA to
 Lafontant, Anthony      02/26/2018                                                              $201.98
                                         Pittsburgh, PA.



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Category                Date            Description                                              Amount



Airfare
                                        One way coach airfare from Washington, DC to
 Marashi, Seema         02/26/2018                                                              $205.25
                                        Pittsburgh, PA.
                                        Roundtrip coach airfare from Atlanta, GA to
 McKibben, Caitlin      02/26/2018                                                              $862.05
                                        Pittsburgh, PA.
                                        One-way coach airfare from Taiwan to Blagnac,
 Chin, Ziyu             02/27/2018                                                             $3,261.44
                                        France
                                        Roundtrip coach airfare from Pittsburgh, PA to
 Gupati, Raj            02/27/2018                                                              $801.56
                                        Philadelphia, PA.
                                        One way coach airfare from Pittsburgh, PA to
 Lafontant, Anthony     03/01/2018                                                              $169.78
                                        Boston, MA.
                                        One way coach airfare from Washington, DC to
 McKibben, Caitlin      03/01/2018                                                              $150.02
                                        Pittsburgh, PA.
                                        Roundtrip coach airfare from Chicago, IL to
 Berkowitz, Craig       03/04/2018                                                              $415.00
                                        Cranberry Township, PA.
                                        Roundtrip coach airfare from Philadelphia, PA to
 Collins, Robert        03/04/2018                                                              $316.70
                                        Pittsburgh, PA.
                                        Roundtrip coach airfare from Pittsburgh, PA to
 Gupati, Raj            03/04/2018                                                              $495.90
                                        Philadelphia, PA.
                                        Roundtrip coach airfare from Pittsburgh, PA to
 Librandi, Louis        03/04/2018                                                              $686.98
                                        Philadelphia, PA.
                                        Roundtrip coach airfare from Washington, DC to
 Marashi, Seema         03/04/2018                                                              $348.75
                                        Cranberry Township, PA.
                                        Roundtrip coach airfare from San Francisco, CA to
 Zamy, Vanessa          03/04/2018                                                              $530.27
                                        Pittsburgh, PA.
                                        Roundtrip coach airfare from Baltimore, MD to
 Horton, Terry          03/05/2018                                                              $227.30
                                        Pittsburgh, PA.
                                        One way coach airfare from Boston, MA to
 Lafontant, Anthony     03/05/2018                                                              $130.30
                                        Pittsburgh, PA.
                                        One way coach airfare from Pittsburgh, PA to
 Horton, Terry          03/07/2018                                                              $363.65
                                        Newark, NJ.
                                        One way coach airfare from Pittsburgh, PA to
 Lafontant, Anthony     03/08/2018                                                              $197.90
                                        Boston, MA.
                                        Roundtrip coach airfare from Pittsburgh, PA to
 Horton, Terry          03/11/2018                                                              $363.65
                                        McLean, VA.



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Airfare
                                           Roundtrip coach airfare from Chicago, IL to
 Berkowitz, Craig          03/22/2018                                                               $417.79
                                           Cranberry Township, PA.
Subtotal for Airfare:                                                                            $157,297.71


Apartment Lodging
 Das Chowdhury,                            Apartment accommodation at Courtyard
                           01/01/2018                                                               $510.57
Prajata                                    Greensburg apartment - 2 nights
 Das Chowdhury,                            Apartment accommodation at Courtyard Boston
                           01/05/2018                                                               $370.06
Prajata                                    apartment in Bostong, MA. - 2 nights
 Das Chowdhury,                            Apartment accommodation at Sheraton apartment
                           01/07/2018                                                               $430.80
Prajata                                    in Portsmouth, NH. - 3 nights
 Das Chowdhury,                            Apartment accommodation at Courtyard
                           01/12/2018                                                               $304.09
Prajata                                    Pittsburgh apartment in Pittsbugh, PA. - 2 nights
 Das Chowdhury,                            Apartment accommodation at Westin in
                           01/22/2018                                                              $2,163.82
Prajata                                    Pittsburgh, PA. - 9 nights
 Das Chowdhury,                            Apartment accommodation at Sheraton Columbia
                           01/26/2018                                                               $664.30
Prajata                                    Apartment in Columbia, SC. - 4 nights
 Das Chowdhury,                            Apartment accommodation at Marriott Pittsburgh
                           01/30/2018                                                               $772.32
Prajata                                    Apartment in Pittsburgh, PA.- 4 nights
 Das Chowdhury,                            Apartment accommodation at Cranberry
                           02/05/2018                                                              $1,018.60
Prajata                                    apartment in Pittsburgh, PA. - 6 nights
 Das Chowdhury,                            Apartment accommodation at Courtyard in Ogden,
                           02/07/2018                                                               $459.02
Prajata                                    UT. - 3 nights
 Das Chowdhury,                            Apartment accommodation at Marriott Salt Lake
                           02/09/2018                                                               $203.33
Prajata                                    apartment at Ogden, UT. - 1 night
 Das Chowdhury,                            Apartment accommodation at Marriot Pittsburgh
                           02/12/2018                                                               $561.80
Prajata                                    apartment in Pittsbugh, PA. - 3 nights
 Das Chowdhury,                            Apartment accommodation at Cranberry
                           02/17/2018                                                               $796.58
Prajata                                    apartment in Pittsburgh, PA. - 5 nights
 Das Chowdhury,                            Apartment accommodation at Marriott Salt Lake
                           02/23/2018                                                               $165.07
Prajata                                    apartment at Ogden, UT. - 1 night
 Das Chowdhury,                            Apartment accommodation at Marriot apartment in
                           03/09/2018                                                              $1,602.20
Prajata                                    Philadelphia, PA - 6 nights


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Subtotal for Apartment
Lodging:                                                                                          $10,022.56


Auto Parking
 Zanette, Christina       11/30/2017      Airport parking in Dallas, TX                              $30.00
 Groves, Rick             12/11/2017      Parking in Pittsburgh, PA                                  $22.00
 Petrini, Bobby           12/11/2017      Parking in Philadelphia, PA                                $18.00
 Petrini, Bobby           12/12/2017      Parking in Philadelphia, PA                                $22.00
 Groves, Rick             12/13/2017      Parking in Pittsburgh, PA                                  $44.00
 Bondarenko, Ilya         12/15/2017      Airport parking while traveling for I. Bondarenko.        $111.00
 Bondarenko, Ilya         12/21/2017      Airport parking while traveling for I. Bondarenko.         $96.00
 Diehl, David             12/21/2017      Airport parking in Milwaukee, WI                           $39.00
 Bondarenko, Ilya         01/05/2018      Airport parking while traveling for I. Bondarenko.         $96.00
 Diehl, David             01/05/2018      Airport parking in Milwaukee, WI                           $60.00
 Librandi, Louis          01/05/2018      Airport parking in Philadelphia, PA                        $96.00
 Yochim, Nicki            01/05/2018      Parking in Pittsburgh, PA                                  $22.00
 Bondarenko, Ilya         01/08/2018      Hotel parking in Portsmouth, VA                            $44.58
 Zawahir, Tariq           01/08/2018      Hotel parking in Portsmouth, VA                            $48.00
 Librandi, Louis          01/09/2018      Hotel parking in Portsmouth, VA                            $48.00
 Librandi, Louis          01/11/2018      Airport parking in Philadelphia, PA                        $96.00
 Bondarenko, Ilya         01/12/2018      Airport parking while traveling for I. Bondarenko.        $118.00
 Kiefer, Brian            01/15/2018      Parking in Pittsburgh, PA                                    $5.83
 Bondarenko, Ilya         01/18/2018      Hotel parking in Manchester, United Kingdom                $14.30
 Bondarenko, Ilya         01/18/2018      Hotel parking in Manchester, United Kingdom                $24.30
 Jones, Louverture        01/19/2018      Airport parking in Orlando, FL                             $34.00
 McKibben, Caitlin        01/19/2018      Airport parkin in Atlanta, GA                              $76.00
 Collins, Robert          01/22/2018      Hotel parking in Columbia, PA                              $42.24
 Librandi, Louis          01/22/2018      Hotel parking in Columbia, PA                              $27.00
 Yochim, Nicki            01/22/2018      Hotel parking in Columbia, PA                              $38.88
 Brennan, Ted             01/24/2018      Airport parking in Chicago, IL                             $85.00
 Berkowitz, Craig         01/31/2018      Parking in Pittsburgh, PA                                    $5.00
 Brennan, Ted             01/31/2018      Airport parking in Chicago, IL                             $60.00

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Auto Parking
 Horton, Terry           01/31/2018      Parking in Pittsburgh, PA                      $5.00
 Bondarenko, Ilya        02/01/2018      Parking expense for I. Bondarenko             $96.00
 Librandi, Louis         02/01/2018      Airport parking in Philadelphia, PA           $48.00
 Bondarenko, Ilya        02/05/2018      Parking expense for I. Bondarenko             $33.70
 Berckman, Lindsey       02/07/2018      Parking in Salt Lake City, UT                 $20.00
 Brennan, Ted            02/07/2018      Airport parking in Chicago, IL                $60.00
 Hartigan, Martin        02/07/2018      Parking in Salt Lake City, UT                 $15.00
 Petrini, Bobby          02/07/2018      Parking in Salt Lake City, UT                  $6.75
 Berckman, Lindsey       02/08/2018      Parking in Salt Lake City, UT                 $14.00
 Fleming, Sean           02/08/2018      Airport parking in Philadelphia, PA           $96.00
 Petrini, Bobby          02/08/2018      Parking in Salt Lake City, UT                 $10.00
 Yochim, Nicki           02/08/2018      Hotel parking in Stockholm, Sweden            $72.90
 Bondarenko, Ilya        02/09/2018      Parking expense for I. Bondarenko            $120.00
 Groves, Rick            02/10/2018      Hotel parking in Pittsburgh, PA               $63.38
 McKibben, Caitlin       02/10/2018      Airport parkin in Atlanta, GA                 $90.00
 Zanette, Christina      02/10/2018      Parking in Vasteras, Sweden                   $15.00
 Berkowitz, Craig        02/14/2018      Parking in Pittsburgh, PA                      $5.00
 Marashi, Seema          02/14/2018      Parking in Pittsburgh, PA                      $5.00
 Bondarenko, Ilya        02/15/2018      Parking expense for I. Bondarenko             $96.00
 Fleming, Sean           02/15/2018      Airport parking in Philadelphia, PA           $96.00
 McKibben, Caitlin       02/15/2018      Airport parkin in Atlanta, GA                 $76.00
 Horton, Terry           02/17/2018      Airport parking in Baltimore, MD              $70.00
 Bondarenko, Ilya        02/20/2018      Parking expense for I. Bondarenko             $26.00
 Brennan, Ted            02/20/2018      Airport parking in Chicago, IL                $80.00
 Bondarenko, Ilya        02/22/2018      Parking expense for I. Bondarenko             $39.00
 McKibben, Caitlin       02/23/2018      Airport parkin in Atlanta, GA                 $93.00
 Horton, Terry           02/24/2018      Parking in Pittsburgh, PA                     $72.00
 Bondarenko, Ilya        03/01/2018      Parking expense for I. Bondarenko             $48.00
 Horton, Terry           03/01/2018      Parking in Pittsburgh, PA                     $48.00
 Collins, Robert         03/02/2018      Parking in Philadelphia, PA                    $6.00
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Auto Parking
 McKibben, Caitlin           03/02/2018      Airport parkin in Atlanta, GA                 $95.00
 Bondarenko, Ilya            03/05/2018      Parking expense for I. Bondarenko             $78.00
 Librandi, Louis             03/05/2018      Parking in Philadelphia, PA                   $18.00
 Marashi, Seema              03/08/2018      Parking in Pittsburgh, PA                      $9.00
Subtotal for Auto Parking:                                                               $3,148.86


Auto Rental
 Petrini, Bobby              12/01/2017      Auto rental in Pittsburgh, PA                $263.43
 Petrini, Bobby              12/08/2017      Auto rental in Pittsburgh, PA                $210.75
 Groves, Rick                12/13/2017      Auto rental in Pittsburgh, PA                $155.34
 Petrini, Bobby              12/14/2017      Auto rental in Pittsburgh, PA                $158.06
 Bondarenko, Ilya            12/21/2017      Auto rental in Pittsburgh, PA                $218.02
 Collins, Robert             12/21/2017      Auto rental in Pittsburgh, PA                $262.09
 Diehl, David                12/21/2017      Auto rental in Pittsburgh, PA                $168.96
 Petrini, Bobby              12/21/2017      Auto rental in Pittsburgh, PA                $197.25
 Collins, Robert             01/05/2018      Auto rental in Pittsburgh, PA                $248.21
 Diehl, David                01/05/2018      Auto rental in Pittsburgh, PA                $100.53
 Groves, Rick                01/05/2018      Auto rental in Pittsburgh, PA                $241.06
 Librandi, Louis             01/05/2018      Auto rental in Pittsburgh, PA                $343.97
 Petrini, Bobby              01/08/2018      Auto rental in Pittsburgh, PA                $345.79
 Bondarenko, Ilya            01/10/2018      Auto rental in Manchester, UK                $264.23
 Librandi, Louis             01/10/2018      Auto rental in Manchester, NH                $152.20
 Petrini, Bobby              01/10/2018      Auto rental in Boston, MA                    $192.19
 Zawahir, Tariq              01/10/2018      Auto rental in Boston, MA                    $172.86
 Librandi, Louis             01/11/2018      Auto rental in Pittsburgh, PA                 $59.95
 Collins, Robert             01/12/2018      Auto rental in Pittsburgh, PA                $107.79
 Groves, Rick                01/12/2018      Auto rental in Pittsburgh, PA                $112.83
 Petrini, Bobby              01/13/2018      Auto rental in Pittsburgh, PA                $167.71
 Bondarenko, Ilya            01/19/2018      Auto rental in Manchester, UK                $414.23
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Auto Rental
 Collins, Robert         01/19/2018      Auto rental in Manchester, UK                $426.35
 Zanette, Christina      01/19/2018      Auto rental in Pittsburgh, PA                $206.52
 Librandi, Louis         01/23/2018      Auto rental in Columbia, PA                  $127.05
 Petrini, Bobby          01/23/2018      Auto rental in Pittsburgh, PA                 $75.00
 Berkowitz, Craig        01/24/2018      Auto rental in Pittsburgh, PA                $111.26
 Collins, Robert         01/25/2018      Auto rental in Columbia, PA                  $257.60
 Groves, Rick            01/25/2018      Auto rental in Columbia, PA                  $229.18
 Horton, Terry           01/25/2018      Auto rental in Pittsburgh, PA                $202.89
 Hartigan, Martin        01/31/2018      Auto rental in Pittsburgh, PA                $110.28
 Berkowitz, Craig        02/01/2018      Auto rental in Pittsburgh, PA                $214.93
 Bondarenko, Ilya        02/01/2018      Auto rental in Pittsburgh, PA                $180.89
 Groves, Rick            02/01/2018      Auto rental in Pittsburgh, PA                $189.84
 Horton, Terry           02/01/2018      Auto rental in Pittsburgh, PA                $229.46
 Yochim, Nicki           02/01/2018      Auto rental in Pittsburgh, PA                $201.06
 Petrini, Bobby          02/02/2018      Auto rental in Pittsburgh, PA                $251.32
 Brennan, Ted            02/06/2018      Auto rental in Pittsburgh, PA                 $57.46
 Bondarenko, Ilya        02/07/2018      Auto rental in Salt Lake City, UT            $191.68
 Horton, Terry           02/07/2018      Auto rental in Pittsburgh, PA                $161.69
 Berkowitz, Craig        02/08/2018      Auto rental in Pittsburgh, PA                $216.47
 Hartigan, Martin        02/08/2018      Auto rental in Salt Lake City, UT            $216.26
 Petrini, Bobby          02/08/2018      Auto rental in Salt Lake City, UT            $205.59
 Zanette, Christina      02/08/2018      Auto rental in Sundbyberg, Sweden            $654.27
 Groves, Rick            02/09/2018      Auto rental in Sundbyberg, Sweden            $538.02
 Berckman, Lindsey       02/11/2018      Auto rental in Salt Lake City, UT            $254.30
 Berckman, Lindsey       02/14/2018      Auto rental in Pittsburgh, PA                $158.60
 Berkowitz, Craig        02/15/2018      Auto rental in Pittsburgh, PA                $213.36
 Bondarenko, Ilya        02/15/2018      Auto rental in Pittsburgh, PA                $223.75
 Groves, Rick            02/15/2018      Auto rental in Pittsburgh, PA                $211.30
 Horton, Terry           02/15/2018      Auto rental in Pittsburgh, PA                $171.89
 McKibben, Caitlin       02/15/2018      Auto rental in Pittsburgh, PA                $194.42
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Category                     Date            Description                                   Amount



Auto Rental
 Yochim, Nicki               02/15/2018      Auto rental in Pittsburgh, PA                $201.06
 Collins, Robert             02/16/2018      Auto rental in Pittsburgh, PA                $215.59
 Librandi, Louis             02/16/2018      Auto rental in Pittsburgh, PA                $223.69
 Willis, Rob                 02/16/2018      Auto rental in Pittsburgh, PA                $171.89
 Zanette, Christina          02/16/2018      Auto rental in Vienna, VA                    $206.09
 Petrini, Bobby              02/17/2018      Auto rental in Pittsburgh, PA                $258.59
 Berkowitz, Craig            02/22/2018      Auto rental in Pittsburgh, PA                $218.31
 Horton, Terry               02/22/2018      Auto rental in Pittsburgh, PA                $201.06
 Berckman, Lindsey           02/26/2018      Auto rental in Pittsburgh, PA                 $59.11
 Berkowitz, Craig            03/01/2018      Auto rental in Pittsburgh, PA                $211.71
 Horton, Terry               03/01/2018      Auto rental in Pittsburgh, PA                $227.31
 Librandi, Louis             03/01/2018      Auto rental in Pittsburgh, PA                $214.67
 Petrini, Bobby              03/01/2018      Auto rental in Pittsburgh, PA                 $78.36
 Collins, Robert             03/02/2018      Auto rental in Pittsburgh, PA                $227.78
 Zanette, Christina          03/03/2018      Auto rental in Pittsburgh, PA                $221.32
 Berkowitz, Craig            03/08/2018      Auto rental in Pittsburgh, PA                $214.93
 Horton, Terry               03/08/2018      Auto rental in Pittsburgh, PA                $229.46
Subtotal for Auto Rental:                                                               $14,621.07


Auto Rental: Gasoline
 Petrini, Bobby              12/07/2017      Auto rental gas expense.                      $28.21
 Diehl, David                12/21/2017      Auto rental gas expense.                      $17.25
 Petrini, Bobby              12/21/2017      Auto rental gas expense.                      $12.95
 Diehl, David                01/05/2018      Auto rental gas expense.                      $17.39
 Librandi, Louis             01/05/2018      Auto rental gas expense.                      $31.87
 Zawahir, Tariq              01/10/2018      Auto rental gas expense.                        $9.85
 Petrini, Bobby              02/02/2018      Auto rental gas expense.                      $30.21
 Zanette, Christina          02/15/2018      Auto rental gas expense.                      $29.65
 Petrini, Bobby              02/16/2018      Auto rental gas expense.                      $28.13
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Auto Rental: Gasoline
 Bondarenko, Ilya            03/01/2018      Auto rental gas expense.                                  $42.93
 Zanette, Christina          03/02/2018      Auto rental gas expense.                                  $50.26
Subtotal for Auto Rental:
Gasoline:                                                                                             $298.70


Auto Tolls
 Petrini, Bobby              01/01/2018      Auto tolls for B. Petrini                                  $5.90
 Librandi, Louis             01/15/2018      Auto tolls for L. Librandi                                 $5.90
 Petrini, Bobby              01/16/2018      Auto tolls for B. Petrini                                 $14.75
 Petrini, Bobby              01/20/2018      Auto tolls for B. Petrini                                  $5.95
 Zawahir, Tariq              01/20/2018      Auto tolls for T. Zawahir                                  $5.95
 Petrini, Bobby              01/21/2018      Auto tolls for B. Petrini                                 $15.25
 Librandi, Louis             01/22/2018      Auto tolls for L. Librandi                                $36.00
 Petrini, Bobby              01/25/2018      Auto tolls for B. Petrini                                  $5.95
 Zawahir, Tariq              01/25/2018      Auto tolls for T. Zawahir                                  $9.25
 Librandi, Louis             01/26/2018      Auto tolls for L. Librandi                                 $4.70
 Zanette, Christina          03/03/2018      Auto tolls for C. Zanette                                 $64.00
Subtotal for Auto Tolls:                                                                              $173.60


Car Service
 Willis, Rob                 01/29/2018      Car service from home to Phoenix, AZ airport.             $50.00
 Willis, Rob                 01/31/2018      Car service from Pittsburgh, PA airport to hotel.        $140.40
 Willis, Rob                 02/02/2018      Car service from Phoenix, AZ airport to home.             $50.00
 Willis, Rob                 02/05/2018      Car service from home to Phoeniz, AZ airport.             $50.00
                                             Car service from Salt Lake City, UT airport to
 Willis, Rob                 02/05/2018                                                               $140.40
                                             hotel.
 Hartigan, Martin            02/08/2018      Car service from Santa Ana, CA airport to home.           $80.00
 Willis, Rob                 02/13/2018      Car service from home to Phoenix, AZ airport.             $50.00


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Car Service
 Willis, Rob                 02/16/2018      Car service from Phoenix, AZ airport to home.           $50.00
Subtotal for Car Service:                                                                           $610.80


Hotel
                                             1 night accommodation at Cranberry hotel in
 Bondarenko, Ilya            11/29/2017                                                             $122.10
                                             Pittsburgh, PA.
                                             1 night accommodation at Renaissance in
 Bondarenko, Ilya            12/11/2017                                                             $300.00
                                             Pittsburgh, PA.
                                             1 night accommodation at Westin in Pittsburgh,
 Collins, Robert             12/11/2017                                                             $178.96
                                             PA.
                                             1 night accommodation at Westin in Pittsburgh,
 Groves, Rick                12/11/2017                                                             $178.98
                                             PA.
                                             1 night accommodation at Westin in Pittsburgh,
 Collins, Robert             12/12/2017                                                             $178.96
                                             PA.
                                             1 night accommodation at Westin in Pittsburgh,
 Groves, Rick                12/12/2017                                                             $178.98
                                             PA.
                                             1 night accommodation at Westin in Pittsburgh,
 Groves, Rick                12/13/2017                                                             $178.98
                                             PA.
                                             1 night accommodation at Aloft in Philadelphia,
 Petrini, Bobby              12/14/2017                                                             $104.00
                                             PA.
                                             1 night accommodation at Latrobe in Springhill,
 Bondarenko, Ilya            12/18/2017                                                             $103.23
                                             UT.
                                             1 night accommodation at Latrobe in Springhill,
 Collins, Robert             12/18/2017                                                             $121.53
                                             UT.
                                             1 night accommodation at Latrobe in Springhill,
 Diehl, David                12/18/2017                                                             $120.99
                                             UT.
                                             1 night accommodation at Latrobe in Springhill,
 Groves, Rick                12/18/2017                                                             $120.99
                                             UT.
                                             1 night accommodation at Latrobe in Springhill,
 Kiefer, Brian               12/18/2017                                                             $120.99
                                             UT.
                                             1 night accommodation at Latrobe in Springhill,
 Petrini, Bobby              12/18/2017                                                             $130.00
                                             UT.



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Hotel
                                       1 night accommodation at Latrobe in Springhill,
 Bondarenko, Ilya      12/19/2017                                                             $103.23
                                       UT.
                                       1 night accommodation at Latrobe in Springhill,
 Collins, Robert       12/19/2017                                                             $121.53
                                       UT.
                                       1 night accommodation at Latrobe in Springhill,
 Diehl, David          12/19/2017                                                             $120.99
                                       UT.
                                       1 night accommodation at Latrobe in Springhill,
 Groves, Rick          12/19/2017                                                             $120.99
                                       UT.
                                       1 night accommodation at Latrobe in Springhill,
 Kiefer, Brian         12/19/2017                                                             $120.99
                                       UT.
                                       1 night accommodation at Latrobe in Springhill,
 Petrini, Bobby        12/19/2017                                                             $130.00
                                       UT.
                                       1 night accommodation at Latrobe in Springhill,
 Bondarenko, Ilya      12/20/2017                                                             $103.23
                                       UT.
                                       1 night accommodation at Latrobe in Springhill,
 Collins, Robert       12/20/2017                                                             $121.53
                                       UT.
                                       1 night accommodation at Latrobe in Springhill,
 Diehl, David          12/20/2017                                                             $120.99
                                       UT.
                                       1 night accommodation at Latrobe in Springhill,
 Groves, Rick          12/20/2017                                                             $120.99
                                       UT.
                                       1 night accommodation at Latrobe in Springhill,
 Kiefer, Brian         12/20/2017                                                             $120.99
                                       UT.
                                       1 night accommodation at Latrobe in Springhill,
 Petrini, Bobby        12/20/2017                                                             $130.00
                                       UT.
                                       1 night accommodation at Courtyard in
 Bondarenko, Ilya      01/02/2018                                                             $122.10
                                       Greensburg, PA.
                                       1 night accommodation at Couryard in
 Collins, Robert       01/02/2018                                                             $120.27
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Groves, Rick          01/02/2018                                                             $126.00
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Groves, Rick          01/02/2018                                                             $234.21
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Kiefer, Brian         01/02/2018                                                             $122.10
                                       Greensburg, PA.



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Hotel
                                       1 night accommodation at Courtyard in
 Librandi, Louis       01/02/2018                                                            $122.10
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Petrini, Bobby        01/02/2018                                                            $126.00
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Simha, Namita         01/02/2018                                                            $122.10
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Yochim, Nicki         01/02/2018                                                            $122.10
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Bondarenko, Ilya      01/03/2018                                                            $122.10
                                       Greensburg, PA.
                                       1 night accommodation at Couryard in
 Collins, Robert       01/03/2018                                                            $120.27
                                       Greensburg, PA.
                                       1 night accommodation at Fairfield Inn in New
 Diehl, David          01/03/2018                                                             $88.80
                                       Stanton, PA.
                                       1 night accommodation at Courtyard in
 Groves, Rick          01/03/2018                                                            $126.00
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Kiefer, Brian         01/03/2018                                                            $112.11
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Librandi, Louis       01/03/2018                                                            $122.10
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Petrini, Bobby        01/03/2018                                                            $126.00
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Simha, Namita         01/03/2018                                                            $122.10
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Yochim, Nicki         01/03/2018                                                            $122.10
                                       Greensburg, PA.
                                       1 night accommodation at Westin in Pittsburgh,
 Bondarenko, Ilya      01/04/2018                                                            $178.98
                                       PA.
                                       1 night accommodation at Couryard in
 Collins, Robert       01/04/2018                                                            $120.27
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Diehl, David          01/04/2018                                                            $112.11
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Groves, Rick          01/04/2018                                                            $126.00
                                       Greensburg, PA.



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Hotel
                                       1 night accommodation at Westin in Pittsburgh,
 Groves, Rick          01/04/2018                                                            $178.98
                                       PA.
                                       1 night accommodation at Courtyard in
 Kiefer, Brian         01/04/2018                                                            $112.11
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Librandi, Louis       01/04/2018                                                            $122.10
                                       Greensburg, PA.
                                       1 night accommodation at Courtyard in
 Petrini, Bobby        01/04/2018                                                            $126.00
                                       Greensburg, PA.
                                       1 night accommodation at Westin in Pittsburgh,
 Simha, Namita         01/04/2018                                                            $178.98
                                       PA.
                                       1 night accommodation at Westin in Pittsburgh,
 Yochim, Nicki         01/04/2018                                                            $178.98
                                       PA.
                                       1 nigh accommodation at Sheraton in Portsmouth,
 Bondarenko, Ilya      01/08/2018                                                            $128.62
                                       PA.
                                       1 night accommodation at Sheraton in
 Collins, Robert       01/08/2018                                                            $150.42
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Groves, Rick          01/08/2018                                                            $314.15
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Groves, Rick          01/08/2018                                                            $128.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Kiefer, Brian         01/08/2018                                                            $128.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Librandi, Louis       01/08/2018                                                            $128.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Petrini, Bobby        01/08/2018                                                            $159.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Simha, Namita         01/08/2018                                                            $128.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Yochim, Nicki         01/08/2018                                                            $128.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Zawahir, Tariq        01/08/2018                                                            $128.62
                                       Portsmouth, PA.
                                       1 nigh accommodation at Sheraton in Portsmouth,
 Bondarenko, Ilya      01/09/2018                                                            $128.62
                                       PA.



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Hotel
                                       1 night accommodation at Sheraton in
 Collins, Robert       01/09/2018                                                         $150.42
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Groves, Rick          01/09/2018                                                         $128.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Groves, Rick          01/09/2018                                                         $314.15
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Kiefer, Brian         01/09/2018                                                         $128.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Librandi, Louis       01/09/2018                                                         $128.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Petrini, Bobby        01/09/2018                                                         $159.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Simha, Namita         01/09/2018                                                         $128.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Yochim, Nicki         01/09/2018                                                         $128.62
                                       Portsmouth, PA.
                                       1 night accommodation at Sheraton in
 Zawahir, Tariq        01/09/2018                                                         $128.62
                                       Portsmouth, PA.
                                       1 night accommodation at Cranberry hotel in
 Bondarenko, Ilya      01/10/2018                                                         $122.10
                                       Pittsburgh, PA.
                                       1 night accommodation at Cranberry hotel in
 Collins, Robert       01/10/2018                                                         $141.11
                                       Pittsburgh, PA.
                                       1 night accommodation at Cranberry hotel in
 Groves, Rick          01/10/2018                                                         $143.19
                                       Pittsburgh, PA.
                                       1 night accommodation at Sheraton in
 Groves, Rick          01/10/2018                                                         $314.15
                                       Portsmouth, PA.
                                       1 night accommodation at Cranberry hotel in
 Kiefer, Brian         01/10/2018                                                         $143.19
                                       Pittsburgh, PA.
                                       1 night accommodation at Cranberry hotel in
 Librandi, Louis       01/10/2018                                                         $154.29
                                       Pittsburgh, PA.
                                       1 night accommodation at Courtyard in Cranberry
 Simha, Namita         01/10/2018                                                         $127.65
                                       Township, PA.
                                       1 night accommodation at Cranberry hotel in
 Yochim, Nicki         01/10/2018                                                         $122.10
                                       Pittsburgh, PA.



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Hotel
                                       1 night accommodation at Cranberry hotel in
 Bondarenko, Ilya      01/11/2018                                                              $122.10
                                       Pittsburgh, PA.
                                       1 night accommodation at Cranberry hotel in
 Collins, Robert       01/11/2018                                                              $141.11
                                       Pittsburgh, PA.
                                       1 night accommodation at Cranberry hotel in
 Groves, Rick          01/11/2018                                                              $143.19
                                       Pittsburgh, PA.
                                       1 night accommodation at Cranberry hotel in
 Kiefer, Brian         01/11/2018                                                              $143.19
                                       Pittsburgh, PA.
                                       1 night accommodation at Courtyard in Cranberry
 Simha, Namita         01/11/2018                                                              $127.65
                                       Township, PA.
                                       1 night accommodation at Cranberry hotel in
 Yochim, Nicki         01/11/2018                                                              $122.10
                                       Pittsburgh, PA.
                                       1 night accommodation at Intercontinental
 Hartigan, Martin      01/12/2018                                                              $300.00
                                       Dusseldorf in Germany.
                                       1 night accommodation at Courtyard in Cranberry
 Simha, Namita         01/12/2018                                                              $127.65
                                       Township, PA.
                                       1 night accommodation at Intercontinental
 Hartigan, Martin      01/13/2018                                                              $300.00
                                       Dusseldorf in Germany.
                                       1 night accommodation at Courtyard in Cranberry
 Simha, Namita         01/13/2018                                                              $127.65
                                       Township, PA.
 Bondarenko, Ilya      01/14/2018      1 night accommodation at Preston Marriott in UK.        $143.86
 Collins, Robert       01/14/2018      1 night accommodation at Preston Marriott in UK.        $119.64
                                       1 night accommodation at Intercontinental
 Hartigan, Martin      01/14/2018                                                              $300.00
                                       Dusseldorf in Germany.
                                       1 night accommodation at Marriott in Columbia,
 Kiefer, Brian         01/14/2018                                                              $128.90
                                       SC.
 Petrini, Bobby        01/14/2018      1 night accommodation at Marriott in Preston, PA.       $191.19
                                       1 night accommodation at Westin in Pittsburgh,
 Simha, Namita         01/14/2018                                                              $178.98
                                       PA.
 Yochim, Nicki         01/14/2018      1 night accommodation at Marriott in Preston, PA.       $101.13
 Bondarenko, Ilya      01/15/2018      1 night accommodation at Preston Marriott in UK.        $143.86
                                       Hotel room charges for Z. Chin in Pittsburgh, PA
 Chin, Ziyu            01/15/2018                                                              $852.39
                                       (Marriott - 4 nights)
 Collins, Robert       01/15/2018      1 night accommodation at Preston Marriott in UK.        $119.64

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Hotel
                                         1 night accommodation at Westin in Pittsburgh,
 Groves, Rick            01/15/2018                                                            $178.98
                                         PA.
                                         1 night accommodation at Intercontinental
 Hartigan, Martin        01/15/2018                                                            $300.00
                                         Dusseldorf in Germany.
                                         1 night accommodation at Marriott in Columbia,
 Kiefer, Brian           01/15/2018                                                            $128.90
                                         SC.
 Petrini, Bobby          01/15/2018      1 night accommodation at Marriott in Preston, PA.     $191.19
                                         1 night accommodation at Westin in Pittsburgh,
 Simha, Namita           01/15/2018                                                            $178.98
                                         PA.
 Yochim, Nicki           01/15/2018      1 night accommodation at Marriott in Preston, PA.     $138.16
 Bondarenko, Ilya        01/16/2018      1 night accommodation at Preston Marriott in UK.      $143.86
 Collins, Robert         01/16/2018      1 night accommodation at Preston Marriott in UK.      $119.64
                                         1 night accommodation at Westin in Pittsburgh,
 Groves, Rick            01/16/2018                                                            $178.98
                                         PA.
                                         1 night accommodation at Cranberry hotel in
 Kao, Suzanne            01/16/2018                                                            $154.29
                                         Pittsburgh, PA.
                                         1 night accommodation at Marriott in Columbia,
 Kiefer, Brian           01/16/2018                                                            $128.90
                                         SC.
                                         1 night accommodation at Courtyard in Cranberry
 McKibben, Caitlin       01/16/2018                                                            $127.65
                                         Towsnhip, NC.
                                         1 night accommodation at Cranberry hotel in
 McKibben, Caitlin       01/16/2018                                                            $148.74
                                         Pittsburgh, PA.
 Petrini, Bobby          01/16/2018      1 night accommodation at Marriott in Preston, PA.     $191.19
                                         1 night accommodation at Westin in Pittsburgh,
 Simha, Namita           01/16/2018                                                            $178.98
                                         PA.
 Yochim, Nicki           01/16/2018      1 night accommodation at Marriott in Preston, PA.     $156.68
                                         1 night accommodation at Cranberry hotel in
 Zanette, Christina      01/16/2018                                                            $300.00
                                         Pittsburgh, PA.
 Bondarenko, Ilya        01/17/2018      1 night accommodation at Preston Marriott in UK.      $143.86
 Collins, Robert         01/17/2018      1 night accommodation at Preston Marriott in UK.      $119.64
                                         1 night accommodation at Westin in Pittsburgh,
 Groves, Rick            01/17/2018                                                            $178.98
                                         PA.
                                         1 night accommodation at Marriott in Columbia,
 Kiefer, Brian           01/17/2018                                                            $128.90
                                         SC.

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Hotel
                                        1 night accommodation at Cranberry hotel in
 McKibben, Caitlin      01/17/2018                                                            $148.74
                                        Pittsburgh, PA.
 Petrini, Bobby         01/17/2018      1 night accommodation at Marriott in Preston, PA.     $191.19
                                        1 night accommodation at Westin in Pittsburgh,
 Simha, Namita          01/17/2018                                                            $178.98
                                        PA.
 Yochim, Nicki          01/17/2018      1 night accommodation at Marriott in Preston, PA.     $143.86
                                        1 night accommodation at Victoria & Albert in
 Bondarenko, Ilya       01/18/2018                                                            $141.53
                                        Manchester.
                                        1 night accommodation at Victoria & Albert in
 Collins, Robert        01/18/2018                                                            $165.83
                                        Manchester.
                                        1 night accommodation at Cranberry hotel in
 Jones, Louverture      01/18/2018                                                            $154.29
                                        Pittsburgh, PA.
                                        1 night accommodation at Victoria & Albert in
 Kiefer, Brian          01/18/2018                                                            $141.53
                                        Manchester.
                                        1 night accommodation at Cranberry hotel in
 McKibben, Caitlin      01/18/2018                                                            $148.74
                                        Pittsburgh, PA.
                                        1 night accommodation at Victoria & Albert in
 Petrini, Bobby         01/18/2018                                                            $141.53
                                        Manchester.
                                        1 night accommodation at Westin in Pittsburgh,
 Simha, Namita          01/18/2018                                                            $178.98
                                        PA.
                                        1 night accommodation at Sheraton Park London
 Yochim, Nicki          01/18/2018                                                            $229.70
                                        Hotel in London.
                                        Hotel room charges for Z. Chin in Shanghai, China
 Chin, Ziyu             01/20/2018                                                           $1,051.12
                                        (Renaissance Shaghai Pudong - 6 nights)
                                        Hotel room charges for E. Lakova in Brussels,
 Lakova, Eva            01/21/2018                                                            $555.60
                                        Belgium (6 nights)
                                        1 night accommodation at Cranberry hotel in
 Berkowitz, Craig       01/22/2018                                                            $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Brennan, Ted           01/22/2018                                                            $137.64
                                        Pittsburgh, PA.
                                        1 night accommodation at Sheraton in Columbia,
 Collins, Robert        01/22/2018                                                            $157.44
                                        SC.
                                        1 night accommodation at Marriott in Columbia,
 Groves, Rick           01/22/2018                                                            $152.04
                                        SC.


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Hotel
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             01/22/2018                                                            $157.94
                                         Pittsburgh, PA.
                                         1 night accommodation at Marriott in Columbia,
 Hartigan, Martin        01/22/2018                                                            $322.31
                                         SC.
                                         1 night accommodation at Cranberry hotel in
 Horton, Terry           01/22/2018                                                            $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Sheraton in Columbia,
 Kiefer, Brian           01/22/2018                                                            $155.68
                                         SC.
                                         1 night accommodation at Marriott in Columbia,
 Librandi, Louis         01/22/2018                                                            $139.08
                                         SC.
                                         1 night accommodation at Sheraton in Columbia,
 Petrini, Bobby          01/22/2018                                                            $156.76
                                         SC.
                                         1 night accommodation at Marriott in Columbia,
 Simha, Namita           01/22/2018                                                            $139.08
                                         SC.
                                         1 night accommodation at Sheraton in Columbia,
 Yochim, Nicki           01/22/2018                                                            $155.68
                                         SC.
                                         1 night accommodation at Renaissance in
 Zanette, Christina      01/22/2018                                                            $157.74
                                         Shanghai, China.
                                         Hotel room charges for R. Zhao in Shanghai,
 Zhao, Raymond           01/22/2018                                                            $696.66
                                         China (Renaissance Shaghai Pudong - 4 nights)
                                         1 night accommodation at Cranberry hotel in
 Berkowitz, Craig        01/23/2018                                                            $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Brennan, Ted            01/23/2018                                                            $137.64
                                         Pittsburgh, PA.
                                         1 night accommodation at Sheraton in Columbia,
 Collins, Robert         01/23/2018                                                            $157.44
                                         SC.
                                         1 night accommodation at Marriott in Columbia,
 Groves, Rick            01/23/2018                                                            $152.04
                                         SC.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             01/23/2018                                                            $157.94
                                         Pittsburgh, PA.
                                         1 night accommodation at Marriott in Columbia,
 Hartigan, Martin        01/23/2018                                                            $322.31
                                         SC.
                                         1 night accommodation at Cranberry hotel in
 Horton, Terry           01/23/2018                                                            $103.23
                                         Pittsburgh, PA.



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Hotel
                                         1 night accommodation at Sheraton in Columbia,
 Kiefer, Brian           01/23/2018                                                            $155.68
                                         SC.
                                         1 night accommodation at Sheraton in Columbia,
 Petrini, Bobby          01/23/2018                                                            $156.76
                                         SC.
                                         1 night accommodation at Marriott in Columbia,
 Simha, Namita           01/23/2018                                                            $139.08
                                         SC.
                                         1 night accommodation at Sheraton in Columbia,
 Yochim, Nicki           01/23/2018                                                            $155.68
                                         SC.
                                         1 night accommodation at Renaissance in
 Zanette, Christina      01/23/2018                                                            $157.74
                                         Shanghai, China.
                                         1 night accommodation at Sheraton in Columbia,
 Collins, Robert         01/24/2018                                                            $157.44
                                         SC.
                                         1 night accommodation at Marriott in Columbia,
 Groves, Rick            01/24/2018                                                            $152.04
                                         SC.
                                         1 night accommodation at Cranberry hotel in
 Horton, Terry           01/24/2018                                                            $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Sheraton in Columbia,
 Kiefer, Brian           01/24/2018                                                            $155.68
                                         SC.
                                         1 night accommodation at Sheraton in Columbia,
 Petrini, Bobby          01/24/2018                                                            $156.76
                                         SC.
                                         1 night accommodation at Marriott in Columbia,
 Simha, Namita           01/24/2018                                                            $139.08
                                         SC.
                                         1 night accommodation at Sheraton in Columbia,
 Yochim, Nicki           01/24/2018                                                            $155.68
                                         SC.
                                         1 night accommodation at Renaissance in
 Zanette, Christina      01/24/2018                                                            $157.74
                                         Shanghai, China.
                                         1 night accommodation at Renaissance in
 Zanette, Christina      01/25/2018                                                            $157.74
                                         Shanghai, China.
                                         1 night accommodation at Renaissance in
 Zanette, Christina      01/26/2018                                                            $109.45
                                         Shanghai, China.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             01/28/2018                                                            $183.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Mendon, Neha            01/28/2018                                                            $137.64
                                         Pittsburgh, PA.



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Category                Date            Description                                        Amount



Hotel
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          01/28/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Berkowitz, Craig       01/29/2018                                                         $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Bondarenko, Ilya       01/29/2018                                                         $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Brennan, Ted           01/29/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Groves, Rick           01/29/2018                                                         $158.85
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Gupati, Raj            01/29/2018                                                         $183.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Horton, Terry          01/29/2018                                                         $103.23
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Kiefer, Brian          01/29/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Lafontant, Anthony     01/29/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Librandi, Louis        01/29/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Marashi, Seema         01/29/2018                                                         $118.89
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 McKibben, Caitlin      01/29/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           01/29/2018                                                         $137.64
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Willis, Rob            01/29/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Yochim, Nicki          01/29/2018                                                         $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          01/29/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Berkowitz, Craig       01/30/2018                                                         $122.10
                                        Pittsburgh, PA.



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Category                Date            Description                                        Amount



Hotel
                                        1 night accommodation at Cranberry hotel in
 Bondarenko, Ilya       01/30/2018                                                         $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Brennan, Ted           01/30/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Collins, Robert        01/30/2018                                                         $137.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Groves, Rick           01/30/2018                                                         $158.85
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Gupati, Raj            01/30/2018                                                         $183.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Hartigan, Martin       01/30/2018                                                         $182.17
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Horton, Terry          01/30/2018                                                         $103.23
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Kiefer, Brian          01/30/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Lafontant, Anthony     01/30/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Librandi, Louis        01/30/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Marashi, Seema         01/30/2018                                                         $118.89
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 McKibben, Caitlin      01/30/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           01/30/2018                                                         $137.64
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Willis, Rob            01/30/2018                                                         $143.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Yochim, Nicki          01/30/2018                                                         $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          01/30/2018                                                         $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Berkowitz, Craig       01/31/2018                                                         $122.10
                                        Pittsburgh, PA.



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Category                Date            Description                                           Amount



Hotel
                                        1 night accommodation at Cranberry hotel in
 Bondarenko, Ilya       01/31/2018                                                            $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Collins, Robert        01/31/2018                                                            $137.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Groves, Rick           01/31/2018                                                            $158.85
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Gupati, Raj            01/31/2018                                                            $183.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Horton, Terry          01/31/2018                                                            $103.23
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Kiefer, Brian          01/31/2018                                                            $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Lafontant, Anthony     01/31/2018                                                            $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Marashi, Seema         01/31/2018                                                            $118.89
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 McKibben, Caitlin      01/31/2018                                                            $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           01/31/2018                                                            $137.64
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Willis, Rob            01/31/2018                                                            $143.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Yochim, Nicki          01/31/2018                                                            $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          01/31/2018                                                            $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Collins, Robert        02/01/2018                                                            $137.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Philadelphia hotel in
 Bondarenko, Ilya       02/04/2018                                                            $208.29
                                        Philadelphia, PA.
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           02/04/2018                                                            $103.23
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          02/04/2018                                                            $132.09
                                        Pittsburgh, PA.
 Berckman, Lindsey      02/05/2018      1 night accommodation at Hilton in Ogen, UT.          $169.37

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Category                Date            Description                                            Amount



Hotel
                                        1 night accommodation at Cranberry hotel in
 Berkowitz, Craig       02/05/2018                                                             $122.10
                                        Pittsburgh, PA.
 Bondarenko, Ilya       02/05/2018      1 night accommodation at Courtyard in Ogen, UT.        $133.98
                                        1 night accommodation at Coraopoli hotel in
 Brennan, Ted           02/05/2018                                                             $204.06
                                        Pittsburgh, PA.
 Collins, Robert        02/05/2018      1 night accommodation at Courtyard in Ogen, UT.        $133.00
 Collins, Robert        02/05/2018      1 night accommodation at Courtyard in Ogen, UT.        $133.18
 Fleming, Sean          02/05/2018      1 night accommodation at Courtyard in Ogen, UT.        $234.81
                                        1 night accommodation at Elite Stadshotellet in
 Groves, Rick           02/05/2018                                                             $193.81
                                        Sweden.
                                        1 night accommodation at Cranberry hotel in
 Gupati, Raj            02/05/2018                                                             $179.43
                                        Pittsburgh, PA.
 Hartigan, Martin       02/05/2018      1 night accommodation at Courtyard in Ogen, UT.        $145.11
                                        Hotel room charges for T. Hickey in Stockholm,
 Hickey, Thomas         02/05/2018                                                             $245.73
                                        Sweden (Hotel Freyes - 4 nights)
                                        1 night accommodation at Cranberry hotel in
 Horton, Terry          02/05/2018                                                             $103.23
                                        Pittsburgh, PA.
                                        1 night accommodation at Elite Stadshotellet in
 Kiefer, Brian          02/05/2018                                                             $180.80
                                        Sweden.
                                        1 night accommodation at Cranberry hotel in
 Lafontant, Anthony     02/05/2018                                                             $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Marashi, Seema         02/05/2018                                                             $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Elite Stadshotellet in
 McKibben, Caitlin      02/05/2018                                                             $180.80
                                        Sweden.
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           02/05/2018                                                             $103.23
                                        Pittsburgh, PA.
 Petrini, Bobby         02/05/2018      1 night accommodation at Courtyard in Ogen, UT.        $138.98
 Willis, Rob            02/05/2018      1 night accommodation at Courtyard in Ogen, UT.        $212.34
                                        1 night accommodation at Vesteras Hotel in
 Yochim, Nicki          02/05/2018                                                             $162.55
                                        Sweden.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          02/05/2018                                                             $132.09
                                        Pittsburgh, PA.


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Category                 Date            Description                                            Amount



Hotel
                                         1 night accommodation at Elite Stadshotellet in
 Zanette, Christina      02/05/2018                                                             $180.45
                                         Sweden.
                                         1 night accommodation at Elite Stadshotellet in
 Zanette, Christina      02/05/2018                                                             $208.11
                                         Sweden.
 Berckman, Lindsey       02/06/2018      1 night accommodation at Hilton in Ogen, UT.           $169.37
                                         1 night accommodation at Cranberry hotel in
 Berkowitz, Craig        02/06/2018                                                             $122.10
                                         Pittsburgh, PA.
 Bondarenko, Ilya        02/06/2018      1 night accommodation at Courtyard in Ogen, UT.        $133.98
 Collins, Robert         02/06/2018      1 night accommodation at Courtyard in Ogen, UT.        $133.00
 Collins, Robert         02/06/2018      1 night accommodation at Courtyard in Ogen, UT.        $133.18
 Fleming, Sean           02/06/2018      1 night accommodation at Courtyard in Ogen, UT.        $274.13
                                         1 night accommodation at Bester Western in
 Groves, Rick            02/06/2018                                                             $119.48
                                         Sweden.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             02/06/2018                                                             $179.43
                                         Pittsburgh, PA.
 Hartigan, Martin        02/06/2018      1 night accommodation at Courtyard in Ogen, UT.        $145.10
                                         1 night accommodation at Cranberry hotel in
 Horton, Terry           02/06/2018                                                             $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Elite Stadshotellet in
 Kiefer, Brian           02/06/2018                                                             $193.80
                                         Sweden.
                                         1 night accommodation at Cranberry hotel in
 Lafontant, Anthony      02/06/2018                                                             $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Elite Stadshotellet in
 Librandi, Louis         02/06/2018                                                             $170.84
                                         Sweden.
                                         1 night accommodation at Elite Stadshotellet in
 McKibben, Caitlin       02/06/2018                                                             $193.80
                                         Sweden.
                                         1 night accommodation at Cranberry hotel in
 Mendon, Neha            02/06/2018                                                             $103.23
                                         Pittsburgh, PA.
 Petrini, Bobby          02/06/2018      1 night accommodation at Courtyard in Ogen, UT.        $230.58
 Willis, Rob             02/06/2018      1 night accommodation at Courtyard in Ogen, UT.        $212.34
                                         1 night accommodation at Vesteras Hotel in
 Yochim, Nicki           02/06/2018                                                             $162.55
                                         Sweden.
                                         1 night accommodation at Cranberry hotel in
 Zamy, Vanessa           02/06/2018                                                             $143.19
                                         Pittsburgh, PA.

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Hotel
                                         1 night accommodation at Elite Stadshotellet in
 Zanette, Christina      02/06/2018                                                             $208.11
                                         Sweden.
                                         1 night accommodation at Sheraton in Salt Lake
 Berckman, Lindsey       02/07/2018                                                             $239.96
                                         City, UT.
                                         1 night accommodation at Cranberry hotel in
 Berkowitz, Craig        02/07/2018                                                             $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Sheraton in Salt Lake
 Collins, Robert         02/07/2018                                                             $139.96
                                         City, UT.
                                         1 night accommodation at Sheraton in Salt Lake
 Fleming, Sean           02/07/2018                                                             $239.96
                                         City, UT.
                                         1 night accommodation at Elite Stadshotellet in
 Groves, Rick            02/07/2018                                                             $291.88
                                         Sweden.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             02/07/2018                                                             $179.43
                                         Pittsburgh, PA.
                                         1 night accommodation at Sheraton in Salt Lake
 Hartigan, Martin        02/07/2018                                                             $239.96
                                         City, UT.
                                         1 night accommodation at Elite Stadshotellet in
 Kiefer, Brian           02/07/2018                                                             $193.80
                                         Sweden.
                                         1 night accommodation at Cranberry hotel in
 Lafontant, Anthony      02/07/2018                                                             $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Elite Stadshotellet in
 Librandi, Louis         02/07/2018                                                             $170.84
                                         Sweden.
                                         1 night accommodation at Elite Stadshotellet in
 McKibben, Caitlin       02/07/2018                                                             $193.80
                                         Sweden.
                                         1 night accommodation at Cranberry hotel in
 Mendon, Neha            02/07/2018                                                             $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Sheraton in Salt Lake
 Petrini, Bobby          02/07/2018                                                             $239.96
                                         City, UT.
                                         1 night accommodation at Sheraton in Salt Lake
 Willis, Rob             02/07/2018                                                             $239.96
                                         City, UT.
                                         1 night accommodation in Best Western in Koping,
 Yochim, Nicki           02/07/2018                                                             $118.16
                                         Sweden.
                                         1 night accommodation at Cranberry hotel in
 Zamy, Vanessa           02/07/2018                                                             $143.19
                                         Pittsburgh, PA.



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Category                 Date            Description                                            Amount



Hotel
                                         1 night accommodation at Elite Stadshotellet in
 Zanette, Christina      02/07/2018                                                             $152.18
                                         Sweden.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             02/08/2018                                                             $179.43
                                         Pittsburgh, PA.
 Kiefer, Brian           02/08/2018      1 night accommodation at Sheraton in Stockholm         $285.55
 Librandi, Louis         02/08/2018      1 night accommodation at Sheraton in Stockholm         $263.99
                                         1 night accommodation at Club Quarters in St.
 McKibben, Caitlin       02/08/2018                                                             $259.41
                                         Paul, London.
 Yochim, Nicki           02/08/2018      1 night accommodation at Sheraton in Stockholm.        $264.02
 Zanette, Christina      02/08/2018      1 night accommodation at Marriott in London.           $300.00
                                         1 night accommodation at Club Quarters in St.
 McKibben, Caitlin       02/09/2018                                                             $259.41
                                         Paul, London.
                                         1 night accommodation at Cranberry hotel in
 Mendon, Neha            02/11/2018                                                             $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Zamy, Vanessa           02/11/2018                                                             $132.09
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Berckman, Lindsey       02/12/2018                                                             $157.38
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Berkowitz, Craig        02/12/2018                                                             $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Bondarenko, Ilya        02/12/2018                                                             $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Collins, Robert         02/12/2018                                                             $300.00
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Fleming, Sean           02/12/2018                                                             $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Groves, Rick            02/12/2018                                                             $171.57
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             02/12/2018                                                             $214.66
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Hartigan, Martin        02/12/2018                                                             $207.36
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Horton, Terry           02/12/2018                                                             $103.23
                                         Pittsburgh, PA.


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Category                 Date            Description                                        Amount



Hotel
                                         1 night accommodation at Cranberry hotel in
 Kiefer, Brian           02/12/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Lafontant, Anthony      02/12/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Librandi, Louis         02/12/2018                                                         $154.29
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Marashi, Seema          02/12/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 McKibben, Caitlin       02/12/2018                                                         $286.38
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Mendon, Neha            02/12/2018                                                         $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Yochim, Nicki           02/12/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Zamy, Vanessa           02/12/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Zanette, Christina      02/12/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Berckman, Lindsey       02/13/2018                                                         $157.38
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Berkowitz, Craig        02/13/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Bondarenko, Ilya        02/13/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Fleming, Sean           02/13/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Groves, Rick            02/13/2018                                                         $129.00
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             02/13/2018                                                         $183.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Hartigan, Martin        02/13/2018                                                         $207.36
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Horton, Terry           02/13/2018                                                         $103.23
                                         Pittsburgh, PA.



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Category                 Date            Description                                        Amount



Hotel
                                         1 night accommodation at Cranberry hotel in
 Kiefer, Brian           02/13/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Lafontant, Anthony      02/13/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Librandi, Louis         02/13/2018                                                         $154.29
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Marashi, Seema          02/13/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 McKibben, Caitlin       02/13/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Mendon, Neha            02/13/2018                                                         $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Willis, Rob             02/13/2018                                                         $154.29
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Yochim, Nicki           02/13/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Zamy, Vanessa           02/13/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Zanette, Christina      02/13/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Berkowitz, Craig        02/14/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Bondarenko, Ilya        02/14/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Fleming, Sean           02/14/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Groves, Rick            02/14/2018                                                         $129.00
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             02/14/2018                                                         $183.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Hartigan, Martin        02/14/2018                                                         $207.36
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Horton, Terry           02/14/2018                                                         $103.23
                                         Pittsburgh, PA.



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Category                 Date            Description                                        Amount



Hotel
                                         1 night accommodation at Cranberry hotel in
 Kiefer, Brian           02/14/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Lafontant, Anthony      02/14/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Librandi, Louis         02/14/2018                                                         $154.29
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Marashi, Seema          02/14/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 McKibben, Caitlin       02/14/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Mendon, Neha            02/14/2018                                                         $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Willis, Rob             02/14/2018                                                         $154.29
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Yochim, Nicki           02/14/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Zamy, Vanessa           02/14/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Zanette, Christina      02/14/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             02/15/2018                                                         $183.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Hartigan, Martin        02/15/2018                                                         $207.39
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Librandi, Louis         02/15/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Mendon, Neha            02/15/2018                                                         $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Willis, Rob             02/15/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Yochim, Nicki           02/15/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Zanette, Christina      02/15/2018                                                         $143.19
                                         Pittsburgh, PA.



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Category                Date            Description                                           Amount



Hotel
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           02/16/2018                                                            $103.23
                                        Pittsburgh, PA.
                                        1 night accommodation at Residence in
 Mendon, Neha           02/17/2018                                                            $120.99
                                        Cranberrry Township, SC.
                                        Hotel room charges for T. Hickey in Brussels,
 Hickey, Thomas         02/18/2018                                                            $935.54
                                        Belgium (Hotel Vasteras - 4 nights)
 McKibben, Caitlin      02/18/2018      1 night accommodation at Marriott in Brussels.        $180.93
                                        1 night accommodation at Residence in
 Mendon, Neha           02/18/2018                                                            $120.99
                                        Cranberrry Township, SC.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          02/18/2018                                                            $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Berkowitz, Craig       02/19/2018                                                            $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Brennan, Ted           02/19/2018                                                            $143.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Gupati, Raj            02/19/2018                                                            $157.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Horton, Terry          02/19/2018                                                            $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Lafontant, Anthony     02/19/2018                                                            $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Marashi, Seema         02/19/2018                                                            $122.10
                                        Pittsburgh, PA.
 McKibben, Caitlin      02/19/2018      1 night accommodation at Marriott in Brussels.        $225.14
                                        1 night accommodation at Residence in
 Mendon, Neha           02/19/2018                                                            $120.99
                                        Cranberrry Township, SC.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          02/19/2018                                                            $143.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Berkowitz, Craig       02/20/2018                                                            $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Gupati, Raj            02/20/2018                                                            $157.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Horton, Terry          02/20/2018                                                            $122.10
                                        Pittsburgh, PA.


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Hotel
                                        1 night accommodation at Cranberry hotel in
 Lafontant, Anthony     02/20/2018                                                             $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Marashi, Seema         02/20/2018                                                             $122.10
                                        Pittsburgh, PA.
 McKibben, Caitlin      02/20/2018      1 night accommodation at Marriott in Brussels.         $225.14
                                        1 night accommodation at Residence in
 Mendon, Neha           02/20/2018                                                             $120.99
                                        Cranberrry Township, SC.
                                        1 night accommodation at Sheraton in
 Petrini, Bobby         02/20/2018                                                             $173.39
                                        Philadelphia, PA.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          02/20/2018                                                             $143.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Berkowitz, Craig       02/21/2018                                                             $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Gupati, Raj            02/21/2018                                                             $157.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Horton, Terry          02/21/2018                                                             $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Lafontant, Anthony     02/21/2018                                                             $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Marashi, Seema         02/21/2018                                                             $122.10
                                        Pittsburgh, PA.
 McKibben, Caitlin      02/21/2018      1 night accommodation at Marriott in Brussels.         $225.14
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           02/21/2018                                                             $166.38
                                        Pittsburgh, PA.
                                        1 night accommodation at Hyatt in Philadelphia,
 Petrini, Bobby         02/21/2018                                                             $208.09
                                        PA.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          02/21/2018                                                             $143.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Gupati, Raj            02/22/2018                                                             $157.19
                                        Pittsburgh, PA.
 McKibben, Caitlin      02/22/2018      1 night accommodation at Marriott in Brussels.         $206.19
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           02/22/2018                                                             $166.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           02/23/2018                                                             $166.19
                                        Pittsburgh, PA.
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Category                Date            Description                                          Amount



Hotel
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           02/24/2018                                                           $166.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           02/25/2018                                                           $166.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          02/25/2018                                                           $132.09
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Berkowitz, Craig       02/26/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Brennan, Ted           02/26/2018                                                           $143.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Horton, Terry          02/26/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Lafontant, Anthony     02/26/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Librandi, Louis        02/26/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Marashi, Seema         02/26/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Courtyard in McLean,
 McKibben, Caitlin      02/26/2018                                                           $245.28
                                        VA.
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           02/26/2018                                                           $166.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          02/26/2018                                                           $143.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Berkowitz, Craig       02/27/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Gupati, Raj            02/27/2018                                                           $157.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Horton, Terry          02/27/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Lafontant, Anthony     02/27/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Librandi, Louis        02/27/2018                                                           $122.10
                                        Pittsburgh, PA.



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Category                Date            Description                                          Amount



Hotel
                                        1 night accommodation at Cranberry hotel in
 Marashi, Seema         02/27/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Courtyard in McLean,
 McKibben, Caitlin      02/27/2018                                                           $253.62
                                        VA.
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           02/27/2018                                                           $166.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          02/27/2018                                                           $143.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Berkowitz, Craig       02/28/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Courtyard in Cranberry
 Bondarenko, Ilya       02/28/2018                                                           $109.89
                                        Township, PA.
                                        1 night accommodation at Cranberry hotel in
 Collins, Robert        02/28/2018                                                           $143.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Gupati, Raj            02/28/2018                                                           $157.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Horton, Terry          02/28/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Lafontant, Anthony     02/28/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Librandi, Louis        02/28/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Marashi, Seema         02/28/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Courtyard in McLean,
 McKibben, Caitlin      02/28/2018                                                           $253.62
                                        VA.
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           02/28/2018                                                           $166.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Zamy, Vanessa          02/28/2018                                                           $143.19
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 McKibben, Caitlin      03/01/2018                                                           $122.10
                                        Pittsburgh, PA.
                                        1 night accommodation at Cranberry hotel in
 Mendon, Neha           03/01/2018                                                           $166.19
                                        Pittsburgh, PA.



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Category                 Date            Description                                        Amount



Hotel
                                         1 night accommodation at Cranberry hotel in
 Zanette, Christina      03/01/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Residence in
 Mendon, Neha            03/02/2018                                                         $132.09
                                         Cranberrry Township, SC.
                                         1 night accommodation at Residence in
 Mendon, Neha            03/03/2018                                                         $132.09
                                         Cranberrry Township, SC.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             03/04/2018                                                         $178.73
                                         Pittsburgh, PA.
                                         1 night accommodation at Residence in
 Mendon, Neha            03/04/2018                                                         $132.09
                                         Cranberrry Township, SC.
                                         1 night accommodation at Cranberry hotel in
 Berkowitz, Craig        03/05/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Courtyard in Cranberry
 Gupati, Raj             03/05/2018                                                         $149.85
                                         Township, PA.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             03/05/2018                                                         $178.73
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Horton, Terry           03/05/2018                                                         $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Lafontant, Anthony      03/05/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Marashi, Seema          03/05/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Residence in
 Mendon, Neha            03/05/2018                                                         $132.09
                                         Cranberrry Township, SC.
                                         1 night accommodation at Cranberry hotel in
 Zamy, Vanessa           03/05/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Berkowitz, Craig        03/06/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             03/06/2018                                                         $178.73
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Horton, Terry           03/06/2018                                                         $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Lafontant, Anthony      03/06/2018                                                         $143.19
                                         Pittsburgh, PA.



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Category                 Date            Description                                         Amount



Hotel
                                         1 night accommodation at Cranberry hotel in
 Marashi, Seema          03/06/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Residence in
 Mendon, Neha            03/06/2018                                                         $132.09
                                         Cranberrry Township, SC.
                                         1 night accommodation at Cranberry hotel in
 Zamy, Vanessa           03/06/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Berkowitz, Craig        03/07/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Gupati, Raj             03/07/2018                                                         $178.73
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Horton, Terry           03/07/2018                                                         $103.23
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Lafontant, Anthony      03/07/2018                                                         $143.19
                                         Pittsburgh, PA.
                                         1 night accommodation at Cranberry hotel in
 Marashi, Seema          03/07/2018                                                         $122.10
                                         Pittsburgh, PA.
                                         1 night accommodation at Residence in
 Mendon, Neha            03/07/2018                                                         $132.09
                                         Cranberrry Township, SC.
                                         1 night accommodation at Cranberry hotel in
 Zamy, Vanessa           03/07/2018                                                         $143.19
                                         Pittsburgh, PA.
 Groves, Rick            03/08/2018      1 night accommodation at Sheraton in Stockholm     $263.99
Subtotal for Hotel:                                                                       $72,383.88


Meals
 Petrini, Bobby          11/27/2017      Lunch for B. Petrini                                  $9.17
 Petrini, Bobby          11/27/2017      Dinner for B. Petrini                               $10.00
 Petrini, Bobby          11/29/2017      Lunch for B. Petrini                                  $9.69
 Petrini, Bobby          11/29/2017      Dinner for B. Petrini                               $51.34
 Bondarenko, Ilya        11/30/2017      Breakfast for I. Bondarenko                         $11.22
 Zanette, Christina      11/30/2017      Lunch for C. Zanette                                $10.57
 Bondarenko, Ilya        12/01/2017      Lunch for I. Bondarenko                             $25.00
 Petrini, Bobby          12/06/2017      Lunch for B. Petrini                                  $9.40

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Meals
 Petrini, Bobby        12/07/2017      Breakfast for B. Petrini                       $7.84
 Petrini, Bobby        12/07/2017      Lunch for B. Petrini                          $11.09
 Petrini, Bobby        12/08/2017      Breakfast for B. Petrini                      $12.61
 Petrini, Bobby        12/08/2017      Breakfast for B. Petrini                      $15.00
 Petrini, Bobby        12/08/2017      Lunch for B. Petrini                          $21.04
 Petrini, Bobby        12/08/2017      Dinner for B. Petrini                         $18.14
 Bondarenko, Ilya      12/11/2017      Dinner for I. Bondarenko                      $50.00
 Bondarenko, Ilya      12/11/2017      Breakfast for I. Bondarenko                   $15.91
 Groves, Rick          12/11/2017      Breakfast for R. Groves                       $15.85
 Petrini, Bobby        12/11/2017      Lunch for B. Petrini                          $11.87
 Collins, Robert       12/12/2017      Lunch for R. Collins                          $25.00
 Groves, Rick          12/12/2017      Dinner for R. Groves                          $30.63
 Groves, Rick          12/12/2017      Dinner for R. Groves                          $38.63
 Petrini, Bobby        12/12/2017      Dinner for B. Petrini                         $17.06
 Collins, Robert       12/13/2017      Lunch for R. Collins                          $21.30
 Kiefer, Brian         12/14/2017      Lunch for B. Kiefer                           $25.38
 Petrini, Bobby        12/14/2017      Dinner for B. Petrini                         $50.00
 Petrini, Bobby        12/14/2017      Dinner for B. Petrini                         $50.00
 Kiefer, Brian         12/15/2017      Breakfast for B. Kiefer                       $12.00
 Petrini, Bobby        12/15/2017      Breakfast for B. Petrini                      $10.77
 Petrini, Bobby        12/15/2017      Lunch for B. Petrini                           $9.17
 Petrini, Bobby        12/15/2017      Lunch for B. Petrini                          $11.86
 Bondarenko, Ilya      12/18/2017      Dinner for I. Bondarenko                      $27.00
 Bondarenko, Ilya      12/18/2017      Breakfast for I. Bondarenko                   $15.00
 Groves, Rick          12/18/2017      Dinner for R. Groves                          $50.00
 Groves, Rick          12/18/2017      Lunch for R. Groves                           $22.08
 Petrini, Bobby        12/18/2017      Breakfast for B. Petrini                      $48.70
 Petrini, Bobby        12/18/2017      Dinner for B. Petrini                         $15.19
 Petrini, Bobby        12/19/2017      Dinner for B. Petrini                         $50.00
 Groves, Rick          12/20/2017      Dinner for R. Groves                          $50.00
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Meals
 Kiefer, Brian           12/20/2017      Dinner for B. Kiefer                          $11.00
 Diehl, David            12/21/2017      Dinner for D. Diehl                            $6.36
 Diehl, David            12/21/2017      Lunch for D. Diehl                             $8.83
 Groves, Rick            12/22/2017      Dinner for R. Groves                          $25.51
 Zanette, Christina      12/23/2017      Lunch for C. Zanette                           $6.00
 Petrini, Bobby          12/30/2017      Breakfast for B. Petrini                      $15.00
 Das Chowdhury,
                         01/01/2018      Dinner for P. Chowdhury                       $50.00
Prajata
 Bondarenko, Ilya        01/02/2018      Lunch for I. Bondarenko                       $14.37
 Collins, Robert         01/02/2018      Breakfast for R. Collins                      $15.00
 Groves, Rick            01/02/2018      Lunch for R. Groves                            $7.27
 Groves, Rick            01/02/2018      Dinner for R. Groves                          $50.00
 Kiefer, Brian           01/02/2018      Dinner for B. Kiefer                          $16.70
 Petrini, Bobby          01/02/2018      Lunch for B. Petrini                          $20.95
 Petrini, Bobby          01/02/2018      Breakfast for B. Petrini                      $15.00
 Simha, Namita           01/02/2018      Breakfast for N. Simha                         $6.55
 Simha, Namita           01/02/2018      Breakfast for N. Simha                        $15.00
 Yochim, Nicki           01/02/2018      Breakfast for N. Yochim                       $13.98
 Yochim, Nicki           01/02/2018      Lunch for N. Yochim                            $9.44
 Collins, Robert         01/03/2018      Dinner for R. Collins                         $27.31
 Groves, Rick            01/03/2018      Lunch for R. Groves                           $14.53
 Kiefer, Brian           01/03/2018      Lunch for B. Kiefer                           $14.93
 Librandi, Louis         01/03/2018      Breakfast for L. Librandi                     $13.32
 Petrini, Bobby          01/03/2018      Dinner for B. Petrini                         $33.13
 Petrini, Bobby          01/03/2018      Breakfast for B. Petrini                       $3.76
 Yochim, Nicki           01/03/2018      Dinner for N. Yochim                          $27.25
 Bondarenko, Ilya        01/04/2018      Lunch for I. Bondarenko                       $25.00
 Bondarenko, Ilya        01/04/2018      Breakfast for I. Bondarenko                   $15.00
 Das Chowdhury,
                         01/04/2018      Dinner for P. Chowdhury                       $50.00
Prajata

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Meals
 Diehl, David          01/04/2018      Breakfast for D. Diehl                        $15.00
 Diehl, David          01/04/2018      Dinner for D. Diehl                           $17.27
 Diehl, David          01/04/2018      Dinner for D. Diehl                           $45.00
 Groves, Rick          01/04/2018      Dinner for R. Groves                          $50.00
 Kiefer, Brian         01/04/2018      Dinner for B. Kiefer                          $15.79
 Librandi, Louis       01/04/2018      Breakfast for L. Librandi                     $12.88
 Librandi, Louis       01/04/2018      Lunch for L. Librandi                         $16.16
 Petrini, Bobby        01/04/2018      Dinner for B. Petrini                         $50.00
 Simha, Namita         01/04/2018      Lunch for N. Simha                            $15.57
 Yochim, Nicki         01/04/2018      Breakfast for N. Yochim                        $6.88
 Collins, Robert       01/05/2018      Lunch for R. Collins                           $8.05
 Das Chowdhury,
                       01/05/2018      Dinner for P. Chowdhury                       $50.00
Prajata
 Diehl, David          01/05/2018      Lunch for D. Diehl                             $8.83
 Groves, Rick          01/05/2018      Lunch for R. Groves                           $25.00
 Kiefer, Brian         01/05/2018      Breakfast for B. Kiefer                        $5.87
 Kiefer, Brian         01/05/2018      Lunch for B. Kiefer                            $9.26
 Kiefer, Brian         01/05/2018      Dinner for B. Kiefer                          $13.18
 Librandi, Louis       01/05/2018      Lunch for L. Librandi                         $12.84
 Petrini, Bobby        01/05/2018      Breakfast for B. Petrini                       $8.63
 Petrini, Bobby        01/05/2018      Dinner for B. Petrini                         $14.08
 Petrini, Bobby        01/05/2018      Dinner for B. Petrini                         $28.00
 Petrini, Bobby        01/05/2018      Breakfast for B. Petrini                       $5.19
 Simha, Namita         01/05/2018      Breakfast for N. Simha                        $14.50
 Simha, Namita         01/05/2018      Dinner for N. Simha                            $6.01
 Bondarenko, Ilya      01/06/2018      Lunch for I. Bondarenko                        $5.85
 Collins, Robert       01/06/2018      Dinner for R. Collins                         $10.77
 Yochim, Nicki         01/06/2018      Dinner for N. Yochim                          $29.48
 Bondarenko, Ilya      01/08/2018      Dinner for I. Bondarenko                      $50.00
 Collins, Robert       01/08/2018      Breakfast for R. Collins                      $15.00

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Meals
 Collins, Robert       01/08/2018      Dinner for R. Collins                         $50.00
 Groves, Rick          01/08/2018      Breakfast for R. Groves                        $9.27
 Groves, Rick          01/08/2018      Lunch for R. Groves                           $25.00
 Groves, Rick          01/08/2018      Dinner for R. Groves                          $50.00
 Kiefer, Brian         01/08/2018      Breakfast for B. Kiefer                        $5.78
 Kiefer, Brian         01/08/2018      Dinner for B. Kiefer                          $50.00
 Librandi, Louis       01/08/2018      Lunch for L. Librandi                         $25.00
 Petrini, Bobby        01/08/2018      Lunch for B. Petrini                          $25.00
 Petrini, Bobby        01/08/2018      Dinner for B. Petrini                         $33.25
 Petrini, Bobby        01/08/2018      Breakfast for B. Petrini                       $6.75
 Simha, Namita         01/08/2018      Dinner for N. Simha                           $19.05
 Simha, Namita         01/08/2018      Breakfast for N. Simha                        $12.88
 Simha, Namita         01/08/2018      Breakfast for N. Simha                        $15.00
 Simha, Namita         01/08/2018      Lunch for N. Simha                            $12.00
 Yochim, Nicki         01/08/2018      Lunch for N. Yochim                           $18.26
 Yochim, Nicki         01/08/2018      Dinner for N. Yochim                          $49.42
 Zawahir, Tariq        01/08/2018      Dinner for T. Zawahir                         $30.16
 Bondarenko, Ilya      01/09/2018      Dinner for I. Bondarenko                      $50.00
 Bondarenko, Ilya      01/09/2018      Dinner for I. Bondarenko                      $85.00
 Groves, Rick          01/09/2018      Lunch for R. Groves                           $25.00
 Groves, Rick          01/09/2018      Dinner for R. Groves                          $43.88
 Groves, Rick          01/09/2018      Dinner for R. Groves                          $50.00
 Kiefer, Brian         01/09/2018      Dinner for B. Kiefer                          $21.53
 Petrini, Bobby        01/09/2018      Breakfast for B. Petrini                      $15.00
 Simha, Namita         01/09/2018      Breakfast for N. Simha                         $4.36
 Simha, Namita         01/09/2018      Dinner for N. Simha                           $28.00
 Groves, Rick          01/10/2018      Lunch for R. Groves                           $25.00
 Groves, Rick          01/10/2018      Dinner for R. Groves                          $35.26
 Groves, Rick          01/10/2018      Dinner for R. Groves                          $50.00
 Kiefer, Brian         01/10/2018      Dinner for B. Kiefer                          $20.44
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Meals
 Kiefer, Brian         01/10/2018      Dinner for B. Kiefer                          $50.00
 Librandi, Louis       01/10/2018      Lunch for L. Librandi                         $12.63
 Librandi, Louis       01/10/2018      Dinner for L. Librandi                        $50.00
 Librandi, Louis       01/10/2018      Breakfast for L. Librandi                     $20.35
 Petrini, Bobby        01/10/2018      Dinner for B. Petrini                         $38.76
 Petrini, Bobby        01/10/2018      Dinner for B. Petrini                         $16.46
 Simha, Namita         01/10/2018      Breakfast for N. Simha                        $15.00
 Simha, Namita         01/10/2018      Dinner for N. Simha                           $29.00
 Yochim, Nicki         01/10/2018      Dinner for N. Yochim                          $43.84
 Zawahir, Tariq        01/10/2018      Dinner for T. Zawahir                         $12.82
 Collins, Robert       01/11/2018      Dinner for R. Collins                         $50.00
 Collins, Robert       01/11/2018      Lunch for R. Collins                           $9.44
 Collins, Robert       01/11/2018      Lunch for R. Collins                          $25.00
 Groves, Rick          01/11/2018      Lunch for R. Groves                           $10.81
 Groves, Rick          01/11/2018      Dinner for R. Groves                          $50.00
 Kiefer, Brian         01/11/2018      Lunch for B. Kiefer                           $12.75
 Kiefer, Brian         01/11/2018      Dinner for B. Kiefer                          $24.28
 Librandi, Louis       01/11/2018      Breakfast for L. Librandi                     $15.00
 Librandi, Louis       01/11/2018      Lunch for L. Librandi                         $24.24
 Petrini, Bobby        01/11/2018      Lunch for B. Petrini                          $11.17
 Petrini, Bobby        01/11/2018      Dinner for B. Petrini                         $11.76
 Petrini, Bobby        01/11/2018      Breakfast for B. Petrini                      $15.00
 Simha, Namita         01/11/2018      Dinner for N. Simha                           $16.00
 Simha, Namita         01/11/2018      Lunch for N. Simha                             $5.85
 Yochim, Nicki         01/11/2018      Lunch for N. Yochim                            $6.98
 Groves, Rick          01/12/2018      Breakfast for R. Groves                        $8.69
 Groves, Rick          01/12/2018      Lunch for R. Groves                            $9.36
 Groves, Rick          01/12/2018      Dinner for R. Groves                          $38.65
 Hartigan, Martin      01/12/2018      Dinner for M. Hartigan                        $50.00
 Kiefer, Brian         01/12/2018      Breakfast for B. Kiefer                       $14.72
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Meals
 Librandi, Louis       01/12/2018      Lunch for L. Librandi                         $25.00
 Petrini, Bobby        01/12/2018      Breakfast for B. Petrini                       $2.09
 Petrini, Bobby        01/12/2018      Lunch for B. Petrini                          $18.74
 Petrini, Bobby        01/12/2018      Dinner for B. Petrini                         $40.18
 Simha, Namita         01/12/2018      Lunch for N. Simha                             $8.86
 Simha, Namita         01/12/2018      Dinner for N. Simha                           $24.23
 Yochim, Nicki         01/12/2018      Lunch for N. Yochim                            $9.12
 Petrini, Bobby        01/13/2018      Dinner for B. Petrini                          $9.63
 Petrini, Bobby        01/13/2018      Dinner for B. Petrini                         $13.19
 Bondarenko, Ilya      01/14/2018      Lunch for I. Bondarenko                       $18.52
 Bondarenko, Ilya      01/14/2018      Dinner for I. Bondarenko                      $50.00
 Collins, Robert       01/14/2018      Dinner for R. Collins                         $50.00
 Petrini, Bobby        01/14/2018      Lunch for B. Petrini                           $8.13
 Petrini, Bobby        01/14/2018      Lunch for B. Petrini                          $16.07
 Petrini, Bobby        01/14/2018      Dinner for B. Petrini                         $44.91
 Simha, Namita         01/14/2018      Dinner for N. Simha                           $50.00
 Simha, Namita         01/14/2018      Dinner for N. Simha                           $50.00
 Simha, Namita         01/14/2018      Breakfast for N. Simha                        $15.00
 Bondarenko, Ilya      01/15/2018      Lunch for I. Bondarenko                       $25.00
 Chin, Ziyu            01/15/2018      Dinner in Pittsburgh, PA                      $49.03
 Collins, Robert       01/15/2018      Dinner for R. Collins                         $50.00
 Das Chowdhury,
                       01/15/2018      Dinner for P. Chowdhury                       $50.00
Prajata
 Groves, Rick          01/15/2018      Dinner for R. Groves                          $50.00
 Groves, Rick          01/15/2018      Dinner for R. Groves                          $50.00
 Groves, Rick          01/15/2018      Lunch for R. Groves                           $11.99
 Kiefer, Brian         01/15/2018      Dinner for B. Kiefer                          $18.79
 Kiefer, Brian         01/15/2018      Dinner for B. Kiefer                          $50.00
 Kiefer, Brian         01/15/2018      Lunch for B. Kiefer                           $25.00
 Simha, Namita         01/15/2018      Lunch for N. Simha                             $7.99

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Meals
 Simha, Namita           01/15/2018      Lunch for N. Simha                             $9.79
 Simha, Namita           01/15/2018      Breakfast for N. Simha                         $3.84
 Yochim, Nicki           01/15/2018      Dinner for N. Yochim                          $38.88
 Yochim, Nicki           01/15/2018      Dinner for N. Yochim                          $37.76
 Chin, Ziyu              01/16/2018      Breakfast in Pittsburgh, PA                   $14.61
 Groves, Rick            01/16/2018      Breakfast for R. Groves                        $5.34
 Groves, Rick            01/16/2018      Lunch for R. Groves                            $7.27
 McKibben, Caitlin       01/16/2018      Breakfast for C. McKibben                      $8.95
 McKibben, Caitlin       01/16/2018      Dinner for C. McKibben                        $29.42
 Petrini, Bobby          01/16/2018      Dinner for B. Petrini                         $40.14
 Petrini, Bobby          01/16/2018      Dinner for B. Petrini                         $13.45
 Petrini, Bobby          01/16/2018      Breakfast for B. Petrini                       $2.82
 Simha, Namita           01/16/2018      Breakfast for N. Simha                         $6.48
 Simha, Namita           01/16/2018      Lunch for N. Simha                             $5.87
 Zanette, Christina      01/16/2018      Breakfast for C. Zanette                       $8.14
 Zanette, Christina      01/16/2018      Dinner for C. Zanette                         $50.00
 Zanette, Christina      01/16/2018      Lunch for C. Zanette                          $25.00
 Bondarenko, Ilya        01/17/2018      Dinner for I. Bondarenko                      $50.00
 Chin, Ziyu              01/17/2018      Breakfast in Pittsburgh, PA                   $13.79
 Groves, Rick            01/17/2018      Breakfast for R. Groves                        $5.30
 Groves, Rick            01/17/2018      Lunch for R. Groves                           $17.12
 Kao, Suzanne            01/17/2018      Breakfast for S. Kao                           $7.93
 Kao, Suzanne            01/17/2018      Dinner for S. Kao                             $50.00
 Kao, Suzanne            01/17/2018      Lunch for S. Kao                              $21.78
 Simha, Namita           01/17/2018      Lunch for N. Simha                             $5.97
 Zanette, Christina      01/17/2018      Breakfast for C. Zanette                      $10.69
 Bondarenko, Ilya        01/18/2018      Dinner for I. Bondarenko                      $50.00
 Bondarenko, Ilya        01/18/2018      Lunch for I. Bondarenko                       $25.67
 Collins, Robert         01/18/2018      Lunch for R. Collins                          $20.21


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Meals
 Das Chowdhury,
                         01/18/2018      Breakfast for P. Chowdhury                     $6.41
Prajata
 Das Chowdhury,
                         01/18/2018      Dinner for P. Chowdhury                       $12.74
Prajata
 Groves, Rick            01/18/2018      Breakfast for R. Groves                        $5.30
 Groves, Rick            01/18/2018      Lunch for R. Groves                           $12.74
 Groves, Rick            01/18/2018      Dinner for R. Groves                           $8.30
 Groves, Rick            01/18/2018      Dinner for R. Groves                          $50.00
 Jones, Louverture       01/18/2018      Dinner for L. Jones                           $50.00
 Jones, Louverture       01/18/2018      Lunch for L. Jones                            $11.75
 McKibben, Caitlin       01/18/2018      Lunch for C. McKibben                         $10.45
 Petrini, Bobby          01/18/2018      Dinner for B. Petrini                         $50.00
 Petrini, Bobby          01/18/2018      Breakfast for B. Petrini                       $5.60
 Simha, Namita           01/18/2018      Lunch for N. Simha                            $17.49
 Yochim, Nicki           01/18/2018      Dinner for N. Yochim                          $50.00
 Das Chowdhury,
                         01/19/2018      Breakfast for P. Chowdhury                     $6.41
Prajata
 Das Chowdhury,
                         01/19/2018      Dinner for P. Chowdhury                        $8.51
Prajata
 Jones, Louverture       01/19/2018      Dinner for L. Jones                            $8.47
 Petrini, Bobby          01/19/2018      Breakfast for B. Petrini                      $15.00
 Petrini, Bobby          01/19/2018      Dinner for B. Petrini                         $44.00
 Petrini, Bobby          01/19/2018      Breakfast for B. Petrini                      $15.00
 Simha, Namita           01/19/2018      Lunch for N. Simha                            $16.56
 Simha, Namita           01/19/2018      Dinner for N. Simha                           $35.00
 Zanette, Christina      01/19/2018      Breakfast for C. Zanette                      $15.00
 Lakova, Eva             01/21/2018      Lunch in Brussels, Belgium                    $10.32
 Petrini, Bobby          01/21/2018      Breakfast for B. Petrini                      $15.00
 Petrini, Bobby          01/21/2018      Breakfast for B. Petrini                      $18.16
 Zanette, Christina      01/21/2018      Dinner for C. Zanette                          $7.94
 Berkowitz, Craig        01/22/2018      Breakfast for C. Berkowitz                    $10.71

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Meals
 Bondarenko, Ilya        01/22/2018      Dinner for I. Bondarenko                      $50.00
 Brennan, Ted            01/22/2018      Breakfast for T. Brennan                      $15.00
 Chin, Ziyu              01/22/2018      Dinner in Shanghai, China                     $35.39
 Collins, Robert         01/22/2018      Lunch for R. Collins                          $10.14
 Groves, Rick            01/22/2018      Lunch for R. Groves                           $25.00
 Horton, Terry           01/22/2018      Breakfast for T. Horton                        $1.87
 Horton, Terry           01/22/2018      Lunch for T. Horton                           $20.35
 Horton, Terry           01/22/2018      Dinner for T. Horton                          $19.08
 Kiefer, Brian           01/22/2018      Breakfast for B. Kiefer                       $11.55
 Kiefer, Brian           01/22/2018      Lunch for B. Kiefer                           $15.92
 Kiefer, Brian           01/22/2018      Dinner for B. Kiefer                          $50.90
 Petrini, Bobby          01/22/2018      Breakfast for B. Petrini                       $9.93
 Petrini, Bobby          01/22/2018      Dinner for B. Petrini                         $33.68
 Simha, Namita           01/22/2018      Breakfast for N. Simha                        $12.38
 Simha, Namita           01/22/2018      Dinner for N. Simha                           $11.00
 Yochim, Nicki           01/22/2018      Dinner for N. Yochim                          $50.00
 Zanette, Christina      01/22/2018      Dinner for C. Zanette                         $49.30
 Berkowitz, Craig        01/23/2018      Dinner for C. Berkowitz                       $16.25
 Berkowitz, Craig        01/23/2018      Dinner for C. Berkowitz                       $50.00
 Berkowitz, Craig        01/23/2018      Lunch for C. Berkowitz                         $4.93
 Bondarenko, Ilya        01/23/2018      Lunch for I. Bondarenko                       $24.14
 Bondarenko, Ilya        01/23/2018      Lunch for I. Bondarenko                       $19.36
 Collins, Robert         01/23/2018      Dinner for R. Collins                         $39.10
 Groves, Rick            01/23/2018      Breakfast for R. Groves                       $12.94
 Groves, Rick            01/23/2018      Dinner for R. Groves                          $50.00
 Gupati, Raj             01/23/2018      Lunch for R. Gupati                            $8.52
 Horton, Terry           01/23/2018      Lunch for T. Horton                            $4.93
 Horton, Terry           01/23/2018      Dinner for T. Horton                          $28.25
 Horton, Terry           01/23/2018      Dinner for T. Horton                          $12.00
 Kiefer, Brian           01/23/2018      Breakfast for B. Kiefer                       $12.38
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Meals
 Lakova, Eva             01/23/2018      Dinner in Brussels, Belgium                   $16.80
 Librandi, Louis         01/23/2018      Lunch for L. Librandi                         $21.76
 Petrini, Bobby          01/23/2018      Dinner for B. Petrini                         $19.79
 Simha, Namita           01/23/2018      Lunch for N. Simha                            $10.00
 Simha, Namita           01/23/2018      Lunch for N. Simha                            $10.88
 Simha, Namita           01/23/2018      Dinner for N. Simha                           $25.00
 Simha, Namita           01/23/2018      Breakfast for N. Simha                        $13.00
 Yochim, Nicki           01/23/2018      Dinner for N. Yochim                          $50.00
 Collins, Robert         01/24/2018      Lunch for R. Collins                          $12.09
 Gupati, Raj             01/24/2018      Dinner for R. Gupati                          $13.78
 Kiefer, Brian           01/24/2018      Breakfast for B. Kiefer                        $7.32
 Petrini, Bobby          01/24/2018      Dinner for B. Petrini                         $50.00
 Simha, Namita           01/24/2018      Breakfast for N. Simha                        $23.00
 Simha, Namita           01/24/2018      Lunch for N. Simha                            $19.00
 Collins, Robert         01/25/2018      Lunch for R. Collins                          $12.61
 Das Chowdhury,
                         01/25/2018      Breakfast for P. Chowdhury                     $6.16
Prajata
 Das Chowdhury,
                         01/25/2018      Dinner for P. Chowdhury                       $18.90
Prajata
 Das Chowdhury,
                         01/25/2018      Lunch for P. Chowdhury                        $10.80
Prajata
 Groves, Rick            01/25/2018      Lunch for R. Groves                           $25.00
 Groves, Rick            01/25/2018      Dinner for R. Groves                          $50.00
 Kiefer, Brian           01/25/2018      Breakfast for B. Kiefer                       $12.26
 Petrini, Bobby          01/25/2018      Dinner for B. Petrini                         $47.98
 Zanette, Christina      01/25/2018      Lunch for C. Zanette                          $25.00
 Lakova, Eva             01/26/2018      Breakfast in Brussels, Belgium                 $5.04
 Simha, Namita           01/26/2018      Dinner for N. Simha                           $28.00
 Lakova, Eva             01/27/2018      Lunch in Brussels, Belgium                    $14.52
 Zanette, Christina      01/27/2018      Dinner for C. Zanette                         $42.14


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Meals
 Gupati, Raj            01/28/2018      Dinner for R. Gupati                          $50.00
 Mendon, Neha           01/28/2018      Dinner for N. Mendon                           $7.71
 Mendon, Neha           01/28/2018      Dinner for N. Mendon                          $15.05
 Zamy, Vanessa          01/28/2018      Dinner for V. Zamy                            $12.05
 Zamy, Vanessa          01/28/2018      Lunch for V. Zamy                             $18.79
 Berkowitz, Craig       01/29/2018      Lunch for C. Berkowitz                        $17.58
 Berkowitz, Craig       01/29/2018      Breakfast for C. Berkowitz                     $9.81
 Berkowitz, Craig       01/29/2018      Dinner for C. Berkowitz                       $29.66
 Bondarenko, Ilya       01/29/2018      Dinner for I. Bondarenko                      $50.00
 Brennan, Ted           01/29/2018      Dinner for T. Brennan                         $50.00
 Brennan, Ted           01/29/2018      Dinner for T. Brennan                         $50.00
 Brennan, Ted           01/29/2018      Lunch for T. Brennan                          $12.35
 Groves, Rick           01/29/2018      Lunch for R. Groves                            $7.27
 Groves, Rick           01/29/2018      Dinner for R. Groves                          $50.00
 Gupati, Raj            01/29/2018      Lunch for R. Gupati                           $25.00
 Gupati, Raj            01/29/2018      Lunch for R. Gupati                            $7.18
 Horton, Terry          01/29/2018      Lunch for T. Horton                           $25.00
 Horton, Terry          01/29/2018      Breakfast for T. Horton                        $2.41
 Kiefer, Brian          01/29/2018      Dinner for B. Kiefer                          $20.97
 Lafontant, Anthony     01/29/2018      Dinner for A. Lafontant                       $24.00
 Lafontant, Anthony     01/29/2018      Dinner for A. Lafontant                       $25.00
 McKibben, Caitlin      01/29/2018      Breakfast for C. McKibben                     $15.00
 McKibben, Caitlin      01/29/2018      Dinner for C. McKibben                        $20.91
 Petrini, Bobby         01/29/2018      Dinner for B. Petrini                         $50.00
 Yochim, Nicki          01/29/2018      Breakfast for N. Yochim                       $16.94
 Zamy, Vanessa          01/29/2018      Lunch for V. Zamy                             $23.14
 Berkowitz, Craig       01/30/2018      Dinner for C. Berkowitz                       $50.00
 Berkowitz, Craig       01/30/2018      Lunch for C. Berkowitz                         $7.88
 Bondarenko, Ilya       01/30/2018      Breakfast for I. Bondarenko                   $21.33
 Groves, Rick           01/30/2018      Breakfast for R. Groves                        $8.64
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Meals
 Hartigan, Martin       01/30/2018      Lunch for M. Hartigan                         $12.17
 Horton, Terry          01/30/2018      Lunch for T. Horton                           $10.53
 Kiefer, Brian          01/30/2018      Lunch for B. Kiefer                           $25.00
 Kiefer, Brian          01/30/2018      Dinner for B. Kiefer                          $60.91
 Lafontant, Anthony     01/30/2018      Lunch for A. Lafontant                         $3.43
 Librandi, Louis        01/30/2018      Breakfast for L. Librandi                     $15.00
 Librandi, Louis        01/30/2018      Lunch for L. Librandi                         $22.44
 Librandi, Louis        01/30/2018      Dinner for L. Librandi                        $50.00
 Librandi, Louis        01/30/2018      Breakfast for L. Librandi                     $15.00
 Marashi, Seema         01/30/2018      Lunch for S. Marashi                           $5.41
 McKibben, Caitlin      01/30/2018      Dinner for C. McKibben                        $12.47
 Mendon, Neha           01/30/2018      Lunch for N. Mendon                            $7.20
 Petrini, Bobby         01/30/2018      Lunch for B. Petrini                          $25.00
 Willis, Rob            01/30/2018      Dinner for R. Willis                          $50.00
 Willis, Rob            01/30/2018      Breakfast for R. Willis                       $14.99
 Yochim, Nicki          01/30/2018      Breakfast for N. Yochim                        $8.16
 Yochim, Nicki          01/30/2018      Breakfast for N. Yochim                        $8.96
 Zamy, Vanessa          01/30/2018      Lunch for V. Zamy                             $12.06
 Berkowitz, Craig       01/31/2018      Breakfast for C. Berkowitz                     $3.59
 Berkowitz, Craig       01/31/2018      Dinner for C. Berkowitz                       $50.00
 Bondarenko, Ilya       01/31/2018      Lunch for I. Bondarenko                       $22.32
 Collins, Robert        01/31/2018      Dinner for R. Collins                          $7.00
 Collins, Robert        01/31/2018      Dinner for R. Collins                         $50.00
 Das Chowdhury,
                        01/31/2018      Dinner for P. Chowdhury                        $6.03
Prajata
 Groves, Rick           01/31/2018      Lunch for R. Groves                           $15.84
 Gupati, Raj            01/31/2018      Lunch for R. Gupati                            $4.36
 Horton, Terry          01/31/2018      Lunch for T. Horton                           $11.16
 Kiefer, Brian          01/31/2018      Lunch for B. Kiefer                           $12.23
 McKibben, Caitlin      01/31/2018      Lunch for C. McKibben                         $14.63

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Meals
 Mendon, Neha            01/31/2018      Lunch for N. Mendon                            $7.58
 Petrini, Bobby          01/31/2018      Dinner for B. Petrini                         $11.61
 Petrini, Bobby          01/31/2018      Lunch for B. Petrini                          $13.01
 Willis, Rob             01/31/2018      Dinner for R. Willis                          $47.00
 Willis, Rob             01/31/2018      Dinner for R. Willis                          $50.00
 Willis, Rob             01/31/2018      Lunch for R. Willis                            $7.66
 Yochim, Nicki           01/31/2018      Lunch for N. Yochim                            $9.20
 Zamy, Vanessa           01/31/2018      Lunch for V. Zamy                             $25.00
 Berkowitz, Craig        02/01/2018      Lunch for C. Berkowitz                         $5.34
 Bondarenko, Ilya        02/01/2018      Dinner for I. Bondarenko                      $50.00
 Collins, Robert         02/01/2018      Lunch for R. Collins                          $25.00
 Collins, Robert         02/01/2018      Dinner for R. Collins                         $50.00
 Groves, Rick            02/01/2018      Dinner for R. Groves                          $11.08
 Groves, Rick            02/01/2018      Breakfast for R. Groves                        $7.42
 Gupati, Raj             02/01/2018      Lunch for R. Gupati                           $18.39
 Gupati, Raj             02/01/2018      Lunch for R. Gupati                            $4.85
 Horton, Terry           02/01/2018      Breakfast for T. Horton                        $2.18
 Horton, Terry           02/01/2018      Dinner for T. Horton                          $13.67
 Marashi, Seema          02/01/2018      Lunch for S. Marashi                          $14.53
 McKibben, Caitlin       02/01/2018      Breakfast for C. McKibben                      $9.41
 Mendon, Neha            02/01/2018      Lunch for N. Mendon                            $5.01
 Mendon, Neha            02/01/2018      Lunch for N. Mendon                            $6.72
 Mendon, Neha            02/01/2018      Lunch for N. Mendon                           $14.37
 Zamy, Vanessa           02/01/2018      Lunch for V. Zamy                             $20.00
 Groves, Rick            02/02/2018      Dinner for R. Groves                          $28.70
 Yochim, Nicki           02/02/2018      Dinner for N. Yochim                          $30.44
 Zanette, Christina      02/02/2018      Lunch for C. Zanette                          $22.00
 Das Chowdhury,
                         02/04/2018      Dinner for P. Chowdhury                       $11.95
Prajata
 Groves, Rick            02/04/2018      Dinner for R. Groves                          $31.51

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Meals
 Mendon, Neha            02/04/2018      Breakfast for N. Mendon                            $9.93
 Mendon, Neha            02/04/2018      Lunch for N. Mendon                               $23.19
 Mendon, Neha            02/04/2018      Dinner for N. Mendon                              $12.69
 Mendon, Neha            02/04/2018      Dinner for N. Mendon                              $50.00
 Yochim, Nicki           02/04/2018      Dinner for N. Yochim                              $19.00
 Zamy, Vanessa           02/04/2018      Dinner for V. Zamy                                $17.02
 Zamy, Vanessa           02/04/2018      Lunch for V. Zamy                                 $24.02
 Zanette, Christina      02/04/2018      Dinner for C. Zanette                             $17.84
 Zanette, Christina      02/04/2018      Dinner for C. Zanette                             $50.00
 Berkowitz, Craig        02/05/2018      Breakfast for C. Berkowitz                         $5.86
 Brennan, Ted            02/05/2018      Breakfast for T. Brennan                          $15.00
 Brennan, Ted            02/05/2018      Dinner for T. Brennan                             $50.00
 Collins, Robert         02/05/2018      Dinner for R. Collins                             $19.17
 Fleming, Sean           02/05/2018      Breakfast for S. Fleming                          $13.16
 Fleming, Sean           02/05/2018      Breakfast for S. Fleming                          $15.00
 Fleming, Sean           02/05/2018      Lunch for S. Fleming                              $25.00
 Gupati, Raj             02/05/2018      Breakfast for R. Groves                           $13.71
 Gupati, Raj             02/05/2018      Dinner for R. Gupati                              $21.97
 Hartigan, Martin        02/05/2018      Breakfast for M. Hartigan                         $11.03
 Hartigan, Martin        02/05/2018      Lunch for M. Hartigan                             $12.63
 Hickey, Thomas          02/05/2018      Dinner for T. Hickey in Stockholm, Sweden         $14.97
 Horton, Terry           02/05/2018      Lunch for T. Horton                               $10.30
 Horton, Terry           02/05/2018      Dinner for T. Horton                              $34.34
 Horton, Terry           02/05/2018      Dinner for T. Horton                              $20.35
 Kiefer, Brian           02/05/2018      Lunch for B. Kiefer                               $25.00
 Kiefer, Brian           02/05/2018      Dinner for B. Kiefer                              $50.00
 Marashi, Seema          02/05/2018      Dinner for S. Marashi                             $22.85
 McKibben, Caitlin       02/05/2018      Lunch for C. McKibben                             $25.00
 Petrini, Bobby          02/05/2018      Breakfast for B. Petrini                          $15.00
 Petrini, Bobby          02/05/2018      Dinner for B. Petrini                             $50.00
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Meals
 Yochim, Nicki           02/05/2018      Lunch for N. Yochim                               $19.00
 Zamy, Vanessa           02/05/2018      Lunch for V. Zamy                                 $21.58
 Zanette, Christina      02/05/2018      Dinner for C. Zanette                             $11.51
 Berckman, Lindsey       02/06/2018      Breakfast for L. Berckman                         $14.85
 Bondarenko, Ilya        02/06/2018      Dinner for I. Bondarenko                          $22.46
 Collins, Robert         02/06/2018      Lunch for R. Collins                              $21.89
 Gupati, Raj             02/06/2018      Lunch for R. Gupati                               $13.65
 Hartigan, Martin        02/06/2018      Dinner for M. Hartigan                            $50.00
 Hickey, Thomas          02/06/2018      Dinner for T. Hickey in Stockholm, Sweden          $8.49
 Horton, Terry           02/06/2018      Lunch for T. Horton                                $8.26
 Kiefer, Brian           02/06/2018      Dinner for B. Kiefer                              $50.00
 Lafontant, Anthony      02/06/2018      Dinner for A. Lafontant                           $10.87
 Mendon, Neha            02/06/2018      Breakfast for N. Mendon                            $4.36
 Mendon, Neha            02/06/2018      Lunch for N. Mendon                                $7.43
 Petrini, Bobby          02/06/2018      Dinner for B. Petrini                             $50.00
 Willis, Rob             02/06/2018      Breakfast for R. Willis                           $15.00
 Willis, Rob             02/06/2018      Lunch for R. Willis                               $25.00
 Zamy, Vanessa           02/06/2018      Lunch for V. Zamy                                 $25.00
 Zamy, Vanessa           02/06/2018      Dinner for V. Zamy                                $32.76
 Berckman, Lindsey       02/07/2018      Lunch for L. Berckman                             $15.74
 Berckman, Lindsey       02/07/2018      Breakfast for L. Berckman                         $13.85
 Berkowitz, Craig        02/07/2018      Dinner for C. Berkowitz                           $15.90
 Das Chowdhury,
                         02/07/2018      Dinner for P. Chowdhury                           $18.24
Prajata
 Fleming, Sean           02/07/2018      Lunch for S. Fleming                              $25.00
 Fleming, Sean           02/07/2018      Breakfast for S. Fleming                          $12.62
 Horton, Terry           02/07/2018      Dinner for T. Horton                               $8.21
 Kiefer, Brian           02/07/2018      Dinner for B. Kiefer                              $50.00
 Petrini, Bobby          02/07/2018      Dinner for B. Petrini                             $50.00
 Willis, Rob             02/07/2018      Dinner for R. Willis                              $50.00

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Meals
 Willis, Rob             02/07/2018      Breakfast for R. Willis                           $15.52
 Zamy, Vanessa           02/07/2018      Dinner for V. Zamy                                $26.00
 Zamy, Vanessa           02/07/2018      Lunch for V. Zamy                                 $25.00
 Berckman, Lindsey       02/08/2018      Lunch for L. Berckman                             $25.00
 Berckman, Lindsey       02/08/2018      Breakfast for L. Berckman                          $7.77
 Bondarenko, Ilya        02/08/2018      Dinner for I. Bondarenko                          $50.00
 Collins, Robert         02/08/2018      Lunch for R. Collins                              $20.82
 Das Chowdhury,
                         02/08/2018      Dinner for P. Chowdhury                            $8.50
Prajata
 Fleming, Sean           02/08/2018      Dinner for S. Fleming                             $11.38
 Fleming, Sean           02/08/2018      Dinner for S. Fleming                             $29.71
 Groves, Rick            02/08/2018      Dinner for R. Groves                              $50.00
 Hickey, Thomas          02/08/2018      Dinner for T. Hickey in Stockholm, Sweden         $41.60
 Lafontant, Anthony      02/08/2018      Lunch for A. Lafontant                            $25.00
 Lafontant, Anthony      02/08/2018      Dinner for A. Lafontant                            $7.68
 Lafontant, Anthony      02/08/2018      Dinner for A. Lafontant                           $25.48
 McKibben, Caitlin       02/08/2018      Dinner for C. McKibben                            $40.14
 Mendon, Neha            02/08/2018      Breakfast for N. Mendon                            $7.75
 Mendon, Neha            02/08/2018      Lunch for N. Mendon                               $23.20
 Mendon, Neha            02/08/2018      Dinner for N. Mendon                              $10.18
 Petrini, Bobby          02/08/2018      Dinner for B. Petrini                             $27.58
 Petrini, Bobby          02/08/2018      Dinner for B. Petrini                             $48.77
 Petrini, Bobby          02/08/2018      Dinner for B. Petrini                             $15.71
 Zamy, Vanessa           02/08/2018      Dinner for V. Zamy                                $16.55
 Zamy, Vanessa           02/08/2018      Lunch for V. Zamy                                 $25.00
 Zanette, Christina      02/08/2018      Dinner for C. Zanette                             $36.20
 Das Chowdhury,
                         02/09/2018      Dinner for P. Chowdhury                           $29.36
Prajata
 McKibben, Caitlin       02/09/2018      Dinner for C. McKibben                            $50.00
 McKibben, Caitlin       02/09/2018      Breakfast for C. McKibben                         $11.02

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Meals
 Mendon, Neha            02/09/2018      Dinner for N. Mendon                           $8.01
 Groves, Rick            02/10/2018      Dinner for R. Groves                          $50.00
 Groves, Rick            02/10/2018      Breakfast for R. Groves                        $8.58
 Groves, Rick            02/10/2018      Breakfast for R. Groves                        $5.07
 Gupati, Raj             02/10/2018      Lunch for R. Gupati                           $17.84
 Librandi, Louis         02/10/2018      Lunch for L. Librandi                         $10.28
 Zanette, Christina      02/10/2018      Dinner for C. Zanette                         $20.00
 Mendon, Neha            02/11/2018      Breakfast for N. Mendon                       $15.00
 Mendon, Neha            02/11/2018      Dinner for N. Mendon                          $50.00
 Zamy, Vanessa           02/11/2018      Dinner for V. Zamy                            $42.05
 Zamy, Vanessa           02/11/2018      Lunch for V. Zamy                             $25.00
 Berckman, Lindsey       02/12/2018      Lunch for L. Berckman                         $16.00
 Berckman, Lindsey       02/12/2018      Breakfast for L. Berckman                     $21.30
 Berkowitz, Craig        02/12/2018      Breakfast for C. Berkowitz                     $8.99
 Berkowitz, Craig        02/12/2018      Lunch for C. Berkowitz                        $14.55
 Berkowitz, Craig        02/12/2018      Dinner for C. Berkowitz                       $36.85
 Bondarenko, Ilya        02/12/2018      Lunch for I. Bondarenko                       $25.00
 Bondarenko, Ilya        02/12/2018      Breakfast for I. Bondarenko                    $8.31
 Collins, Robert         02/12/2018      Dinner for R. Collins                         $45.55
 Fleming, Sean           02/12/2018      Breakfast for S. Fleming                       $4.28
 Fleming, Sean           02/12/2018      Breakfast for S. Fleming                      $15.00
 Groves, Rick            02/12/2018      Breakfast for R. Groves                        $8.75
 Groves, Rick            02/12/2018      Lunch for R. Groves                           $17.84
 Groves, Rick            02/12/2018      Dinner for R. Groves                          $50.00
 Groves, Rick            02/12/2018      Dinner for R. Groves                          $50.00
 Gupati, Raj             02/12/2018      Lunch for R. Gupati                           $25.00
 Horton, Terry           02/12/2018      Lunch for T. Horton                           $23.91
 Horton, Terry           02/12/2018      Dinner for T. Horton                          $50.00
 Horton, Terry           02/12/2018      Breakfast for T. Horton                        $1.96
 Lafontant, Anthony      02/12/2018      Breakfast for A. Lafontant                     $3.20
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Meals
 Marashi, Seema          02/12/2018      Dinner for S. Marashi                         $26.17
 McKibben, Caitlin       02/12/2018      Breakfast for C. McKibben                     $15.00
 McKibben, Caitlin       02/12/2018      Lunch for C. McKibben                         $25.00
 McKibben, Caitlin       02/12/2018      Lunch for C. McKibben                         $25.00
 McKibben, Caitlin       02/12/2018      Dinner for C. McKibben                        $11.31
 McKibben, Caitlin       02/12/2018      Dinner for C. McKibben                        $41.98
 Mendon, Neha            02/12/2018      Dinner for N. Mendon                          $25.12
 Mendon, Neha            02/12/2018      Dinner for N. Mendon                          $40.04
 Zanette, Christina      02/12/2018      Dinner for C. Zanette                         $25.48
 Zanette, Christina      02/12/2018      Lunch for C. Zanette                           $9.00
 Berckman, Lindsey       02/13/2018      Lunch for L. Berckman                         $24.38
 Berkowitz, Craig        02/13/2018      Lunch for C. Berkowitz                         $6.54
 Bondarenko, Ilya        02/13/2018      Lunch for I. Bondarenko                       $14.31
 Bondarenko, Ilya        02/13/2018      Dinner for I. Bondarenko                      $50.00
 Fleming, Sean           02/13/2018      Lunch for S. Fleming                          $10.92
 Fleming, Sean           02/13/2018      Lunch for S. Fleming                          $12.19
 Groves, Rick            02/13/2018      Lunch for R. Groves                           $12.19
 Kiefer, Brian           02/13/2018      Lunch for B. Kiefer                           $18.85
 Kiefer, Brian           02/13/2018      Lunch for B. Kiefer                           $14.05
 Lafontant, Anthony      02/13/2018      Lunch for A. Lafontant                        $25.00
 Librandi, Louis         02/13/2018      Breakfast for L. Librandi                     $15.00
 Librandi, Louis         02/13/2018      Dinner for L. Librandi                        $50.00
 Marashi, Seema          02/13/2018      Lunch for S. Marashi                           $4.00
 Marashi, Seema          02/13/2018      Lunch for S. Marashi                          $25.00
 Petrini, Bobby          02/13/2018      Lunch for B. Petrini                          $11.76
 Petrini, Bobby          02/13/2018      Lunch for B. Petrini                          $25.00
 Yochim, Nicki           02/13/2018      Breakfast for N. Yochim                       $12.03
 Yochim, Nicki           02/13/2018      Lunch for N. Yochim                           $12.99
 Zanette, Christina      02/13/2018      Dinner for C. Zanette                         $50.00
 Berckman, Lindsey       02/14/2018      Lunch for L. Berckman                         $12.69
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Meals
 Berkowitz, Craig        02/14/2018      Dinner for C. Berkowitz                       $27.30
 Berkowitz, Craig        02/14/2018      Lunch for C. Berkowitz                        $16.53
 Bondarenko, Ilya        02/14/2018      Lunch for I. Bondarenko                       $13.07
 Bondarenko, Ilya        02/14/2018      Dinner for I. Bondarenko                      $36.21
 Fleming, Sean           02/14/2018      Dinner for S. Fleming                         $12.13
 Groves, Rick            02/14/2018      Lunch for R. Groves                           $21.03
 Groves, Rick            02/14/2018      Dinner for R. Groves                          $50.00
 Kiefer, Brian           02/14/2018      Lunch for B. Kiefer                           $20.97
 Lafontant, Anthony      02/14/2018      Lunch for A. Lafontant                        $25.00
 McKibben, Caitlin       02/14/2018      Dinner for C. McKibben                        $25.73
 Willis, Rob             02/14/2018      Dinner for R. Willis                          $50.00
 Yochim, Nicki           02/14/2018      Breakfast for N. Yochim                       $11.07
 Zamy, Vanessa           02/14/2018      Dinner for V. Zamy                            $50.00
 Zanette, Christina      02/14/2018      Lunch for C. Zanette                          $23.10
 Zanette, Christina      02/14/2018      Dinner for C. Zanette                          $9.53
 Berkowitz, Craig        02/15/2018      Lunch for C. Berkowitz                        $25.00
 Berkowitz, Craig        02/15/2018      Dinner for C. Berkowitz                       $38.01
 Bondarenko, Ilya        02/15/2018      Lunch for I. Bondarenko                       $25.00
 Fleming, Sean           02/15/2018      Lunch for S. Fleming                          $10.92
 Fleming, Sean           02/15/2018      Dinner for S. Fleming                         $15.39
 Groves, Rick            02/15/2018      Lunch for R. Groves                           $25.00
 Horton, Terry           02/15/2018      Breakfast for T. Horton                       $12.99
 Horton, Terry           02/15/2018      Lunch for T. Horton                            $5.09
 Kiefer, Brian           02/15/2018      Lunch for B. Kiefer                           $24.63
 Librandi, Louis         02/15/2018      Dinner for L. Librandi                        $50.00
 Librandi, Louis         02/15/2018      Lunch for L. Librandi                         $11.18
 Marashi, Seema          02/15/2018      Breakfast for S. Marashi                       $9.67
 McKibben, Caitlin       02/15/2018      Dinner for C. McKibben                        $29.59
 Petrini, Bobby          02/15/2018      Lunch for B. Petrini                          $12.39
 Yochim, Nicki           02/15/2018      Lunch for N. Yochim                            $9.44
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Meals
 Yochim, Nicki           02/15/2018      Dinner for N. Yochim                          $50.80
 Zamy, Vanessa           02/15/2018      Lunch for V. Zamy                             $18.55
 Zamy, Vanessa           02/15/2018      Dinner for V. Zamy                            $16.55
 Zanette, Christina      02/15/2018      Dinner for C. Zanette                          $8.65
 Collins, Robert         02/16/2018      Lunch for R. Collins                          $25.00
 Petrini, Bobby          02/16/2018      Lunch for B. Petrini                           $9.44
 Hickey, Thomas          02/18/2018      Lunch in Brussels, Belgium                    $15.96
 McKibben, Caitlin       02/18/2018      Breakfast for C. McKibben                     $11.31
 McKibben, Caitlin       02/18/2018      Dinner for C. McKibben                        $48.63
 McKibben, Caitlin       02/18/2018      Dinner for C. McKibben                        $50.00
 McKibben, Caitlin       02/18/2018      Breakfast for C. McKibben                     $13.26
 McKibben, Caitlin       02/18/2018      Breakfast for C. McKibben                     $13.26
 McKibben, Caitlin       02/18/2018      Breakfast for C. McKibben                     $13.26
 McKibben, Caitlin       02/18/2018      Breakfast for C. McKibben                     $15.00
 McKibben, Caitlin       02/18/2018      Breakfast for C. McKibben                     $15.00
 Mendon, Neha            02/18/2018      Breakfast for N. Mendon                        $8.20
 Mendon, Neha            02/18/2018      Lunch for N. Mendon                           $15.43
 Zamy, Vanessa           02/18/2018      Breakfast for V. Zamy                         $13.30
 Zamy, Vanessa           02/18/2018      Lunch for V. Zamy                             $16.58
 Berkowitz, Craig        02/19/2018      Breakfast for C. Berkowitz                     $2.93
 Berkowitz, Craig        02/19/2018      Lunch for C. Berkowitz                        $23.19
 Groves, Rick            02/19/2018      Dinner for R. Groves                          $21.17
 Gupati, Raj             02/19/2018      Dinner for R. Gupati                          $47.34
 Gupati, Raj             02/19/2018      Lunch for R. Gupati                           $25.00
 Hickey, Thomas          02/19/2018      Lunch in Brussels, Belgium                    $19.11
 Horton, Terry           02/19/2018      Lunch for T. Horton                           $25.00
 Horton, Terry           02/19/2018      Breakfast for T. Horton                        $2.09
 McKibben, Caitlin       02/19/2018      Dinner for C. McKibben                        $50.00
 Petrini, Bobby          02/19/2018      Breakfast for B. Petrini                      $15.00
 Zamy, Vanessa           02/19/2018      Dinner for V. Zamy                            $50.00
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Meals
 Berkowitz, Craig       02/20/2018      Lunch for C. Berkowitz                                $25.00
 Berkowitz, Craig       02/20/2018      Dinner for C. Berkowitz                               $24.92
 Collins, Robert        02/20/2018      Lunch for R. Collins                                  $25.00
 Hickey, Thomas         02/20/2018      Dinner in Brussels, Belgium                           $27.76
 Librandi, Louis        02/20/2018      Lunch for L. Librandi                                 $18.40
 Marashi, Seema         02/20/2018      Dinner for S. Marashi                                 $26.17
 Petrini, Bobby         02/20/2018      Lunch for B. Petrini                                  $11.87
 Petrini, Bobby         02/20/2018      Dinner for B. Petrini                                 $50.00
 Petrini, Bobby         02/20/2018      Dinner for B. Petrini                                 $34.30
 Zamy, Vanessa          02/20/2018      Lunch for V. Zamy                                     $25.00
 Zamy, Vanessa          02/20/2018      Dinner for V. Zamy                                    $23.20
 Berkowitz, Craig       02/21/2018      Lunch for C. Berkowitz                                $14.02
 Berkowitz, Craig       02/21/2018      Dinner for C. Berkowitz                               $50.00
 Bondarenko, Ilya       02/21/2018      Dinner for I. Bondarenko                              $50.00
 Bondarenko, Ilya       02/21/2018      Lunch for I. Bondarenko                               $14.85
 Das Chowdhury,
                        02/21/2018      Dinner for P. Chowdhury                               $11.34
Prajata
 Fleming, Sean          02/21/2018      Lunch for S. Fleming                                  $14.42
                                        Dinner for E. Lakova, T. Hickey, N. Harsch, and G.
 Gijsels, Giovanni      02/21/2018                                                           $200.00
                                        Gijsels in Nivelles, Belgium
 Groves, Rick           02/21/2018      Lunch for R. Groves                                   $10.26
 Groves, Rick           02/21/2018      Lunch for R. Groves                                   $15.17
 Hickey, Thomas         02/21/2018      Lunch in Brussels, Belgium                             $6.58
 Horton, Terry          02/21/2018      Lunch for T. Horton                                   $21.47
 Kiefer, Brian          02/21/2018      Breakfast for B. Kiefer                               $15.00
 Lafontant, Anthony     02/21/2018      Lunch for A. Lafontant                                $25.00
 Lafontant, Anthony     02/21/2018      Dinner for A. Lafontant                               $31.26
 Librandi, Louis        02/21/2018      Lunch for L. Librandi                                 $14.31
 Librandi, Louis        02/21/2018      Dinner for L. Librandi                                $50.00
 Petrini, Bobby         02/21/2018      Dinner for B. Petrini                                 $35.99

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Meals
 Petrini, Bobby         02/21/2018      Dinner for B. Petrini                          $8.00
 Petrini, Bobby         02/21/2018      Dinner for B. Petrini                         $13.75
 Zamy, Vanessa          02/21/2018      Lunch for V. Zamy                             $22.24
 Berkowitz, Craig       02/22/2018      Lunch for C. Berkowitz                        $25.00
 Das Chowdhury,
                        02/22/2018      Dinner for P. Chowdhury                       $14.78
Prajata
 Gupati, Raj            02/22/2018      Dinner for R. Gupati                          $40.84
 Horton, Terry          02/22/2018      Dinner for T. Horton                           $3.71
 Kiefer, Brian          02/22/2018      Lunch for B. Kiefer                           $21.61
 McKibben, Caitlin      02/22/2018      Dinner for C. McKibben                        $50.00
 Mendon, Neha           02/22/2018      Lunch for N. Mendon                           $13.14
 Zamy, Vanessa          02/22/2018      Lunch for V. Zamy                             $13.85
 Zamy, Vanessa          02/22/2018      Dinner for V. Zamy                            $15.00
 Bondarenko, Ilya       02/23/2018      Lunch for I. Bondarenko                       $14.90
 Gupati, Raj            02/23/2018      Lunch for R. Gupati                            $3.00
 Lafontant, Anthony     02/23/2018      Dinner for A. Lafontant                       $15.51
 Petrini, Bobby         02/23/2018      Lunch for B. Petrini                          $22.02
 Zamy, Vanessa          02/23/2018      Dinner for V. Zamy                             $9.99
 Zamy, Vanessa          02/25/2018      Lunch for V. Zamy                             $16.56
 Berckman, Lindsey      02/26/2018      Lunch for L. Berckman                         $25.00
 Berckman, Lindsey      02/26/2018      Breakfast for L. Berckman                     $15.00
 Berkowitz, Craig       02/26/2018      Breakfast for C. Berkowitz                     $2.93
 Brennan, Ted           02/26/2018      Dinner for T. Brennan                         $47.86
 Brennan, Ted           02/26/2018      Dinner for T. Brennan                         $24.69
 Horton, Terry          02/26/2018      Breakfast for T. Horton                        $1.38
 Lafontant, Anthony     02/26/2018      Lunch for A. Lafontant                        $25.00
 Librandi, Louis        02/26/2018      Lunch for L. Librandi                         $12.64
 Marashi, Seema         02/26/2018      Dinner for S. Marashi                         $26.17
 Marashi, Seema         02/26/2018      Lunch for S. Marashi                          $21.79
 McKibben, Caitlin      02/26/2018      Breakfast for C. McKibben                      $7.51

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Meals
 Zamy, Vanessa           02/26/2018      Lunch for V. Zamy                                          $21.58
 Zamy, Vanessa           02/26/2018      Dinner for V. Zamy                                         $14.00
 Berkowitz, Craig        02/27/2018      Dinner for C. Berkowitz                                    $21.01
 Brennan, Ted            02/27/2018      Lunch for T. Brennan                                       $17.07
 Gupati, Raj             02/27/2018      Dinner for R. Gupati                                       $50.00
 Librandi, Louis         02/27/2018      Dinner for L. Librandi                                     $39.62
 Marashi, Seema          02/27/2018      Lunch for S. Marashi                                       $25.00
 Zamy, Vanessa           02/27/2018      Lunch for V. Zamy                                          $17.34
 Zamy, Vanessa           02/27/2018      Dinner for V. Zamy                                         $37.42
 Berkowitz, Craig        02/28/2018      Dinner for C. Berkowitz                                    $48.72
 Bondarenko, Ilya        02/28/2018      Lunch for I. Bondarenko                                    $11.00
 Collins, Robert         02/28/2018      Dinner for R. Collins                                      $50.00
 McKibben, Caitlin       02/28/2018      Dinner for C. McKibben                                     $12.26
 McKibben, Caitlin       02/28/2018      Breakfast for C. McKibben                                  $14.08
 Zamy, Vanessa           02/28/2018      Dinner for V. Zamy                                         $33.18
Subtotal for Meals:                                                                              $15,231.86


MEETING FACILITIES
 Collins, Robert         12/21/2017      Meeting facility rental charges in Pittsburgh, PA         $171.67
 Collins, Robert         12/21/2017      Meeting facility rental charges in Pittsburgh, PA         $585.12
 Groves, Rick            01/18/2018      Meeting facility rental charges in Pittsburgh, PA        $1,354.44
 Groves, Rick            01/26/2018      Meeting facility rental charges in Pittsburgh, PA        $2,302.66
                                         Meeting facility rental charges in Salt Lake City,
 Collins, Robert         02/02/2018                                                                $200.00
                                         UT
                                         Meeting facility rental charges in Salt Lake City,
 Collins, Robert         02/02/2018                                                                $398.94
                                         UT
 Groves, Rick            02/03/2018      Meeting facility rental charges in Pittsburgh, PA        $3,270.62
 Groves, Rick            02/03/2018      Meeting facility rental charges in Pittsburgh, PA        $3,270.62
 Berkowitz, Craig        02/09/2018      Meeting facility rental charges in Pittsburgh, PA        $1,154.34

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MEETING FACILITIES
 Berkowitz, Craig       02/15/2018      Meeting facility rental charges in Pittsburgh, PA       $1,154.34
 Berkowitz, Craig       02/17/2018      Meeting facility rental charges in Pittsburgh, PA       $1,154.34
 Groves, Rick           02/20/2018      Meeting facility rental charges in Pittsburgh, PA       $3,540.29
 Berkowitz, Craig       02/24/2018      Meeting facility rental charges in Pittsburgh, PA       $2,308.68
 Berkowitz, Craig       03/03/2018      Meeting facility rental charges in Pittsburgh, PA       $2,357.30
 Berkowitz, Craig       03/10/2018      Meeting facility rental charges in Pittsburgh, PA       $2,308.68
Subtotal for MEETING
FACILITIES:                                                                                    $25,532.04


TAXI (NOT CAR SERVICE)
 Petrini, Bobby         12/02/2017      Taxi from Bridgeville, PA to Pittsburgh, PA.              $33.62
 Petrini, Bobby         12/04/2017      Taxi from Pittsburgh, PA to Bridgeville, PA.              $20.64
 Bondarenko, Ilya       12/05/2017      Taxi from office to airport.                              $24.64
 Petrini, Bobby         12/08/2017      Taxi from office to Philadelphia, PA airport.             $37.62
 Petrini, Bobby         12/08/2017      Taxi from Philadelphia, PA airport to office.             $38.88
 Petrini, Bobby         12/08/2017      Taxi from to hotel in Philadelphia, PA.                     $5.00
 Petrini, Bobby         12/08/2017      Taxi from Pittsburgh, PA to home.                         $45.00
 Bondarenko, Ilya       12/11/2017      Taxi from office to airport.                              $34.28
 Groves, Rick           12/11/2017      Taxi from home to airport.                                $26.50
 Petrini, Bobby         12/11/2017      Taxi from Bridgeville, PA to Pittsburgh, PA.              $22.76
 Petrini, Bobby         12/11/2017      Taxi from Pittsburgh, PA to Bridgeville, PA.                $5.00
 Bondarenko, Ilya       12/12/2017      Taxi from hotel to office.                                $13.76
 Bondarenko, Ilya       12/12/2017      Taxi from office to airport.                              $61.19
 Collins, Robert        12/13/2017      Taxi from Philadelphia, PA airport to home                $34.92
 Collins, Robert        12/13/2017      Taxi from airport to dinner.                              $13.76
 Groves, Rick           12/13/2017      Taxi from airport to home in Long Island, NY.             $40.43
 Petrini, Bobby         12/14/2017      Taxi from Philadelphia, PA to office.                     $34.92
 Petrini, Bobby         12/15/2017      Taxi from office to hotel.                                  $5.00
 Petrini, Bobby         12/15/2017      Taxi from office to hotel.                                  $3.00

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TAXI (NOT CAR SERVICE)
 Petrini, Bobby       12/15/2017      Taxi from office to hotel.                                 $3.00
 Petrini, Bobby       12/15/2017      Taxi from office to hotel.                                $26.11
 Petrini, Bobby       12/15/2017      Taxi from Bridgeville, PA to Pittsburgh, PA.               $7.33
 Petrini, Bobby       12/15/2017      Taxi from Bridgeville, PA to Pittsburgh, PA.              $14.55
 Petrini, Bobby       12/15/2017      Taxi from Pittsburgh, PA to Bridgeville, PA.              $48.52
 Groves, Rick         12/18/2017      Taxi from home to airport.                                $29.71
 Petrini, Bobby       12/18/2017      Taxi from office to hotel.                                $17.39
 Collins, Robert      12/19/2017      Taxi from airport to dinner in San Francisco, CA.         $22.18
 Kiefer, Brian        12/19/2017      Taxi from home to airport.                                $44.48
 Collins, Robert      12/21/2017      Taxi from Philadelphia, PA airport to home                $34.92
 Groves, Rick         12/21/2017      Taxi from airport to home in Long Island, NY.             $39.10
 Kiefer, Brian        12/21/2017      Taxi from airport to home.                                $63.97
 Petrini, Bobby       12/21/2017      Taxi from Pittsburgh, PA to Bridgeville, PA.               $5.00
 Petrini, Bobby       12/21/2017      Taxi from Pittsburgh, PA to Bridgeville, PA.              $17.54
 Petrini, Bobby       12/22/2017      Taxi from Pittsburgh, PA to Bridgeville, PA.               $8.42
 Collins, Robert      01/02/2018      Taxi from home to airport.                                $35.23
 Groves, Rick         01/02/2018      Taxi from home to airport.                                $21.47
 Kiefer, Brian        01/02/2018      Taxi from home to airport.                                $20.60
 Kiefer, Brian        01/02/2018      Taxi from home to airport.                                 $4.12
 Petrini, Bobby       01/02/2018      Taxi from Bridgeville, PA to Pittsburgh, PA.              $20.59
 Simha, Namita        01/02/2018      Taxi from home to New York airport.                       $56.25
 Simha, Namita        01/02/2018      Taxi from Pittsburgh, PA to Greensburgh, PA.              $80.48
 Yochim, Nicki        01/02/2018      Taxi from home to airport.                                $22.96
 Das Chowdhury,
                      01/03/2018      Taxi from hotel to client site.                            $8.10
Prajata
 Das Chowdhury,
                      01/03/2018      Taxi from hotel to client site.                            $7.72
Prajata
 Collins, Robert      01/05/2018      Taxi from airport to home.                                $34.92
 Groves, Rick         01/05/2018      Taxi from office to hotel.                                 $7.70



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TAXI (NOT CAR SERVICE)
                                       Taxi from Deloitte office in Pittsburgh, PA to airport
 Simha, Namita         01/05/2018                                                                 $30.52
                                       in Pittsburgh, PA.
 Yochim, Nicki         01/05/2018      Taxi from hotel to office.                                  $8.33
 Das Chowdhury,
                       01/06/2018      Taxi from airport to hotel in Boston, MA.                $1,908.00
Prajata
 Groves, Rick          01/06/2018      Taxi from airport to home in Pittsburgh, PA.               $50.00
 Kiefer, Brian         01/06/2018      Taxi from airport to home.                                 $59.85
 Simha, Namita         01/06/2018      Taxi from New York airport to home.                        $42.56
 Yochim, Nicki         01/06/2018      Taxi from airport to home.                                 $21.01
 Collins, Robert       01/07/2018      Taxi from client site to hotel in San Francisco, CA.        $6.29
 Das Chowdhury,
                       01/08/2018      Taxi from hotel to client site.                             $8.18
Prajata
 Das Chowdhury,
                       01/08/2018      Taxi from client site to hotel.                             $8.98
Prajata
 Das Chowdhury,
                       01/08/2018      Taxi from Boston, MA to Portsmouth, VA.                   $100.22
Prajata
 Das Chowdhury,
                       01/08/2018      Taxi from client site to hotel.                            $15.67
Prajata
 Das Chowdhury,
                       01/08/2018      Taxi from hotel to client site.                            $15.20
Prajata
 Groves, Rick          01/08/2018      Taxi from home to airport.                                 $28.42
 Kiefer, Brian         01/08/2018      Taxi from home to airport.                                 $50.94
 Simha, Namita         01/08/2018      Taxi from home to New York airport.                        $50.56
 Zawahir, Tariq        01/08/2018      Taxi from Hoffman Estates to Chicago, IL airport.          $45.00
 Collins, Robert       01/09/2018      Taxi from home to airport.                                 $27.15
 Zawahir, Tariq        01/10/2018      Taxi from Chicago, IL airport to Hoffman Estates.          $45.00
 Yochim, Nicki         01/11/2018      Taxi from airport to home.                                 $23.72
 Groves, Rick          01/12/2018      Taxi from airport to home in Long Island, NY.              $40.10
 Kiefer, Brian         01/12/2018      Taxi from airport to home.                                 $58.86
 Yochim, Nicki         01/12/2018      Taxi from hotel to client site.                            $19.54
 Bondarenko, Ilya      01/14/2018      Taxi from home to airport.                                 $62.68
 Collins, Robert       01/14/2018      Taxi from airport to hotel                                 $25.54

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TAXI (NOT CAR SERVICE)
 Kiefer, Brian          01/14/2018      Taxi from home to airport.                                  $50.18
 Petrini, Bobby         01/14/2018      Taxi from airport to train station.                         $54.74
                                        Taxi from Cranberry Township, PA to Deloitte
 Simha, Namita          01/14/2018                                                                  $33.12
                                        office in Pittsburgh, PA.
 Yochim, Nicki          01/14/2018      Taxi from home to airport.                                  $16.89
 Groves, Rick           01/15/2018      Taxi from home to airport.                                  $29.64
 Groves, Rick           01/15/2018      Taxi from airport to office in Pittsburgh, PA.              $45.56
                                        Taxi from Westin Convention Center to Deloitte
 Simha, Namita          01/15/2018                                                                   $8.28
                                        office in Pittsburgh, PA.
                                        Taxi from Westin Convention Center to Deloitte
 Simha, Namita          01/15/2018                                                                   $9.63
                                        office in Pittsburgh, PA.
 Das Chowdhury,
                        01/16/2018      Taxi from client site to hotel.                              $8.28
Prajata
 Das Chowdhury,                         Taxi from Pittsburgh, PA airport to Cranberry
                        01/16/2018                                                                  $25.51
Prajata                                 Township, PA.
 Groves, Rick           01/16/2018      Taxi from hotel to office.                                  $14.97
                                        Taxi from airport to Deloitte office in Pittsburgh,
 McKibben, Caitlin      01/16/2018                                                                  $26.32
                                        VA.
 Das Chowdhury,
                        01/17/2018      Taxi from hotel to client site.                             $16.11
Prajata
 Groves, Rick           01/17/2018      Taxi from hotel to office.                                  $11.29
 Groves, Rick           01/17/2018      Taxi from office to hotel.                                  $14.42
 Kao, Suzanne           01/17/2018      Taxi from Pittsburgh, PA airport to hotel.                  $64.10
 Kao, Suzanne           01/17/2018      Taxi from Dulles, VA airport to home.                       $40.15
 Das Chowdhury,
                        01/18/2018      Taxi from hotel to client site.                              $9.66
Prajata
 Groves, Rick           01/18/2018      Taxi from hotel to office.                                   $8.28
 Groves, Rick           01/18/2018      Taxi from office to Pittsburgh, PA airport.                 $79.60
 Groves, Rick           01/18/2018      Taxi from hotel to office.                                   $8.28
 Jones, Louverture      01/18/2018      Taxi from airport to home                                   $50.23
                                        Taxi from Westin Convention Center to Deloitte
 Simha, Namita          01/18/2018                                                                   $8.28
                                        office in Pittsburgh, PA.


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TAXI (NOT CAR SERVICE)
                                         Taxi from Deloitte office in Pittsburgh, PA to
 Simha, Namita           01/18/2018                                                                $11.32
                                         Westin Convention Center.
 Bondarenko, Ilya        01/19/2018      Taxi from airport to home.                                $68.52
 Collins, Robert         01/19/2018      Taxi from home to airport.                                $19.78
 Groves, Rick            01/19/2018      Taxi from airport to home.                               $130.08
 Jones, Louverture       01/19/2018      Taxi from Wesinghouse client site to airport.             $33.13
 Kao, Suzanne            01/19/2018      Taxi from client site to airport.                        $140.40
 Kiefer, Brian           01/19/2018      Taxi from airport to home.                                $56.79
                                         Taxi from Westin Convention Center to Deloitte
 Simha, Namita           01/19/2018                                                                 $8.28
                                         office in Pittsburgh, PA.
                                         Taxi from Deloitte office in Pittsburgh, PA to
 Simha, Namita           01/19/2018                                                                $33.72
                                         airport.
 Das Chowdhury,
                         01/20/2018      Taxi from Deloitte office in Pittsburgh, PA to hotel.      $8.28
Prajata
 Das Chowdhury,
                         01/20/2018      Taxi from hotel to Deloitte office in Pittsburgh, PA.      $8.62
Prajata
 Das Chowdhury,
                         01/20/2018      Taxi from hotel to Deloitte office in Pittsburgh, PA.      $8.27
Prajata
 Simha, Namita           01/20/2018      Taxi from New York airport to home.                       $56.22
 Das Chowdhury,
                         01/21/2018      Taxi from hotel to Deloitte office in Pittsburgh, PA.     $29.63
Prajata
 Das Chowdhury,
                         01/21/2018      Taxi from Columbia, SC airport to hotel.                  $28.75
Prajata
 Hartigan, Martin        01/21/2018      Taxi from home to Los Angeles, CA airport.               $180.00
 Lakova, Eva             01/21/2018      Taxi from Trieste airport to hotel                        $33.00
 Yochim, Nicki           01/21/2018      Taxi from airport to home.                                $24.62
 Zanette, Christina      01/21/2018      Taxi from home to Dulles, VA airport.                     $30.15
 Zanette, Christina      01/21/2018      Taxi from Dulles, VA airport to home.                     $30.00
 Zanette, Christina      01/21/2018      Taxi from home to Dulles, VA airport.                     $30.00
 Zanette, Christina      01/21/2018      Taxi from home to Dulles, VA airport.                     $32.00
 Bondarenko, Ilya        01/22/2018      Taxi from airport to home.                                $65.73
 Collins, Robert         01/22/2018      Taxi from hotel to airport.                               $45.04

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TAXI (NOT CAR SERVICE)
 Das Chowdhury,
                       01/22/2018      Taxi to Pittsburgh, PA airport.                              $33.24
Prajata
 Gupati, Raj           01/22/2018      Taxi from airport to office in Pittsburgh, PA.              $106.17
 Horton, Terry         01/22/2018      Taxi from home to airport.                                   $28.92
 Kiefer, Brian         01/22/2018      Taxi from home to airport.                                   $53.79
 Librandi, Louis       01/22/2018      Taxi from home to Philadelphia, PA airport.                  $39.29
 Petrini, Bobby        01/22/2018      Taxi from airport to hotel.                                  $35.77
 Simha, Namita         01/22/2018      Taxi from home to New York airport.                          $59.24
                                       Taxi from Columbia, SC airport to Westinghouse
 Simha, Namita         01/22/2018                                                                   $25.66
                                       Columbia site.
 Yochim, Nicki         01/22/2018      Taxi from home to airport.                                   $41.20
 Zhang, Dolly          01/22/2018      Taxi from Deloitte office to client site in Shanghai          $7.11
 Zhao, Raymond         01/22/2018      Taxi charges in Shanghai from airport to hotel               $32.77
 Das Chowdhury,
                       01/23/2018      Taxi from hotel to Westinhouse site.                         $23.43
Prajata
 Gupati, Raj           01/23/2018      Taxi from home to airport.                                   $35.88
 Xie, Sylvia           01/23/2018      Roundtrip taxi charges from home to client site              $52.96
                                       Taxi from Pittsburgh, PA to Cranberry Township,
 Gupati, Raj           01/24/2018                                                                   $40.77
                                       PA.
 Gupati, Raj           01/24/2018      Taxi from Queens, NY airport to home.                        $40.06
 Xie, Sylvia           01/24/2018      Roundtrip taxi charges from home to client site              $52.96
 Collins, Robert       01/25/2018      Taxi from airport to home.                                   $37.50
 Collins, Robert       01/25/2018      Taxi from hotel to airport.                                  $13.98
 Simha, Namita         01/25/2018      Taxi from hotel to Westinhouse Columbia, SC site.            $19.13
 Xie, Sylvia           01/25/2018      Roundtrip taxi charges from home to client site              $52.96
 Bondarenko, Ilya      01/26/2018      Taxi from airport to home.                                   $64.68
 Groves, Rick          01/26/2018      Taxi from airport to home.                                   $48.87
 Kiefer, Brian         01/26/2018      Taxi from airport to home.                                   $51.86
 Petrini, Bobby        01/26/2018      Taxi from Pittsburgh, PA to home.                            $49.12
 Simha, Namita         01/26/2018      Taxi from Pittsburgh, PA airport to hotel.                   $34.57
 Xie, Sylvia           01/26/2018      Roundtrip taxi charges from home to client site              $52.96

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TAXI (NOT CAR SERVICE)
 Yochim, Nicki           01/26/2018      Taxi from airport to home.                                 $19.87
 Zanette, Christina      01/26/2018      Taxi from hotel to dinner in Shanghai.                     $26.00
 Zhao, Raymond           01/26/2018      Taxi charges in Shanghai from hotel to client site         $39.66
 Zhao, Raymond           01/26/2018      Taxi charges in Shanghai from hotel to client site         $39.66
 Zhao, Raymond           01/26/2018      Taxi charges in Shanghai from hotel to client site         $39.66
 Lakova, Eva             01/27/2018      Taxi from hotel to Trieste airport                         $30.00
 Zanette, Christina      01/27/2018      Taxi from hotel to Shanghai airport.                       $26.00
 Collins, Robert         01/28/2018      Taxi from hotel to airport.                                $29.02
                                         Taxi from 8th Avenue in San Francisco, CA to San
 Mendon, Neha            01/28/2018                                                                 $39.39
                                         Francisco, CA airport.
 Simha, Namita           01/28/2018      Taxi from New York airport to home.                        $41.34
 Zamy, Vanessa           01/28/2018      Taxi from home to airport.                                 $23.47
                                         Roundtrip taxi service from home to airport in
 Berkowitz, Craig        01/29/2018                                                                $160.00
                                         Cranberry Township, PA - 4 days (1/29-2/1/18).
 Das Chowdhury,
                         01/29/2018      Taxi from Pittsburgh, PA airport to hotel.                 $33.00
Prajata
 Groves, Rick            01/29/2018      Taxi from home to airport.                                 $29.49
 Gupati, Raj             01/29/2018      Taxi from Queens, NY airport to home.                      $36.60
                                         Taxi from Pittsburgh, PA to Cranberry Township,
 Gupati, Raj             01/29/2018                                                                 $98.61
                                         PA.
 Horton, Terry           01/29/2018      Taxi from home to airport.                                 $26.78
 Lafontant, Anthony      01/29/2018      Taxi from airport to Westinghouse.                         $48.18
 Lafontant, Anthony      01/29/2018      Taxi from home to airport.                                 $15.30
 Marashi, Seema          01/29/2018      Taxi from home to Arlington, VA airport.                   $15.42
 McKibben, Caitlin       01/29/2018      Taxi from airport to hotel in Pittsburgh, VA.             $101.32
                                         Taxi from Pittsburgh, VA to Cranberrry Township,
 Mendon, Neha            01/29/2018                                                                 $40.40
                                         PA.
 Petrini, Bobby          01/29/2018      Taxi from home to Pittsburgh, PA.                          $21.19
 Zamy, Vanessa           01/29/2018      Taxi from airport to hotel.                                $42.36
 Collins, Robert         01/30/2018      Taxi from airport to hotel.                                $40.66
 Collins, Robert         01/30/2018      Taxi from airport to hotel.                                $22.54

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TAXI (NOT CAR SERVICE)
 Kiefer, Brian           01/30/2018      Taxi from home to airport.                                   $41.74
 Brennan, Ted            01/31/2018      Taxi from client site to airport.                            $41.54
 Collins, Robert         02/01/2018      Taxi from airport to home in Philadelphia, PA.               $34.92
 Groves, Rick            02/01/2018      Taxi from airport to home.                                   $34.92
 Kiefer, Brian           02/01/2018      Taxi from airport to home.                                   $45.44
 Lafontant, Anthony      02/01/2018      Taxi from airport to home.                                   $26.76
 Marashi, Seema          02/01/2018      Taxi from Arlington, VA airport to home.                     $13.97
 McKibben, Caitlin       02/01/2018      Taxi from airport to Deloitte office in Atlanta, GA.         $16.07
 McKibben, Caitlin       02/01/2018      Taxi from hotel to airport.                                   $6.67
 McKibben, Caitlin       02/01/2018      Taxi from hotel to airport.                                  $44.49
                                         Taxi from Pittsburgh, VA airport to Cranberry
 Mendon, Neha            02/01/2018                                                                   $57.13
                                         Township, PA.
 Willis, Rob             02/01/2018      Taxi from restaurant to hotel.                                $7.07
 Gupati, Raj             02/02/2018      Taxi from Queens, NY airport to home.                        $97.43
 Hartigan, Martin        02/02/2018      Taxi from Santa Ana, CA airport to home                      $80.00
 Horton, Terry           02/02/2018      Taxi from airport to home.                                   $24.52
 Mendon, Neha            02/02/2018      Taxi from airport to home in San Francisco, CA.              $26.09
 Petrini, Bobby          02/02/2018      Taxi from Bridgeville, PA to                                 $31.62
 Yochim, Nicki           02/02/2018      Taxi from airport to home.                                   $22.21
 Zamy, Vanessa           02/02/2018      Taxi from San Francisco, CA airport to home.                 $79.71
 Zanette, Christina      02/02/2018      Taxi from Dulles, VA airport to home.                        $32.00
                                         Taxi from Pittsburgh, VA to Cranberrry Township,
 Mendon, Neha            02/03/2018                                                                    $5.00
                                         PA.
 Collins, Robert         02/04/2018      Taxi from hotel to dinner.                                    $7.77
 Das Chowdhury,
                         02/04/2018      Taxi from client site to airport.                            $43.97
Prajata
 Groves, Rick            02/04/2018      Taxi from home to airport.                                   $38.45
 Kiefer, Brian           02/04/2018      Taxi from home to airport.                                   $50.91
 Librandi, Louis         02/04/2018      Taxi from home to Newark, NJ airport.                       $246.45
                                         Taxi from 8th Avenue in San Francisco, CA to San
 Mendon, Neha            02/04/2018                                                                   $22.85
                                         Francisco, CA airport.

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TAXI (NOT CAR SERVICE)
 Yochim, Nicki           02/04/2018      Taxi from home to airport.                              $37.03
 Zamy, Vanessa           02/04/2018      Taxi from home to San Francisco, CA airport.            $42.06
 Zanette, Christina      02/04/2018      Taxi from home to Dulles, VA airport.                   $32.00
 Berckman, Lindsey       02/05/2018      Taxi from home to airport.                              $30.99
                                         Roundtrip taxi service from home to airport in
 Berkowitz, Craig        02/05/2018                                                             $160.00
                                         Cranberry Township, PA - 4 days (2/5-2/8/18).
 Collins, Robert         02/05/2018      Taxi from airport to home in Philadelphia, PA.          $34.92
 Das Chowdhury,
                         02/05/2018      Taxi from Salt Lake City, UT airport to Ogden, UT.     $109.25
Prajata
                                         Taxi from Pittsburgh, PA to Cranberry Township,
 Gupati, Raj             02/05/2018                                                              $79.16
                                         PA.
 Gupati, Raj             02/05/2018      Taxi from Queens, NY airport to home.                   $47.69
 Horton, Terry           02/05/2018      Taxi from home to airport.                              $25.35
 Lafontant, Anthony      02/05/2018      Taxi from home to airport.                              $18.53
 Lafontant, Anthony      02/05/2018      Taxi from airport to hotel in Pittsburgh, PA.           $52.80
 Librandi, Louis         02/05/2018      Taxi from Stockholm airport to client site.            $423.01
 Marashi, Seema          02/05/2018      Taxi from home to Dulles, VA airport.                   $47.05
                                         Taxi from Pittsburgh, VA airport to Cranberry
 Mendon, Neha            02/05/2018                                                              $40.63
                                         Township, PA.
 Petrini, Bobby          02/05/2018      Taxi from home to Pittsburgh, PA.                       $24.61
 Hartigan, Martin        02/06/2018      Taxi from home to Santa Ana, CA airport.                $80.00
 Marashi, Seema          02/06/2018      Taxi from hotel to Pittsburgh, PA airport.              $42.31
 Marashi, Seema          02/06/2018      Taxi from Arlington, VA airport to home.                $13.78
 Collins, Robert         02/08/2018      Taxi from airport to home in Long Island, NY.           $34.92
 Fleming, Sean           02/08/2018      Taxi from office to airport.                            $19.22
 Gupati, Raj             02/08/2018      Taxi from Queens, NY airport to home.                   $48.06
 Hartigan, Martin        02/08/2018      Taxi from Santa Ana, CA airport to home                 $10.00
 Horton, Terry           02/08/2018      Taxi from airport to home.                              $26.57
 Lafontant, Anthony      02/08/2018      Taxi from airport to home.                              $23.18
 Lafontant, Anthony      02/08/2018      Taxi from hotel to airport.                             $39.05
 Librandi, Louis         02/08/2018      Taxi from Newark, NJ airport to home.                  $279.10

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TAXI (NOT CAR SERVICE)
 McKibben, Caitlin       02/08/2018      Taxi from hotel to airport in London.                 $130.71
 Willis, Rob             02/08/2018      Taxi from hotel to Salt Lake City, UT airport.         $37.69
 Willis, Rob             02/08/2018      Taxi from restaurant to hotel.                         $12.08
 Das Chowdhury,
                         02/09/2018      Taxi from Pittsburgh, PA airport to hotel.             $47.52
Prajata
 Das Chowdhury,
                         02/09/2018      Taxi from hotel to Deloitte office.                     $8.28
Prajata
 Kiefer, Brian           02/09/2018      Taxi from airport to home.                             $57.33
 Kiefer, Brian           02/09/2018      Taxi from hotel to airport.                            $67.14
 Librandi, Louis         02/09/2018      Taxi from hotel to Stockholm airport.                  $62.75
                                         Taxi from Pittsburgh, VA airport to Cranberry
 Mendon, Neha            02/09/2018                                                             $40.78
                                         Township, PA.
 Petrini, Bobby          02/09/2018      Taxi from hotel to client site.                         $5.00
 Petrini, Bobby          02/09/2018      Taxi from Pittsburgh, PA to home.                      $18.48
 Petrini, Bobby          02/09/2018      Taxi from Pittsburgh, PA to home.                      $50.63
 Petrini, Bobby          02/09/2018      Taxi from home to Pittsburgh, PA                       $19.31
 Yochim, Nicki           02/09/2018      Taxi from airport to home.                             $44.96
 Zamy, Vanessa           02/09/2018      Taxi from San Francisco, CA airport to home.           $59.64
 Zanette, Christina      02/09/2018      Taxi from Dulles, VA airport to home.                  $32.00
 Zanette, Christina      02/09/2018      Taxi from hotel to office.                              $7.20
 Zanette, Christina      02/09/2018      Taxi from hotel to office.                             $19.56
 Das Chowdhury,
                         02/10/2018      Taxi from office to hotel.                              $8.89
Prajata
 Das Chowdhury,
                         02/10/2018      Taxi from airport to hotel.                            $26.36
Prajata
 Groves, Rick            02/10/2018      Taxi from airport to home.                             $43.12
 McKibben, Caitlin       02/10/2018      Taxi from airport to hotel.                           $133.50
 McKibben, Caitlin       02/10/2018      Taxi from dinner to hotel.                             $22.21
 Das Chowdhury,
                         02/11/2018      Taxi from airport to hotel.                            $32.74
Prajata
 Das Chowdhury,
                         02/11/2018      Taxi from hotel to office.                             $28.51
Prajata

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TAXI (NOT CAR SERVICE)
 Das Chowdhury,
                       02/11/2018      Taxi from hotel to office.                               $8.89
Prajata
 Das Chowdhury,
                       02/11/2018      Taxi from office to hotel.                               $6.58
Prajata
                                       Taxi from Pittsburgh, VA airport to Cranberry
 Mendon, Neha          02/11/2018                                                              $26.06
                                       Township, PA.
 Zamy, Vanessa         02/11/2018      Taxi from home to San Francisco, CA airport.            $57.76
                                       Roundtrip taxi service from home to airport in
 Berkowitz, Craig      02/12/2018                                                             $160.00
                                       Cranberry Township, PA - 4 days (2/12-2/15/18).
 Collins, Robert       02/12/2018      Taxi from home to airport.                              $24.21
 Fleming, Sean         02/12/2018      Taxi from airport to office.                            $39.99
 Groves, Rick          02/12/2018      Taxi from home to airport.                              $43.23
                                       Taxi from Pittsburgh, PA to Cranberry Township,
 Gupati, Raj           02/12/2018                                                              $45.29
                                       PA.
                                       Taxi from Pittsburgh, PA to Cranberry Township,
 Gupati, Raj           02/12/2018                                                              $95.70
                                       PA.
 Hartigan, Martin      02/12/2018      Taxi from home to Santa Ana, CA airport.                $80.00
 Hartigan, Martin      02/12/2018      Taxi in Pittsburgh, PA.                                $100.05
 Kiefer, Brian         02/12/2018      Taxi from home to airport.                              $58.57
 Lafontant, Anthony    02/12/2018      Taxi from home to airport.                              $19.29
 Librandi, Louis       02/12/2018      Taxi from home to Philadelphia, PA airport.             $46.36
 Marashi, Seema        02/12/2018      Taxi from home to Arlington, VA airport.                $15.60
                                       Taxi from Pittsburgh, VA airport to Cranberry
 Mendon, Neha          02/12/2018                                                              $40.72
                                       Township, PA.
 Petrini, Bobby        02/12/2018      Taxi from home to Pittsburgh, PA.                       $34.45
 Yochim, Nicki         02/12/2018      Taxi from home to airport.                              $56.45
 Lafontant, Anthony    02/13/2018      Taxi from hotel to airport.                             $48.22
                                       Taxi from Pittsburgh, VA airport to Cranberry
 Mendon, Neha          02/13/2018                                                               $4.00
                                       Township, PA.
 Berckman, Lindsey     02/15/2018      Taxi from airport to hotel.                             $17.81
 Berckman, Lindsey     02/15/2018      Taxi from home to airport.                              $11.45
 Groves, Rick          02/15/2018      Taxi from airport to home in Long Island, NY.           $37.83

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TAXI (NOT CAR SERVICE)
 Horton, Terry           02/15/2018      Taxi from hotel to airport.                               $40.79
 Kiefer, Brian           02/15/2018      Taxi from client site to airport.                          $8.98
 Kiefer, Brian           02/15/2018      Taxi from hotel to airport.                               $44.26
 Lafontant, Anthony      02/15/2018      Taxi from airport to home.                                $25.95
 Marashi, Seema          02/15/2018      Taxi from airport to home in Arlington, VA.               $14.73
                                         Taxi from Pittsburgh, VA downtown to Cranberry
 Mendon, Neha            02/15/2018                                                                $32.12
                                         Township, PA.
 Zamy, Vanessa           02/15/2018      Taxi from hotel to airport.                               $42.24
 Collins, Robert         02/16/2018      Taxi from home to airport.                                $23.52
 Collins, Robert         02/16/2018      Taxi from airport to home.                                 $4.31
 Das Chowdhury,
                         02/16/2018      Taxi from airport to office in Long, Island, NY.          $33.46
Prajata
 Gupati, Raj             02/16/2018      Taxi from office to client site                            $9.23
 Gupati, Raj             02/16/2018      Taxi from office to client site                           $35.08
 Hartigan, Martin        02/16/2018      Taxi in Pittsburgh, PA.                                   $65.09
 Kiefer, Brian           02/16/2018      Taxi from airport to home.                                $58.23
 Librandi, Louis         02/16/2018      Taxi from Philadelphia, PA to home.                       $99.00
 Yochim, Nicki           02/16/2018      Taxi from airport to home.                                $40.12
 Zamy, Vanessa           02/16/2018      Taxi from San Francisco, CA airport to home.              $61.05
 Zanette, Christina      02/16/2018      Taxi from car rental location to home.                     $8.27
 Collins, Robert         02/17/2018      Taxi from airport to home.                                 $5.27
 Das Chowdhury,
                         02/17/2018      Taxi from office to hotel.                                $46.19
Prajata
 Das Chowdhury,
                         02/17/2018      Taxi from office to hotel.                                $24.75
Prajata
 Hartigan, Martin        02/17/2018      Taxi from home to Santa Ana, CA airport.                  $80.00
                                         Taxi from Deloitte office to Westinhouse Electric
 Mendon, Neha            02/17/2018                                                                $49.54
                                         Company.
                                         Taxi from Deloitte office to Westinhouse Electric
 Mendon, Neha            02/17/2018                                                                $37.89
                                         Company.
 Mendon, Neha            02/17/2018      Taxi from hotel to Westinhouse Electric Company.          $10.00


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TAXI (NOT CAR SERVICE)
 Petrini, Bobby         02/17/2018      Taxi from Bridgeville, PA to home.                       $7.10
 Petrini, Bobby         02/17/2018      Taxi from Bridgeville, PA to home.                      $28.77
 Collins, Robert        02/18/2018      Taxi from hotel to dinner.                               $3.25
 Collins, Robert        02/18/2018      Taxi from hotel to dinner.                               $5.09
 Das Chowdhury,
                        02/18/2018      Taxi from office to hotel.                              $33.64
Prajata
 Das Chowdhury,
                        02/18/2018      Taxi from office to hotel.                              $23.24
Prajata
 Das Chowdhury,
                        02/18/2018      Taxi from office to hotel.                              $24.92
Prajata
 Hickey, Thomas         02/18/2018      Roundtrip taxi from London to Vasteras, Sweden         $515.07
 McKibben, Caitlin      02/18/2018      Taxi from airport to hotel in Brussels.                 $64.28
 Mendon, Neha           02/18/2018      Taxi from hotel to Westinhouse Electric Company.         $8.28
 Mendon, Neha           02/18/2018      Taxi from hotel to Westinhouse Electric Company.         $8.28
                                        Taxi from Pittsburgh, VA airport to Cranberry
 Mendon, Neha           02/18/2018                                                              $71.05
                                        Township, PA.
 Zamy, Vanessa          02/18/2018      Taxi from home to San Francisco, CA airport.            $23.84
                                        Roundtrip taxi service from home to airport in
 Berkowitz, Craig       02/19/2018                                                             $160.00
                                        Cranberry Township, PA - 4 days (2/19-2/22/18).
 Das Chowdhury,
                        02/19/2018      Taxi from office to hotel.                              $37.28
Prajata
 Das Chowdhury,
                        02/19/2018      Taxi from office to hotel.                               $6.82
Prajata
 Das Chowdhury,
                        02/19/2018      Taxi from office to hotel.                               $8.63
Prajata
 Gupati, Raj            02/19/2018      Taxi from office to client site                          $4.00
                                        Taxi from Pittsburgh, PA to Cranberry Township,
 Gupati, Raj            02/19/2018                                                              $36.72
                                        PA.
                                        Taxi from Pittsburgh, PA to Cranberry Township,
 Gupati, Raj            02/19/2018                                                             $117.25
                                        PA.
                                        London tube travel from hotel to Westinghouse
 Hickey, Thomas         02/19/2018                                                              $26.25
                                        site
 Lafontant, Anthony     02/19/2018      Taxi from airport to hotel.                             $57.79

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TAXI (NOT CAR SERVICE)
 Lafontant, Anthony     02/19/2018      Taxi from home to airport.                                $17.41
 Marashi, Seema         02/19/2018      Taxi from home to airport in Arlington, VA.               $33.99
 McKibben, Caitlin      02/19/2018      Taxi from hotel to office in Belgium.                     $63.44
 McKibben, Caitlin      02/19/2018      Taxi from office to hotel in Belgium.                     $61.59
 Mendon, Neha           02/19/2018      Taxi from hotel to Westinhouse Electric Company.           $9.28
 Petrini, Bobby         02/19/2018      Taxi from hotel to client site.                           $11.71
 Petrini, Bobby         02/19/2018      Taxi from hotel to client site.                            $5.00
 Zamy, Vanessa          02/19/2018      Taxi from airport to hotel.                               $68.19
 Brennan, Ted           02/20/2018      Taxi from Chicago, IL airport to home.                    $39.43
 Das Chowdhury,
                        02/20/2018      Taxi from office to hotel.                                 $7.61
Prajata
                                        Roundtrip taxi from Antwerp, Belgium to Nivelles,
 Gijsels, Giovanni      02/20/2018                                                                $57.60
                                        Belgium
 Groves, Rick           02/20/2018      Taxi from home to office.                                  $5.68
 Hickey, Thomas         02/20/2018      Bus travel from airport in Vasteras to hotel              $24.53
 Mendon, Neha           02/20/2018      Taxi from hotel to Westinhouse Electric Company.           $7.66
 Mendon, Neha           02/20/2018      Taxi from hotel to Westinhouse Electric Company.           $9.52
 Mendon, Neha           02/20/2018      Taxi from hotel to Westinhouse Electric Company.           $9.00
 Mendon, Neha           02/20/2018      Taxi from hotel to Westinhouse Electric Company.          $18.30
 Mendon, Neha           02/20/2018      Taxi from hotel to Westinhouse Electric Company.          $31.85
                                        Taxi from Deloitte office to Westinhouse Electric
 Mendon, Neha           02/20/2018                                                                $62.53
                                        Company.
 Petrini, Bobby         02/20/2018      Taxi from airport to work.                                $24.60
 Petrini, Bobby         02/20/2018      Taxi from office to airport.                              $34.92
 Das Chowdhury,
                        02/21/2018      Taxi from office to hotel.                                $33.07
Prajata
 Das Chowdhury,
                        02/21/2018      Taxi from office to hotel.                                 $7.61
Prajata
                                        Roundtrip taxi from Antwerp, Belgium to Nivelles,
 Gijsels, Giovanni      02/21/2018                                                                $57.60
                                        Belgium
 Groves, Rick           02/21/2018      Taxi from home to office.                                  $6.11


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TAXI (NOT CAR SERVICE)
 Hickey, Thomas         02/21/2018      Bus travel from hotel to airport in Vasteras                 $39.77
 Hickey, Thomas         02/21/2018      Taxi from Brussels Midi train station to hotel               $17.26
                                        Taxi from Deloitte office to Westinhouse Electric
 Mendon, Neha           02/21/2018                                                                   $54.00
                                        Company.
 Mendon, Neha           02/21/2018      Taxi from hotel to Westinhouse Electric Company.              $5.00
 Mendon, Neha           02/21/2018      Taxi from hotel to Westinhouse Electric Company.             $13.29
 Das Chowdhury,
                        02/22/2018      Taxi from office to hotel.                                    $6.55
Prajata
 Das Chowdhury,
                        02/22/2018      Taxi from office to hotel.                                   $11.72
Prajata
                                        Roundtrip taxi from Antwerp, Belgium to Nivelles,
 Gijsels, Giovanni      02/22/2018                                                                   $57.60
                                        Belgium
 Kiefer, Brian          02/22/2018      Taxi from restaurant to home.                                $46.89
                                        Taxi from Arlington, VA airport o Deloitte office in
 Marashi, Seema         02/22/2018                                                                   $29.66
                                        Mclean, VA.
 Petrini, Bobby         02/22/2018      Taxi from airport to Bridgeville, PA.                        $44.64
 Petrini, Bobby         02/22/2018      Taxi from home to Bridgeville, PA.                           $27.42
 Zamy, Vanessa          02/22/2018      Taxi from hotel to dinner.                                    $7.62
 Zamy, Vanessa          02/22/2018      Taxi from dinner to hotel.                                    $8.16
 Das Chowdhury,
                        02/23/2018      Taxi from office to hotel.                                   $17.76
Prajata
 Das Chowdhury,
                        02/23/2018      Taxi from office to hotel.                                   $11.04
Prajata
 Das Chowdhury,
                        02/23/2018      Taxi from office to hotel.                                   $34.25
Prajata
 Das Chowdhury,
                        02/23/2018      Taxi from office to hotel.                                   $33.35
Prajata
 Das Chowdhury,
                        02/23/2018      Taxi from office to hotel.                                   $36.15
Prajata
 Gupati, Raj            02/23/2018      Taxi from office to client site                               $4.50
 Gupati, Raj            02/23/2018      Taxi from office to client site                               $5.60
                                        Taxi from Pittsburgh, PA to Cranberry Township,
 Gupati, Raj            02/23/2018                                                                   $36.15
                                        PA.

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                     Westinghouse Electric Company, LLC
                               Deloitte Consulting LLP
           Expenses Sorted by Category for the Fee Period
                               November 28, 2017 - March 31, 2018



Category                Date            Description                                            Amount



TAXI (NOT CAR SERVICE)
 McKibben, Caitlin      02/23/2018      Taxi from hotel to airport.                             $65.68
 Zamy, Vanessa          02/23/2018      Taxi from San Francisco, CA airport to home.            $53.40
 Das Chowdhury,
                        02/24/2018      Taxi from home to airport.                              $51.41
Prajata
 Petrini, Bobby         02/24/2018      Taxi from work to Bridgeville, PA.                       $5.02
 Petrini, Bobby         02/24/2018      Taxi from work to Bridgeville, PA.                      $24.64
 Das Chowdhury,
                        02/25/2018      Taxi from airport to home.                             $482.00
Prajata
 Zamy, Vanessa          02/25/2018      Taxi from home to San Francisco, CA airport.            $23.39
                                        Roundtrip taxi service from home to airport in
 Berkowitz, Craig       02/26/2018                                                             $160.00
                                        Cranberry Township, PA - 4 days (2/26-3/1/18).
 Gupati, Raj            02/26/2018      Taxi from office to client site                          $4.03
 Gupati, Raj            02/26/2018      Taxi from home to airport in New York, NY.              $39.39
 Lafontant, Anthony     02/26/2018      Taxi from airport to hotel.                             $52.65
 Lafontant, Anthony     02/26/2018      Taxi from home to airport.                              $19.93
 Librandi, Louis        02/26/2018      Taxi from home to Philadelphia, PA airport.             $41.81
 McKibben, Caitlin      02/26/2018      Taxi from airport to Deloitte office in McLean, VA.     $50.79
 Zamy, Vanessa          02/26/2018      Taxi from airport to hotel.                             $40.71
 Brennan, Ted           02/27/2018      Airport parking expense for T. Brennan                  $80.00
 Gupati, Raj            02/27/2018      Taxi from home to Pittsburgh, PA.                       $93.50
 Marashi, Seema         02/27/2018      Taxi from home to Arlington, VA airport.                $32.66
 Collins, Robert        02/28/2018      Taxi from home to airport.                              $28.06
 Gupati, Raj            02/28/2018      Taxi from home to airport in New York, NY.              $35.85
 Gupati, Raj            03/01/2018      Taxi from Pittsburgh airport to home                    $42.06
 Lafontant, Anthony     03/01/2018      Taxi from airport to home.                              $22.97
 Marashi, Seema         03/01/2018      Taxi from airport to home in Arlington, VA.             $35.38
 McKibben, Caitlin      03/01/2018      Taxi from office to airport.                            $33.10
 Collins, Robert        03/02/2018      Taxi from hotel to dinner.                               $8.59
 Mendon, Neha           03/02/2018      Taxi from hotel to Westinhouse Electric Company.        $21.30
 Zamy, Vanessa          03/02/2018      Taxi from San Francisco, CA airport to home.            $55.69


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                    Westinghouse Electric Company, LLC
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           Expenses Sorted by Category for the Fee Period
                              November 28, 2017 - March 31, 2018



Category               Date            Description                                           Amount



TAXI (NOT CAR SERVICE)
 Gupati, Raj           03/03/2018      Taxi from office to client site                         $5.90
                                       Taxi from airport to Westinghouse Electric
 Mendon, Neha          03/03/2018                                                             $41.52
                                       Company.
                                       Taxi from airport to Westinghouse Electric
 Mendon, Neha          03/03/2018                                                             $41.30
                                       Company.
 Mendon, Neha          03/03/2018      Taxi from hotel to Westinhouse Electric Company.        $8.40
 Mendon, Neha          03/03/2018      Taxi from hotel to Westinhouse Electric Company.       $16.83
 Zamy, Vanessa         03/04/2018      Taxi from home to San Francisco, CA airport.           $42.57
                                       Roundtrip taxi service from home to airport in
 Berkowitz, Craig      03/05/2018                                                            $160.00
                                       Cranberry Township, PA - 4 days (3/5-3/8/18).
 Gupati, Raj           03/05/2018      Taxi from home to Queens, NY airport.                  $48.70
 Gupati, Raj           03/05/2018      Taxi from Pittsburgh airport to home                   $89.50
 Horton, Terry         03/05/2018      Taxi from home to airport.                             $27.34
 Lafontant, Anthony    03/05/2018      Taxi from home to airport.                             $21.88
 Lafontant, Anthony    03/05/2018      Taxi from airport to hotel.                            $60.75
                                       Taxi from airport to hotel in Cranberrry Township,
 Marashi, Seema        03/05/2018                                                             $44.95
                                       PA.
 Marashi, Seema        03/05/2018      Taxi from home to airport in Arlinton, VA.             $32.79
 Mendon, Neha          03/05/2018      Taxi from hotel to Westinhouse Electric Company.        $9.66
 Mendon, Neha          03/05/2018      Taxi from hotel to Westinhouse Electric Company.        $7.19
 Zamy, Vanessa         03/05/2018      Taxi from airport to hotel.                            $40.15
 Zamy, Vanessa         03/05/2018      Taxi from airport to hotel.                            $15.73
 Mendon, Neha          03/06/2018      Taxi from hotel to Westinhouse Electric Company.        $8.89
 Mendon, Neha          03/06/2018      Taxi from hotel to Westinhouse Electric Company.        $7.13
 Gupati, Raj           03/07/2018      Taxi from home to Queens, NY airport.                  $79.00
 Mendon, Neha          03/07/2018      Taxi from hotel to Westinhouse Electric Company.       $14.63
 Lafontant, Anthony    03/08/2018      Taxi from airport to home.                             $24.40
 Lafontant, Anthony    03/08/2018      Taxi from client site to airport.                       $6.60
 Lafontant, Anthony    03/08/2018      Taxi from client site to airport.                      $47.03
                                       Taxi from Westinghouse Electric Company to
 Mendon, Neha          03/08/2018                                                             $41.31
                                       airport.

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                     Westinghouse Electric Company, LLC
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           Expenses Sorted by Category for the Fee Period
                                 November 28, 2017 - March 31, 2018



Category                  Date            Description                                          Amount



TAXI (NOT CAR SERVICE)
                                          Taxi from Westinghouse Electric Company to
 Mendon, Neha             03/08/2018                                                           $11.43
                                          airport.
 Zamy, Vanessa            03/08/2018      Taxi from hotel to airport.                          $45.73
 Zamy, Vanessa            03/08/2018      Taxi from San Francisco, CA airport to home.         $48.35
 Gupati, Raj              03/09/2018      Taxi from Queens, NY airport to home.                $35.46
 Marashi, Seema           03/09/2018      Taxi from airport to home in Arlington, VA.          $28.46
                                          Taxi from San Francisco, CA airport to San
 Mendon, Neha             03/09/2018                                                           $61.30
                                          Francisco, CA.
Subtotal for TAXI (NOT
CAR SERVICE):                                                                               $19,225.21


TELEPHONE: CONFERENCE CALLS
                                          Conference call expense charges related to
 Berckman, Lindsey        02/07/2018                                                             $0.09
                                          Westinghouse
                                          Conference call expense charges related to
 Berckman, Lindsey        02/09/2018                                                             $3.53
                                          Westinghouse
                                          Conference call expense charges related to
 Berckman, Lindsey        02/12/2018                                                             $3.27
                                          Westinghouse
                                          Conference call expense charges related to
 Berckman, Lindsey        02/13/2018                                                             $1.61
                                          Westinghouse
                                          Conference call expense charges related to
 Berckman, Lindsey        02/21/2018                                                             $5.28
                                          Westinghouse
Subtotal for
TELEPHONE:
CONFERENCE CALLS:                                                                              $13.78


TRAIN, SUBWAY, BUS, OTHER
 Petrini, Bobby           01/14/2018      Train from London to Liverpool                      $120.58
 Yochim, Nicki            01/18/2018      Train from hotel to airport                          $56.03
 McKibben, Caitlin        02/20/2018      Train from Nivelles to Brussels                      $22.83
 McKibben, Caitlin        02/20/2018      Train from Brussels to Nivelles                      $15.22

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                     Westinghouse Electric Company, LLC
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           Expenses Sorted by Category for the Fee Period
                               November 28, 2017 - March 31, 2018



Category                Date            Description                                   Amount



TRAIN, SUBWAY, BUS, OTHER
 McKibben, Caitlin      02/21/2018      Train from Brussels to Nivelles               $15.18
 McKibben, Caitlin      02/22/2018      Train from Brussels to Nivelles               $15.20
 Collins, Robert        03/02/2018      Train from airport to home                      $6.75
Subtotal for TRAIN,
SUBWAY, BUS, OTHER:                                                                  $251.79
Total                                                                             $318,811.86




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              Westinghouse Electric Company, LLC
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    Expenses Sorted by Category for the Fee Period
                           November 28, 2017 - March 31, 2018




                                 Recapitulation
   Category                                                              Amount

   Airfare                                                        $157,297.71

   Hotel                                                           $72,383.88

   MEETING FACILITIES                                              $25,532.04

   TAXI (NOT CAR SERVICE)                                          $19,225.21

   Meals                                                           $15,231.86

   Auto Rental                                                     $14,621.07

   Apartment Lodging                                               $10,022.56

   Auto Parking                                                     $3,148.86

   Car Service                                                           $610.80

   Auto Rental: Gasoline                                                 $298.70

   TRAIN, SUBWAY, BUS, OTHER                                             $251.79

   Auto Tolls                                                            $173.60

   TELEPHONE: CONFERENCE CALLS                                            $13.78




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                              EXHIBIT C
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 Deloitte Consulting LLP
 1700 Market Street
 Philadelphia, PA 19103
 Telephone: 215.446.4367
 Facsimile: 215.310.4206
 Louis Librandi

 Consulting Services


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al.,  1
                                                                 | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
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      CERTIFICATION UNDER GUIDELINES FOR FEES AND DISBURSEMENTS
                FOR PROFESSIONALS IN RESPECT OF FINAL FEE
     APPLICATION OF DELOITTE CONSULTING LLP FOR COMPENSATION FOR
     SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED AS
      CONSULTING SERVICES PROVIDER TO THE DEBTORS FOR THE PERIOD
                 NOVEMBER 28, 2017 THROUGH MARCH 31, 2018

 Louis Librandi, deposes and says:
                     1.        I am a principal of Deloitte Consulting LLP (“Deloitte Consulting”), which
 has an office located at 1700 Market Place, Philadelphia, PA 19103. I make this certification in
 connection with the final fee application (the “Final Application”) of Deloitte
 Consulting, in the above-captioned debtors’ (the “Debtors”) chapter 11 cases.



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any,
 are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC
 (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR
 Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250),
 Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone
 & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc.
 (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services
 Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining,
 LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572), WECTEC LLC (6222), WECTEC
 Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
 Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing Company
 LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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               2.         I submit this certification with respect to Deloitte Consulting’s compliance
 with and pursuant to the Court’s General Order M-447, the Amended Guidelines for Fees and
 Disbursements for Professionals in the Southern District of New York adopted by the Court on
 November 25, 2009 (the “Local Guidelines”), and the United States Trustee Guidelines for
 Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C.
 §330, effective January 30, 1996 (the “UST Guidelines”) (collectively, and with the Order to
 Establish Procedures for Interim Compensation and Reimbursement of Expenses of Professionals
 entered in these cases on May 24, 2017 (the “Compensation Order”) the “Guidelines”).
               3.         In compliance with the Guidelines, I hereby certify that:
                          a.     I have read the Final Application and am familiar with the services
               for which compensation is being sought that are described therein;
                          b.     To the best of my knowledge, information and belief, the fees and
               disbursement sought in the Final Application are in substantial compliance with
               the Guidelines.
                          c.     The fees and disbursements sought in the Final Application are
               billed at rates or in accordance with practice customarily employed by Deloitte
               Consulting for similar services and generally accepted by Deloitte Consulting’s
               clients.
                          d.     Deloitte Consulting has not made a profit with respect to the
               expenses requested in the Final Application.
                          e.     No agreement or understanding exists between Deloitte Consulting
               and any other non-affiliated or unrelated person or persons for the sharing of
               compensation received or to be received for professional services rendered in or
               in connection with these cases.
                          f.     Deloitte Consulting has not entered into any agreement with the
               office of the United States Trustee, the Debtors, any creditor or any other party in
               interest, for the purpose of fixing the amount of any of the fees or other
               compensation allowed out of or paid from the assets of the Debtors.




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                        g.    Copies of the Final Application were provided to the appropriate
               parties on or about the date set for the filing of applications by the Compensation
               Order.


                                             /s/ Louis Librandi
                                             Louis Librandi
                                             Principal

 Dated: October 1, 2018




                                                3
